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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                  )    Chapter 11
In re:                                            )
                                                  )    Case No. 19-11791 (BLS)
Loot Crate, Inc., et al.,1                        )
                                                  )    Jointly Administered
                             Debtors.             )
                                                  )    Related Docket No. 13, 44
                                                  )

     SECOND INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN
    POSTPETITION FINANCING ON A SUPER-PRIORITY, SENIOR SECURED BASIS
      AND (B) USE CASH COLLATERAL, (II) GRANTING (A) LIENS AND SUPER-
         PRIORITY CLAIMS AND (B) ADEQUATE PROTECTION TO CERTAIN
       PREPETITION LENDERS, (III) MODIFYING THE AUTOMATIC STAY, (IV)
      SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

         J_^] cWT \^cX^] %cWT kMotionl&2 [Docket No. 13], dated August 12, 2019, of Loot Crate,

Inc. and certain of its affiliates, as debtors and debtors in possession in the above-captioned cases

%TPRW' P kDebtorl P]S' R^[[TRcXeT[h' cWT kDebtorsl& _dabdP]c c^ bTRcX^]b ,+0' .1,' .1-' .1.%R&'

36.%T&' .1/%R&' .1/%S&' .1/%T&' P]S 0+2 ^U cXc[T ,, ^U cWT J]XcTS HcPcTb 9^ST %cWT kBankruptcy

Codel&' Gd[Tb -++-' /++,' 1++/' P]S 4+,/ ^U cWT <TSTaP[ Gd[Tb ^U 8P]Zad_cRh Fa^RTSdaT %cWT

kBankruptcy Rulesl&' P]S Gd[T /++,-2 of the Local Rules of Bankruptcy Practice and Procedure

^U cWT J]XcTS HcPcTb 8P]Zad_cRh 9^dac U^a cWT :XbcaXRc ^U :T[PfPaT %cWT kLocal Rulesl&' bTTZX]V

entry of an order providing for, among other things:

         (i)    authority for the Debtors to obtain senior secured, priming, postpetition financing

on a super-priority basis pursuant to the terms and conditions of that certain Debtor in Possession



1
       The Debtors are the following four entities (the last four digits of their respective
taxpayer identification numbers, if any, follow in parentheses): Loot Crate, Inc. (7119); Loot
Crate Holdings, I]R)6 B9 <d]SX]V' ?]R)6 P]S B^^c 9aPcT FPaT]c' ?]R) IWT :TQc^abm ]^cXRX]V
address in these Chapter 11 cases is 3401 Pasadena Avenue, Los Angeles, CA 90031.
2
      Capitalized terms used by not defined herein shall have the meanings ascribed to them in
the Motion.


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Credit Agreement by and among Debtor Loot Crate, Inc. as Borrower, and Debtor Loot Crate

Parent, Inc., Debtor LC Funding, Inc., and Debtor Loot Crate Holdings, Inc. as Guarantors, and

Money Chest LLC, as administrative agent and collateral agent (in its capacity as administrative

and collateral agent, and including any of its Affiliates (including any branches thereof)

performing any of the functions of administrative agent or collateral agent hereunder or under

P]h ^U cWT ^cWTa B^P] :^Rd\T]cb' cWT kDIP Agentl& U^a C^]Th 9WTbc BB9 %c^VTcWTa fXcW P]h

^cWTa [T]STab _Pach cWTaTc^ P]S cWTXa aTb_TRcXeT PUUX[XPcTb' bdRRTbb^ab P]S PbbXV]b' cWT kDIP

Lendersl&' bdQbcP]cXP[[h X] cWT U^a\ PccPRWTS c^ cWXb 9^dacmb Interim Order (I) Authorizing the

Debtors to (A) Obtain Postpetition Financing on a Super-Priority, Senior Secured Basis and (B)

Use Cash Collateral, (II) Granting (A) Liens and Super-Priority Claims and (B) Adequate

Protection to Certain Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a

Final Hearing, and (V) Granting Related Relief %cWT kInterim Orderl& N:^RZTc D^) //O Pb ;gWXQXc

A (as such agreement may be amended, restated, amended and restated, extended, modified,

bd__[T\T]cTS' ^a aT_[PRTS Ua^\ cX\T c^ cX\T X] PRR^aSP]RT fXcW Xcb cTa\b' cWT kDIP Credit

Agreementl P]S cWT UX]P]RX]V P]S UX]P]RXP[ PRR^\\^SPcX^]b \PST PePX[PQ[T _dabdP]c c^ cWT :?F

Credit Agreement and the other DIP Docu\T]cb %Pb STUX]TS QT[^f&' cWT kDIP Facilityl&6

        (ii)     authority for the Debtors to (a) execute, deliver, and perform under the DIP Credit

Agreement and all other related or ancillary documents and agreements (including the Budget (as

defined below)), and (b) perform such other acts as may be necessary or desirable in connection

with the DIP Documents (as defined below);

        (iii)    authority for the Debtors to obtain senior secured, priming, postpetition financing

on a super-priority basis pursuant to the terms and conditions of that certain Debtor In Possession

Security Agreement by and among the Debtors and the DIP Agent, substantially in the form


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attached hereto as Exhibit A (as such agreement may be amended, restated, amended and

restated, extended, modified, supplemented, or replaced from time to time in accordance with its

cTa\b' cWT kDIP Security Agreementl&6

        (iv)    authority for the Debtors to (a) execute, deliver, and perform under the DIP Credit

Agreement, the DIP Security Agreement, and all other related or ancillary documents and

PVaTT\T]cb %X]R[dSX]V cWT 8dSVTc& %R^[[TRcXeT[h' cWT kDIP Documentsl&' P]S %Q& _TaU^a\ bdRW

other acts as may be necessary or desirable in connection with the DIP Documents;

        (v)     PdcW^aXch U^a cWT :TQc^ab c^ %P& dbT kRPbW R^[[PcTaP['l Pb bdRW cTa\ Xb STUX]TS X]

bTRcX^] .1. ^U cWT 8P]Zad_cRh 9^ST P]S*^a d]STa cWT :?F :^Rd\T]cb' Pb P__[XRPQ[T %cWT kCash

Collaterall&' bdQYTRc c^ %g& cWT aTbcaXRcX^]b bTc U^acW X] cWT :?F :^Rd\T]cb' cWT ?]cTaX\ EaSTa' P]S

cWXb EaSTa %cWT kSecond Interim Orderl&' P]S %h& cWT VaP]c ^U PST`dPcT _a^cTRcX^] c^ cWT 9daaT]c

Prepetition Secured Parties for any diminution in value of their interests in the Prepetition

Collateral and the Prepetition Second Lien Collateral (each as defined herein), and (b) access and

use the liquidity provided under the DIP Facility on a further interim basis until the Final

>TPaX]V %Pb STUX]TS QT[^f& %cWT kInterim Periodl&' Pb U^[[^fb5

                (1)    access and use up to $4,000,000 of the postpetition financing made

available under the DIP FPRX[Xch SdaX]V cWT ?]cTaX\ FTaX^S %cWT kInterim DIP Financingl& c^ %g&

Ud]S cWT :TQc^abm RWP_cTa ,, RPbTb P]S cWT R^]cX]dTS ^_TaPcX^] ^U cWTXa QdbX]TbbTb Pb :TQc^ab'

and (y) fund certain fees and expenses associated with the consummation of the transactions

contemplated in the DIP Documents, each on the terms set forth herein and the DIP Documents,

and in each case consistent with the Budget;

                (2)    pay the fees and expenses arising in accordance with the terms of the DIP

Documents; and


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         (vi)     a grant of automatically perfected, valid, enforceable, and unavoidable security

interests and liens, pursuant to sections 364(c)(2), 364(c)(3), and 364(d)(l) of the Bankruptcy

Code, on all DIP Collateral (as defined herein) and assets of the Debtors, including, subject to

entry of a Final Order (as defined below), Avoidance Proceeds and Avoidance Actions (each as

defined below) and the products and proceeds thereof but solely to the extent provided in such

Final Order, as more fully described herein;

         (vii)    a grant, with respect to the obligations of the Debtors hereunder and under the

other DIP Documents (and subject only to the Carve-Out described in paragraph 32 hereof), of

an allowed super-_aX^aXch PS\X]XbcaPcXeT Tg_T]bT R[PX\ X] TPRW ^U cWT :TQc^abm QP]Zad_cRh RPbTb

(a]S PVPX]bc TPRW ^U cWT :TQc^abm TbcPcTb RaTPcTS _dabdP]c c^ bTRcX^] 0/, ^U cWT 8P]Zad_cRh

Code) pursuant to section 364(c)(l) of the Bankruptcy Code having priority over all

administrative expenses of the kind specified in or arising under any section of the Bankruptcy

Code (including sections 105, 326, 328, 330, 331, 503(b), 507(a), 507(6), 546(c), or 726

thereof);

         (viii) authority for the Debtors to pay the principal, interest, fees, expenses, and other

amounts payable under the DIP Documents as such become due, including the reasonable and

S^Rd\T]cTS UTTb P]S SXbQdabT\T]cb ^U cWT :?F 7VT]c P]S cWT :?F BT]STabm Pcc^a]Thb' PSeXbTab'

PRR^d]cP]cb' P]S ^cWTa R^]bd[cP]cb %R^[[TRcXeT[h' cWT kDIP Obligationsl&' P[[ c^ cWT TgcT]c

provided in and in accordance with the terms of the DIP Documents and this Second Interim

Order;

         (ix)     a modification of the automatic stay imposed by section 362 of the Bankruptcy

Code to the extent necessary to implement and effectuate the terms and provisions of the DIP

Documents and this Second Interim Order, as set forth herein; and


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        (x)     approval of the Milestones as defined in the DIP Credit Agreement (the

kMilestonesl& X] aTb_TRc ^U cWT .1. bP[T _a^RTbb Pb STbRaXQTS X] cWT :TR[PaPcX^] ^U HcdPac

Kaufman in Support of First Day Motions P]S GT[PcTS GT[XTU %cWT kFirst Day Declarationl& %Pb

defined below), which Milestones are attached hereto as Exhibit B; and

        (xi)    bRWTSd[X]V ^U P UX]P[ WTPaX]V %cWT kFinal Hearingl& c^ R^]bXSTa T]cah ^U P] ^aSTa

approving the remaining relief aT`dTbcTS X] cWT C^cX^] ^] P UX]P[ QPbXb %cWT kFinal Orderl& P]S

approving the form of notice with respect to the Final Hearing;

and the Court having considered the Motion, the First Day Declaration filed concurrently with

the Motion, the DIP Documents, the evidence submitted or proffered at the interim hearing to

R^]bXSTa cWT aT[XTU aT`dTbcTS X] cWT C^cX^] WT[S ^] 7dVdbc ,.' -+,4 %cWT kInterim Hearingl& P]S

at the second interim hearing to consider the relief requested in the Motion held on September 3,

20,4 %cWT kSecond Interim Hearingl&6 P]S cWT 9^dac WPeX]V T]cTaTS cWT ?]cTaX\ EaSTa VaP]cX]V

the relief requested in the Motion on an interim basis on August 14, 2019; and notice of the

Interim Hearing and Second Interim Hearing having been given in accordance with Bankruptcy

Rules 4001(b), (c), and (d), and 9014 and any applicable Local Rule, including Local Rule 9013-

1(m); and the Interim Hearing and Second Interim Hearing having been held and concluded; and

all objections to the relief requested in the Motion having been withdrawn, resolved, or overruled

by the Court, other than the Preserved Objections as defined in paragraph 51 below; and based

on all pleadings filed with this Court, and all proceedings held before the Court; and it appearing

to the Court that granting the further interim relief requested in the Motion (and final relief,

except as to matters subject to the entry of the Final Order as expressly set forth below, due to

the Preserved Objections) is fair and reasonable and in the best interests of the Debtors, their

estates, and their creditors and equity holders, and is essential for the continued operation of the


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:TQc^abm QdbX]TbbTb P]S Xb ]TRTbbPah c^ Pe^XS X\\TSXPcT P]S XaaT_PaPQ[T WPa\ c^ cWT :TQc^abm

estates; and it further appearing that the Debtors are unable to obtain unsecured credit for money

borrowed allowable as an administrative expense under section 503(b)(1) of the Bankruptcy

Code; and adequate protection being provided on account of the interests of certain holders of

liens on the property of the estates on which liens are to be granted; and after due deliberation

and consideration, and for good and sufficient cause appearing therefor:

BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING AND

SECOND INTERIM HEARING BY THE DEBTORS, THE COURT HEREBY MAKES THE

FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF LAW:

        A.     Petition Date) E] 7dVdbc ,, P]S ,-' -+,4 %cWT kPetition Datel&' TPRW ^U cWT

               Debtors filed a separate voluntary petition under chapter 11 of the Bankruptcy

               Code in the United States Bankruptcy Court for the District of Delaware (the

               kCourtl& R^\\T]RX]V cWTbT RWP_cTa ,, RPbTb %R^[[TRcXeT[h' cWT kChapter 11

               Casesl&)

        B.     Debtors in Possession. The Debtors continue to operate their businesses and

               properties as debtors-in-possession pursuant to sections 1107 and 1108 of the

               Bankruptcy Code. No trustee or examiner has been appointed in these Chapter

               11 Cases.

        C.     Jurisdiction and Venue. This Court has jurisdiction over these proceedings

               and the persons and property affected hereby pursuant to 28 U.S.C. §§ 157(b)

               and 1334, and the Amended Standing Order of Reference from the United

               States District Court for the District of Delaware, dated as of February 29,

               2012. Consideration of the Motion constitutes a core proceeding under 28


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               U.S.C. § 157(b)(2). The Court may enter this Second Interim Order consistent

               with Article III of the United States Constitution. Venue for these Chapter 11

               Cases and proceedings on the Motion is proper in this district pursuant to 28

               U.S.C. §§ 1408 and 1409.

        D.      Committee Formation. On August 22, 2019, the Office of the United States

                IadbcTT U^a cWT :XbcaXRc ^U :T[PfPaT %cWT kU.S. Trusteel& P__^X]cTS P] ^UUXRXP[

                committeT ^U d]bTRdaTS RaTSXc^ab %cWT kCommitteel& X] cWTbT 9WP_cTa ,, 9PbTb

                pursuant to section 1102 of the Bankruptcy Code.

        E.     /C@PKNOV :PGLQH?PGKJO. Subject only to the rights of parties in interest as set forth

               in paragraph 35 hereof, after consultation with their counsel and financial

               advisors, the Debtors (on behalf of and for themselves and their estates) admit,

               stipulate, acknowledge, and agree to the following:

               (i)    Prepetition Credit Facility) B^^c 9aPcT' ?]R) %kBorrowerl&' B^^c 9aPcT

               PaaT]c' ?]R) %kParentl&' cWT ^cWTa =dPaP]c^ab _Pach c^ cWT 9aTSXc 7VaTT\T]c

               %STUX]TS QT[^f& Ua^\ cX\T c^ cX\T %R^[[TRcXeT[h fXcW FPaT]c' kPrepetition

               Guarantorsl' P]S TPRW X]SXeXSdP[[h' kPrepetition Guarantorl' R^[[TRcXeT[h fXcW

               8^aa^fTa' kPrepetition Credit Partiesl' P]S TPRW X]SXeXSdP[[h' P kPrepetition

               Credit Partyl&' CXSc^f] CPSXb^] CP]PVT\T]c BB9' Pb PS\X]XbcaPcXeT PVT]c P]S

               collateral agent for the Lenders under the Credit Agreement described below (in

               such capacity, together with its successors and assXV]b' kPrepetition Agentl& P]S

               cWT BT]STab cWTaTd]STa %cWT kPrepetition Lendersl&' PaT _PacXTb c^ cWPc RTacPX]

               Credit Agreement dated as of August 3, 2018 (as it may have been amended,

               restated, modified, supplemented, or replaced from time to time prior to the


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               FTcXcX^] :PcT %cWT kPrepetition Credit Agreementl&) IWT FaT_TcXcX^] 9aTSXc

               7VaTT\T]c _a^eXSTS cWT 8^aa^fTa fXcW P RaTSXc UPRX[Xch %cWT kPrepetition Credit

               Facilityl& X] cWT ^aXVX]P[ P\^d]c ^U $-,'+++'+++ Pb bTc U^acW X] cWT FaT_TcXcX^]

               Credit Agreement, which was fully drawn, and under which additional advances

               were funded through amendments to the Prepetition Credit Agreement. The

               Debtors estimate that approximately $31,622,057 in principal and interest was

               outstanding under the Prepetition Credit Facility as of the Petition Date, and the

               Debtors estimate that an additional amount of not less than $10,000,000 would be

               payable as a required Make Whole Amount under the Prepetition Credit Facility

               (calculated as if the Prepetition Credit Facility were repaid on the Petition Date)

               %R^[[TRcXeT[h' cWT kPrepetition Obligationsl&) IWT FaT_TcXcX^] 9aTSXc <PRX[Xch Xb

               bTRdaTS Qh UXabc _aX^aXch bTRdaXch X]cTaTbcb P]S [XT]b %cWT kPrepetition Liensl& ^]

               substantially all prepetition assets of the Prepetition Credit Parties (the

               kPrepetition Collaterall& _dabdP]c c^ cWPc RTacPX] HTRdaXch 7VaTT\T]c SPcTS Pb ^U

               August 3, 2018 and that certain Intellectual Property Security Agreement dated as

               of August 3, 2018 (as each may have been amended, restated, modified,

               supplemented, or replaced from time to time prior to the Petition Date) (the

               kPrepetition Security Agreementsl&) E] 7dVdbc 4' -+,4' cWT FaT_TcXcX^] 9aTSXc

               Agreement and Prepetition Security Agreements were assigned to Money Chest

               LLC and Money Chest LLC became the b^[T FaT_TcXcX^] BT]STa %kSuccessor

               Prepetition Lenderl& P]S cWT PS\X]XbcaPcXeT PVT]c P]S R^[[PcTaP[ PVT]c U^a cWT b^[T

               Prepetition Lender under the Prepetition Credit Agreement and Prepetition

               HTRdaXch 7VaTT\T]cb %kSuccessor Prepetition Agentl&) IWT FaT_Ttition Credit


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               Agreement, Prepetition Security Agreements, together with all other notes, loans,

               guarantees, security, and related agreements and documents entered into in

               R^]]TRcX^] cWTaTfXcW PaT cWT kPrepetition Credit Documents)l

               (ii)   Prepetition Second Lien Obligations. Borrower, Loot Crate Holdings, Inc.

               %kHoldingsl&' cWT ^cWTa =dPaP]c^ab _Pach c^ cWT FaT_TcXcX^] FdaRWPbT 7VaTT\T]c

               %STUX]TS QT[^f& Ua^\ cX\T c^ cX\T %R^[[TRcXeT[h fXcW >^[SX]Vb' kPrepetition

               Second Lien Guarantorsl' P]S TPRW X]SXeXSdP[[h' kPrepetition Second Lien

               Guarantorl' R^[[TRcXeT[h fXcW 8^aa^fTa' kPrepetition Second Lien Credit Partiesl'

               P]S TPRW X]SXeXSdP[[h' P kPrepetition Second Lien Credit Partyl&' P]S C^]Th

               9WTbc BB9 %kPrepetition Second Lien Lenderl& PaT _PacXTb c^ cWPc RTacPXn

               Securities Purchase Agreement dated as of August 3, 2018 (as it may have been

               amended, restated, modified, supplemented, or replaced from time to time prior to

               cWT FTcXcX^] :PcT %cWT kPrepetition Purchase Agreementl&) FdabdP]c c^ cWT

               Prepetition Purchase Agreement, the Prepetition Second Lien Lender purchased a

               HdQ^aSX]PcTS 9^]eTacXQ[T Fa^\Xbb^ah D^cT %cWT kPrepetition Second Lien Notel&

               in the amount of $2,500,000 on or about August 3, 2018. As of the Petition Date,

               the Debtors estimate that approximately $2,994,939.00 was outstanding under the

               FaT_TcXcX^] HTR^]S BXT] D^cT %cWT kPrepetition Second Lien Obligationsl&) IWT

               Prepetition Second Lien Obligations are secured by security interests and liens

               %cWT kPrepetition Second Liensl& ^] bdQbcP]cXP[[h P[[ _aepetition assets of the

               FaT_TcXcX^] HTR^]S BXT] 9aTSXc FPacXTb %cWT kPrepetition Second Lien Collaterall&

               pursuant to that certain Security Agreement dated as of August 3, 2018 and that

               certain Intellectual Property Security Agreement dated as of August 3, 2018 (as


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                each may have been amended, restated, modified, supplemented, or replaced from

                cX\T c^ cX\T _aX^a c^ cWT FTcXcX^] :PcT %cWT kPrepetition Second Lien Security

                Agreementsl&) IWT FaT_TcXcX^] FdaRWPbT 7VaTT\T]c' cWT FaT_TcXcX^] HTR^]S BXT]

                Note, the Prepetition Second Lien Security Agreements, together with all other

                notes, loan, guarantee, security, and related agreements and documents entered

                X]c^ X] R^]]TRcX^] cWTaTfXcW' PaT cWT kPrepetition Second Lien Documentsl) IWT

                Prepetition Agent, the Prepetition Lenders, the Successor Prepetition Agent, the

                Successor Prepetition Lender, and the Prepetition Second Lien Lender

                R^[[TRcXeT[h PaT cWT kPrepetition Secured Partiesl P]S cWT HdRRTbb^a FaT_TcXcX^]

                Agent, the Successor Prepetition Lender, and the Prepetition Second Lien Lender

                R^[[TRcXeT[h PaT cWT kCurrent Prepetition Secured Partiesl)

                (iii)   Prepetition Intercreditor Agreement. On or about August 3, 2018, the

                Prepetition Agent and the Prepetition Second Lien Lender entered into that certain

                Subordination and Intercreditor Agreement that, among other things, assigned

                relative priorities to certain claims and liens arising under the Prepetition Credit

                :^Rd\T]cb P]S cWT FaT_TcXcX^] HTR^]S BXT] :^Rd\T]cb %cWT kPrepetition

                Intercreditor Agreementl&) The Prepetition Intercreditor Agreement is a

                kbdQ^aSX]PcX^] PVaTT\T]cl fXcWX] cWT \TP]X]V ^U bTRcX^] 0,+%P& ^U cWT

                Bankruptcy Code in the Chapter 11 Cases.

                (iv)    Validity and Priority of Prepetition Senior Indebtedness and Liens.

                The Debtors acknowledge, agree, and stipulate that (a) the liens on the

                Prepetition Collateral granted pursuant to the Prepetition Credit Documents

                are binding, enforceable, non-avoidable, and perfected liens, and are not


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                subject to any challenge or defense, including avoidance, reduction, offset,

                attachment,     disallowance,     disgorgement,      counterclaim,      surcharge,

                recharacterization, or subordination, pursuant to the Bankruptcy Code or

                applicable non-bankruptcy law; (b) the liens granted pursuant to the

                Prepetition Credit Documents are senior to all security interests and liens in

                the Prepetition Collateral other than any Permitted Priority Liens (as defined

                in the DIP Credit Agreement); (c) the Prepetition Credit Documents are valid

                and enforceable by the Successor Prepetition Agent and Successor Prepetition

                Lender against each of the Debtors party to such agreements; (d) the

                obligations under the Prepetition Credit Facility constitute legal, valid,

                binding, and unavoidable obligations of the Debtors, enforceable in

                accordance with the terms and conditions of the Prepetition Credit

                Documents; (e) no offsets, challenges, defenses, claims, or counterclaims of

                any kind or any nature to any of the obligations under the Prepetition Credit

                Facility exist, and no portion of such obligations is subject to avoidance,

                recharacterization, disallowance, or subordination pursuant to the Bankruptcy

                Code or other applicable law; (f) the Debtors and their estates have no offsets,

                defenses, claims, objections, challenges, causes of action; and/or choses in

                action, including, without limitation, avoidance claims under chapter 5 of the

                Bankruptcy Code, against the Prepetition Agent, the Prepetition Lenders, the

                Successor Prepetition Agent, or the Successor Prepetition Lender and/or any

                ^U bdRW _PacXTbm aTb_TRcXeT PUUX[XPcTb' _PaT]cb' bdQbXSXPaXTb' R^]ca^[[X]V _Tab^]b'

                agents, attorneys, advisors, professionals, officers, directors, or employees


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                whether arising under applicable state or federal law (including, without

                limitation, any recharacterization, subordination, avoidance or other claims

                arising under or pursuant to sections 105, 510, or 542 through 553 of the

                Bankruptcy Code) or arising under or in connection with any of the

                Prepetition Credit Documents (or the transactions contemplated thereunder),

                the obligations under the Prepetition Credit Facility, or the security interests

                and liens in the Prepetition Collateral; (g) as of the Petition Date, the

                Prepetition Obligations constitute allowed, secured claims within the meaning

                of sections 506(a) and 502 of the Bankruptcy Code, together with accrued and

                d]_PXS X]cTaTbc' UTTb %X]R[dSX]V Pcc^a]Thbm UTTb P]S aT[PcTS Tg_T]bTb&' R^bcb'

                expenses, and other charges of whatever nature owing in respect thereof; (k)

                the Debtors hereby waive, discharge and release any right to challenge any of

                the obligations under the Prepetition Credit Facility, the priority of the

                :TQc^abm ^Q[XVPcX^]b cWTaTd]STa' P]S cWT bTRdaXch U^a %P]S cWT _aX^aXch ^U cWT

                liens securing) such obligations, and to assert any offsets, defenses, claims,

                objections, challenges, causes of action, and/or choses in action against the

                Prepetition Agent, Prepetition Lenders, Successor Prepetition Agent, or the

                Successor Prepetition Lender, and/or any of their respective officers,

                directors, or employees; and (1) any payments made on account of the

                obligations under the Prepetition Credit Facility including the Prepetition

                Obligations to or for the benefit of the Prepetition Agent, Prepetition Lenders,

                Successor Prepetition Agent, or the Successor Prepetition Lender prior to the

                Petition Date were payments out of the Prepetition Collateral in accordance


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                with the Prepetition Intercreditor Agreement, as applicable, and such

                payments did not diminish any property otherwise available for distribution to

                unsecured creditors.

                (v)    Validity and Priority of Prepetition Second Lien Indebtedness and

                Liens. The Debtors acknowledge, agree, and stipulate that (a) the liens on the

                Prepetition Second Lien Collateral granted pursuant to the Prepetition Credit

                Documents are binding, enforceable, non-avoidable, and perfected liens, and

                are not subject to any challenge or defense, including avoidance, reduction,

                offset, attachment, disallowance, disgorgement, counterclaim, surcharge,

                recharacterization, or subordination, pursuant to the Bankruptcy Code or

                applicable non-bankruptcy law; (b) the liens granted pursuant to the

                Prepetition Second Lien Documents are senior to all security interests and

                liens in the Prepetition Second Lien Collateral except with respect to the

                Prepetition Liens as provided in the Prepetition Intercreditor Agreement and

                any Permitted Priority Liens; (c) the Prepetition Second Lien Documents are

                valid and enforceable by the Prepetition Second Lien Lender against each of

                the Debtors party to such agreements; (d) the obligations under the Prepetition

                Second Lien Documents constitute legal, valid, binding, and unavoidable

                obligations of the Debtors, enforceable in accordance with the terms and

                conditions of the Prepetition Second Lien Documents; (e) no offsets,

                challenges, defenses, claims, or counterclaims of any kind or any nature to

                any of the obligations under the Prepetition Second Lien Documents exist,

                and no portion of such obligations is subject to avoidance, recharacterization,


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                disallowance, or subordination pursuant to the Bankruptcy Code or other

                applicable law; (f) the Debtors and their estates have no offsets, defenses,

                claims, objections, challenges, causes of action; and/or choses in action,

                including, without limitation, avoidance claims under chapter 5 of the

                Bankruptcy Code, against the Prepetition Second Lien Lender and/or any of

                its affiliates, parents, subsidiaries, controlling persons, agents, attorneys,

                advisors, professionals, officers, directors, or employees whether arising

                under applicable state or federal law (including, without limitation, any

                recharacterization, subordination, avoidance or other claims arising under or

                pursuant to sections 105, 510, or 542 through 553 of the Bankruptcy Code) or

                arising under or in connection with any of the Prepetition Second Lien

                Documents (or the transactions contemplated thereunder), the obligations

                under the Prepetition Second Lien Documents, or the security interests and

                liens in the Prepetition Second Lien Collateral; (g) as of the Petition Date, the

                Prepetition Second Lien Obligations constitute allowed, secured claims within

                the meaning of sections 506(a) and 502 of the Bankruptcy Code, together with

                accrued P]S d]_PXS X]cTaTbc' UTTb %X]R[dSX]V Pcc^a]Thbm UTTb P]S aT[ated

                expenses), costs, expenses, and other charges of whatever nature owing in

                respect thereof; (k) the Debtors hereby waive, discharge and release any right

                to challenge any of the obligations under the Prepetition Second Lien

                Documents, the priority of tWT :TQc^abm ^Q[XVPcX^]b cWTaTd]STa' P]S cWT

                security for (and the priority of the liens securing) such obligations, and to

                assert any offsets, defenses, claims, objections, challenges, causes of action,


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                and/or choses in action against the Prepetition Second Lien Lender and/or any

                of its officers, directors, or employees; and (1) any payments made on account

                of the obligations under the Prepetition Second Lien Documents including the

                Prepetition Second Lien Obligations to or for the benefit of the Prepetition

                Second Lien Lender prior to the Petition Date were payments out of the

                Prepetition Second Lien Collateral in accordance with the Prepetition

                Intercreditor Agreement, as applicable, and such payments did not diminish

                any property otherwise available for distribution to unsecured creditors.

                (vi)    Cash Collateral. The Debtors acknowledge and stipulate that

                bdQbcP]cXP[[h P[[ ^U cWT :TQc^abm RPbW' X]R[dSX]V cWT RPbW X] cWTXa ST_^bXc

                accounts, wherever located, whether as original collateral or proceeds of other

                Prepetition Collateral or the Prepetition Second Lien Collateral, constitutes

                Cash Collateral of the Successor Prepetition Agent, the Successor Prepetition

                Lender, and the Prepetition Second Lien Lender, as and to the extent

                applicable.

                (vii)   Default by the Debtors. The Debtors acknowledge and stipulate that by

                filing petitions for relief under chapter 11 of the Bankruptcy Code and

                commencing these Chapter 11 Cases, and due to other events of default under

                the Prepetition Credit Documents and the Prepetition Second Lien

                Documents, all of their debts and obligations under the Prepetition Credit

                Documents and the Prepetition Second Lien Documents (including, without

                limitation, any premiums payable thereunder) are immediately due and

                payable.


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        F.      Consent to Adequate Protection and Priming Liens. The Successor Prepetition

                Agent, the Successor Prepetition Lender, and the Prepetition Second Lien Lender

                each have provided consent to (i) the adequate protection provided in paragraph

                11 of this Second Interim Order and (ii) the priming of their respective liens on

                the Prepetition Collateral and the Prepetition Second Lien Collateral on the terms

                set forth in paragraph 6 of this Second Interim Order.

        G.      Findings Regarding the Postpetition Financing.

                (i)    Request for Postpetition Financing. The Debtors seek authority to: (a) use

                Cash Collateral on the terms described herein, and (b) access and use the liquidity

                provided under the DIP Facility to: (i) finance ongoing debtor in possession

                working capital purposes, as provided for in the Budget, and other general

                corporate purposes; and (ii) finance transaction fees, costs and expenses related to

                the DIP Credit Agreement, in each case, solely to the extent permitted under the

                DIP Documents and as provided for in the Budget.

                (ii)   Priming of Certain Prepetition Liens. The priming of the liens of the

                Prepetition Secured Parties on the Prepetition Collateral and the Prepetition

                Second Lien Collateral, as contemplated by the DIP Facility and as further

                described below, will enable the Debtors to obtain the DIP Facility and to

                continue to operate their businesses for the benefit of their estates and creditors.

                However, the Current Prepetition Secured Parties are each entitled to receive

                adequate protection as set forth in this Second Interim Order pursuant to sections

                361, 363, and 364 of the Bankruptcy Code, for and to the extent of any

                postpetition diminution in the value of each of their respective interests in the


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                Prepetition Collateral or the Prepetition Second Lien Collateral (including Cash

                9^[[PcTaP[& aTbd[cX]V Ua^\ cWT :TQc^abm dbT' bP[T' ^a [TPbT ^U bdRW R^[[PcTaP[' cWT

                imposition of the automatic stay, the priming of the prepetition liens granted on

                the Prepetition Collateral or the Prepetition Second Lien Collateral, and the

                subordination to the Carve-Out described in paragraph 32 hereof and the DIP

                BXT]b %Pb STUX]TS WTaTX]& %R^[[TRcXeT[h' cWT kDiminution in Valuel&) 7b PST`dPcT

                protection, the Current Prepetition Secured Parties will receive the adequate

                protection described in paragraph 11 of this Second Interim Order.

                (iii)   Need for Postpetition Financing and Use of Cash Collateral.             The

                :TQc^abm ]TTS c^ dbT 9PbW 9^[[PcTaP[ P]S c^ ^QcPX] RaTSXc _dabdP]c c^ cWT :?F

                Facility as provided for herein is necessary to enable the Debtors to continue

                operations and to administer and preserve the value of their estates. The ability of

                the Debtors to finance their operations, to maintain business relationships with

                their vendors, suppliers, and customers, to pay their employees, and otherwise to

                finance their operations requires working capital from the DIP Facility and the

                use of Cash Collateral. Without the ability to access the DIP Facility or Cash

                Collateral, the Debtors, their estates, their creditors, and the possibility for a

                successful reorganization would suffer immediate and irreparable harm. The

                Debtors do not have sufficient available sources of working capital and financing

                to operate their businesses or maintain their properties in the ordinary course of

                business without the DIP Facility and authorized use of Cash Collateral.

                (iv)    No Credit Available on More Favorable Terms. Given their current

                financial condition, financing arrangements, and capital structure, the Debtors are


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                unable to obtain financing from sources other than the DIP Lenders on terms

                more favorable than the DIP Facility. The Debtors have been unable to obtain

                unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an

                administrative expense. The Debtors have also been unable to obtain credit (a)

                having priority over that of administrative expenses of the kind specified in

                sections 503(b), 507(a), and 507(b) of the Bankruptcy Code, (b) secured by a lien

                on property of the Debtors and their estates that is not otherwise subject to a lien,

                or (c) secured solely by a junior lien on property of the Debtors and their estates

                that is subject to a lien. Financing on a postpetition basis is not otherwise

                available without granting the DIP Agent, for the benefit of itself and the DIP

                Lenders, (a& _TaUTRcTS bTRdaXch X]cTaTbcb X] P]S [XT]b ^] P[[ ^U cWT :TQc^abm TgXbcX]V

                and after-acquired assets, (b) superpriority claims and priming liens, and (c) the

                other protections set forth in this Second Interim Order, in each case with the

                priorities and on the other terms set forth herein.

                (v)    Adequacy of the Budget. As set forth in the DIP Documents, the Debtors

                have prepared and delivered to the DIP Agent and the DIP Lenders a budget, a

                copy of which is annexed hereto as Exhibit C (as it may be updated, modified,

                amended, restated or supplemented with the consent of the DIP Agent, in its sole

                discretion, on the terms set forth in the DIP Documents and paragraph 14 hereof,

                cWT kBudgetl&) IWT 8dSVTc WPb QTT] cW^a^dVW[h aTeXTfTS Qh cWT :TQc^ab' cWTXa

                management, and their advisors. The Debtors, their management, and their

                advisors believe the Budget and the estimate of administrative expenses due or

                accruing during the period covered by the Budget were developed using


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                reasonable assumptions, and based on those assumptions the Debtors believe

                there should be sufficient available assets to pay all administrative expenses due

                or accruing during the period covered by the Budget.

H.      Section 506(c)) ?] TgRWP]VT U^a %X& cWT :?F 7VT]cmb P]S cWT :?F BT]STabm PVaTT\T]c c^

        subordinate their liens and superpriority claims to the Carve-Out and (ii) the Current

        FaT_TcXcX^] HTRdaTS FPacXTbm PVaTT\T]c c^ bdQ^aSX]PcT cWTXa [XT]b P]S R[PX\b c^ cWT 9PaeT-

        Out and the DIP Liens, the DIP Agent, the DIP Lenders, and the Current Prepetition

        Secured Parties shall each receive a waiver of the provisions of section 506(c) of the

        Bankruptcy Code, subject to entry of a Final Order.

I.      Section 552.   ?] TgRWP]VT U^a %X& cWT :?F 7VT]cmb P]S cWT :?F BT]STabm PVaTT\T]c c^

        subordinate their liens and superpriority claims to the Carve-Out, and (ii) the Current

        FaT_TcXcX^] HTRdaTS FPacXTbm PVaTT\T]c c^ bdQ^aSX]PcT cWTXa [XT]b P]S R[PX\b c^ cWT 9PaeT-

        Out and the DIP Liens, the DIP Agent, the DIP Lenders, and the Current Prepetition

        Secured Parties are each entitled to all of the rights and benefits of section 552(b) of the

        8P]Zad_cRh 9^ST P]S cWT kT`dXcXTb ^U cWT RPbTl TgRT_cX^] bWP[[ ]^c P__[h' bdQYTRc c^

        entry of a Final Order.

J.      Good Faith of the DIP Agent and the DIP Lenders.

        (i)     Willingness to Provide Financing. The DIP Lenders have indicated a willingness

        to provide financing to the Debtors subject to: (a) the entry by this Court of this Second

        Interim Order, in a form satisfactory to the DIP Agent, to secure all obligations under the

        DIP Documents; (b) approval by this Court of the terms and conditions of the DIP

        Facility; and (c) entry of findings by this Court that such financing is essential to the

        :TQc^abm TbcPcTb' cWPc cWT :?F 7VT]c P]S :?F BT]STab PaT TgcT]SX]V RaTSXc c^ cWT :TQc^ab

        pursuant to thT :?F :^Rd\T]cb X] V^^S UPXcW' P]S cWPc cWT :?F 7VT]cmb P]S :?F BT]STabm
                                                 19

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        claims, superpriority claims, security interests, and liens and other protections granted

        pursuant to this Second Interim Order and the DIP Documents will have the protections

        provided in section 364(e) of the Bankruptcy Code and will not be affected by any

        subsequent reversal, modification, vacatur, amendment, reargument, or reconsideration of

        this Second Interim Order, or any other order.

        (ii)     Business Judgment and Good Faith Pursuant to Section 364(e). The terms and

        conditions of this Second Interim Order and the extension of credit under the DIP

        Facility, and the DIP Documents, and the interest and fees paid and to be paid thereunder,

        are fair, reasonable, and the best available to the Debtors under the circumstances, reflect

        cWT :TQc^abm TgTaRXbT ^U _adST]c P]S b^d]S QdbX]Tbb YdSV\T]c R^]bXbcT]c fXcW cWTXa

        fiduciary duties, and are supported by reasonably equivalent value and consideration. The

        terms and conditions of the DIP Facility and the use of Cash Collateral were negotiated in

        V^^S UPXcW P]S Pc Pa\bm [T]VcW P\^]V cWT :TQc^ab' cWT :?F 7VT]c' cWT :?F BT]STab' P]S

        the Current Prepetition Secured Parties. The use of Cash Collateral and credit to be

        extended under the DIP Facility shall be deemed to have been so allowed, advanced,

        made, used, and extended in good faith, and for valid business purposes and uses, within

        the meaning of section 364(e) of the Bankruptcy Code, and the Current Prepetition

        Secured Parties, the DIP Agent, and the DIP Lenders are therefore entitled to the

        protection and benefits of section 364(e) of the Bankruptcy Code and this Second Interim

        Order.

K.      Notice. Notice of the Interim Hearing and the emergency relief requested in the

        Motion was provided by the Debtors, whether by facsimile, email, overnight courier,

        or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii)


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        counsel to the Current Prepetition Secured Parties; (iii) the parties listed in the

        consolidated list of thirty (30) largest unsecured creditors filed by the Debtors in the

        Chapter 11 Cases; and (iv) any such other party entitled to notice pursuant to Local

        Rule 9013-l(m). No other notice was required in connection with the relief set forth

        in the Interim Order. Notice of the Second Interim Hearing and the relief requested

        in the Motion was provided by the Debtors, whether by facsimile, email, overnight

        courier, or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee;

        (ii) counsel to the Current Prepetition Secured Parties; (iii) counsel to the Committee;

        (iv) the parties listed in the consolidated list of thirty (30) largest unsecured creditors

        filed by the Debtors in the Chapter 11 Cases; and (v) any such other party entitled to

        notice pursuant to Local Rule 9013-[%\& %R^[[TRcXeT[h' cWT kNotice Partiesl&) IWT

        parties have made reasonable efforts to afford the best notice possible under the

        circumstances and such notice is good and sufficient to permit the relief set forth in

        this Second Interim Order.

        Based upon the foregoing findings and conclusions, the Motion, and the record before the

Court with respect to the Motion, and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED that:

        1.      Further Interim DIP Financing Approved. The DIP Financing is authorized and

approved on a further interim basis, and the use of Cash Collateral on a further interim basis is

authorized, subject to the terms and conditions set forth in this Second Interim Order and the DIP

Documents (including the Budget).

        2.      Objections Overruled. All objections to the DIP Financing and/or entry of this

Second Interim Order to the extent not withdrawn or resolved are hereby overruled, subject to the

Preserved Objections.
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DIP Facility Authorization

        3.      Authorization of the Further Interim DIP Financing and Entry into the DIP

Documents; Application of DIP Proceeds.      The DIP Facility is hereby approved on a further

interim basis. The Debtors are expressly and immediately authorized and empowered to execute

and deliver the DIP Documents and to incur and to perform the DIP Obligations in accordance

with, and subject to, the terms of this Second Interim Order and the DIP Documents, and to

deliver all instruments and documents that may be necessary or required for the performance by

the Debtors under the DIP Facility and the creation and perfection of the DIP Liens provided for

by this Second Interim Order and the DIP Documents. The DIP Documents evidence valid and

binding obligations of the Debtors, which shall be enforceable against the Debtors, their estates,

and their creditors in accordance with the terms and conditions of the DIP Documents and this

Second Interim Order. The Debtors are hereby authorized to pay, in accordance with this Second

Interim Order, the principal, interest, fees, expenses, and other amounts described in the DIP

Documents and all other documents comprising the DIP Facility as such become due and without

need to obtain further Court approval, all to the extent provided in the DIP Documents. All

collections and proceeds, whether from ordinary course collections, asset sales, debt or equity

issuances, insurance recoveries, condemnations, or otherwise, will be deposited and applied as

required by this Second Interim Order and the DIP Documents. All of the obligations described

in the DIP Documents shall represent valid and binding obligations of the Debtors, enforceable

against each of the Debtors and their estates in accordance with the terms of the DIP Documents.

The proceeds of the DIP Facility (net of any amounts used to pay fees, costs and expenses under

the DIP Credit Agreement) shall be used for: (a) the payment of fees, expenses and costs

incurred in connection with the Chapter 11 Cases; (b) the payment of transaction expenses; and


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(c) working capital, capital expenditures, and other general corporate purposes of the

Debtors, in each case, subject to the Budget.

        4.      Authorization to Access the DIP Financing. During the Interim Period, and

subject to the terms and conditions set forth in the DIP Documents, the DIP Facility, and this

HTR^]S ?]cTaX\ EaSTa' P]S c^ _aTeT]c X\\TSXPcT P]S XaaT_PaPQ[T WPa\ c^ cWT :TQc^abm TbcPcTb' cWT

Debtors are hereby authorized to access the Interim DIP Financing.

        5.      DIP Obligations.   The DIP Documents and this Second Interim Order shall

constitute and evidence the validity of the DIP Obligations, which DIP Obligations shall be

enforceable against the Debtors, their estates, and any successors thereto, including any trustee

appointed in these Chapter 11 Cases, or any case under chapter 7 of the Bankruptcy Code upon

the conversion of any of these Chapter 11 Cases, or in any other proceedings superseding or

aT[PcTS c^ P]h ^U cWT U^aTV^X]V %R^[[TRcXeT[h' cWT kSuccessor Casesl&) IWT :?F EQ[XVPcX^]b

include all loans, notes and any other indebtedness or obligations, contingent or absolute, which

may now or from time to time be owing by any of the Debtors to the DIP Agents or to any of the

DIP Lenders, under the DIP Documents or this Second Interim Order, including all principal,

accrued interest, costs, fees, expenses, and other amounts under the DIP Documents. The DIP

Obligations shall be due and payable as provided for herein and in the DIP Documents.

        6.      DIP Liens and Collateral. The DIP Agent, on its own behalf and on behalf of the

DIP Lenders, is hereby granted pursuant to sections 361, 362, 364(c)(2), 364(c)(3) and 364(d) of

the Bankruptcy Code first priority, priming, continuing, valid, binding, enforceable, non-

avoidable and automatically perfected post-petition security interests and liens (collectively, the

kDIP Liensl&' bT]X^a P]S bd_TaX^a X] _aX^aXch c^ P[[ ^cWTa bTRdaTS P]S d]bTRdaTS RaTSXc^ab ^U cWT

:TQc^abm TbcPcTb TgRT_c Pb ^cWTafXbT _a^eXSTS X] cWXb HTR^]S ?]cTaX\ EaSTa' d_^] P]S c^ P[[


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presently owned and hereafter acquired assets and real and personal property of the Debtors,

X]R[dSX]V' fXcW^dc [X\XcPcX^]' cWT U^[[^fX]V5 P[[ ^U cWT :TQc^abm 7RR^d]cb' RWPccT[ _P_Ta P]S

electronic chattel paper, deposit accounts, documents, Equipment, General Intangibles, goods,

instruments, Inventory, commercial tort claims (including without limitation those specifically

identified as part of the Prepetition Credit Documents), Investment Property, letter-of-credit

rights, letters of credit, all sums on deposit; together with (a) all substitutions and replacements

for and products of any of the foregoing; (b) in the case of all goods, all accessions; (c) all

accessories, attachments, parts, equipment and repairs now or hereafter attached or affixed to or

used in connection with any goods; (d) all warehouse receipts, bills of lading and other

documents of title now or hereafter covering such goods; (e) all Prepetition Collateral and

Prepetition Second Lien Collateral; (f) any money, or other assets of the Debtors that now or

hereafter come into the possession, custody, or control of the DIP Agent or the DIP Lenders;

(g) all sums on deposit in any bank account of the Debtors; (h) proceeds of any and all of the

foregoing; (i) books and records of the Debtors, including all mail or electronic mail addressed to

the Debtors; and (j) all of the foregoing, whether now owned or existing or hereafter acquired or

PaXbX]V ^a X] fWXRW cWT :TQc^ab ]^f WPeT ^a WTaTPUcTa PR`dXaT P]h aXVWcb %c^VTcWTa' cWT kDIP

Collaterall&' Pb becurity for the payment and performance of the DIP Obligations. The DIP

Liens to be created and granted to the DIP Agent and the DIP Lenders, as provided herein,

(A) are created pursuant to sections 364(c)(2), 364(c)(3) and 364(d) of the Bankruptcy Code and

(B) are first, valid, prior, perfected, unavoidable, and superior to any security, mortgage, or

collateral interest or lien or claim to the DIP Collateral, except that the DIP Liens shall be subject

to the Carve Out as set forth in this Second Interim Order and shall otherwise be junior to any

Permitted Priority Liens. For the avoidance of doubt, the DIP Collateral shall, if permitted by the


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entry of a Final Order, include (i) any proceeds or property recovered, unencumbered or

^cWTafXbT %cWT kAvoidance Proceedsl& Ua^\ R[PX\b P]S RPdbTb ^U PRcX^] d]STa bTRcX^]b 0+-%S&'

544, 545, 547, 548, 549, and 550 of the Bankruptcy Code, or any other avoidance actions under

cWT 8P]Zad_cRh 9^ST %cWT kAvoidance Actionsl&' %XX& 7e^XSP]RT 7RcX^]b' and (iii) any

commercial tort claims or proceeds thereof.        Further, the DIP Collateral shall include the

proceeds of leases, but not the leases themselves, whether or not perfected prior to the Petition

Date. The DIP Liens shall secure all DIP Obligations and the proceeds of the DIP Collateral

shall be applied in the order and priority set forth in the DIP Credit Agreement and this Second

Interim Order. Except as otherwise provided herein, the DIP Liens shall not be made subject to

or pari passu with any lien or security interest by any court order heretofore or hereafter entered

in the Chapter 11 Cases and shall be valid and enforceable against any trustee appointed in the

Chapter 11 Cases or any Successor Case(s) and/or upon the dismissal of any of the Chapter 11

Cases. The DIP Liens shall not be subject to, (i) subject to the entry of a Final Order, section

506(c) of the Bankruptcy Code, and (ii) sections 510, 549, 550 or 551 of the Bankruptcy Code,

^a %XXX& bdQYTRc c^ cWT T]cah ^U P <X]P[ EaSTa' cWT kT`dXcXTb ^U cWT RPbTl TgRTption of section 552 of

the Bankruptcy Code.

        7.      DIP Superpriority Claims. Subject to the Carve-Out, the DIP Obligations shall

constitute, in accordance with Section 364(c)(1) of the Bankruptcy Code, a superpriority

administrative claim having priority over any and all administrative expenses of and unsecured

claims against the Debtors now existing or hereafter arising, of any kind or nature whatsoever,

including, without limitation, all administrative expenses of the kind specified in, or arising or

ordered under, sections 105, 326, 328, 503(b), 507(a), 507(b), 546(c), 726 and 1114 of the

Bankruptcy Code. The DIP Agent and DIP Lenders shall have a superpriority administrative


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Tg_T]bT R[PX\ PVPX]bc cWT :TQc^abm TbcPcTb _dabdP]c c^ bTRcX^] .1/%R&%,& ^U cWT 8P]Zauptcy Code

for the DIP Obligations and all related costs and expenses, which shall be prior, senior and

superior to any other claim, including any other superpriority administrative expense claim of

any kind or nature, except as provided herein and/or in the DIP Credit Agreement. The DIP

Obligations are claims to be afforded priority over administrative expenses pursuant to section

364(c)(1) of the Bankruptcy Code, as provided herein and in the DIP Credit Agreement and

secured by liens pursuant to section 364 of the Bankruptcy Code as provided herein. All such

bd_Ta_aX^aXch R[PX\b aTUTaaTS c^ WTaTX] R^[[TRcXeT[h Pb cWT kDIP Superpriority Claimsl)

        8.      Extension of Credit. The DIP Agent and the DIP Lenders shall have no obligation

to make any loan or advance or purchase any note, as applicable, unless all of the conditions

precedent to the making of such extension of credit under the DIP Documents and this Second

Interim Order have been satisfied in full or waived by the DIP Agent in its sole discretion.

        9.      Use of DIP Facility Proceeds. From and after the Petition Date, the Debtors shall

use advances of credit under the DIP Facility only pursuant to the terms herein and the terms of

the DIP Documents, including as contemplated and limited by the Budget (including any

variance therefrom as may be permitted under the DIP Documents).

Authorization to Use Cash Collateral and Adequate Protection

        10.     Authorization to Use Cash Collateral. Subject to the terms and conditions set forth

in, and in accordance with, this Second Interim Order, the DIP Facility, and the DIP Documents,

the Debtors are authorized to use Cash Collateral. Except as expressly permitted in this Second

Interim Order, the DIP Facility, and the DIP Documents, nothing in this Second Interim Order

shall authorize the disposition of any assets of the Debtors or their estates outside the ordinary

R^dabT ^U QdbX]Tbb' ^a P]h ^U cWT :TQc^abm dbT ^U 9PbW 9^[[PcTaP[ ^a ^cWTa _a^RTTSb aTbd[cX]V


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therefrom. Upon the occurrence of an Event of Default (as defined herein and in the DIP

Documents), and the filing and service of a Default Notice (as defined here) (the date of the

UX[X]V P]S bTaeXRT ^U P :TUPd[c D^cXRT QTX]V cWT kTermination Datel&' cWT :TQc^abm aXVWc c^ dbT

Cash Collateral shall automatically terminate; provided, however, that during the Default Notice

Period (defined below), the Debtors may use Cash Collateral solely to meet payroll obligations

%^cWTa cWP] bTeTaP]RT& P]S c^ _Ph Tg_T]bTb RaXcXRP[ c^ ZTT_ cWT :TQc^abm QdbX]TbbTb ^_TaPcX]V' X]

each case only to the extent provided for in the Budget for the time period corresponding to the

Default Notice Period (defined below) or as otherwise agreed to in writing by the DIP Agent.

        11.     Adequate Protection. As adequate protection for the interest of the Successor

Prepetition Agent and Successor Prepetition Lender in the Prepetition Collateral (including Cash

Collateral) on account of the Diminution in Value, the Successor Prepetition Agent and

Successor Prepetition Lender shall receive the following adequate protection:

                (a)    Successor Prepetition Agent and Lender Replacement Liens. Pursuant to

                      sections 361, 363(e) and 364(d) of the Bankruptcy Code, solely to the

                      extent of the Diminution in Value of the interest of the Successor

                      Prepetition Agent and Successor Prepetition Lender in the Prepetition

                      Collateral, the Successor Prepetition Agent and Successor Prepetition

                      Lender shall have, subject to the terms and conditions set forth below and

                      subject to the rights of parties in interest as set forth in paragraph 35

                      hereof, additional and replacement security interests and liens in the DIP

                      9^[[PcTaP[ %cWT kPrepetition Secured Creditors Replacement Liensl&' fWXRW

                      shall be junior only to the DIP Liens, the DIP Superpriority Claims, the

                      Carve-Out, and any Permitted Priority Liens.


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                (b)   Successor Prepetition Agent and Lender Superpriority Claim. Solely to

                      the extent the Replacement Liens are insufficient to adequately protect the

                      Successor Prepetition Agent and Successor Prepetition Lender, the

                      Successor Prepetition Agent and Successor Prepetition Lender shall have

                      P] P[[^fTS bd_Ta_aX^aXch PS\X]XbcaPcXeT Tg_T]bT R[PX\ %cWT kPrepetition

                      Secured Creditors Superpriority Claiml&' fWXRW bWP[[ WPeT _aX^aXch' TgRT_c

                      with respect to the DIP Liens, the DIP Superpriority Claims, and the

                      Carve-Out, in all of the Chapter 11 Cases under sections 364(c)(1), 503(b)

                      and 507(b) of the Bankruptcy Code and otherwise over all administrative

                      expense claims and unsecured claims against the Debtors and their estates,

                      now existing or hereafter arising, of any kind or nature whatsoever

                      including, without limitation, administrative expenses of the kinds

                      specified in or ordered pursuant to sections 105, 326, 328, 330, 331,

                      503(a), 503(b), 507(a), 507(b), 546(c), 546(d), and 726 of the Bankruptcy

                      Code, and, subject to the entry of a Final Order, sections 506(c) and

                      552(b) of the Bankruptcy Code, whether or not such expenses or claims

                      may become secured by a judgment lien or other non-consensual lien,

                      levy, or attachment. Other than the DIP Liens, the DIP Superpriority

                      Claims, and the Carve-Out, (i) no costs or expenses of administration,

                      including, without limitation, professional fees allowed and payable under

                      sections 328, 330, and 331 of the Bankruptcy Code, or otherwise, that

                      have been or may be incurred in these proceedings or in any Successor




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                      Cases, and (ii) no priority claims are, or will be, senior to, prior to or on

                      parity with the Prepetition Secured Creditors Superpriority Claim.

                (c)   Adequate Protection Interest Accrual. As further adequate protection, the

                      Successor Prepetition Agent, on behalf of the Successor Prepetition

                      Lender, shall receive from the Debtors, (i) on the date hereof, payment in-

                      kind of all accrued and unpaid interest on the Prepetition Obligations

                      (which interest shall be capitalized and added to the principal amount of

                      the applicable Prepetition Obligations on the date hereof) and (ii) on the

                      last business day of each month, payment in-kind of all interest that

                      accrued on the Prepetition Obligations during the monthly period (or

                      portion thereof) ending on such last business day (which interest shall be

                      capitalized and added to the principal amount of the applicable Prepetition

                      Obligations on such last business day), with interest on the Prepetition

                      Obligations, for purposes of this clauses (ii), being calculated based upon

                      the Default Rate as set forth in the Prepetition Credit Documents. In the

                      event that it is determined by a final order, which order shall not be subject

                      to any appeal, stay, reversal or vacatur, that (i) no Diminution in Value of

                      the SuRRTbb^a FaT_TcXcX^] 7VT]c ^a cWT HdRRTbb^a FaT_TcXcX^] BT]STamb

                      interests has occurred, or (ii) such Successor Prepetition Agent and

                      Successor Prepetition Lender is determined to be undersecured, then a

                      party in interest shall have the right to assert that such accrual of interest

                      should be reversed.




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                (d)   Prepetition Second Lien Lender Replacement Lien. Pursuant to sections

                      361, 363(e) and 364(d) of the Bankruptcy Code, solely to the extent the

                      Replacement Liens are insufficient to adequately protect the Second Lien

                      Lender, the Prepetition Second Lien Lender shall have, subject to the

                      rights of parties in interest as set forth in paragraph 35 hereof, additional

                      and replacement security interests and liens in the DIP Collateral (the

                      kPrepetition Second Lien Lender Replacement Liensl P]S' c^VTcWTa fXcW

                      cWT FaT_TcXcX^] HTRdaTS 9aTSXc^ab GT_[PRT\T]c BXT]b' cWT kReplacement

                      Liensl&' fWXRW bWP[[ QT Yd]X^a ^][h c^ cWT :?F BXT]b' cWT :?F Hd_Ta_aX^aXch

                      Claims, the Carve-Out, any Permitted Priority Liens, and the Prepetition

                      Secured Creditors Replacement Liens, and subject to the Prepetition

                      Intercreditor Agreement.

                (e)   Prepetition Second Lien Lender Superpriority Claim. Solely to the extent

                      of the Diminution in Value of the interests of the Prepetition Second Lien

                      Lender in the Prepetition Second Lien Collateral, the Prepetition Second

                      Lien Lender shall have an allowed superpriority administrative expense

                      R[PX\ %cWT kPrepetition Second Lien Lender Superpriority Claiml&' fWXRW

                      shall have priority, except with respect to the DIP Liens, the DIP

                      Superpriority Claims, the Carve-Out, and the Prepetition Secured

                      Creditors Superpriority Claim, in all of the Chapter 11 Cases under

                      sections 364(c)(1), 503(b) and 507(b) of the Bankruptcy Code and

                      otherwise over all administrative expense claims and unsecured claims

                      against the Debtors and their estates, now existing or hereafter arising, of


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                      any   kind    or   nature    whatsoever    including,   without    limitation,

                      administrative expenses of the kind specified in or ordered pursuant to

                      sections 105, 326, 328, 330, 331, 503(a), 503(b), 507(a), 507(b), 546(c),

                      546(d), and 726 of the Bankruptcy Code, or, subject to the entry of a Final

                      Order, sections 506(c) and 552(b) of the Bankruptcy Code, whether or not

                      such expenses or claims may become secured by a judgment lien or other

                      non-consensual lien, levy, or attachment. Other than the DIP Liens, the

                      DIP Superpriority Claims, the Carve-Out, and the Current Prepetition

                      HTRdaTS FPacXTbm Hd_Ta_aX^aXch 9[PX\' %X& ]^ R^bcb ^a Tg_T]bTb ^U

                      administration, including, without limitation, professional fees allowed

                      and payable under sections 328, 330, and 331 of the Bankruptcy Code, or

                      otherwise, that have been or may be incurred in these proceedings, or in

                      any Successor Cases, and (ii) no priority claims are, or will be, senior to,

                      prior to or on parity with the Prepetition Second Lien Lender Superpriority

                      Claim.

                (f)   Milestones; 363 Sale Process. The Milestones constitute adequate

                      protection for the benefit of the Current Prepetition Secured Parties.

                      Further, upon the disp^bXcX^] ^U cWT :TQc^abm PbbTcb _dabdP]c c^ bTRcX^] .1.

                      of the Bankruptcy Code, the Prepetition Liens and the Prepetition Second

                      Liens shall attach to the proceeds of any such sale in the same manner and

                      priority as such liens attached to the Prepetition Collateral, the Prepetition

                      Second Lien Collateral, and the DIP Collateral, subject to the Prepetition

                      Intercreditor Agreement, and all such proceeds shall be promptly paid at


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                      closing on any such sale to the DIP Agent, the Successor Prepetition

                      Agent, and the Prepetition Second Lien Lender in order of their respective

                      priorities as provided in this Second Interim Order and the Prepetition

                      Intercreditor Agreement.

                (g)   Prepetition Indemnity Account. Following the payment in full in cash of

                      the Prepetition Obligations in accordance with the Prepetition Credit

                      :^Rd\T]cb' cWT :TQc^ab bWP[[ TbcPQ[XbW P] PRR^d]c X] cWT kR^]ca^[l %Pb

                      defined in the UCC (as defined in the DIP Credit Agreement)) of the

                      HdRRTbb^a FaT_TcXcX^] 7VT]c %cWT kPrepetition Indemnity Accountl&' X]to

                      which the sum of $500,000.00 of available cash shall be deposited as

                      security for any reimbursement, indemnification, or similar continuing

                      obligations of the Debtors in favor of the Current Prepetition Secured

                      Parties under the Prepetition Credit Documents, including, without

                      limitation, any obligations arising under Section 12.05 of the Prepetition

                      9aTSXc 7VaTT\T]c %cWT kPrepetition Indemnity Obligationsl&) IWT

                      Prepetition Indemnity Account shall not be subject to the Carve-Out.

                      (i)    Upon (a) the expiration of the Challenge Period (as defined below)

                             if, as of such date, no party has filed (x) an adversary proceeding,

                             cause of action, objection, claim, defense, or other challenge as

                             contemplated in paragraph 35 hereof, or a request for standing

                             related to the same, or (y) an adversary proceeding, cause of

                             action, objection, claim, defense, or other challenge against any of

                             the Prepetition Secured Parties related to the Prepetition Credit


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                             Facility, whether in the Chapter 11 Cases or independently in

                             another forum, court, or venue, or a request for standing related to

                             cWT bP\T %cWT [Pbc bdRW SPcT QTX]V cWT kPrepetition Indemnity

                             Account Termination Datel&' ^a %Q& cWT ST[XeTah ^U faXccT] ]^cXRT

                             to the Debtors by the Successor Prepetition Agent of the earlier

                             receipt by the Successor Prepetition Agent and the Successor

                             Prepetition Lender of releases and discharges of claims and

                             liabilities in form and substance satisfactory to the Successor

                             Prepetition Agent and the Successor Prepetition Lender in their

                             sole discretion, all amounts then remaining and being held in the

                             Prepetition Indemnity Account (net of any unreimbursed

                             obligations owing to the Successor Prepetition Agent and/or the

                             Successor Prepetition Lender on such date) shall be released to the

                             Debtors and shall be subject to the DIP Liens and the Replacement

                             Liens.

                     (ii)    The Prepetition Indemnity Obligations shall be secured by a first

                             priority lien on the Prepetition Indemnity Account and all funds on

                             deposit therein in favor of the Successor Prepetition Agent and the

                             Successor Prepetition Lender.

                     (iii)   The Successor Prepetition Agent and the Successor Prepetition

                             Lender may apply amounts in the Prepetition Indemnity Account

                             as and when they arise, without further notice to or consent from

                             the Debtors, the Committee, or any other parties in interest and


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                              without further order of this Court, upon compliance with the

                              provisions of paragraph 27 below.

                       (iv)   Upon request by the Successor Prepetition Agent, the Debtors shall

                              deposit additional available cash in the Prepetition Indemnity

                              Account as may be reasonably necessary adequately to cover

                              anticipated Prepetition Indemnity Obligations. The Debtors shall

                              remain liable for the Prepetition Indemnity Obligations, even if the

                              amounts in the Prepetition Indemnity Account prove insufficient to

                              pay in full the Prepetition Indemnity Obligations.

                (h)    In addition to the establishment and maintenance of the Prepetition

                       Indemnity Account, until the Prepetition Indemnity Account Termination

                       Date, the Successor Prepetition Agent, for itself and on behalf of the

                       Successor Prepetition Lender, shall retain and maintain the Prepetition

                       Liens as security for the amount of any Prepetition Indemnity Obligations

                       not capable of being satisfied from application of the funds on deposit in

                       the Prepetition Indemnity Account, subject to the priorities set forth in

                       paragraph 6 of this Second Interim Order.

        12.     Section 507(b) Reservation. Subject only to the Carve-Out described in paragraph

32 hereof, nothing contained herein shall impair or modify the application of section 507(b) of

the Bankruptcy Code in the event that the adequate protection provided in this Second Interim

Order is insufficient to compensate for any Diminution of Value of the respective interests of the

Current Prepetition Secured Parties in the Prepetition Collateral or the Prepetition Second Lien

Collateral during these Chapter 11 Cases or any Successor Cases.


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Provisions Common to DIP Financing and Cash Collateral Authorizations

        13.     Amendment of the DIP Documents. The DIP Documents may, from time to time,

be amended, amended and restated, modified, or supplemented by the parties thereto upon five

(5) days prior written notice to the U.S. Trustee and counsel to the Committee, but without notice

or a hearing (unless requested by the U.S. Trustee or the Committee) if the amendment,

amendment and restatement, modification, or supplement is (a) in accordance with the DIP

Documents and (b) not prejudicial in any material respect to the rights of the Debtors or any third

parties; provided, however, that notwithstanding the foregoing, except for actions expressly

permitted to be taken by the DIP Agent or the DIP Lenders as provided in the DIP Documents,

no amendment, modification, supplement, termination, or waiver of any provision of the DIP

Documents, or any consent to any departure by any of the Debtors therefrom, shall in any event

be effective unless the consents required under the terms of the DIP Documents have first been

obtained.

        14.     Budget Compliance. The Debtors shall not, and shall not permit any subsidiary to,

directly or indirectly, use any cash or the proceeds of the DIP Facility in a manner or for a

purpose other than those consistent with the DIP Documents and this Second Interim Order. The

Budget annexed hereto as Exhibit C is hereby approved, and any modification to, or amendment

or update of, the Budget shall be in form and substance acceptable to and approved in writing by

the DIP Agent its sole discretion.

        15.     Modification of Automatic Stay. The automatic stay imposed by section 362(a) of

the Bankruptcy Code is hereby modified to permit (a) the Debtors to grant the DIP Liens and the

DIP Superpriority Claims, and to perform such acts as the DIP Agent may request in its sole

discretion to assure the perfection and priority of the DIP Liens, (b) the Debtors to take all


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appropriate action to grant the Replacement Liens, and to take all appropriate action to ensure

that the Replacement Liens granted thereunder are perfected and maintain the priority set forth

herein, (c) the Debtors to incur all liabilities and obligations to the DIP Agent as contemplated

under the DIP Documents, (d) the Debtors to pay all amounts referred to, required under, in

accordance with, and subject to this Second Interim Order and the DIP Documents, and (e) the

implementation of the terms of this Second Interim Order.

        16.     Perfection of DIP Liens and Replacement Liens. This Second Interim Order shall

be sufficient and conclusive evidence of the validity, perfection, and priority of all liens granted

herein including the DIP Liens and, subject to the rights of parties in interest as set forth in

paragraph 35 hereof, the Replacement Liens without the necessity of filing or recording any

financing statement, mortgage, notice, or other instrument or document which may otherwise be

required under the law or regulation of any jurisdiction or the taking of any other action

(including, for the avoidance of doubt, entering into any deposit account control agreement) to

validate or perfect (in accordance with applicable non-bankruptcy law) the DIP Liens or the

Replacement Liens, or to entitle the DIP Agent, the DIP Lenders, the Successor Prepetition

Agent, the Successor Prepetition Lender, or the Prepetition Second Lien Lender to the priorities

granted herein. Without limiting the foregoing, the DIP Agent and the DIP Lenders shall be

STT\TS c^ WPeT kR^]ca^[l ^eTa P[[ PRR^d]cb \PX]cPX]TS Qh cWT :TQc^ab U^a _da_^bTb ^U _TaUTRcX^]

under the Uniform Commercial Code. Notwithstanding the foregoing, the DIP Agent, the

Successor Prepetition Agent, and the Prepetition Second Lien Lender each is authorized to file,

as it in its sole discretion deems necessary, such financing statements, mortgages, notices of lien,

and other similar documents to perfect in accordance with applicable non-bankruptcy law or to

otherwise evidence the DIP Liens, and the Replacement Liens, and all such financing statements,


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mortgages, notices and other documents shall be deemed to have been filed or recorded as of the

Petition Date; provided, however, that no such filing or recordation shall be necessary or

required in order to create or perfect the DIP Liens and/or the Replacement Liens. The Debtors

are authorized to execute and promptly deliver to the DIP Agent, the Successor Prepetition

Agent, and the Prepetition Second Lien Lender all such financing statements, mortgages, notices,

and other documents as the DIP Agent, the Successor Prepetition Agent, or the Prepetition

Second Lien Lender may reasonably request. The DIP Agent, the Successor Prepetition Agent,

and the Prepetition Second Lien Lender, in their respective sole discretion, may file a photocopy

of this Second Interim Order as a financing statement with any filing or recording office or with

any registry of deeds or similar office, in addition to or in lieu of such financing statements,

notices of lien, or similar instruments.

        17.     After-Acquired Property. Subject to the entry of a Final Order, pursuant to section

552(a) of the Bankruptcy Code, all property acquired by the Debtors after the Petition Date,

including all DIP Collateral pledged or otherwise granted to the DIP Agent, on behalf of the DIP

Lenders, pursuant to the DIP Documents and this Second Interim Order is not and shall not be

subject to any lien of any person or entity resulting from any security agreement entered into by

the Debtors prior to the Petition Date, except to the extent that such property constitutes proceeds

of property of the Debtors that is subject to a valid, enforceable, perfected, and unavoidable lien

as of the Petition Date that is not subject to subordination under section 510(c) of the Bankruptcy

Code or other provision or principles of applicable law.

        18.     Proceeds of Subsequent Financing. If the Debtors, any trustee, any examiner with

expanded powers, or any responsible officer subsequently appointed in these Chapter 11 Cases

or any Successor Cases, shall obtain credit or incur debt pursuant to section 364(b), (c), or (d) of


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the Bankruptcy Code in violation of the DIP Documents at any time prior to the indefeasible

payment in full of all DIP Obligations, the cancellation, backing, or cash collateralization of the

letters of credit provided for under the DIP Credit Agreement, the satisfaction of the DIP

Hd_Ta_aX^aXch 9[PX\b' P]S cWT cTa\X]PcX^] ^U cWT :?F 7VT]cmb P]S :?F BT]STabm ^Q[XVPcX^]b c^

extend credit under the DIP Facility, then all of the cash proceeds derived from such credit or

debt shall immediately be turned over first to the DIP Agent to partially satisfy the DIP

Obligations in accordance with the DIP Documents.

        19.     Maintenance of DIP Collateral. Until the indefeasible payment in full of all DIP

Obligations, all indebtedness outstanding in accordance with the Prepetition Financing

:^Rd\T]cb' P]S cWT cTa\X]PcX^] ^U cWT :?F 7VT]cmb P]S cWT :?F BT]STabm ^Q[XVPcXon to extend

credit under the DIP Facility, the Debtors shall (a) insure the DIP Collateral as required under the

DIP Facility and the Prepetition Credit Documents and the Prepetition Second Lien Documents,

as applicable, and (b) maintain the cash management system in effect as of the Petition Date, as

modified by any order that may be entered by the Court in accordance with the DIP Documents.

        20.     Insurance Policies. The DIP Agent and the DIP Lenders shall be, and shall be

deemed to be, without any further action or notice, named as additional insureds and loss payees,

as applicable, on each insurance policy maintained by any of the Debtors that in any way relates

to the DIP Collateral. Notwithstanding the foregoing, the Debtors are authorized and directed to

take all necessary actions to cause the DIP Agent and the DIP Lenders to be named as additional

insureds and loss payees, as applicable, on each insurance policy maintained by the Debtors that

in any way relates to the DIP Collateral.

        21.     Disposition of Collateral. Except as otherwise expressly provided for in this

Second Interim Order, and in the DIP Documents and subject to the Prepetition Intercreditor


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Agreement, the Debtors shall not sell, transfer, lease, encumber, or otherwise dispose of any

portion of the DIP Collateral, the Prepetition Collateral, or the Prepetition Second Lien Collateral

%R^[[TRcXeT[h' kCollaterall& fXcW^dc cWT _aX^a faXccT] R^]bT]c ^U TPRW ^U cWT :?F 7VT]c' cWT

Successor Prepetition Agent, and the Prepetition Second Lien Lender (and no such consent shall

be implied, from any other action, inaction or acquiescence by the DIP Agent, the Successor

Prepetition Agent, the Prepetition Second Lien Lender, or an order of this Court, except for sales,

caP]bUTab' [TPbTb ^a dbTb ^U :TQc^abm X]eT]c^ry in the ordinary course of their businesses). Until

such time as the DIP Obligations, the Prepetition Obligations and the Prepetition Second Lien

Obligations have been paid in full in accordance with the terms of the applicable DIP

Documents, Prepetition Credit Documents, and Prepetition Second Lien Documents, the Debtors

shall remit or cause to be remitted to the DIP Agent, the Successor Prepetition Agent, and/or the

Prepetition Second Lien Lender all proceeds of Collateral for application against the DIP

Obligations, the Prepetition Obligations, and/or the Prepetition Second Lien Obligations in

accordance with the terms of the applicable DIP Documents, the Prepetition Credit Documents,

the Prepetition Second Lien Documents, the Prepetition Intercreditor Agreement, and this

Second Interim Order.

        22.     Inventory. The Debtors shall not, without the consent of the DIP Agent, (a) enter

into any agreement to return any inventory to any of their creditors for application against any

pre-petition indebtedness under any applicable provision of section 546 of the Bankruptcy Code,

or (b) consent to any creditor taking any setoff against any of its prepetition indebtedness based

upon any such return pursuant to section 553(b)(1) of the Bankruptcy Code or otherwise.




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        23.     Events of Default) IWT cTa\ k;eT]c ^U :TUPd[cl bWP[[ WPeT cWT bP\T \TP]X]V

under this Second Interim Order as such term has under the DIP Documents and shall include,

for the avoidance of doubt, the failure to meet any of the Milestones.

        24.     Rights and Remedies upon Event of Default. Unless otherwise ordered by the

Court in accordance with the terms hereof, as of 12:00 midnight prevailing Eastern Time on

the 5th calendar day after the date the DIP Agent files a notice of an Event of Default (a

kDefault Noticel& ^] cWT S^RZTc ^U cWT 9WP_cTa ,, 9PbTb P]S bTaeTb cWT :TUPd[c D^cXRT Qh

electronic mail (or other electronic means) to counsel for the Debtors, counsel for the

9^\\XccTT' P]S cWT J)H) IadbcTT %bdRW _TaX^S' cWT kDefault Notice Periodl&' cWT Pdc^\PcXR

stay under section 362 of the Bankruptcy Code will be automatically lifted without further

order of this Court to allow the DIP Agent to take any and all actions permitted by law or

under the DIP Documents, as if no case were pending under the Bankruptcy Code.

?\\TSXPcT[h d_^] cWT :?F 7VT]cmb UX[X]V P]S bTaeXRT ^U P :TUPd[c D^cXRT' cWT :TQc^ab bWP[[

be prohibited from using Cash Collateral, including accounts receivable, inventory, and the

proceeds thereof, which prohibition shall be subject to Paragraph 10 of this Second Interim

Order and shall remain in effect unless otherwise ordered by the Court within the Default

Notice Period. During the Default Notice Period, the Debtors and other parties-in-interest

may request an expedited hearing on any motion regarding an alleged Event of Default. In

the event the automatic stay is lifted following the expiration of the Default Notice Period in

accordance with this paragraph, the Debtors shall also be prohibited from obtaining credit or

incurring of indebtedness secured by a lien or security interest that is equal or senior to a

lien or security interest held by the DIP Agent or which is entitled to priority administrative

status which is equal or superior to that granted to the DIP Agent for the benefit of the DIP


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Lenders or one granted to the Current Prepetition Secured Parties, as the case may be,

except in connection with repayment in full in cash of the DIP Obligations. Subject to any

applicable grace periods, upon the occurrence of any Event of Default, the DIP Agent may,

without notice or demand, immediately suspend or terminate all or any portion of the DIP

BT]STabm ^Q[XVPcX^]b c^ \PZT PSSXcX^]P[ [^P]b d]STa cWT :?F Facility. Upon the occurrence

of an Event of Default, all loans and notes under the DIP Facility shall become due and

payable in accordance with the DIP Documents. Nothing herein shall be construed to limit

or otherwise restrict the availability of the rights and remedies provided for in the DIP

Credit Agreement.

        25.     JPMorgan and First Republic Bank. The DIP Liens and any adequate

protections liens are junior to (a) (i) the customary charges of JPMorgan Chase, N.A.

%kJPMorganl& U^a cWT :TQc^abm QP]Z PRR^d]cb %kJPMorgan Accountsl&' fWXRW @FC^aVP]

Accounts shall be made subject to a deposit account control agreement to be entered into

among JPMorgan, the DIP Agent, and the DIP Lenders, and (ii) any claims of JPMorgan for

cWT :TQc^amb dbT ^U cWT R^a_^aPcT RaTSXc RPrd issued by JPMorgan, and (b) (i) the customary

RWPaVTb ^U P]S <Xabc GT_dQ[XR 8P]Z %kFRBl& U^a cWT :TQc^abm QP]Z PRR^d]cb %kFRB

Accountsl&' fWXRW <G8 7RR^d]cb bWP[[ QT \PST bdQYTRc c^ P ST_^bXc PRR^d]c R^]ca^[

agreement to be entered into among FRB, the DIP Agent, and the DIP Lenders.

        26.     Good Faith Under Section 364(e) of the Bankruptcy Code; No Modification or

Stay of this Order. Each of the DIP Agent, the DIP Lenders, and the Current Prepetition Secured

Parties have acted in good faith in connection with this Second Interim Order, and their reliance

on this Second Interim Order is in good faith. Based on the findings set forth in this Second

Interim Order and the record made during the Interim Hearing and the Second Interim Hearing,


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and in accordance with section 364(e) of the Bankruptcy Code, in the event any or all of the

provisions of this Second Interim Order are hereafter modified, amended, or vacated by a

subsequent order of this Court or any other court, the DIP Agent, the DIP Lenders, and the

Current Prepetition Secured Parties are entitled to the fullest extent to the protections provided in

section 364(e) of the Bankruptcy Code.

        27.     DIP Fees and Other Expenses. All reasonable and documented out-of-pocket

costs and expenses of the DIP Agent, the DIP Lenders, the Successor Prepetition Agent, and the

Successor Prepetition Lender, including, without limitation, reasonable legal, accounting,

collateral examination, monitoring and appraisal fees and disbursements, financial advisory fees,

fees and expenses of other consultants, indemnification and reimbursement obligations with

respect to fees and expenses, and other out of pocket expenses, whether or not contained in the

Budget and without limitation with respect to the dollar estimates contained in the Budget

(provided, however, that such overages shall not weigh against the Debtors in any testing related

to compliance with the Budget), shall promptly be paid by the Debtors, as provided in the DIP

Documents and the Prepetition Credit Documents. Payment of such fees shall not be subject to

allowance by this Court; provided, however, the U.S. Trustee or counsel for the Committee may

seek a determination by this Court whether such fees and expenses are reasonable in the manner

set forth below. The Debtors shall provide to the U.S. Trustee and the Committee a copy of any

invoices received from the DIP Agent, the DIP Lenders, the Successor Prepetition Agent, and the

Successor Prepetition Lender for professional fees and expenses during the pendency of the

Chapter 11 Cases. Each such invoice shall be sufficiently detailed to enable a determination as to

the reasonableness of such fees and expenses (without limiting the right of the various

professionals to redact privileged, confidential, or sensitive information). If the U.S. Trustee or


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the Committee object to the reasonableness of the invoices submitted by the DIP Agent, the DIP

Lenders, the Successor Prepetition Agent, or the Successor Prepetition Lender, and the parties

cannot resolve such objection within ten (10) days of receipt of such invoices, the U.S. Trustee

or such Committee, as the case may be, shall file with the Court and serve on the DIP Agent, the

DIP Lender, the Successor Prepetition Agent, and the Successor Prepetition Lender, an objection

%P kFee Objectionl& ^U bdRW UTTb P]S Tg_T]bTb) IWT :TQc^ab bWP[[ _a^\_c[h _Ph cWT :?F 7VT]c'

the DIP Lenders, the Successor Prepetition Agent, and/or the Successor Prepetition Lender (as

applicable), and the DIP Agent is hereby authorized to make an advance under the DIP Facility

to timely pay, the submitted invoices after the expiration of the ten (10) day notice period if no

Fee Objection is received in such ten (10) day period. If a Fee Objection is timely received, the

Debtors shall promptly pay the DIP Agent, the DIP Lenders, the Successor Prepetition Agent,

and/or the Successor Prepetition Lender (as applicable), and/or the DIP Agent is hereby

authorized to make an advance under the DIP Facility to timely pay, the undisputed amount only

of the invoice(s) that is the subject of such Fee Objection, and the Court shall have jurisdiction to

determine the disputed portion of such invoice(s) if the parties are unable to resolve the Fee

Objection.

        28.     Indemnification. The Debtors shall indemnify and hold harmless the DIP Agent,

the DIP Lenders, the Successor Prepetition Agent, the Successor Prepetition Lender, the

Prepetition Second Lien Lender, and each of their respective shareholders, partners, unitholders,

members, controlling persons, directors, agents, officers, subsidiaries, affiliates, successors,

assigns, directors, managers, principals, officers, employees, agents, investor funds, advisors,

attorneys, professionals, representatives, investment bankers, and consultants, each in their

respective capacities as such, from and against any and all damages, losses, settlement payments,


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obligations, liabilities, claims, actions, or causes of action, whether groundless or otherwise, and

costs and expenses incurred, suffered, sustained, or required to be paid by an indemnified party

of every nature and character arising out of or related to the DIP Documents, the Prepetition

Credit Documents, the Prepetition Second Lien Documents, and/or the transactions contemplated

thereby and by this Second Interim Order, whether such indemnified party is party thereto, as

provided in and pursuant to the terms of the DIP Documents, and the Prepetition Credit

Documents, the Prepetition Second Lien Documents, and as further described therein and herein,

except to the extent resulting from such X]ST\]XUXTS _Pachmb Va^bb ]TV[XVT]RT ^a fX[[Ud[

misconduct as finally determined by a final non-appealable order of a court of competent

jurisdiction. The indemnity includes indemnification for the exercise of discretionary rights

granted under the DIP Documents, the Prepetition Credit Documents, and/or the Prepetition

Second Lien Documents by the DIP Agent, any DIP Lenders, Successor Prepetition Agent,

Successor Prepetition Lender, and/or Prepetition Second Lien Lender, as the context makes

applicable. In all such litigation, or the preparation therefor, the DIP Agent and the DIP Lenders,

the Successor Prepetition Agent, the Successor Prepetition Lender, the Prepetition Second Lien

Lender, respectively, shall be entitled to select their own counsel and, in addition to the

foregoing indemnity, the Debtors agree to promptly pay the reasonable fees and expenses of such

counsel.

        29.     Released Parties. Without limiting the rights of the parties in interest as set forth

in paragraph 35 hereof, the Debtors hereby waive any and all actions related to, and hereby

release, each of (a) the DIP Agent and the DIP Lenders, (b) the Successor Prepetition Agent and

Successor Prepetition Lender, (c) the Prepetition Second Lien Lender, and (d) each of their

respective shareholders, partners, unitholders, members, controlling persons, directors, agents,


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officers, subsidiaries, affiliates, successors, assigns, directors, managers, principals, officers,

employees, agents, investors, funds, advisors, attorneys, professionals, representatives,

accountants, investment bankers, and consultants, each in their respective capacity as such (each

such person or entity identified in sub-R[PdbTb %P& cWa^dVW %S& ^U cWXb _PaPVaP_W' P kReleased

Partyl P]S' R^[[TRcXeT[h' cWT kReleased Partiesl& Ua^\ any and all damages, losses, settlement

payments, obligations, liabilities, claims, actions, causes of action, or any Challenge, whether

groundless or otherwise, and reasonable costs and expenses incurred, suffered, sustained, or

required to be paid by an indemnified party of every nature and character arising prior to the

Petition Date and to the extent related to the Prepetition Credit Documents, the Prepetition

Second Lien Documents, the DIP Credit Agreement, or this Second Interim Order, any

documents related thereto, any aspect of the prepetition relationship with the Released Parties,

any Debtor, or any other acts or omissions by the Released Parties in connection with the

Prepetition Credit Documents, the Prepetition Second Lien Documents, the DIP Credit

Agreements, or this Second Interim Order, any documents related to the Prepetition Credit

Documents, the Prepetition Second Lien Documents, the DIP Credit Agreements, or this Second

Interim Order, or any aspect of their prepetition relationship with any Debtor.

        30.     Proofs of Claim. The DIP Agent, the DIP Lenders, and the Current Prepetition

Secured Parties shall not be required to file proofs of claim in any of these Chapter 11 Cases or

Successor Cases for any claim allowed herein. Any proof of claim filed by the DIP Agent, the

Successor Prepetition Agent, or the Prepetition Second Lien Lender shall be deemed to be in

addition to and not in lieu of any other proof of claim that may be filed by any of the DIP

Lenders or the Current Prepetition Secured Parties. Any order entered by this Court in relation to

the establishment of a bar date in any of these cases or Successor Cases shall not apply to any


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claims of the DIP Agent, the DIP Lenders, and the Current Prepetition Secured Parties allowed

herein.

          31.     Access to 9^[[PcTaP[6 D^ BP]S[^aSmb BXT]b. Subject to applicable state law,

notwithstanding anything contained herein to the contrary and without limiting any other rights

or remedies of the DIP Agent, for the benefit of the DIP Lenders, contained in this Second

Interim Order or the DIP Documents, or otherwise available at law or in equity, and subject to

the terms of the DIP Documents and this Second Interim Order, upon written notice to the

landlord of any leased premises that an Event of Default has occurred and is continuing under the

DIP Documents, the DIP Agent may, subject to applicable non-bankruptcy law or any separate

PVaTT\T]c Qh P]S QTcfTT] bdRW [P]S[^aS P]S cWT :?F 7VT]c %P kSeparate Agreementl&' T]cTa

upon any leased premises of the Debtors for the purpose of exercising any remedy with respect

to DIP Collateral located thereon and, subject to any Separate Agreement, shall be entitled to all

^U cWT :TQc^abm aXVWcb P]S _aXeX[TVTb Pb [TbbTT d]STa bdRW [TPbT fXcW^dc X]cTaUTaT]RT Ua^\ bdRW

landlord; provided, however, that, subject to any such Separate Agreement, the DIP Agent shall

only pay rent of the Debtors that first accrues after the written notice referenced above and that is

payable during the period of such occupancy by the Agent, calculated on a per diem basis.

Nothing herein shall require the DIP Agent to assume any lease as a condition to the rights

afforded to the DIP Agent in this paragraph. The DIP Agent shall have the right to seek relief by

separate motion to this Court respect to access to leased premises, with notice to the applicable

landlords of such leased premises and an opportunity for such landlords to respond and be heard.

          32.     Carve-Out) J_^] cWT :?F 7VT]cmb XbbdP]RT ^U P 9PaeT-Out Trigger Notice (as

defined below), all liens, claims, and other security interests held by the DIP Lenders and the

Current Prepetition Secured Parties shall be subject to the payment of the Carve-Out. For


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_da_^bTb ^U cWXb HTR^]S ?]cTaX\ EaSTa' kCarve-Outl \TP]b cWT bd\ ^U5 %X& P[[ UTTb aT`dXaTS c^ QT

paid to the Clerk of the Court and to the U.S. Trustee under section 1930(a) of title 28 of the

United States Code together with the statutory rate of interest; (ii) all reasonable fees and

expenses up to $50,000 incurred by a trustee under section 726(b) of the Bankruptcy Code; (iii)

all unpaid fees (inclusive of success or transaction fees) and expenses accrued or incurred by

persons or firms retained by the Debtors or the Committee pursuant to sections 327, 328, 363,

P]S ,,+. ^U cWT 8P]Zad_cRh 9^ST %cWT kEstate Professionalsl&' Qdc b^[T[h c^ cWT TgcT]c X]R[dSTS

X] cWT 8dSVTc %R^[[TRcXeT[h' cWT kEstate Professional Feesl&' Pc P]h cX\T QTU^aT cWT UXabc QdbX]Tbb

day following delivery by the DIP Agent of a Carve-Out Trigger Notice, whether allowed by the

Court prior to or after delivery of a Carve-Out Trigger Notice, up to a maximum amount of

$460,000 for Estate Professionals retained by the Debtors and a maximum amount of $20,000 for

Estate Professionals retained by the Committee; and (iv) Estate Professional Fees for Estate

Professionals retained by the Debtors in an aggregate amount not to exceed $75,000 and Estate

Professional Fees for Estate Professionals retained by the Committee in an aggregate amount not

to exceed $20,000, in each instance that are incurred on or after the first business day following

delivery by the DIP Agent of a Carve-Out Trigger Notice, solely to the extent included in the

Budget for such time period, to the extent allowed at any time, whether by interim order,

procedural order, or otherwise (thT P\^d]cb bTc U^acW X] cWXb R[PdbT %Xe& QTX]V cWT kCarve-Out

Trigger Capl&6 provided, however, that the foregoing amounts shall not apply to any fees or

expenses incurred in connection with any Proscribed Actions (defined below). For purposes of

the foregoX]V' kCarve-Out Trigger Noticel bWP[[ \TP] P faXccT] ]^cXRT ST[XeTaTS Qh T\PX[ %^a

other electronic means) by the DIP Agent to the Debtors and their counsel, counsel for the

Committee, and the U.S. Trustee, which notice may be delivered (a) in connection with the


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repayment in full (whether in cash or by credit bid) of the DIP Obligations, or (b) following the

occurrence of the Termination Date, stating that the Carve-Out Trigger Cap has been invoked.

Notwithstanding the foregoing, so long as a Carve-Out Trigger Notice has not been issued, the

Debtors shall be permitted to pay fees to Estate Professionals and reimburse expenses incurred

by Estate Professionals to the extent set forth in the Budget and otherwise permitted under the

DIP Documents and that are allowed by the Court and payable under sections 328, 330, 331, and

1103 of the Bankruptcy Code and compensation procedures approved by the Court and in form

and substance reasonably acceptable to the Debtors and the DIP Agent, as the same may be due

and payable, and the same shall not reduce the Carve-Out Trigger Cap.

        33.     Payment of Compensation. Nothing herein shall be construed as consent to the

allowance of any professional fees or expenses of any of the Debtors, the Committee, if any, or

of any person, or shall affect the rights of the DIP Agent, the DIP Lenders, the Successor

Prepetition Agent, the Successor Prepetition Lender, and the Prepetition Second Lien Lender to

object to the allowance and payment of such fees and expenses or to permit the Debtors to pay

any such amounts in excess of the amounts contained, or not set forth, in the Budget.

        34.     Proscribed Actions.

                (a)    No DIP Collateral, Cash Collateral, proceeds of the DIP Facility, portion

                       of the Carve-Out, or any other amounts may be used directly or indirectly

                       by any of the Debtors, the Committee, or any trustee or other estate

                       representative appointed in these Chapter 11 Cases or any Successor

                       Cases or any other person (or to pay any professional fees, disbursements,

                       costs or expenses incurred in connection therewith) for any of the

                       U^[[^fX]V PRcX^]b ^a PRcXeXcXTb %cWT kProscribed Actionsl&5


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                      (i)    to seek authorization to obtain liens or security interests that are

                             senior to, or on a parity with, the liens granted under the DIP

                             Documents or this Second Interim Order (including the DIP

                             Superpriority Claim);

                      (ii)   to investigate (except as provided in subparagraph (b) below),

                             including by way of examinations or discovery proceedings,

                             prepare, assert, join, commence, support or prosecute any action

                             for any claim, counter-claim, action, proceeding, application,

                             motion, objection, defense or other contested matter seeking any

                             order, judgment, determination or similar relief against, or adverse

                             to the interests of, the DIP Agent, any of the DIP Lenders, any of

                             the   Prepetition Secured Parties, or any of the shareholders,

                             partners, unitholders, members, controlling persons, directors,

                             agents, officers, subsidiaries, affiliates, successors, assigns,

                             directors, managers, principals, officers, employees, agents,

                             investors,    funds,     advisors,     attorneys,     professionals,

                             representatives, accountants, investment bankers, and consultants

                             of any of the foregoing, with respect to any transaction,

                             occurrence, omission, action or other matter (including formal

                             discovery proceedings in anticipation thereof), including, without

                             limitation, (A) any claims or causes of action arising under chapter

                             5 of the Bankruptcy Code, (B) any so-RP[[TS k[T]STa [XPQX[Xchl

                             claims and causes of action, (C) any action with respect to the


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                           validity, enforceability, priority and extent of, or asserting any

                           defense, counterclaim, or offset to, the DIP Obligations, the DIP

                           Superpriority Claims, the DIP Liens granted under the DIP

                           Documents,    or    the   claims   or liens    granted under      or

                           contemplated by the Prepetition Credit Documents or the

                           Prepetition Second Lien Documents, (D) any action seeking to

                           invalidate, modify, reduce, expunge, disallow, set aside, avoid or

                           subordinate, in whole or in part, the DIP Obligations, the

                           Prepetition   Obligations,   or    the   Prepetition   Second   Lien

                           Obligations; (E) any action seeking to modify any of the rights,

                           remedies, priorities, privileges, protections and benefits granted to

                           any of (1) the DIP Agent or the DIP Lenders under this Second

                           Interim Order or under any of the DIP Documents, or (2) the

                           Prepetition Secured Parties (in each case, as applicable, including

                           claims, proceedings or actions that might prevent, hinder or delay

                           any of their respective assertions, enforcements, realizations or

                           remedies on or against the DIP Collateral in accordance with the

                           DIP Documents, the Interim Order, and this Second Interim

                           Order); or (F) objecting to, consenting, or interfering with, in any

                           fPh' cWT :?F 7VT]cmb P]S cWT :?F BT]STabm T]U^aRT\T]c ^a

                           realization upon any of the DIP Collateral once an Event of

                           Default has occurred (as set forth in the DIP Documents).




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                (b)    Notwithstanding anything to the contrary herein, the Committee may use

                       up to $50,000 in the aggregate amount of the Carve-Out, any Cash

                       Collateral, or proceeds of the DIP Facility to investigate, but not prosecute

                       (or prepare for the prosecution of) any challenge to, the claims and liens

                       ^U cWT FaT_TcXcX^] HTRdaTS FPacXTb %cWT kCommittee Investigation

                       Budgetl&) 7]h P]S P[[ R[PX\b X]RdaaTS Qh cWT 9^\\XccTT aT[PcTS c^ ^a Xn

                       connection with any Proscribed Activities other than up to the Committee

                       Investigation Budget shall be satisfied solely from the unencumbered

                       PbbTcb ^U cWT :TQc^ab %XU P]h& %cWT kUnencumbered Assetsl&' cWTaTQh

                       reducing recoveries to the holders of unsecured claims (other than any

                       deficiency claim held by any of the Current Prepetition Secured Parties).

        35.     Challenge Period.

                       (a)    Subject only to the terms of this paragraph 35, the grant of

                adequate protection to the Successor Prepetition Agent, Successor Prepetition

                Lender, and Prepetition Second Lien Lender, and the various stipulations and

                waivers contained in paragraph E hereof shall be without prejudice to the rights

                of the Committee or any other party in interest with appropriate standing to seek

                to disallow the claims of the Successor Prepetition Agent, Successor Prepetition

                Lender, and Prepetition Second Lien Lender in respect of the Prepetition Credit

                Documents and the Prepetition Second Lien Documents, pursue any claims or

                seek appropriate remedies against the Prepetition Secured Parties in connection

                with the Prepetition Credit Documents or the Prepetition Second Lien

                Documents or avoid all or substantially all of the security interests or liens in the


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                Prepetition Collateral or Prepetition Second Lien Collateral or in any other asset

                or property of Debtors in which the Prepetition Secured Parties claim an interest,

                including any claim, action, or proceeding brought against the Current

                Prepetition Secured Parties in accordance with this paragraph 35 that requires the

                Current Prepetition Secured Parties to give up adequate protection liens and

                superpriority claims, to disgorge adequate protection interest payments received

                or accruals credited, or to disgorge as repaid pursuant to this Second Interim

                Order Pb P aTbd[c ^U P]h ^U cWT FaT_TcXcX^] HTRdaTS FPacXTbm R[PX\b PVPX]bc

                Debtors or liens upon and security interests in the assets and properties of

                Debtors (including the Prepetition Collateral and Prepetition Second Lien

                Collateral) being invalidated, avoided, subordinated, impaired, or compromised

                in any way, either by an order of this Court (or other court of competent

                jurisdiction) or by settlement. Any party (other than the Debtors, which have

                waived all such rights), including the Committee, must commence, as

                appropriate, a contested matter or adversary proceeding raising any objection,

                R[PX\' STUT]bT' bdXc ^a ^cWTa RWP[[T]VT %P kChallengel& fXcW aTb_TRc c^ P]h R[PX\'

                security interest, or any other rights of the Prepetition Secured Parties under the

                Prepetition Credit Documents or the Prepetition Second Lien Documents, as

                applicable, including in the nature of a setoff, counterclaim, or defense on or

                before (i) with respect to the Committee, sixty (60) calendar days from the date

                the U.S. Trustee appoints such Committee, or (ii) with respect to all other parties,

                seventy-five (75) calendar days following the entry of the Interim Order (the

                kChallenge Periodl&) IWT 9WP[[T]VT FTaX^S \Ph ^][h QT TgcT]STS %g& Pb c^ cWT


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                Successor Prepetition Agent and/or the Successor Prepetition Lender, by the

                Successor Prepetition Agent, (y) as to the Prepetition Second Lien Lender, by

                such Prepetition Second Lien Lender, or (z) as otherwise ordered by the Court

                prior to the conclusion of the Challenge Period for cause shown.            For the

                avoidance of doubt, any chapter 7 or chapter 11 trustee appointed or elected in

                these cases during the Challenge Period, shall, until the expiration of the

                Challenge Period, be deemed to be a party other than the Debtors and shall not,

                for purposes of an adversary proceeding or contested matter appropriately

                commenced during the Challenge Period by a party with standing, be bound by

                the acknowledgements, admissions, confirmations, stipulations, releases, and

                waivers contained in this Second Interim Order with respect to, among other

                things, the extent, legality, validity, perfection, enforceability and other matters

                noted in the Second Interim Order with respect to the Prepetition Credit

                Documents.

                      (b)     Upon the expiration of the Challenge Period, to the extent not

                specifically included in a timely and properly filed pleading asserting a

                Challenge: (i) any other possible Challenge, whether such Challenge is

                separately filed or otherwise asserted through an amendment of any timely and

                properly filed pleading asserting a Challenge, shall be deemed to be forever

                fPXeTS P]S QPaaTS6 %XX& P[[ ^U cWT :TQc^abm PVaTT\T]cb' PRZ]^f[TSV\T]cb'

                stipulations, waivers, releases, and affirmations as to the priority, extent, and

                validity of the Prepetition Secured PaacXTbm R[PX\b' [XT]b' P]S X]cTaTbcb' ^U P]h

                nature, under the Prepetition Credit Documents and Prepetition Second Lien


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                Documents, or otherwise incorporated or set forth in this Second Interim Order,

                shall be of full force and effect and forever binding upon the Debtors, the

                :TQc^abm QP]Zad_cRh TbcPcTb' P]S P[[ RaTSXc^ab' X]cTaTbc W^[STab' P]S ^cWTa _PacXTb-

                in-interest in these Chapter 11 Cases and any Successor Cases without further

                action by any party or this Court, and the Committee and any other party in

                interest, and any and all successors-in-interest as to any of the foregoing, shall

                thereafter be forever barred from bringing any Challenge with respect thereto;

                (iii) the liens and security interests granted pursuant to the Prepetition Credit

                Documents and Prepetition Second Lien Documents shall (to the extent not

                otherwise satisfied in full) be deemed to constitute valid, binding, enforceable,

                and perfected liens and security interests not subject to avoidance or

                disallowance pursuant to the Bankruptcy Code or applicable bankruptcy law; and

                (iv) without further order of the Court, the claims and obligations under the

                Prepetition Credit Documents and Prepetition Second Lien Documents shall (to

                the extent not otherwise satisfied in full) be finally allowed as fully secured

                claims within the meaning of section 506 of the Bankruptcy Code for all

                purposes in connection with these Chapter 11 Cases and any Successor Cases

                and shall not be subject to challenge by any party in interest as to validity,

                priority, amount, or otherwise.

                      (c) Nothing in this Second Interim Order vests or confers on any person,

                including the Committee or any other statutory committee that may be appointed

                in these Chapter 11 Cases, standing or authority to pursue any cause of action,

                claim, defense, or other right belonging to the Debtors or their estates. For the


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                 avoidance of doubt, entry of this Second Interim Order shall not grant standing

                 or authority to the Committee to pursue any cause of action, claim, defense, or

                 other right on behalf of the Debtors or their estates.

        36.     No Third Party Claims. Except as explicitly provided for herein, this Second

Interim Order does not create any rights for the benefit of any third party, creditor, equity holder,

or any direct, indirect, or incidental beneficiary.

        37.     No Marshaling; Application of Proceeds. The DIP Agent, the DIP Lenders, the

Successor Prepetition Agent, the Successor Prepetition Lender, and the Prepetition Second Lien

BT]STa bWP[[ ]^c QT bdQYTRc c^ cWT T`dXcPQ[T S^RcaX]T ^U k\PabWP[X]Vl ^a any other similar

doctrine with respect to any of the DIP Collateral and/or the Prepetition Collateral or Prepetition

Second Lien Collateral, as the case may be, and all proceeds shall be received and applied in

accordance with the DIP Documents, the Prepetition Credit Documents and Prepetition Second

Lien Documents, and the Prepetition Intercreditor Agreement.

        38.     Payments Free and Clear. Any and all payments or proceeds remitted to the DIP

Agent by, through or on behalf of the DIP Lenders, on account of the DIP Obligations, pursuant

to the provisions of this Second Interim Order, or the DIP Documents or any subsequent order of

the Court shall be irrevocable, received free and clear of any claim, charge, assessment or other

liability, including without limitation, any such claim or charge arising out of or based on,

directly or indirectly, sections 506(c) or 552(b) of the Bankruptcy Code, whether asserted or

assessed by through or on behalf of the Debtors.

        39.     Worldpay and PayPal. Notwithstanding anything to the contrary in the Interim

Order, this Second Interim Order, or the DIP Documents, and subject to the entry of a Final

EaSTa ^a ^cWTa ^aSTa ^U cWXb 9^dac' cWT P[[TVTS aXVWcb ^U L^a[S_Ph' BB9 %kWorldPayl& P]S


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FPhFP[' ?]R) %X]R[dSX]V Xcb PUUX[XPcTb& %kPayPall& under their respective agreements with the

Debtors are expressly preserved and reserved, as are all rights of the Debtors or any other party

in interest to dispute such rights, and nothing in the Interim Order, this Second Interim Order, or

the DIP Documencb bWP[[ PSYdSXRPcT cWT ]PcdaT' TgcT]c ^a _aX^aXch ^U L^a[SFPhmb' FPhFP[mb' cWT

:?F BT]STabm ^a cWT :TQc^abm %^a cWTXa TbcPcTbm&' aTb_TRcXeT X]cTaTbcb X] P]h \^]XTb' Ud]Sb'

reserves or similar assets collected, held or applied by Worldpay or PayPal.

        40.     Joint and Several Liability.   Nothing in this Second Interim Order shall be

R^]bcadTS c^ R^]bcXcdcT P bdQbcP]cXeT R^]b^[XSPcX^] ^U P]h ^U cWT :TQc^abm TbcPcTb' Xc QTX]V

understood, however, that the Debtors shall be jointly and severally liable for the obligations

hereunder and in accordance with the terms of the DIP Facility and the DIP Documents.

        41.     Limitation of Liability. In determining to make extensions of credit under the

DIP Facility, permitting the use of Cash Collateral, or in exercising any rights or remedies as and

when permitted pursuant to this Second Interim Order, the DIP Documents, or the Prepetition

Credit Documents or Prepetition Second Lien Documents, as applicable, none of the DIP Agent,

the DIP Lenders, the Prepetition Secured Parties, or any successor of any of the foregoing, shall

be deemed to be in control of the operations of the Debtors or any affiliate (as defined in section

,+,%-& ^U cWT 8P]Zad_cRh 9^ST& ^U cWT :TQc^ab' ^a c^ QT PRcX]V Pb P kaTb_^]bXQ[T _Tab^]l ^a

k^f]Ta ^a ^_TaPc^al fXcW aTb_TRc c^ cWT ^_TaPcX^] ^a \P]PVT\T]c ^U cWT :TQc^ab ^a P]h PUUX[XPcT

of the Debtors (as such terms, or any similar terms, are used in the United States Comprehensive

Environmental Response, Compensation and Liability, Act, 29 U.S.C. §§ 9601 et seq., as

amended, or any similar federal or state statute). Furthermore, nothing in this Second Interim

Order, the DIP Documents or the Prepetition Financing Documents shall in any way be

construed or interpreted to impose or allow the imposition upon the DIP Agent, the DIP Lenders,


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the Prepetition Secured Parties, or any successor of any of the foregoing, of any liability for any

claims arising from the prepetition or postpetition activities of the Debtors or any affiliate of the

Debtors.

        42.     Credit Bidding. The DIP Agent shall have the unqualified right to credit bid up to

the full amount of the DIP Obligations in any sale of the DIP Collateral (or any part thereof)

without the need for further Court order and whether such sale is pursuant to section 363 or 1129

of the Bankruptcy Code, by a chapter 7 trustee under section 725 of the Bankruptcy Code, or

otherwise. The Successor Prepetition Agent and the Successor Prepetition Lender shall have,

subject to the terms of Section 363(k) of the Bankruptcy Code, the right to credit bid up to the

full amount of the Prepetition Obligations in any sale of the Prepetition Collateral (or any part

thereof) without the need for further Court order and whether such sale is pursuant to section 363

or 1129 of the Bankruptcy Code, by a chapter 7 trustee under section 725 of the Bankruptcy

Code, or otherwise.

        43.     Discharge Waiver. The DIP Obligations shall not be discharged by the entry of

an order confirming any plan of reorganization in these Chapter 11 Cases, notwithstanding the

provisions of section 1141(d) of the Bankruptcy Code, unless the DIP Obligations have been

indefeasibly paid in full in cash on or before the effective date of such confirmed plan of

reorganization. None of the Debtors shall propose or support any plan of reorganization or sale

^U P[[ ^a bdQbcP]cXP[[h P[[ ^U cWT :TQc^abm PbbTcb ^a T]cah ^U P]h R^]UXa\PcX^] ^aSTa ^a bP[T ^aSTa

that is not conditioned upon the indefeasible payment in full in cash of the DIP Obligations on or

prior to the earlier to occur of the effective date of such plan of reorganization or sale.

        44.     Rights Preserved. The entry of this Second Interim Order is without prejudice to,

and does not constitute a waiver of, expressly or implicitly: (a) the rights of the DIP Agent, the


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DIP Lenders, the Successor Prepetition Agent, the Successor Prepetition Lender, and/or the

Prepetition Second Lien Lender to seek any other or supplemental relief in respect of the

Debtors; (b) any of the rights of any of the DIP Agent, the DIP Lenders, the Successor

Prepetition Agent, the Successor Prepetition Lender, and/or the Prepetition Second Lien Lender

under the Bankruptcy Code or under applicable non-bankruptcy law, including the right to (i)

request modification of the automatic stay of section 362 of the Bankruptcy Code or (ii) propose,

subject to the provisions of section 1121 of the Bankruptcy Code, a chapter 11 plan or plans; or

(c) any other rights, claims, or privileges (whether legal, equitable or otherwise) of any of the

DIP Agent, DIP Lenders, the Successor Prepetition Agent, the Successor Prepetition Lender,

and/or the Prepetition Second Lien Lender. The DIP Agent, DIP Lenders, the Successor

Prepetition Agent, the Successor Prepetition Lender, the Prepetition Second Lien Lender, and the

Debtors hereby agree that the Prepetition Intercreditor Agreement remains in full force and

effect, subject to the terms and conditions of this Second Interim Order.

        45.     No Waiver by Failure to Seek Relief. The failure of the DIP Agent, the DIP

Lenders, the Successor Prepetition Agent, the Successor Prepetition Lender, or the Prepetition

Second Lien Lender to seek relief or otherwise exercise their rights and remedies under this

Second Interim Order, the DIP Documents, the Prepetition Credit Documents, the Prepetition

Second Lien Documents, or applicable law, as the case may be, shall not constitute a waiver of

any of the rights hereunder, thereunder, or otherwise of the DIP Agent, the DIP Lenders, the

Successor Prepetition Agent, the Successor Prepetition Lender, or the Prepetition Second Lien

Lender.

        46.     Binding Effect of Second Interim Order. Immediately upon entry by the Court,

the terms and provisions of this Second Interim Order shall become valid and binding upon and


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inure to the benefit of the Debtors, the DIP Agent, the DIP Lenders, the Successor Prepetition

Agent, the Successor Prepetition Lender, the Prepetition Second Lien Lender, all other creditors

of the Debtors, the Committee, any other statutory committee that may be appointed in these

Chapter 11 Cases, and all other parties-in-interest and their respective successors and assigns,

including any trustee or other fiduciary hereafter appointed in any of these cases, any Successor

Cases, or upon dismissal of any of these Chapter 11 Cases or Successor Cases.

        47.     No Right to Seek Modification. Unless requested by the DIP Agent, the Debtors

irrevocably waive any right to seek any modification or extension of this Second Interim Order

(in whole or in part) without the prior consent of the DIP Agent, and no such consent shall be

implied by any other action, inaction, or acquiescence of the DIP Agent.

        48.     Survival. The terms of this Second Interim Order and any actions taken pursuant

hereto, shall survive the entry of any order which may be entered: (a) confirming any plan in the

Chapter 11 Cases; (b) dismissing the Chapter 11 Cases; (c) converting the Chapter 11 Cases to

any other chapter under the Bankruptcy Code; (d) withdrawing of the references of the Chapter

11 Cases from the Bankruptcy Court; and (e) providing for abstention from handling or retaining

of jurisdiction of these Chapter 11 Cases in the Bankruptcy Court. The terms and provisions of

this Second Interim Order as well as the protections granted pursuant to this Second Interim

Order and the DIP Credit Agreement, shall continue in full force and effect notwithstanding the

entry of such order, and such protections shall maintain their priority as provided by this Second

Interim Order until all the obligations of the Debtors to the DIP Agent and the DIP Lenders

pursuant to the DIP Credit Agreement are indefeasibly paid in full and discharged (such payment

being without prejudice to any terms or provisions contained in the DIP Facility which survive

such discharge by their terms). The DIP Obligations shall not be discharged by the entry of an


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order confirming a plan, the Debtors having waived such discharge pursuant to section

1141(d)(4) of the Bankruptcy Code. The Debtors shall not propose or support any plan that is

not conditioned upon the payment in full in cash of all of the DIP Obligations, on or prior to the

earlier to occur of (i) the effective date of such plan; and (ii) the Maturity Date.

        49.     Second Interim Order Controls; Priority of Terms. To the extent of any conflict

between or among the Motion, the DIP Documents, the Interim Order, and this Second Interim

Order, the terms and provisions of this Second Interim Order shall govern. The failure to

reference any provision of the DIP Documents in this Second Interim Order shall not affect the

enforceability of such provision.

        50.     Waiver of Applicable Stay. Any applicable stay (including, without limitation,

under Bankruptcy Rules 4001(a)(3), 6004(h), and 7062) is hereby waived and shall not apply to

this Second Interim Order.

        51.     Final Hearing. The Final Hearing to consider entry of the Final Order and final

approval of the DIP Facility is scheduled for September 18, 2019, at 1:30 p.m. (prevailing

Eastern Time) before the Honorable Brendan L. Shannon, United States Bankruptcy Judge, at the

United States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 6th Floor,

Courtroom 1, Wilmington, Delaware 19801. Within two business days after the entry of this

Second Interim Order, the Debtors shall serve a copy of this Second Interim Order on the Notice

FPacXTb) IWT ^QYTRcX^]b c^ QT WTPaS Pc cWT <X]P[ >TPaX]V PaT %P& cWT 9^\\XccTTmb ^QYTRcX^]b c^ cWT

Motion in respect of %X& P fPXeTa ^U cWT TbcPcTbm aXVWcb d]STa bTRcX^] 0+1%S& P]S 00- ^U cWT

Bankruptcy Code as against the DIP Lenders, (ii) the inclusion of Avoidance Actions,

commercial tort claims, or the proceeds of any of the foregoing, in the DIP Collateral, (iii)

whether allowance must be made in the Budget for the payment of allowed claims under section


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503(b)(9) of the Bankruptcy Code, and (iv) the disparity or disproportionality of fees set forth in

cWT 8dSVTc Pb QTcfTT] cWT 9^\\XccTTmb _a^UTbbX^]P[b' ^] cWT ^]T WP]S' P]S cWT :TQc^abm

professionals and Section 363 retained parties, on the other, and (b) the objections previously

UX[TS Qh L^a[S_Ph' BB9 P]S FPhFP[' ?]R) %cWT kPreserved Objectionsl&) (In addition, the Court

reserves judgment on the allocation of amounts set forth in the Budget, any previous Budget, or

P]h UdcdaT 8dSVTc P\^]V cWT :TQc^abm _a^UTbbX^]P[b P]S PSeXb^ab P]S cWT 9^\\XccTTmb

professionals, unless such parties reach a resolution of such allocation prior to or after the Final

Hearing.) If the Preserved Objections are resolved in advance of that hearing and so evidenced

by the filing of a certification of counsel, this Court may enter such Final Order without further

notice or hearing.

        52.       Nunc Pro Tunc Effect of Second Interim Order. This Second Interim Order shall

constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall

take effect and be enforceable nunc pro tunc to the Petition Date immediately upon entry hereof.

        53.       Retention of Jurisdiction. The Court has retained and will retain jurisdiction to

interpret, implement, and enforce this Second Interim Order and the DIP Documents according

to their terms.




Dated: September 10th, 2019                       BRENDAN L. SHANNON UNITED STATES BANKRUPTCY
Wilmington, Delaware                              JUDGE




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                          Exhibit A

                    DIP Security Agreement
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                                                                              Execution Version




                           XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX

                   GID9FDF=CF=HM D@98;9 5B8 G97IF=HM 5;F99A9BH

                                          Zq Yf\ Yegf_

                                      @CCH 7F5H9' =B7),

                         l`] gl`]j BjYflgjk ^jge lae] lg lae] hYjlq `]j]lg,

                                                Yf\

                                     ACB9M 7<9GH @@7,
                                      Yk >gddYl]jYd <_]fl

                                 ?Yl]\ Yk g^ <m_mkl 14, 2019
                           XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX




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                                                         OYZd] g^ >gfl]flk

                                                                                                                                        KY_]



N@>ODJI 1.             ?@ADI@? O@MHN .......................................................................................... 1
        1.1       ?]^afalagfk..............................................................................................................1
        1.2       Jl`]j ?]^afalagfYd Kjgnakagfk ................................................................................ 5
N@>ODJI 2.             VM@N@MQ@?W .................................................................................................. 5
N@>ODJI 3.             BM<IO JA N@>PMDOT DIO@M@NO ............................................................. 5
        3.1       B]f]jYd ................................................................................................................... 5
        3.2       M][gmjk] lg N][mjalq .............................................................................................. 6
        3.3       Nh][aYd Kjgnakagfk M]dYlaf_ lg Dfn]flgjq............................................................... 7
N@>ODJI 4.             M@KM@N@IO<ODJIN <I? R<MM<IOD@N................................................ 7
        4.1       VM]k]jn]\W .............................................................................................................. 7
        4.2       Oald]; Ig Jl`]j Ga]fk ............................................................................................. 7
        4.3       K]j^][l]\ Kjagjalq Ga]fk ......................................................................................... 7
        4.4       K]j^][lagf >]jla^a[Yl]; Emjak\a[lagf g^ Jj_YfarYlagf; >`a]^@p][mlan]
                  J^^a[] ..................................................................................................................... 7
        4.5       AYje Kjg\m[lk ........................................................................................................ 8
        4.6       Dfn]kle]fl Kjgh]jlq; Kd]\_]\ Nlg[c...................................................................... 8
        4.7       M][]anYZd]k ............................................................................................................ 8
        4.8       >gfljY[lk ................................................................................................................9
        4.9       Dfl]dd][lmYd Kjgh]jlq............................................................................................... 9
        4.10      >gee]j[aYd Ogjl >dYaek...................................................................................... 10
N@>ODJI 5.             >JQ@I<ION ............................................................................................... 10
        5.1       ?]dan]jq g^ Dfkljme]flk Yf\ >`Yll]d KYh]j .......................................................... 10
        5.2       HYafl]fYf[] g^ K]j^][l]\ N][mjalq Dfl]j]kl; Amjl`]j ?g[me]flYlagf.................. 10
        5.3       >`Yf_]k af Gg[Ylagfk, IYe], ]l[......................................................................... 11
        5.4       Dfn]kle]fl Kjgh]jlq; Kd]\_]\ Nlg[c.................................................................... 11
        5.5       M][]anYZd]k .......................................................................................................... 12
        5.6       Dfl]dd][lmYd Kjgh]jlq............................................................................................. 12
        5.7       Dfl]dd][lmYd Kjgh]jlq Aadaf_ .................................................................................. 13
        5.8       >gee]j[aYd Ogjl >dYaek...................................................................................... 14
        5.9       >gddYl]jYd af l`] Kgkk]kkagf g^ Y =Yad]] ............................................................... 14
        5.10      @d][ljgfa[ >`Yll]d KYh]j ...................................................................................... 14
        5.11      G]ll]j-g^->j]\al Ma_`lk......................................................................................... 15
        5.12      Amjl`]j <kkmjYf[]k; Kd]\_] g^ Dfkljme]flk ......................................................... 15
N@>ODJI 6.             M@H@?D<G KMJQDNDJIN .......................................................................... 15
        6.1       >]jlYaf HYll]jk M]dYlaf_ lg M][]anYZd]k.............................................................. 15
        6.2       >geemfa[Ylagfk oal` JZda_gjk; BjYflgjk M]eYaf GaYZd] .................................. 16
        6.3       Kd]\_]\ Nlg[c....................................................................................................... 17

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                                                        OYZd] g^ >gfl]flk
                                                          )[gflafm]\*
                                                                                                                                      KY_]



        6.4       Kjg[]]\k lg Z] Omjf]\ Jn]j lg >gddYl]jYd <_]fl ................................................. 17
        6.5       <hhda[Ylagf g^ Kjg[]]\k ....................................................................................... 17
        6.6       P>> Yf\ Jl`]j M]e]\a]k.................................................................................... 18
        6.7       NYd]k g^ Kd]\_]\ Nlg[c......................................................................................... 18
        6.8       DK Ga[]fk]k ........................................................................................................... 19
        6.9       RYan]j; ?]^a[a]f[q .............................................................................................. 19
N@>ODJI 7.             OC@ >JGG<O@M<G <B@IO ...................................................................... 19
        7.1       >gddYl]jYd <_]flvk <hhgafle]fl Yk <llgjf]q-af-AY[l, ]l[ ................................... 19
        7.2       ?mlq g^ >gddYl]jYd <_]fl...................................................................................... 21
        7.3       AafYf[af_ NlYl]e]flk ........................................................................................... 21
        7.4       <ml`gjalq g^ >gddYl]jYd <_]fl .............................................................................. 22
        7.5       >gddYl]jYd HYll]jk................................................................................................. 22
N@>ODJI 8.             HDN>@GG<I@JPN ...................................................................................... 22
        8.1       <e]f\e]flk af Rjalaf_....................................................................................... 22
        8.2       Igla[]k ................................................................................................................. 22
        8.3       Ig RYan]j Zq >gmjk] g^ >gf\m[l; >memdYlan] M]e]\a]k .................................. 22
        8.4       Nm[[]kkgjk Yf\ <kka_fk........................................................................................ 22
        8.5       N]l-J^^..................................................................................................................22
        8.6       >gmfl]jhYjlk ......................................................................................................... 23
        8.7       N]n]jYZadalq .......................................................................................................... 23
        8.8       N][lagf C]Y\af_k ................................................................................................. 23
        8.9       Dfl]_jYlagf ............................................................................................................ 23
        8.10      BJQ@MIDIB G<R............................................................................................ 23
        8.11      NP=HDNNDJI OJ EPMDN?D>ODJI; R<DQ@MN............................................... 23
        8.12      <[cfgod]\_]e]flk.............................................................................................. 24
        8.13      <\\alagfYd BjYflgjk ............................................................................................. 25
        8.14      M]d]Yk]k g^ Ga]fk ................................................................................................. 25
        8.15      NmZgj\afYlagf....................................................................................................... 25
        8.16      HYjk`Ydaf_ ........................................................................................................... 25
        8.17      M]^]j]f[]k lg N[`]\md]k ...................................................................................... 26


N>C@?PG@N

N[`]\md] 1                   ?]k[jahlagf g^ Dfn]kle]fl Kjgh]jlq
N[`]\md] 2                   Aadaf_k Yf\ gl`]j <[lagfk M]imaj]\ lg K]j^][l N][mjalq Dfl]j]klk
N[`]\md] 3                   >YhalYd Nlg[c
N[`]\md] 4                   Dfl]dd][lmYd Kjgh]jlq
N[`]\md] 5                   >gee]j[aYd Ogjl >dYaek


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                                          OYZd] g^ >gfl]flk
                                            )[gflafm]\*
                                                                                        KY_]



<II@S@N

<ff]p D           -     Agje g^ <kkmehlagf <_j]]e]fl
<ff]p DD          -     Agje g^ Dfl]dd][lmYd Kjgh]jlq N][mjalq <_j]]e]fl




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                   GID9FDF=CF=HM D@98;9 5B8 G97IF=HM 5;F99A9BH

        O`ak NPK@MKMDJMDOT KG@?B@ <I? N@>PMDOT <BM@@H@IO \Yl]\ Yk g^ <m_mkl 14,
2019, eY\] Zq ]Y[` g^ l`] _jYflgjk ka_fYlgjq `]j]lg )lg_]l`]j oal` Yfq gl`]j ]flalq l`Yl Z][ge]k Y hYjlq
`]j]lg Yk hjgna\]\ `]j]af, l`] tGrantorsu*, ]Y[` BjYflgj Y \]Zlgj Yf\ \]Zlgj-af-hgkk]kkagf af Y [Yk]
h]f\af_ mf\]j >`Yhl]j 11 g^ l`] =Yfcjmhl[q >g\] )Yk \]^af]\ af l`] >j]\al <_j]]e]fl*, af ^Yngj g^
HJI@T >C@NO GG>, Y I]nY\Y daeal]\ daYZadalq [gehYfq, Yk [gddYl]jYd Y_]fl )af km[` [YhY[alq, lg_]l`]j
oal` alk km[[]kkgjk Yf\ Ykka_fk af km[` [YhY[alq, l`] tCollateral Agentu* Y[laf_ hmjkmYfl lg l`ak
<_j]]e]fl ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k.

                                              R D O I @ N N @ O C:

        RC@M@<N, hmjkmYfl lg l`] ?]Zlgj-af-Kgkk]kkagf >j]\al <_j]]e]fl \Yl]\ Yk g^ l`] \Yl] `]j]g^
)Yk Ye]f\]\, j]klYl]\, Ye]f\]\ Yf\ j]klYl]\, kmhhd]e]fl]\ gj gl`]joak] eg\a^a]\ ^jge lae] lg lae], l`]
tCredit Agreementu*, Yegf_ Gggl >jYl], Df[., Y ?]dYoYj] [gjhgjYlagf )tBorroweru*, Gggl >jYl] KYj]fl,
Df[., Y ?]dYoYj] [gjhgjYlagf )tParentu*, Yfq NmZka\aYja]k g^ KYj]fl l`Yl Yj] BmYjYflgjk gj Z][ge]
BmYjYflgjk hmjkmYfl lg N][lagf 8.10 g^ l`] >j]\al <_j]]e]fl )[gdd][lan]dq, lg_]l`]j oal` KYj]fl, l`]
tGuarantorsu, Yf\, lg_]l`]j oal` =gjjgo]j, l`] tCredit Partiesu*, l`] d]f\]jk ^jge lae] lg lae] hYjlq
l`]j]lg )l`] tLendersu*, Hgf]q >`]kl GG>, Yk Y\eafakljYlan] Y_]fl ^gj l`] G]f\]jk )af km[` [YhY[alq,
lg_]l`]j oal` alk km[[]kkgjk Yf\ Ykka_fk af km[` [YhY[alq, l`] tAdministrative Agentu* Yf\ l`] >gddYl]jYd
<_]fl )lg_]l`]j oal` l`] <\eafakljYlan] <_]fl, [gdd][lan]dq, l`] tAgentsu Yf\ ]Y[` Yf tAgentu*, l`]
G]f\]jk `Yn] k]n]jYddq Y_j]]\ lg eYc] l`] GgYfk lg l`] =gjjgo]j mhgf l`] l]jek Yf\ kmZb][l lg l`]
[gf\alagfk k]l ^gjl` l`]j]af;

         RC@M@<N, l`] G]f\]jk `Yn] Y_j]]\ lg ]pl]f\ [j]\al lg l`] =gjjgo]j kmZb][l lg l`] l]jek Yf\
[gf\alagfk k]l ^gjl` af l`] >j]\al <_j]]e]fl. O`] gZda_Ylagfk g^ l`] G]f\]jk lg ]pl]f\ km[` [j]\al Yj]
[gf\alagf]\ mhgf, Yegf_ gl`]j l`af_k, l`] ]p][mlagf Yf\ \]dan]jq g^ l`ak <_j]]e]fl Zq ]Y[` BjYflgj.
O`] BjYflgjk Yj] <^^adaYl]k g^ gf] Yfgl`]j, oadd \]jan] kmZklYflaYd \aj][l Yf\ af\aj][l Z]f]^alk ^jge l`]
]pl]fkagfk g^ [j]\al lg l`] =gjjgo]j hmjkmYfl lg l`] >j]\al <_j]]e]fl, Yf\ Yj] oaddaf_ lg ]p][ml] Yf\
\]dan]j l`ak <_j]]e]fl af gj\]j lg af\m[] l`] G]f\]jk lg ]pl]f\ km[` [j]\al. Igloal`klYf\af_ Yfql`af_
`]j]af lg l`] [gfljYjq, l`] Ga]fk _jYfl]\ lg >gddYl]jYd <_]fl mf\]j l`ak <_j]]e]fl Yf\ l`] ]p]j[ak] g^ l`]
ja_`lk Yf\ j]e]\a]k g^ >gddYl]jYd <_]fl `]j]mf\]j Yf\ mf\]j Yfq gl`]j >j]\al ?g[me]fl Yj] kmZb][l lg l`]
AafYf[af_ Jj\]j;

         RC@M@<N, ]p][mlagf, \]dan]jq Yf\ h]j^gjeYf[] g^ l`ak <_j]]e]fl Yf\ l`] _jYfl g^ Y k][mjalq
afl]j]kl, hd]\_] Yf\ Ga]f gf Ydd g^ l`] >gddYl]jYd )Yk `]j]afY^l]j \]^af]\* g^ l`] BjYflgjk Yf\ l`] hjg[]]\k
l`]j]g^ lg k][mj] l`] N][mj]\ JZda_Ylagfk `Yn] Z]]f Yml`gjar]\ hmjkmYfl lg N][lagfk 364)[*)2*, 364)[*)3*
Yf\ 364)\*)1* g^ l`] =Yfcjmhl[q >g\] Zq l`] AafYf[af_ Jj\]j;

         RC@M@<N, ^jge Yf\ Y^l]j l`] ]fljq g^ l`] AafYf[af_ Jj\]j Yf\ kmZb][l lg l`] >Yjn]-Jml, Yf\
hmjkmYfl lg Yf\ gfdq lg l`] ]pl]fl h]jeall]\ af l`] AafYf[af_ Jj\]j, l`] N][mj]\ JZda_Ylagfk oadd
[gfklalml] Yddgo]\ Y\eafakljYlan] ]ph]fk] [dYaek af l`] =Yfcjmhl[q >Yk] `Ynaf_ hjagjalq gn]j Ydd
Y\eafakljYlan] ]ph]fk] [dYaek Yf\ mfk][mj]\ [dYaek Y_Yafkl l`] BjYflgjk fgo ]paklaf_ gj `]j]Y^l]j
Yjakaf_, g^ Yfq caf\ o`Ylkg]n]j, af[dm\af_, oal`gml daealYlagf, Ydd Y\eafakljYlan] ]ph]fk] [dYaek g^ l`]
caf\ kh][a^a]\ af N][lagfk 105, 326, 328, 330, 331, 503)Z*, 506)[*, 507)Y*, 507)Z*, 546)[*, 726, 1114 gj
Yfq gl`]j hjgnakagf g^ l`] =Yfcjmhl[q >g\] gj gl`]joak], Yk hjgna\]\ mf\]j N][lagf 364)[*)1* g^ l`]
=Yfcjmhl[q >g\];

        RC@M@<N, lg kmhhd]e]fl l`] AafYf[af_ Jj\]j oal`gml af Yfq oYq \aeafak`af_ gj daealaf_ l`]
]^^][l g^ l`] AafYf[af_ Jj\]j gj l`] k][mjalq afl]j]kl, hd]\_] Yf\ Ga]f _jYfl]\ l`]j]mf\]j, l`] hYjla]k
`]j]lg \]kaj] lg egj] ^mddq k]l ^gjl` l`]aj j]kh][lan] ja_`lk af [gff][lagf oal` km[` k][mjalq afl]j]kl,

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hd]\_] Yf\ Ga]f Yk k]l ^gjl` `]j]af. Df l`] ]n]fl g^ Y [gf^da[l Z]lo]]f l`] l]jek Yf\ hjgnakagfk g^ l`ak
<_j]]e]fl gj Yfq gl`]j >j]\al ?g[me]fl Yf\ Yfq Jj\]j, l`] l]jek Yf\ hjgnakagfk g^ l`] AafYf[af_ Jj\]j
k`Ydd [gfljgd;

        IJR, OC@M@AJM@, af [gfka\]jYlagf g^ l`] hj]eak]k Yf\ lg af\m[] l`] <_]flk Yf\ l`] G]f\]jk
lg ]fl]j aflg l`] >j]\al <_j]]e]fl Yf\ lg af\m[] l`] N][mj]\ KYjla]k lg eYc] l`] GgYfk Yf\ gl`]j
^afYf[aYd Y[[geeg\Ylagfk lg l`] =gjjgo]j l`]j]mf\]j, ]Y[` BjYflgj `]j]Zq Y_j]]k oal` l`] >gddYl]jYd
<_]fl, ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, Yk ^gddgok:

                                    N@>ODJI 1.       ?@ADI@? O@MHN

         1.1     ?]^afalagfk.

                )Y*     Pfd]kk gl`]joak] \]^af]\ `]j]af, l]jek \]^af]\ af l`] >j]\al <_j]]e]fl Yf\ mk]\
`]j]af k`Ydd `Yn] l`] e]Yfaf_k _an]f lg l`]e af l`] >j]\al <_j]]e]fl, Yf\ l`] ^gddgoaf_ l]jek o`a[` Yj]
\]^af]\ af l`] P>> Yj] mk]\ `]j]af Yk kg \]^af]\: <[[gmfl, >]jla^a[Yl]\ N][mjalq, >`Yll]d KYh]j,
>gee]j[aYd Ogjl >dYae, [gfljgd, >gfljY[l, ?g[me]fl, AYje Kjg\m[l, B]f]jYd DflYf_aZd], Bgg\k,
Dfkljme]fl, Dfn]flgjq, G]ll]j-g^->j]\al Ma_`l, N][mjala]k <[[gmfl, N][mjala]k @flald]e]fl, Pf[]jla^a[Yl]\
N][mjalq Yf\ Nmhhgjlaf_ JZda_Ylagf. Og l`] ]pl]fl Yhhda[YZd], Ydd gl`]j l]jek mk]\ `]j]af oal`gml
\]^afalagf o`a[` Yj] fgl \]^af]\ af l`] >j]\al <_j]]e]fl k`Ydd `Yn] l`] \]^afalagfk _an]f l`]j]^gj af l`]
P>>.

                 )Z*     O`] ^gddgoaf_ l]jek k`Ydd `Yn] l`] ^gddgoaf_ e]Yfaf_k:

                tAgreementu k`Ydd e]Yf l`ak Nmh]jhjagjalq Kd]\_] Yf\ N][mjalq <_j]]e]fl, Yk l`] kYe]
         eYq Z] Ye]f\]\, kmhhd]e]fl]\ gj gl`]joak] eg\a^a]\ ^jge lae] lglae].

                 tCollateralu k`Ydd `Yn] l`] e]Yfaf_ k]l ^gjl` af N][lagf 3.

                 tCollateral Accountu k`Ydd e]Yf Yfq ?]hgkal <[[gmfl l`Yl ak )p* kmZb][l lg Y >gfljgd
         <_j]]e]fl ]klYZdak`]\ hmjkmYfl lg N][lagf 8.15 g^ l`] >j]\al <_j]]e]fl gj )q* ]klYZdak`]\ Zq l`]
         >gddYl]jYd <_]fl Yk hjgna\]\ af N][lagfk 6.1 gj 6.4 g^ l`ak <_j]]e]fl.

                 tCollectionsu k`Ydd e]Yf Ydd [Yk`, [`][ck, [j]\al [Yj\ kdahk gj j][]ahlk, fgl]k, afkljme]flk,
         Yf\ gl`]j al]ek g^ hYqe]fl )af[dm\af_ afkmjYf[] hjg[]]\k, hjg[]]\k g^ [Yk` kYd]k, j]flYd hjg[]]\k
         Yf\ lYp j]^mf\k* g^ l`] >j]\al KYjla]k, af[dm\af_, oal`gml daealYlagf, l`] hjg[]]\k g^ Ydd <[[gmflk.

                  tCopyrightsu k`Ydd e]Yf )Y* Ydd [ghqja_`lk, ja_`lk, lald]k Yf\ afl]j]klk af Yf\ lg hmZdak`]\
         Yf\ mfhmZdak`]\ ogjck g^ Yml`gjk`ah, af[dm\af_ Ydd kg^loYj] )o`]l`]j gj fgl [gfka\]j]\ lg Z] Y
         t_gg\u jYl`]j l`Yf Yf aflYf_aZd], Yf\ af[dm\af_ l`] kgmj[] [g\] n]jkagf l`]j]g^*, Yf\ Ydd
         [ghqja_`lk af Yfq gja_afYd gj \]janYlan] ogjck g^ Yml`gjk`ah, o`]l`]j j]_akl]j]\ gj mfj]_akl]j]\
         Yf\ o`]l`]j hmZdak`]\ gj mfhmZdak`]\ )af[dm\af_ l`gk] dakl]\ af N[`]\md] 4, a^ Yfq*, Ydd
         j]_akljYlagfk Yf\ j][gj\af_k l`]j]g^, Yf\ Ydd Yhhda[Ylagfk af [gff][lagf l`]j]oal`, af[dm\af_ Ydd
         j]_akljYlagfk, j][gj\af_k Yf\ Yhhda[Ylagfk af l`] Pfal]\ NlYl]k >ghqja_`l J^^a[] gj Yfq gl`]j
         g^^a[] l`jgm_`gml l`] ogjd\, )Z* l`] ja_`l lg gZlYaf Ydd j]f]oYdk l`]j]g^ Yf\ )[* Ydd af[ge],
         jgqYdla]k, Yf\ hjg[]]\k Yl Yfq lae] \m] gj hYqYZd] gj Ykk]jl]\ mf\]j gj oal` j]kh][l lg Yfq g^ l`]
         ^gj]_gaf_, af[dm\af_ Ydd ja_`lk lg km] gj j][gn]j Yl dYo gj af ]imalq ^gj Yfq hYkl, hj]k]fl gj ^mlmj]
         af^jaf_]e]fl, eakYhhjghjaYlagf, nagdYlagf gj gl`]j aehYaje]fl l`]j]g^.

                 tCopyright Licensesu k`Ydd e]Yf Yfq ojall]f Y_j]]e]fl fYeaf_ Yfq BjYflgj Yk da[]fkgj
         gj da[]fk]] )af[dm\af_ l`gk] dakl]\ af N[`]\md] 4, a^ Yfq*, gl`]j l`Yf kg^loYj] da[]fk] Y_j]]e]flk
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         ^gj tg^^-l`]-k`]d^u, tk`jafc-ojYhu gj t[da[c-l`jgm_`u Y_j]]e]flk _jYflaf_ Yfq ja_`l mf\]j Yfq
         >ghqja_`l, af[dm\af_ l`] _jYfl g^ ja_`lk lg eYfm^Y[lmj], \akljaZml], ]phdgal Yf\ k]dd eYl]jaYdk
         \]jan]\ ^jge Yfq >ghqja_`l.

                  tDeposit Accountu k`Ydd `Yn] l`] e]Yfaf_ k]l ^gjl` af l`] P>> Yf\, af Yfq ]n]fl,
         af[dm\] Yfq \]eYf\, lae], kYnaf_k, hYkkZggc gj dac] Y[[gmfl eYaflYaf]\ oal` Y \]hgkalYjq
         afklalmlagf.

                  tEquipmentu e]Yfk: )Y* Yfq t]imahe]flu, Yk km[` l]je ak \]^af]\ af N][lagf 9-
         102)Y*)33* g^ l`] P>>; )Z* Ydd eY[`af]jq, ]imahe]fl, ^mjfak`af_k, Aaplmj]k, Yf\ Q]`a[d]k; Yf\ )[*
         Yfq Yf\ Ydd Y\\alagfk, kmZklalmlagfk, Yf\ j]hdY[]e]flk g^ Yfq g^ l`] ^gj]_gaf_, o`]j]n]j dg[Yl]\,
         lg_]l`]j oal` Ydd YllY[`e]flk, [gehgf]flk, hYjlk, ]imahe]fl, Yf\ Y[[]kkgja]k afklYdd]\ l`]j]gf gj
         Y^^ap]\ l`]j]lg )af ]Y[` [Yk], j]_Yj\d]kk g^ o`]l`]j [`YjY[l]jar]\ Yk ]imahe]fl mf\]j l`] P>>*.

                  tExcluded Propertyu k`Ydd e]Yf hjgh]jlq l`Yl, Zml ^gj Yfq gf] gj egj] g^ [dYmk]k )n*-)r*
         g^ l`] dYkl hYjY_jYh` g^ N][lagf 3, ogmd\ [gfklalml] >gddYl]jYd.

                  tIntellectual Propertyu k`Ydd e]Yf, [gdd][lan]dq, Ydd ja_`lk, hjagjala]k Yf\ hjanad]_]k
         j]dYlaf_ lg afl]dd][lmYd hjgh]jlq, af[dm\af_ Ydd >ghqja_`lk, >ghqja_`l Ga[]fk]k, KYl]flk, KYl]fl
         Ga[]fk]k, OjY\]eYjck, OjY\]eYjc Ga[]fk]k, Dfl]jf]l ?geYaf IYe]k, OjY\] N][j]lk Yf\ OjY\]
         N][j]l Ga[]fk]k.

                 tIntercompany Noteu k`Ydd e]Yf Yfq hjgeakkgjq fgl] ]na\]f[af_ dgYfk eY\] Zq Yfq
         JZda_gj lg Yfq BjYflgj.

                  tInternet Domain Namesu k`Ydd e]Yf Ydd ja_`lk, lald] Yf\ afl]j]klk Yjakaf_ mf\]j Yfq dYo
         af gj j]dYlaf_ lg Dfl]jf]l \geYaf fYe]k.

                 tInvestment Propertyu k`Ydd e]Yf, [gdd][lan]dq, )Y* Ydd tafn]kle]fl hjgh]jlqu Yk km[`
         l]je ak \]^af]\ af N][lagf 9-102)Y*)49* g^ l`] P>> Yf\ )Z* o`]l`]j gj fgl [gfklalmlaf_
         tafn]kle]fl hjgh]jlqu Yk kg \]^af]\, Ydd Kd]\_]\ Igl]k Yf\ Ydd Kd]\_]\ Nlg[c.

                  tIP Licenseu e]Yfk Ydd Y_j]]e]flk, o`]l`]j ojall]f gj gjYd, _jYflaf_ Yfq ja_`l, lald] gj
         afl]j]kl af Yfq Dfl]dd][lmYd Kjgh]jlq, af[dm\af_ Ydd >ghqja_`l Ga[]fk]k, KYl]fl Ga[]fk]k, Yf\
         OjY\]eYjc Ga[]fk]k.

                 tIssuersu k`Ydd e]Yf, [gdd][lan]dq, ]Y[` akkm]j g^ Yfq Dfn]kle]fl Kjgh]jlq o`a[` \g]k fgl
         [gfklalml] @p[dm\]\ Kjgh]jlq.

                 tMaterial Intellectual Propertyu k`Ydd `Yn] l`] e]Yfaf_ k]l ^gjl` af N][lagf 5.6.

                 tObligorsu k`Ydd e]Yf, [gdd][lan]dq, l`] BjYflgjk Yf\ Yfq gl`]j K]jkgf l`Yl Z][ge]k
         gZda_Yl]\ lg Yfq N][mj]\ KYjlq oal` j]kh][l lg Yfq g^ l`] N][mj]\ JZda_Ylagfk.

                   tPatentsu k`Ydd e]Yf )Y* Ydd d]ll]jk hYl]fl g^ l`] Pfal]\ NlYl]k, Yfq hgdala[Yd kmZ\anakagf
         l`]j]g^ gj Yfq gl`]j bmjak\a[lagf l`jgm_`gml l`] ogjd\ Yf\ Ydd j]akkm]k Yf\ ]pl]fkagfk l`]j]g^,
         af[dm\af_ Yfq g^ l`] ^gj]_gaf_ j]^]jj]\ lg af N[`]\md] 4 )a^ Yfq*, )Z* Ydd Yhhda[Ylagfk ^gj d]ll]jk
         hYl]fl g^ l`] Pfal]\ NlYl]k gj Yfq gl`]j [gmfljq Yf\ Ydd \anakagfk, [gflafmYlagfk Yf\
         [gflafmYlagfk-af-hYjl l`]j]g^, af[dm\af_ Yfq g^ l`] ^gj]_gaf_ j]^]jj]\ lg af N[`]\md] 4 )a^ Yfq*,
         )[* Ydd ja_`lk lg gZlYaf Yfq j]akkm]k gj ]pl]fkagfk g^ l`] ^gj]_gaf_ Yf\ )\* Ydd af[ge], jgqYdla]k,
         Yf\ hjg[]]\k Yl Yfq lae] \m] gj hYqYZd] gj Ykk]jl]\ mf\]j gj oal` j]kh][l lg Yfq g^ l`] ^gj]_gaf_
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         af[dm\af_ Ydd ja_`lk lg km] gj j][gn]j Yl dYo gj af ]imalq ^gj Yfq hYkl, hj]k]fl gj ^mlmj]
         af^jaf_]e]fl, eakYhhjghjaYlagf, nagdYlagf gj gl`]j aehYaje]fl l`]j]g^.

                 tPatent Licenseu k`Ydd e]Yf Ydd Y_j]]e]flk, o`]l`]j ojall]f gj gjYd, hjgna\af_ ^gj l`]
         _jYfl Zq gj lg Yfq BjYflgj g^ Yfq ja_`l lg eYfm^Y[lmj], mk], k]dd, g^^]j ^gj kYd] gj aehgjl Yfq
         afn]flagf [gn]j]\ af o`gd] gj af hYjl Zq Y KYl]fl, af[dm\af_ Yfq g^ l`] ^gj]_gaf_ j]^]jj]\ lg af
         N[`]\md] 4 )a^ Yfq*.

                 tPledgedu, o`]f mk]\ af [gfbmf[lagf oal` Yfq lqh] g^ Ykk]l, k`Ydd e]Yf, Yl Yfq lae], Yf
         Ykk]l g^ km[` lqh] l`Yl ak af[dm\]\ gj j]imaj]\ lg Z] af[dm\]\ )gj l`Yl [j]Yl]k ja_`lk l`Yl Yj]
         af[dm\]\ gj j]imaj]\ lg Z] af[dm\]\* af l`] >gddYl]jYd Yl km[` lae] hmjkmYfl lg l`] l]jek g^ l`ak
         <_j]]e]fl.

                 tPledged Notesu k`Ydd e]Yf Ydd hjgeakkgjq fgl]k dakl]\ gf N[`]\md] 1, Ydd Dfl]j[gehYfq
         Igl]k Yl Yfq lae] akkm]\ lg Yfq BjYflgj Yf\ Ydd gl`]j hjgeakkgjq fgl]k akkm]\ lg gj `]d\ Zq Yfq
         BjYflgj )gl`]j l`Yf hjgeakkgjq fgl]k akkm]\ af [gff][lagf oal` ]pl]fkagfk g^ ljY\] [j]\al Zq Yfq
         BjYflgj af l`] gj\afYjq [gmjk] g^ Zmkaf]kk*.

                 tPledged Stocku k`Ydd e]Yf l`] k`Yj]k g^ >YhalYd Nlg[c dakl]\ gf N[`]\md] 1, lg_]l`]j
         oal` Yfq gl`]j k`Yj]k, klg[c []jla^a[Yl]k, ghlagfk, afl]j]klk gj ja_`lk g^ Yfq fYlmj] o`Ylkg]n]j af
         j]kh][l g^ l`] >YhalYd Nlg[c g^ Yfq K]jkgf l`Yl eYq Z] akkm]\ gj _jYfl]\ lg, gj `]d\ Zq, Yfq
         BjYflgj o`ad] l`ak <_j]]e]fl ak af ]^^][l, af ]Y[` [Yk], gl`]j l`Yf @p[dm\]\ Kjgh]jlq.

                 tProceedsu k`Ydd e]Yf Ydd thjg[]]\ku Yk km[` l]je ak \]^af]\ af N][lagf 9-102)Y*)64* g^
         l`] P>> Yf\, af Yfq ]n]fl, k`Ydd af[dm\] Ydd \ana\]f\k gj gl`]j af[ge] ^jge l`] Dfn]kle]fl
         Kjgh]jlq, [gdd][lagfk l`]j]gf gj \akljaZmlagfk gj hYqe]flk oal` j]kh][l l`]j]lg.

                  tReceivableu k`Ydd e]Yf Yfq ja_`l lg hYqe]fl ^gj _gg\k kgd\ gj d]Yk]\ gj ^gj k]jna[]k
         j]f\]j]\, o`]l`]j gj fgl km[` ja_`l ak ]na\]f[]\ Zq Yf Dfkljme]fl gj >`Yll]d KYh]j Yf\ o`]l`]j
         gj fgl al `Yk Z]]f ]Yjf]\ Zq h]j^gjeYf[] )af[dm\af_ Yfq <[[gmfl*.

                 tSecured Obligationsu k`Ydd e]Yf )Y* af l`] [Yk] g^ l`] =gjjgo]j, l`] tJZda_YlagfkuYk
         \]^af]\ af l`] >j]\al <_j]]e]fl Yf\ )Z* af l`] [Yk] g^ l`] BmYjYflgjk, l`] tBmYjYfl]]
         JZda_Ylagfku Yk \]^af]\ af l`] >j]\al <_j]]e]fl Yf\ Yfq Yf\ Ydd gl`]j gZda_Ylagfk )o`]l`]j
         YZkgdml] gj [gflaf_]fl, eYlmj]\ gj mfeYlmj]\* g^ l`] JZda_gjk Yjakaf_ mf\]j gj af [gff][lagf oal`
         Yfq >j]\al ?g[me]fl.

                 tSecurities Actu k`Ydd e]Yf l`] N][mjala]k <[l g^ 1933, Yk Ye]f\]\, Yf\ l`] jmd]k Yf\
         j]_mdYlagfk hjgemd_Yl]\ l`]j]mf\]j.

                 tTrademarksu k`Ydd e]Yf )Y* Ydd ljY\]eYjck, ljY\] fYe]k, ^a[lalagmk Zmkaf]kk fYe]k,
         k]jna[] eYjck, dg_gk, ljY\] \j]kk Yf\ gl`]j kgmj[] gj Zmkaf]kk a\]fla^a]jk )o`]l`]j j]_akl]j]\ gj
         mfj]_akl]j]\*, Yf\ Ydd _gg\oadd Ykkg[aYl]\ l`]j]oal`, fgo ]paklaf_ gj `]j]Y^l]j Y\ghl]\ gj
         Y[imaj]\, Ydd j]_akljYlagfk Yf\ j][gj\af_k l`]j]g^, Yf\ Ydd Yhhda[Ylagfk af [gff][lagf l`]j]oal`,
         o`]l`]j af l`] Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[] gj af Yfq kaeadYj g^^a[] gj Y_]f[q g^
         l`] Pfal]\ NlYl]k, Yfq bmjak\a[lagf l`jgm_`gml l`] ogjd\ gj Yfq hgdala[Yd kmZ\anakagf l`]j]g^, gj
         gl`]joak], Yf\ Ydd [geegf-dYo ja_`lk j]dYl]\ l`]j]lg, af[dm\af_ Yfq g^ l`] ^gj]_gaf_ j]^]jj]\ lg
         af N[`]\md] 4 )a^ Yfq*, )Z* l`] ja_`l lg gZlYaf Ydd j]f]oYdk l`]j]g^ Yf\ )[* Ydd af[ge], jgqYdla]k,
         Yf\ hjg[]]\k Yl Yfq lae] \m] gj hYqYZd] gj Ykk]jl]\ mf\]j gj oal` j]kh][l lg Yfq g^ l`] ^gj]_gaf_,
         af[dm\af_ Ydd ja_`lk lg km] gj j][gn]j Yl dYo gj af ]imalq ^gj Yfq hYkl, hj]k]fl gj ^mlmj]
         af^jaf_]e]fl, eakYhhjghjaYlagf, nagdYlagf gj gl`]j aehYaje]fl l`]j]g^.
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                 tTrademark Licenseu k`Ydd e]Yf Yfq Y_j]]e]fl, o`]l`]j ojall]f gj gjYd, hjgna\af_ ^gj
         l`] _jYfl Zq gj lg Yfq BjYflgj g^ Yfq ja_`l lg mk] Yfq OjY\]eYjc, af[dm\af_ Yfq g^ l`] ^gj]_gaf_
         j]^]jj]\ lg af N[`]\md] 4 )a^ Yfq*.

                   tTrade Secretsu e]Yfk Yfql`af_ l`Yl ogmd\ [gfklalml] Y ljY\] k][j]l mf\]j <hhda[YZd]
         GYo Yf\ af^gjeYlagf l`Yl \]jan]k af\]h]f\]fl ][gfgea[ nYdm] )Y[lmYd gj hgl]flaYd* ^jge fgl
         Z]af_ _]f]jYddq cfgof lg Yf\ fgl Z]af_ j]Y\adq Yk[]jlYafYZd] Zq hjgh]j e]Yfk Zq Y h]jkgf YZd] lg
         gZlYaf ][gfgea[ nYdm] ^jge alk mk] gj \ak[dgkmj], Yf\ Ydd gl`]j afn]flagfk )o`]l`]j hYl]flYZd] gj
         fgl*, af\mkljaYd \]ka_fk, \ak[gn]ja]k, aehjgn]e]flk, a\]Yk, \]ka_fk, eg\]dk, ^gjemdY], hYll]jfk,
         [gehadYlagfk, \YlYZYk]k, \YlY [gdd][lagfk, \jYoaf_k, Zdm]hjaflk, eYkc ogjck, \]na[]k, e]l`g\k,
         l][`faim]k, hjg[]kk]k, cfgo-`go, [gf^a\]flaYd af^gjeYlagf, hjghja]lYjq af^gjeYlagf, [mklge]j
         daklk, kg^loYj], Yf\ l][`fa[Yd af^gjeYlagf.

                 tTrade Secrets Licenseu k`Ydd e]Yf Yfq Y_j]]e]fl, o`]l`]j ojall]f gj gjYd, hjgna\af_
         ^gj l`] _jYfl Zq gj lg Yfq BjYflgj g^ Yfq ja_`l lg mk] Yfq OjY\] N][j]lk, af[dm\af_ Yfq g^ l`]
         ^gj]_gaf_ j]^]jj]\ lg af N[`]\md] 4 )a^ Yfq*.

                   tVehiclesu e]Yfk Ydd hj]k]fl Yf\ ^mlmj] YmlgegZad]k, ljm[ck, ljm[c ljY[lgjk, ljYad]jk, k]ea-
         ljYad]jk, gj gl`]j eglgj n]`a[d]k gj jgddaf_ klg[c, fgo gof]\ gj `]j]Y^l]j Y[imaj]\ Zq BjYflgjk.

         1.2     Jl`]j ?]^afalagfYd Kjgnakagfk.

                 )Y*    O`] ogj\k t`]j]g^u, t`]j]afu, t`]j]lgu Yf\ t`]j]mf\]ju Yf\ ogj\k g^ kaeadYj
aehgjl o`]f mk]\ af l`ak <_j]]e]fl k`Ydd j]^]j lg l`ak <_j]]e]fl Yk Y o`gd] Yf\ fgl lg Yfq hYjla[mdYj
hjgnakagf g^ l`ak <_j]]e]fl, Yf\ N][lagf Yf\ N[`]\md] j]^]j]f[]k Yj] lg l`ak <_j]]e]fl mfd]kk gl`]joak]
kh][a^a]\.

                 )Z*     O`] e]Yfaf_k _an]f lg l]jek \]^af]\ `]j]af k`Ydd Z] ]imYddq Yhhda[YZd] lg Zgl`
l`] kaf_mdYj Yf\ hdmjYd ^gjek g^ km[` l]jek. R`]j] l`] [gfl]pl j]imaj]k, l]jek j]dYlaf_ lg l`] >gddYl]jYd
gj Yfq hYjl l`]j]g^, o`]f mk]\ af j]dYlagf lg Y BjYflgj, k`Ydd j]^]j lg km[` BjYflgjvk >gddYl]jYd gj l`]
j]d]nYfl hYjl l`]j]g^.

                                           N@>ODJI 2.     VM]k]jn]\W

                           N@>ODJI 3.          BM<IO JA N@>PMDOT DIO@M@NO

         3.1      B]f]jYd. @Y[` BjYflgj `]j]Zq hd]\_]k Yf\ [gddYl]jYddq Ykka_fk lg l`] >gddYl]jYd <_]fl,
Yf\ `]j]Zq _jYflk lg l`] >gddYl]jYd <_]fl, ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, Y k][mjalq afl]j]kl af Ydd
g^ alk h]jkgfYd hjgh]jlq Yf\ gl`]j Ykk]lk, o`]l`]j fgo gof]\ gj Yl Yfq lae] `]j]Y^l]j Y[imaj]\ Zq km[`
BjYflgj gj af o`a[` km[` BjYflgj fgo `Yk gj Yl Yfq lae] af l`] ^mlmj] eYq Y[imaj] Yfq ja_`l, lald] gj
afl]j]kl, af[dm\af_ Ydd g^ l`] ^gddgoaf_ hjgh]jlq, o`]j]n]j dg[Yl]\ )[gdd][lan]dq, l`] tCollateralu*, Yk
[gddYl]jYd k][mjalq ^gj l`] hjgehl Yf\ [gehd]l] hYqe]fl Yf\ h]j^gjeYf[] o`]f \m] )o`]l`]j Yl l`] klYl]\
eYlmjalq, Zq Y[[]d]jYlagf gj gl`]joak]* g^ alk N][mj]\ JZda_Ylagfk:

                 )Y*      Ydd <[[gmflk, M][]anYZd]k Yf\ >gdd][lagfk;

                 )Z*      Ydd >`Yll]d KYh]j;

                 )[*      Ydd >gfljY[lk;

                 )\*      Ydd ?]hgkal <[[gmflk;
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                 )]*    Ydd ?g[me]flk;

                 )^*    Ydd @imahe]fl;

                 )_*    Ydd Q]`a[d]k;

                 )`*    Ydd B]f]jYd DflYf_aZd]k;

                 )a*    Ydd Dfkljme]flk;

                 )b*    Ydd Dfl]dd][lmYd Kjgh]jlq;

                 )c*    Ydd Dfn]flgjq;

                 )d*    Ydd Dfn]kle]fl Kjgh]jlq;

                 )e*    Ydd G]ll]j-g^->j]\al Ma_`lk;

                 )f*    Ydd Bgg\k Yf\ gl`]j hjgh]jlq fgl gl`]joak] \]k[jaZ]\ YZgn];

                 )g*    Ydd Zggck Yf\ j][gj\k h]jlYafaf_ lg l`] >gddYl]jYd;

                )h*      Ydd >gee]j[aYd Ogjl >dYaek dakl]\ gf N[`]\md] 5 gj \]k[jaZ]\ af Yfq fgla[] k]fl
hmjkmYfl lg N][lagf 5.8;

                 )i*    Yfq Yegmflk kmj[`Yj_]\ hmjkmYfl lg k][lagf 506)[* g^ l`] =Yfcjmhl[q >g\];

               )j*      <nga\Yf[] <[lagfk Yf\ l`] Kjg[]]\k l`]j]g^ )kmZb][l lg l`] l]jek g^ l`]
AafYf[af_ Jj\]j* Yf\

                )k*     lg l`] ]pl]fl fgl gl`]joak] af[dm\]\, Ydd Kjg[]]\k )af[dm\af_ Kjg[]]\k g^ Ydd
afkmjYf[] hgda[a]k*, Nmhhgjlaf_ JZda_Ylagfk Yf\ hjg\m[lk g^ Yfq Yf\ Ydd g^ l`] ^gj]_gaf_ Yf\ Ydd [gddYl]jYd
k][mjalq Yf\ _mYjYfl]]k _an]f Zq Yfq K]jkgf oal` j]kh][l lg Yfq g^ l`] ^gj]_gaf_.

Igloal`klYf\af_ l`] ^gj]_gaf_, t>gddYl]jYdu k`Ydd fgl af[dm\] l`] ^gddgoaf_: )q* Yfq P.N. afl]fl-lg-mk]
ljY\]eYjc Yhhda[Ylagf ^gj o`a[` Y klYl]e]fl g^ mk] `Yk fgl Z]]f ^ad]\ oal` Yf\ \mdq Y[[]hl]\ Zq l`]
Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[] )Zml gfdq mflad km[` klYl]e]fl ak Y[[]hl]\ Zq l`] Pfal]\ NlYl]k
KYl]fl Yf\ OjY\]eYjc J^^a[]*; )r* Yfq ja_`lk gj afl]j]klk af Yfq d]Yk], da[]fk], [gfljY[l, gj Y_j]]e]fl, Yk
km[` gj l`] Ykk]lk kmZb][l l`]j]lg a^ mf\]j l`] l]jek g^ km[` d]Yk], da[]fk], [gfljY[l, gj Y_j]]e]fl, gj
<hhda[YZd] GYo oal` j]kh][l l`]j]lg, l`] nYda\ _jYfl g^ Y Ga]f l`]j]af gj af km[` Ykk]lk lg >gddYl]jYd <_]fl
ak hjg`aZal]\ Yf\ km[` hjg`aZalagf `Yk fgl Z]]f gj ak fgl oYan]\ gj l`] [gfk]fl g^ l`] gl`]j hYjlq lg km[`
d]Yk], da[]fk], [gfljY[l, gj Y_j]]e]fl `Yk fgl Z]]f gj ak fgl gl`]joak] gZlYaf]\ gj mf\]j <hhda[YZd] GYo
km[` hjg`aZalagf [Yffgl Z] oYan]\; hjgna\]\, `go]n]j, l`] ]p[dmkagf af [dYmk] )r* YZgn] k`Ydd af fg oYq
Z] [gfkljm]\ )a* lg Yhhdq a^ Yfq km[` hjg`aZalagf ogmd\ Z] j]f\]j]\ af]^^][lan] mf\]j l`] P>> )af[dm\af_
N][lagfk 9-406, 9-407 Yf\ 9-408 l`]j]g^* gj gl`]j <hhda[YZd] GYo )af[dm\af_ l`] Pfal]\ NlYl]k
ZYfcjmhl[q [g\]* gj hjaf[ahd]k g^ ]imalq, )aa* kg Yk lg daeal, aehYaj gj gl`]joak] Y^^][l >gddYl]jYd <_]flvk
mf[gf\alagfYd [gflafmaf_ Ga]fk mhgf Yfq ja_`lk gj afl]j]klk g^ Yfq BjYflgj af gj lg l`] Kjg[]]\k l`]j]g^
)af[dm\af_ hjg[]]\k ^jge l`] kYd], da[]fk], d]Yk] gj gl`]j \akhgkalagf l`]j]g^*, af[dm\af_ egfa]k \m] gj lg
Z][ge] \m] mf\]j Yfq km[` d]Yk], da[]fk], [gfljY[l, gj Y_j]]e]fl )af[dm\af_ Yfq <[[gmflk gj gl`]j
M][]anYZd]k*, gj )aaa* lg Yhhdq Yl km[` lae] Yk l`] [gf\alagf [Ymkaf_ km[` hjg`aZalagf k`Ydd Z] j]e]\a]\

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Yf\, lg l`] ]pl]fl k]n]jYZd], t>gddYl]jYdu k`Ydd af[dm\] Yfq hgjlagf g^ km[` d]Yk], da[]fk], [gfljY[l,
Y_j]]e]fl gj Ykk]lk kmZb][l l`]j]lg l`Yl \g]k fgl j]kmdl af km[` hjg`aZalagf.

        3.2      M][gmjk] lg N][mjalq. M][gmjk] lg k][mjalq k`Ydd fgl Z] j]imaj]\ ^gj Yfq JZda_Ylagf
`]j]mf\]j Yf\ ]Y[` BjYflgj `]j]Zq oYan]k, lg l`] ]pl]fl km[` oYan]j ak fgl hjg`aZal]\ Zq <hhda[YZd]
GYo, Yfq j]imaj]e]fl l`Yl l`] >gddYl]jYd <_]fl gj l`] N][mj]\ KYjla]k ]p`Ymkl Yfq ja_`l gj lYc] Yfq Y[lagf
Y_Yafkl Yfq g^ l`] >gddYl]jYd Z]^gj] hjg[]]\af_ lg ]f^gj[] l`] JZda_Ylagfk Y_Yafkl km[` BjYflgj.

         3.3     Nh][aYd Kjgnakagfk M]dYlaf_ lg Dfn]flgjq.

                 )Y*     <dd Dfn]flgjq. O`] k][mjalq afl]j]kl af l`] Dfn]flgjq _jYfl]\ lg l`] >gddYl]jYd
<_]fl `]j]mf\]j k`Ydd [gflafm] l`jgm_` Ydd kl]hk g^ eYfm^Y[lmj] Yf\ kYd] Yf\ YllY[` oal`gml ^mjl`]j Y[l lg
jYo eYl]jaYdk, ogjc af hjg[]kk, ^afak`]\ _gg\k, j]lmjf]\ _gg\k, \g[me]flk g^ lald] Yf\ oYj]`gmk]
j][]ahlk, Yf\ lg hjg[]]\k j]kmdlaf_ ^jge l`] kYd] gj gl`]j \akhgkalagf g^ km[` Dfn]flgjq.

                 )Z*     Dfn]flgjq M][gj\k. @Y[` BjYflgj k`Ydd eYaflYaf, af l`] gj\afYjq [gmjk] g^
Zmkaf]kk, ^mdd, Y[[mjYl] Yf\ [gehd]l] j][gj\k g^ alk Dfn]flgjq \]k[jaZaf_ l`] caf\, lqh] Yf\ imYflalq g^
km[` Dfn]flgjq Yf\ l`] BjYflgjvk [gkl l`]j]^gj, oal`\jYoYdk l`]j]^jge Yf\ Y\\alagfk l`]j]lg, af[dm\af_ Y
h]jh]lmYd afn]flgjq ^gj jYo eYl]jaYdk, ogjc af hjg[]kk Yf\ ^afak`]\ _gg\k.

                      N@>ODJI 4.        M@KM@N@IO<ODJIN <I? R<MM<IOD@N

               Og af\m[] l`] <_]flk Yf\ l`] G]f\]jk lg ]fl]j aflg l`] >j]\al <_j]]e]fl Yf\ lg af\m[]
l`] N][mj]\ KYjla]k lg eYc] l`] GgYfk Yf\ gl`]j ^afYf[aYd Y[[geeg\Ylagfk lg l`] =gjjgo]j l`]j]mf\]j,
]Y[` BjYflgj `]j]Zq j]hj]k]flk Yf\ oYjjYflk lg ]Y[` N][mj]\ KYjlq l`Yl:

         4.1     VM]k]jn]\W.

        4.2     Oald]; Ig Jl`]j Ga]fk. Ig ^afYf[af_ klYl]e]fl gj gl`]j hmZda[ fgla[] gj j][gj\ g^ Y Ga]f
oal` j]kh][l lg Ydd gj Yfq hYjl g^ l`] >gddYl]jYd ak gf ^ad] gj g^ j][gj\ af Yfq hmZda[ g^^a[], ]p[]hl ^gj )a*
km[` Yk `Yn] Z]]f ^ad]\ af ^Yngj g^ l`] >gddYl]jYd <_]fl, ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, hmjkmYfl lg
l`ak <_j]]e]fl, )aa* km[` Yk `Yn] Z]]f ^ad]\ af ^Yngj g^ Hgf]q >`]kl GG>, hmjkmYfl lg l`] Jja_afYd
>dgkaf_ ?Yl] N][mj]\ NmZgj\afYl]\ ?]Zl, Yf\ )aaa* km[` Yk Yj] gl`]joak] ]phj]kkdq h]jeall]\ Zq l`] l]jek
g^ l`] >j]\al <_j]]e]fl.

        4.3      K]j^][l]\ Kjagjalq Ga]fk. @p[]hl oal` j]kh][l lg afl]dd][lmYd hjgh]jlq j]_akl]j]\ oal` Yf
Y_]f[q gj _gn]jfe]flYd g^^a[] gj Yml`gjalq gl`]j l`Yf l`] Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[], l`]
Pfal]\ NlYl]k >ghqja_`l J^^a[] gj Yfq kaeadYj Y_]f[q af Yfq hgdala[Yd kmZ\anakagf g^ l`] Pfal]\ NlYl]k, l`]
k][mjalq afl]j]klk _jYfl]\ hmjkmYfl lg l`ak <_j]]e]fl mhgf [gehd]lagf g^ l`] ^adaf_k Yf\ gl`]j Y[lagfk
kh][a^a]\ gf N[`]\md] 2 )o`a[`, af l`] [Yk] g^ Ydd ^adaf_k Yf\ gl`]j \g[me]flk j]^]jj]\ lg gf kYa\
N[`]\md], `Yn] Z]]f \]dan]j]\ lg l`] >gddYl]jYd <_]fl af [gehd]l]\ Yf\ \mdq ]p][ml]\ ^gje* oadd
[gfklalml] nYda\ ^ajkl hjagjalq h]j^][l]\ k][mjalq afl]j]klk af Ydd g^ l`] >gddYl]jYd af ^Yngj g^ l`] >gddYl]jYd
<_]fl, ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, Yk [gddYl]jYd k][mjalq ^gj l`] N][mj]\ JZda_Ylagfk,
]f^gj[]YZd] af Y[[gj\Yf[] oal` l`] l]jek `]j]g^ Y_Yafkl Ydd [j]\algjk g^ ]Y[` BjYflgj Yf\ Yfq K]jkgfk
hmjhgjlaf_ lg hmj[`Yk] Yfq >gddYl]jYd ^jge Yfq BjYflgj Yf\ Yj] hjagj lg Ydd gl`]j Ga]fk gf l`] >gddYl]jYd,
]p[]hl ^gj, )a* Ga]fk h]jeall]\ Zq N][lagfk 9.02)\*)`* Yf\ )a* g^ l`] >j]\al <_j]]e]fl Yf\ )aa* kgd]dq oal`
j]kh][l lg >gddYl]jYd l`Yl \g]k fgl [gfklalml] Kd]\_]\ Nlg[c, ja_`lk mf\]j HYl]jaYd >gfljY[lk, Y[[gmflk
j][]anYZd], >gdd][lagfk gj hjg[]]\k Yjakaf_ l`]j]mf\]j gj oal` j]kh][l l`]j]lg, K]jeall]\ Ga]fk o`a[`,
hmjkmYfl lg l`] l]jek g^ l`] >j]\al <_j]]e]fl, Yj] h]jeall]\ lg `Yn] hjagjalq gn]j >gddYl]jYd <_]flvk
Ga]fk l`]j]gf Yk [gddYl]jYd k][mjalq ^gj l`] N][mj]\ JZda_Ylagfk.

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        4.4     K]j^][lagf >]jla^a[Yl]; Emjak\a[lagf g^ Jj_YfarYlagf; >`a]^ @p][mlan] J^^a[]. @Y[` g^ l`]
BjYflgjk `Yk hj]nagmkdq \]dan]j]\ )gj ak [gf[mjj]fldq \]dan]jaf_ oal` l`ak <_j]]e]fl* lg l`] >gddYl]jYd
<_]fl Y K]j^][lagf >]jla^a[Yl] ka_f]\ Zq km[` BjYflgj. @Y[` g^ l`] BjYflgjk j]hj]k]flk Yf\ oYjjYflk lg
l`] N][mj]\ KYjla]k Yk ^gddgok: )Y* km[` BjYflgjvk ]pY[l d]_Yd fYe] ak l`Yl af\a[Yl]\ gf l`] K]j^][lagf
>]jla^a[Yl] Yf\ gf l`] ka_fYlmj] hY_] `]j]g^, )Z* km[` BjYflgj ak Yf gj_YfarYlagf g^ l`] lqh], Yf\ ak
gj_Yfar]\ af l`] bmjak\a[lagf, k]l ^gjl` af l`] K]j^][lagf >]jla^a[Yl], )[* l`] K]j^][lagf >]jla^a[Yl]
Y[[mjYl]dq k]lk ^gjl` km[` BjYflgjvk gj_YfarYlagfYd a\]fla^a[Ylagf fmeZ]j gj Y[[mjYl]dq klYl]k l`Yl km[`
BjYflgj `Yk fgf], )\* l`] K]j^][lagf >]jla^a[Yl] Y[[mjYl]dq k]lk ^gjl` km[` BjYflgjvk hdY[] g^ Zmkaf]kk gj,
a^ egj] l`Yf gf], alk [`a]^ ]p][mlan] g^^a[], Yk o]dd Yk km[` BjYflgjvk eYadaf_ Y\\j]kk, a^ \a^^]j]fl, )]* Ydd
gl`]j af^gjeYlagf k]l ^gjl` gf l`] K]j^][lagf >]jla^a[Yl] h]jlYafaf_ lg km[` BjYflgj ak Y[[mjYl] Yf\
[gehd]l] af Ydd eYl]jaYd j]kh][lk, Yf\ )^* l`]j] `Yk Z]]f fg [`Yf_] af Yfq g^ km[` af^gjeYlagf kaf[] l`]
\Yl] gf o`a[` l`] K]j^][lagf >]jla^a[Yl] oYk ka_f]\ Zq km[` BjYflgj.

         4.5     AYje Kjg\m[lk. Igf] g^ l`] >gddYl]jYd [gfklalml]k, gj ak l`] Kjg[]]\k g^, AYje Kjg\m[lk.

         4.6     Dfn]kle]fl Kjgh]jlq; Kd]\_]\ Nlg[c.

                )Y*     N[`]\md] 3 k]lk ^gjl` Ydd l`] akkm]\ Yf\ gmlklYf\af_ k`Yj]k g^ Ydd [dYkk]k g^ l`]
>YhalYd Nlg[c g^ ]Y[` Dkkm]j gof]\ Zq ]Y[` BjYflgj. O`] k`Yj]k g^ Kd]\_]\ Nlg[c hd]\_]\ Zq ]Y[`
BjYflgj `]j]mf\]j, lg_]l`]j oal` Yfq @p[dm\]\ Kjgh]jlq gof]\ Zq km[` BjYflgj, [gfklalml] Ydd l`] akkm]\
Yf\ gmlklYf\af_ k`Yj]k g^ Ydd [dYkk]k g^ l`] >YhalYd Nlg[c g^ ]Y[` Dkkm]j gof]\ Zq km[` BjYflgj.

                )Z*     <dd l`] k`Yj]k g^ l`] Kd]\_]\ Nlg[c akkm]\ Zq Yfq Dkkm]j `Yn] Z]]f \mdq Yf\
nYda\dq akkm]\ Yf\ Yj] ^mddq hYa\ Yf\ fgfYkk]kkYZd] lg l`] ]pl]fl km[` [gf[]hlk Yj] Yhhda[YZd] lg km[`
Kd]\_]\ Nlg[c.

                 )[*     @Y[` g^ l`] Kd]\_]\ Igl]k akkm]\ Zq Yfq JZda_gj gj NmZka\aYjq g^ Yfq BjYflgj
[gfklalml]k l`] d]_Yd, nYda\ Yf\ Zaf\af_ gZda_Ylagf g^ l`] gZda_gj oal` j]kh][l l`]j]lg, ]f^gj[]YZd] af
Y[[gj\Yf[] oal` alk l]jek, kmZb][l lg l`] ]^^][lk g^ ZYfcjmhl[q, afkgdn]f[q, ^jYm\md]fl [gfn]qYf[],
j]gj_YfarYlagf, egjYlgjame Yf\ gl`]j kaeadYj dYok j]dYlaf_ lg gj Y^^][laf_ [j]\algjkv ja_`lk _]f]jYddq,
_]f]jYd ]imalYZd] hjaf[ahd]k )o`]l`]j [gfka\]j]\ af Y hjg[]]\af_ af ]imalq gj Yl dYo* Yf\ Yf aehda]\
[gn]fYfl g^ _gg\ ^Yal` Yf\ ^Yaj \]Ydaf_.

                )\*     @Y[` BjYflgj ak l`] j][gj\ Yf\ Z]f]^a[aYd gof]j g^, Yf\ `Yk _gg\ Yf\ nYda\ lald]
lg, l`] Dfn]kle]fl Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq* hd]\_]\ Zq al `]j]mf\]j, hjagj lg Ydd gl`]j
Ga]fk gf km[` >gddYl]jYd ]p[]hl, )a* Ga]fk h]jeall]\ Zq N][lagf 9.02)Y* g^ l`] >j]\al <_j]]e]fl Yf\ )aa*
gl`]j l`Yf af l`] [Yk] g^ Kd]\_]\ Nlg[c, K]jeall]\ Ga]fk o`a[`, hmjkmYfl lg l`] l]jek g^ l`] >j]\al
<_j]]e]fl, Yj] ]phj]kkdq h]jeall]\ lg `Yn] hjagjalq gn]j >gddYl]jYd <_]flvk Ga]fk l`]j]gf lg k][mj] l`]
N][mj]\ JZda_Ylagfk.

                 )]*   Ig BjYflgj ak gj oadd Z][ge] Y hYjlq lg gj gl`]joak] Zgmf\ Zq Yfq Y_j]]e]fl
)]p[]hl l`] >j]\al ?g[me]flk*, af[dm\af_ Yfq daeal]\ hYjlf]jk`ah Y_j]]e]fl gj daeal]\ daYZadalq [gehYfq
gh]jYlaf_ Y_j]]e]fl, o`a[` j]klja[lk l`] ja_`l g^ l`] >gddYl]jYd <_]fl lg ^gj][dgk] mhgf Yfq km[` Kd]\_]\
Nlg[c. Igf] g^ km[` Kd]\_]\ Nlg[c ak kmZb][l lg Yfq ghlagf, ja_`l g^ ^ajkl j]^mkYd, [Ydd, hmj[`Yk] gj kaeadYj
ja_`l g^ Yfq K]jkgf.

                 )^*    O`] Kd]\_]\ Nlg[c ak j]hj]k]fl]\ Zq []jla^a[Yl]k Yf\ ak Y k][mjalq _gn]jf]\ Zq
<jla[d] 8 g^ l`] Pfa^gje >gee]j[aYd >g\] Yk af ]^^][l af Yfq j]d]nYfl bmjak\a[lagf.

         4.7     M][]anYZd]k.

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                 )Y*     Ig Yegmfl hYqYZd] lg km[` BjYflgj mf\]j gj af [gff][lagf oal` Yfq M][]anYZd]
ak ]na\]f[]\ Zq Yfq Dfkljme]fl gj >`Yll]d KYh]j o`a[` `Yk fgl Z]]f \]dan]j]\ lg l`] >gddYl]jYd <_]fl lg
l`] ]pl]fl j]imaj]\ Zq N][lagf 5.1.

                )Z*      O`] Yegmflk j]hj]k]fl]\ Zq Y BjYflgj lg l`] N][mj]\ KYjla]k ^jge lae] lg lae] Yk
goaf_ lg km[` BjYflgj af j]kh][l g^ l`] M][]anYZd]k oadd, lg l`] Z]kl g^ BjYflgjkv Y[lmYd cfgod]\_], Yl
km[` lae]k Z] Y[[mjYl] af Ydd eYl]jaYd j]kh][lk.

         4.8     >gfljY[lk. Ig Yegmfl hYqYZd] lg Y BjYflgj mf\]j gj af [gff][lagf oal` Yfq >gfljY[l ak
]na\]f[]\ Zq Yfq Dfkljme]fl gj >`Yll]d KYh]j o`a[` `Yk fgl Z]]f \]dan]j]\ lg l`] >gddYl]jYd <_]fl lg l`]
]pl]fl j]imaj]\ Zq N][lagf 5.1.

         4.9     Dfl]dd][lmYd Kjgh]jlq.

                 )Y*     N[`]\md] 4 daklk Ydd al]ek g^ )a* Dfl]dd][lmYd Kjgh]jlq o`a[` Yj] j]_akl]j]\ af l`]
Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[], l`] Pfal]\ NlYl]k >ghqja_`l J^^a[], l`] Yhhda[YZd] j]_akljYj g^
Dfl]jf]l ?geYaf IYe]k, gj Yfq kaeadYj g^^a[] gj Y_]f[q af Yfq hgdala[Yd kmZ\anakagf g^ l`] Pfal]\ NlYl]k
gj Yfq kaeadYj g^^a[] gj Y_]f[q af Yfq gl`]j [gmfljq gj Yfq hgdala[Yd kmZ\anakagf l`]j]g^ Yf\ )aa* Ydd
Yhhda[Ylagfk ^gj km[` j]_akl]j]\ Dfl]dd][lmYd Kjgh]jlq l`Yl Yj] gof]\ Zq ]Y[` BjYflgj, af[dm\af_ ^gj ]Y[`
g^ l`] ^gj]_gaf_ al]ek )1* l`] gof]j, )2* l`] lald], )3* l`] bmjak\a[lagf af o`a[` l`] al]e `Yk Z]]f
j]_akl]j]\ gj ^gj o`a[` Yf Yhhda[Ylagf ^gj j]_akljYlagf `Yk Z]]f ^ad]\, Yf\ )4* Yk Yhhda[YZd], l`] j]_akljYlagf
fmeZ]j Yf\ j]_akljYlagf \Yl] gj l`] Yhhda[Ylagf fmeZ]j Yf\ ^adaf_ \Yl].

                )Z*    Og l`] BjYflgjkv cfgod]\_], Ydd HYl]jaYd Dfl]dd][lmYd Kjgh]jlq g^ ]Y[` BjYflgj
\]k[jaZ]\ gf N[`]\md] 4 Yk mh\Yl]\ o`]f j]imaj]\ Zq N][lagf 8.01)\* g^ l`] >j]\al <_j]]e]fl ak nYda\,
kmZkaklaf_, mf]phaj]\ Yf\ ]f^gj[]YZd], `Yk fgl Z]]f YZYf\gf]\ Yf\, Yk mk]\ af l`] Zmkaf]kk g^ l`]
=gjjgo]j Yf\ ]Y[` gl`]j BjYflgj, \g]k fgl af^jaf_] l`] afl]dd][lmYd hjgh]jlq ja_`lk g^ Yfq gl`]j K]jkgf af
Yfq eYl]jaYd j]kh][l.

                 )[*     @p[]hl Yk k]l ^gjl` af N[`]\md] 4, Yk mh\Yl]\ o`]f j]imaj]\ Zq N][lagf 8.01)\* g^
l`] >j]\al <_j]]e]fl, fgf] g^ l`] HYl]jaYd Dfl]dd][lmYd Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq* ak l`]
kmZb][l g^ Yfq da[]fkaf_ gj ^jYf[`ak] Y_j]]e]fl hmjkmYfl lg o`a[` Y BjYflgj ak l`] da[]fkgj gj ^jYf[`akgj.

                 )\*     Igf] g^ l`] hjg\m[lk gj k]jna[]k mk]\ af l`] Zmkaf]kk g^ Yfq BjYflgj gj Yfq
NmZka\aYjq l`]j]g^ mk]k Yfq kg^loYj] gj ^j]]oYj] da[]fk]\ af Y eYff]j o`a[` aehgk]k Yfq j]imaj]e]fl
l`Yl km[` kg^loYj] gj ^j]]oYj], gj Yfq g^ l`] hjg\m[lk gj k]jna[]k g^ Yfq km[` BjYflgj gj km[` NmZka\aYjq,
gj \]janYlan]k g^ km[` kg^loYj], ^j]]oYj] gj hjg\m[lk gj k]jna[]k, gj kg^loYj], hjg\m[lk gj k]jna[]k mkaf_,
dafc]\ oal`, af[gjhgjYlaf_, \akljaZml]\ oal`, ZYk]\ gf, gj \]jan]\ ^jge km[` kg^loYj] gj ^j]]oYj] gj
hjg\m[lk gj k]jna[]k, Z] )a* eY\] YnYadYZd] gj \akljaZml]\ af kgmj[] [g\] ^gje, )aa* da[]fk]\ ^gj l`] hmjhgk]
g^ eYcaf_ \]janYlan] ogjck, )aaa* da[]fk]\ mf\]j l]jek l`Yl Yddgo j]n]jk] ]f_af]]jaf_, j]n]jk] Ykk]eZdq gj
\akYkk]eZdq g^ Yfq caf\, gj )an* eY\] j]\akljaZmlYZd] Yl fg [`Yj_].

                )]*     Ig `gd\af_, \][akagf gj bm\_e]fl `Yk Z]]f j]f\]j]\ Zq Yfq Bgn]jfe]flYd
<ml`gjalq o`a[` ogmd\, af Yfq eYl]jaYd j]kh][l, daeal, [Yf[]d gj im]klagf l`] nYda\alq g^, gj Y BjYflgjvk
ja_`lk af, Yfq HYl]jaYd Dfl]dd][lmYd Kjgh]jlq )gl`]j l`Yf g^^a[] Y[lagfk akkm]\ af l`] gj\afYjq [gmjk] g^
hjgk][mlagf g^ Yfq h]f\af_ Yhhda[Ylagfk ^gj hYl]flk gj Yhhda[Ylagfk ^gj j]_akljYlagf g^ gl`]j Dfl]dd][lmYd
Kjgh]jlq*.

                 )^*     Og l`] cfgod]\_] g^ Yfq BjYflgj, fg Y[lagf, kmal, [dYae, \]eYf\, gj\]j gj
hjg[]]\af_ ak h]f\af_, gj, l`j]Yl]f]\, )a* k]]caf_ lg daeal, [Yf[]d gj im]klagf l`] nYda\alq g^ Yfq HYl]jaYd
Dfl]dd][lmYd Kjgh]jlq, gj Yfq BjYflgjvk gof]jk`ah afl]j]kl l`]j]af )gl`]j l`Yf g^^a[] Y[lagfk akkm]\ af l`]
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gj\afYjq [gmjk] g^ hjgk][mlagf g^ Yfq h]f\af_ Yhhda[Ylagfk ^gj hYl]flk gj Yhhda[Ylagfk ^gj j]_akljYlagf g^
gl`]j Dfl]dd][lmYd Kjgh]jlq*, gj )aa* o`a[`, a^ Y\n]jk]dq \]l]jeaf]\, [gmd\ j]YkgfYZdq Z] ]ph][l]\ lg `Yn] Y
HYl]jaYd <\n]jk] @^^][l.

                )_*      Og ]Y[` BjYflgjvk Y[lmYd cfgod]\_], ]p[]hl Yk k]l ^gjl` gf N[`]\md] 4 fg K]jkgf
`Yk Z]]f gj ak af^jaf_af_, eakYhhjghjaYlaf_, gj \admlaf_ Yfq HYl]jaYd Dfl]dd][lmYd Kjgh]jlq gof]\ Zq Yfq
BjYflgj.

                )`*     @Y[` BjYflgj, Yf\ lg ]Y[` BjYflgjvk Y[lmYd cfgod]\_] ]Y[` gl`]j hYjlq l`]j]lg, ak
fgl af eYl]jaYd Zj]Y[` gj \]^Ymdl g^ Yfq eYl]jaYd DK Ga[]fk] Yf\ fg Zj]Y[` gj \]^Ymdl g^ Yfq eYl]jaYd DK
Ga[]fk] k`Ydd Z] [Ymk]\ Zq l`] [gfkmeeYlagf g^ l`] ljYfkY[lagfk [gfl]ehdYl]\ Zq Yfq >j]\al ?g[me]fl.

         4.10     >gee]j[aYd Ogjl >dYaek.

               )Y*      Ig BjYflgj `Yk ja_`lk af Yfq >gee]j[aYd Ogjl >dYae ^gj Yf Yegmfl af ]p[]kk g^
%25,000 oal` j]kh][l lg Yfq gf] [dYae gj af ]p[]kk g^ %50,000 ^gj Ydd km[` [dYaek, ]p[]hl Yk k]l ^gjl` gf
N[`]\md] 5.

                 )Z*    Phgf l`] _jYflaf_ lg >gddYl]jYd <_]fl g^ Y k][mjalq afl]j]kl af Yfq >gee]j[aYd
Ogjl >dYae hmjkmYfl lg N][lagf 5.8, km[` k][mjalq afl]j]kl oadd [gfklalml] Y nYda\ h]j^][l]\ k][mjalq afl]j]kl
af ^Yngj g^ l`] >gddYl]jYd <_]fl, ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, Yk >gddYl]jYd ^gj l`] N][mj]\
JZda_Ylagfk, ]f^gj[]YZd] af Y[[gj\Yf[] oal` l`] l]jek `]j]g^ Y_Yafkl Ydd [j]\algjk g^ ]Y[` BjYflgj Yf\ Yfq
K]jkgfk hmjhgjlaf_ lg hmj[`Yk] km[` >gddYl]jYd ^jge Yfq BjYflgj, o`a[` k][mjalq afl]j]kl k`Ydd Z] hjagj lg
Ydd gl`]j Ga]fk gf km[` >gddYl]jYd ]p[]hl ^gj K]jeall]\ Ga]fk, o`a[`, hmjkmYfl lg l`] l]jek g^ l`] >j]\al
<_j]]e]fl.

                                      N@>ODJI 5.       >JQ@I<ION

      @Y[` BjYflgj [gn]fYflk Yf\ Y_j]]k oal` l`] N][mj]\ KYjla]k l`Yl, ^jge Yf\ Y^l]j l`] \Yl] g^ l`ak
<_j]]e]fl mflad l`] O]jeafYlagf ?Yl]:

         5.1     ?]dan]jq g^ Dfkljme]flk Yf\ >`Yll]d KYh]j. Ral`gml daealaf_ N][lagf 5.4, a^ Yfq Yegmfl
af ]p[]kk g^ %50,000 af Yfq gf] afklYf[] gj %150,000 af l`] Y__j]_Yl] ^gj Ydd km[` >gddYl]jYd, hYqYZd]
mf\]j gj af [gff][lagf oal` Yfq g^ l`] >gddYl]jYd k`Ydd Z] gj Z][ge] ]na\]f[]\ Zq Yfq Dfkljme]fl gj
>`Yll]d KYh]j, km[` Dfkljme]fl gj >`Yll]d KYh]j k`Ydd, oal`af ^an] )5* =mkaf]kk ?Yqk g^ km[` >gddYl]jYd
Yjakaf_, Z]af_ Y[imaj]\ gj Z]af_ kg ]na\]f[]\, Z] \]dan]j]\ lg l`] >gddYl]jYd <_]fl, lg_]l`]j oal` km[`
]f\gjk]e]flk, fglYlagfk Yf\ Yhhda[YZd] ljYfk^]j afkljme]flk oal` j]kh][l l`]j]lg Yk l`] >gddYl]jYd <_]fl
eYq j]YkgfYZdq j]im]kl, \mdq ]f\gjk]\ af Y eYff]j kYlak^Y[lgjq lg l`] >gddYl]jYd <_]fl, lg Z] `]d\ ^gj l`]
Z]f]^al g^ l`] N][mj]\ KYjla]k, Yk >gddYl]jYd mf\]j l`ak <_j]]e]fl.

         5.2      HYafl]fYf[] g^ K]j^][l]\ N][mjalq Dfl]j]kl; Amjl`]j ?g[me]flYlagf.

                  )Y*     @Y[` BjYflgj k`Ydd eYaflYaf l`] k][mjalq afl]j]kl [j]Yl]\ Zq l`ak <_j]]e]fl Yk Y
h]j^][l]\ k][mjalq afl]j]kl `Ynaf_ Yl d]Ykl l`] hjagjalq \]k[jaZ]\ af N][lagf 4.3 Yf\ k`Ydd \]^]f\ km[`
k][mjalq afl]j]kl Y_Yafkl l`] [dYaek Yf\ \]eYf\k g^ Ydd K]jkgfko`gekg]n]j.

                 )Z*     @p[]hl Yk kh][a^a[Yddq oYan]\ Zq l`ak <_j]]e]fl gj Yfq gl`]j >j]\al ?g[me]fl,
Yl Yfq lae] Yf\ ^jge lae] lg lae], mhgf l`] ojall]f j]im]kl g^ l`] >gddYl]jYd <_]fl, Yf\ Yl l`] kgd]
]ph]fk] g^ km[` BjYflgj, km[` BjYflgj oadd hjgehldq, Yf\ af Yfq ]n]fl oal`af ^an] )5* =mkaf]kk ?Yqk,
\mdq ]p][ml] Yf\ \]dan]j, Yf\ `Yn] j][gj\]\, km[` ^mjl`]j afkljme]flk Yf\ \g[me]flk Yf\ lYc] km[`
^mjl`]j Y[lagfk Yk l`] >gddYl]jYd <_]fl eYq j]YkgfYZdq j]im]kl ^gj l`] hmjhgk] g^ gZlYafaf_ gj hj]k]jnaf_
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l`] ^mdd Z]f]^alk g^ l`ak <_j]]e]fl Yf\ g^ l`] ja_`lk Yf\ hgo]jk `]j]af _jYfl]\, af[dm\af_ )a* l`] ^adaf_ g^
Yfq ^afYf[af_ gj [gflafmYlagf klYl]e]flk mf\]j l`] P>> )gj gl`]j kaeadYj dYok* af ]^^][l af Yfq
bmjak\a[lagf oal` j]kh][l lg l`] k][mjalq afl]j]klk [j]Yl]\ `]j]Zq, Yf\ )aa* oal`gml daealYlagf g^ N][lagf
5.5)[*, af l`] [Yk] g^ Dfn]kle]fl Kjgh]jlq, ?]hgkal <[[gmflk, N][mjala]k @flald]e]flk, G]ll]j g^ >j]\al
Ma_`lk )af ]Y[` [Yk], gl`]j l`Yf @p[dm\]\ Kjgh]jlq* Yf\ Yfq gl`]j j]d]nYfl >gddYl]jYd, lYcaf_ Yfq Y[lagfk
f][]kkYjq lg ]fYZd] l`] >gddYl]jYd <_]fl lg gZlYaf t[gfljgdu )oal`af l`] e]Yfaf_ g^ l`] P>>* oal` j]kh][l
l`]j]lg. Agj l`] Ynga\Yf[] g^ \gmZl, l`] BjYflgjkv gZda_Ylagfk lg hjgna\] Yfq km[` ^mjl`]j \g[me]flk oal`
j]kh][l lg afl]dd][lmYd hjgh]jlq k`Ydd Z] _gn]jf]\ Zq N][lagfk 5.6)_* Yf\ 5.7.

         5.3     >`Yf_]k af Gg[Ylagfk, IYe], ]l[.

                 )Y*    Nm[` BjYflgj oadd fgl, oal`gml Yl d]Ykl ^a^l]]f )15* =mkaf]kk ?Yqk hjagj ojall]f
fgla[] lg >gddYl]jYd <_]fl:

                         )a*     [`Yf_] alk d]_Yd fYe] gj l`] dg[Ylagf g^ alk [`a]^ ]p][mlan] g^^a[] gj kgd]
                 hdY[] g^ Zmkaf]kk ^jge l`Yl j]^]jj]\ lg af N][lagf 4.4; gj

                          )aa*    ]p[]hl Yk h]jeall]\ Zq N][lagf 9.03 g^ l`] >j]\al <_j]]e]fl, [`Yf_] alk
                 bmjak\a[lagf g^ gj_YfarYlagf, lqh] g^ gj_YfarYlagf, a\]flalq gj [gjhgjYl] kljm[lmj].

                )Z*       Og l`] ]pl]fl ]fl]j]\ aflg Zq Y BjYflgj, km[` BjYflgj k`Ydd hjgehldq hjgna\] l`]
>gddYl]jYd <_]fl oal` []jla^a]\ gj_YfarYlagfYd \g[me]flk j]^d][laf_ Yfq g^ l`] [`Yf_]k \]k[jaZ]\ af l`]
hj][]\af_ [dYmk] )Y*)aa* g^ l`ak N][lagf.

                 )[*      Ig BjYflgj k`Ydd ]^^][l Yfq [`Yf_] j]^]jj]\ lg af l`] hj][]\af_ [dYmk] )Y*)aa* g^
l`ak N][lagf mfd]kk Ydd ^adaf_k `Yn] Z]]f eY\] mf\]j l`] Pfa^gje >gee]j[aYd >g\] gj gl`]joak] l`Yl Yj]
j]imaj]\ af gj\]j ^gj l`] >gddYl]jYd <_]fl lg [gflafm] Yl Ydd lae]k ^gddgoaf_ km[` [`Yf_] lg `Yn] Y nYda\,
d]_Yd Yf\ h]j^][l]\ Ga]f gf Ydd l`] >gddYl]jYd.

                 )\*     @Y[` g^ l`] BjYflgjk oadd c]]h Ydd @imahe]fl Yf\ Dfn]flgjq )gl`]j l`Yf
Dfn]flgjq af ljYfkal lg gj ^jge Yfq km[` dg[Ylagf* Yl l`] dg[Ylagfk j]^d][l]\ af N][lagf 2 g^ l`] K]j^][lagf
>]jla^a[Yl] gj, mhgf fgl d]kk l`Yf ^a^l]]f )15* =mkaf]kk ?Yqkv hjagj ojall]f fgla[] lg >gddYl]jYd <_]fl
Y[[gehYfa]\ Zq Yf mh\Yl]\ N][lagf 2 g^ l`] K]j^][lagf >]jla^a[Yl], lg Yfq km[` f]o dg[Ylagfk oal`af l`]
[gflaf]flYd Pfal]\ NlYl]k g^ <e]ja[Y )kg dgf_ Yk km[` BjYflgj k`Ydd `Yn] hjgna\]\ >gddYl]jYd <_]fl oal`
km[` gl`]j af^gjeYlagf Yf\ \g[me]flYlagf af [gff][lagf l`]j]oal` Yk l`] >gddYl]jYd <_]fl eYq
j]YkgfYZdq j]im]kl Yf\ k`Ydd `Yn] lYc]f Ydd Y[lagfk f][]kkYjq gj Y\nakYZd] lg eYaflYaf l`] [gflafmgmk
nYda\alq, h]j^][lagf Yf\ l`] kYe] gj Z]ll]j hjagjalq g^ l`] >gddYl]jYd <_]flvk k][mjalq afl]j]kl af l`]
j]d]nYfl @imahe]fl Yf\ Dfn]flgjq afl]f\]\ lg Z] _jYfl]\ Yf\ Y_j]]\ lg `]j]Zq, gj lg ]fYZd] l`] >gddYl]jYd
<_]fl lg ]p]j[ak] Yf\ ]f^gj[] alk ja_`lk Yf\ j]e]\a]k `]j]mf\]j Yf\ mf\]j l`] gl`]j >j]\al ?g[me]flk,
oal` j]kh][l lg km[` @imahe]fl Yf\ Dfn]flgjq )hjgna\]\, l`Yl af l`] [Yk] g^ Yfq d]Yk]\ dg[Ylagf gj
oYj]`gmk] gj gl`]j l`aj\ hYjlq-[gfljgdd]\ dg[Ylagf, a^ l`] Y__j]_Yl] nYdm] g^ @imahe]fl Yf\ Dfn]flgjq Yl
Yfq km[` dg[Ylagf ]p[]]\k %250,000 km[` _jYflgjk k`Ydd `Yn] mk]\ [gee]j[aYddq j]YkgfYZd] ]^^gjlk lg
gZlYaf Yf ]p][ml]\ >gddYl]jYd <[[]kk <_j]]e]fl oal` j]kh][l lg km[` dg[Ylagf*.

         5.4     Dfn]kle]fl Kjgh]jlq; Kd]\_]\ Nlg[c.

                )Y*     D^ km[` BjYflgj k`Ydd Z][ge] ]flald]\ lg j][]an] gj k`Ydd j][]an] Yfq []jla^a[Yl] af
j]kh][l g^ Yfq Kd]\_]\ Nlg[c )af[dm\af_ Yfq []jla^a[Yl] j]hj]k]flaf_ Y klg[c \ana\]f\ gj Y \akljaZmlagf af
[gff][lagf oal` Yfq j][dYkka^a[Ylagf, af[j]Yk] gj j]\m[lagf g^ [YhalYd gj Yfq []jla^a[Yl] akkm]\ af
[gff][lagf oal` Yfq j]gj_YfarYlagf g^ km[` Kd]\_]\ Nlg[c*, ghlagf gj ja_`lk af j]kh][l g^ Yfq Kd]\_]\
Nlg[c, o`]l`]j af Y\\alagf lg, af kmZklalmlagf g^, Yk Y [gfn]jkagf g^, gj af ]p[`Yf_] ^gj, Yfq k`Yj]k g^ l`]
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Kd]\_]\ Nlg[c, gj gl`]joak] af j]kh][l l`]j]g^, km[` BjYflgj k`Ydd Y[[]hl l`] kYe] Yk l`] Y_]fl g^ l`]
N][mj]\ KYjla]k, `gd\ l`] kYe] ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k Yf\, oal`af ^an] )5* =mkaf]kk ?Yqk g^
km[` j][]ahl, \]dan]j l`] kYe] ^gjl`oal` lg l`] >gddYl]jYd <_]fl af l`] ]pY[l ^gje j][]an]\, \mdq ]f\gjk]\
Zq km[` BjYflgj lg l`] >gddYl]jYd <_]fl, a^ j]imaj]\, lg_]l`]j oal` Yf mf\Yl]\ klg[c ljYfk^]j hgo]j
[gn]jaf_ km[` []jla^a[Yl] \mdq ]p][ml]\ af ZdYfc Zq km[` BjYflgj Yf\ gl`]joak] af ^gje Yf\ kmZklYf[]
kYlak^Y[lgjq lg >gddYl]jYd <_]fl, lg Z] `]d\ Zq l`] >gddYl]jYd <_]fl Yk Y\\alagfYd >gddYl]jYd mf\]j l`ak
<_j]]e]fl. <fq hjgh]jlq \akljaZml]\ )gl`]j l`Yf [Yk` gj \akljaZml]\ hjgh]jlq o`a[` [gfklalml]k @p[dm\]\
Kjgh]jlq* gf gj af j]kh][l g^ l`] Dfn]kle]fl Kjgh]jlq k`Ydd Z] \]dan]j]\ lg l`] >gddYl]jYd <_]fl oal`af ^an]
)5* =mkaf]kk ?Yqk g^ alk j][]ahl, lg Z] `]d\ Zq al Yk Y\\alagfYd >gddYl]jYd mf\]j l`ak <_j]]e]fl.

                  )Z*     Df l`] [Yk] g^ ]Y[` BjYflgj o`a[` ak Yf Dkkm]j, km[` Dkkm]j Y_j]]k l`Yl )a* al oadd
Z] Zgmf\ Zq l`] l]jek g^ l`ak <_j]]e]fl j]dYlaf_ lg l`] Dfn]kle]fl Kjgh]jlq akkm]\ Zq al o`a[`
[gfklalml]k >gddYl]jYd Yf\ oadd [gehdq oal` km[` l]jek afkg^Yj Yk km[` l]jek Yj] Yhhda[YZd] lg al Yf\
)aa* l`] l]jek g^ N][lagfk 6.3)Z* Yf\ 6.7 k`Ydd Yhhdq lg al, mutatis mutandis, oal` j]kh][l lg Ydd Y[lagfk l`Yl
eYq Z] j]imaj]\ g^ al hmjkmYfl lg N][lagf 6.3)Z* oal` j]kh][l lg km[` Dfn]kle]fl Kjgh]jlq akkm]\ Zq al.

                )[*      Pfd]kk Yf @n]fl g^ ?]^Ymdl k`Ydd `Yn] g[[mjj]\ Yf\ Z] [gflafmaf_ Yf\ l`]
hYqe]fl g^ Yfq km[` \ana\]f\ gj \akljaZmlagf ak hjg`aZal]\ Zq N][lagf 9.06 g^ l`] >j]\al <_j]]e]fl, ]Y[`
BjYflgj k`Ydd Z] h]jeall]\ lg j][]an] \ana\]f\k Yf\ gl`]j \akljaZmlagfk af j]kh][l g^ l`] Kd]\_]\ Nlg[c Yf\
Ydd hYqe]flk eY\] af j]kh][l g^ l`] Kd]\_]\ Igl]k, af ]Y[` [Yk], lg l`] ]pl]fl h]jeall]\ Zq l`] >j]\al
<_j]]e]fl. NmZb][l lg l`] hjgnakagfk g^ N][lagf 6.3, ]Y[` BjYflgj k`Ydd Z] h]jeall]\ lg ]p]j[ak] Ydd
nglaf_ Yf\ [gjhgjYl] ja_`lk oal` j]kh][l lg l`] Dfn]kle]fl Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq*;
hjgna\]\, l`Yl fg ngl] k`Ydd Z] [Ykl gj [gjhgjYl] gj gl`]j gj_YfarYlagfYd ja_`l ]p]j[ak]\ gj gl`]j Y[lagf
lYc]f o`a[` ogmd\ Z] af[gfkakl]fl oal` gj j]kmdl af Yfq nagdYlagf g^ Yfq hjgnakagf g^ l`] >j]\al
<_j]]e]fl, l`ak <_j]]e]fl gj Yfq gl`]j >j]\al ?g[me]fl.

         5.5     M][]anYZd]k. Jl`]j l`Yf af l`] gj\afYjq [gmjk] g^ Zmkaf]kk gj gl`]joak] Yk Y j]kmdl g^ l`]
]p]j[ak] g^ j]YkgfYZd] Zmkaf]kk bm\_e]fl, km[` BjYflgj oadd fgl, af Yfq eYff]j l`Yl [gmd\ j]YkgfYZdq Z]
]p[]hl]\ lg eYl]jaYddq Yf\ Y\n]jk]dq Y^^][l l`] nYdm] l`]j]g^, )Y* _jYfl Yfq ]pl]fkagf g^ l`] lae] g^
hYqe]fl g^ Yfq M][]anYZd], )Z* [gehjgeak] gj k]lld] Yfq M][]anYZd] ^gj d]kk l`Yf l`] ^mdd Yegmfl l`]j]g^,
)[* j]d]Yk], o`gddq gj hYjlaYddq, Yfq K]jkgf daYZd] ^gj l`] hYqe]fl g^ Yfq M][]anYZd], )\* Yddgo Yfq [j]\al
gj \ak[gmfl o`Ylkg]n]j gf Yfq M][]anYZd], gj )]* Ye]f\, kmhhd]e]fl gj eg\a^q Yfq M][]anYZd] af Yfq
eYff]j l`Yl [gmd\ Y\n]jk]dq Y^^][l l`] nYdm] l`]j]g^; hjgna\]\, l`Yl fgf] g^ km[` Y[lagfk eYq Z] lYc]f Zq
km[` BjYflgj mhgf l`] g[[mjj]f[] Yf\ [gflafmYlagf g^ Yf @n]fl g^ ?]^Ymdl. O`] >gddYl]jYd <_]fl `]j]Zq
Yml`gjar]k ]Y[` BjYflgj lg [gdd][l km[` BjYflgjvk M][]anYZd]k, kmZb][l lg l`] daealYlagfk k]l ^gjl` af l`ak
<_j]]e]fl gj gl`]j GgYf ?g[me]flk, Yf\ l`] >gddYl]jYd <_]fl eYq [mjlYad gj l]jeafYl] kYa\ Yml`gjalq Yl
Yfq lae] Y^l]j l`] g[[mjj]f[] Yf\ \mjaf_ l`] [gflafmYf[] g^ Yf @n]fl g^ ?]^Ymdl.

        5.6     Dfl]dd][lmYd Kjgh]jlq. Ral` j]kh][l lg ]Y[` al]e g^ Dfl]dd][lmYd Kjgh]jlq l`Yl ak eYl]jaYd lg
l`] [gf\m[l g^ Yfq BjYflgjvk Zmkaf]kk )[gdd][lan]dq, tHYl]jaYd Dfl]dd][lmYd Kjgh]jlqu*, ]p[]hl Yk h]jeall]\
Zq N][lagf 9.04)^* g^ l`] >j]\al <_j]]e]fl Yf\ hjgna\]\ l`Yl [dYmk] )_* k`Ydd Yhhdq lg Ydd Dfl]dd][lmYd
Kjgh]jlq j]^]j]f[]\ af km[` [dYmk] )_*:

                  )Y*    Ral` j]kh][l lg ]Y[` OjY\]eYjc o`a[` [gfklalml]k HYl]jaYd Dfl]dd][lmYd Kjgh]jlq,
km[` BjYflgj )]al`]j alk]d^ gj l`jgm_` da[]fk]]k* oadd )a* [gflafm] lg mk] ]Y[` km[` OjY\]eYjc gf ]Y[` Yf\
]n]jq ljY\]eYjc]\ [dYkk g^ _gg\k Yhhda[YZd] lg alk l`]f [mjj]fl daf]k g^ hjg\m[lk Yf\ k]jna[]k Yk j]^d][l]\
af alk [mjj]fl kYd]k eYl]jaYdk af gj\]j lg eYaflYaf km[` OjY\]eYjc af ^mdd ^gj[] Yf\ ]^^][l, ^j]] ^jge Yfq
[dYae g^ YZYf\gfe]fl ^gj fgf-mk], )aa* eYaflYaf l`] imYdalq g^ hjg\m[lk Yf\ k]jna[]k g^^]j]\ mf\]j ]Y[`
km[` OjY\]eYjc, )aaa* mk] ]Y[` km[` OjY\]eYjc oal` l`] YhhjghjaYl] fgla[] g^ j]_akljYlagf Yf\ Ydd gl`]j
fgla[]k Yf\ d]_]f\k j]imaj]\ Zq <hhda[YZd] GYok, )an* fgl mk] Yfq eYjc o`a[` ak [gf^mkaf_dq kaeadYj gj Y
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[gdgjYZd] aealYlagf g^ Yfq km[` OjY\]eYjc mfd]kk l`] >gddYl]jYd <_]fl, ^gj l`] Z]f]^al g^ l`] N][mj]\
KYjla]k, k`Ydd gZlYaf Y h]j^][l]\ k][mjalq afl]j]kl af km[` eYjc hmjkmYfl lg l`ak <_j]]e]fl, Yf\ )n* fgl
)Yf\ fgl h]jeal Yfq da[]fk]] gj kmZda[]fk]] l`]j]g^ lg* \g Yfq Y[l gj cfgoaf_dq geal lg \g Yfq Y[l
o`]j]Zq km[` OjY\]eYjc eYq Z][ge] afnYda\Yl]\ gj aehYaj]\ af Yfq oYq.

               )Z*     Nm[` BjYflgj )]al`]j alk]d^ gj l`jgm_` da[]fk]]k* oadd fgl \g Yfq Y[l, gj geal lg \g
Yfq Y[l, o`]j]Zq Yfq KYl]fl o`a[` [gfklalml]k HYl]jaYd Dfl]dd][lmYd Kjgh]jlq eYq Z][ge] ^gj^]al]\,
YZYf\gf]\ gj \]\a[Yl]\ lg l`] hmZda[ )gl`]j l`Yf Yl l`] ]f\ g^ alk Yhhda[YZd] klYlmlgjq l]je*.

                 )[*      Nm[` BjYflgj )]al`]j alk]d^ gj l`jgm_` da[]fk]]k* oadd fgl )Yf\ oadd fgl h]jeal Yfq
da[]fk]] gj kmZda[]fk]] l`]j]g^ lg* \g Yfq Y[l gj cfgoaf_dq geal lg \g Yfq Y[l o`]j]Zq Yfq km[`
>ghqja_`l o`a[` [gfklalml]k HYl]jaYd Dfl]dd][lmYd Kjgh]jlq eYq Z][ge] afnYda\Yl]\ gj gl`]joak]
aehYaj]\. Nm[` BjYflgj oadd fgl )]al`]j alk]d^ gj l`jgm_` da[]fk]]k* \g Yfq Y[l o`]j]Zq Yfq km[`
>ghqja_`l o`a[` [gfklalml]k HYl]jaYd Dfl]dd][lmYd Kjgh]jlq eYq ^Ydd aflg l`] hmZda[ \geYaf )gl`]j l`Yf Yl
l`] ]f\ g^ alk Yhhda[YZd] klYlmlgjq l]je*.

                )\*     Nm[` BjYflgj )]al`]j alk]d^ gj l`jgm_` da[]fk]]k* oadd fgl \g Yfq Y[l l`Yl
cfgoaf_dq af^jaf_]k l`] afl]dd][lmYd hjgh]jlq ja_`lk g^ Yfq gl`]j K]jkgf.

                 )]*      Nm[` BjYflgj oadd lYc] Ydd j]YkgfYZd] Yf\ f][]kkYjq kl]hk, af[dm\af_ af Yfq
hjg[]]\af_ Z]^gj] l`] Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[], l`] Pfal]\ NlYl]k >ghqja_`l J^^a[] gj
Yfq kaeadYj g^^a[] gj Y_]f[q af Yfq gl`]j [gmfljq gj Yfq hgdala[Yd kmZ\anakagf l`]j]g^, lg eYaflYaf Yf\
hmjkm] ]Y[` Yhhda[Ylagf g^ HYl]jaYd Dfl]dd][lmYd Kjgh]jlq )Yf\ lg gZlYaf l`] j]d]nYfl j]_akljYlagf* Yf\ lg
eYaflYaf ]Y[` j]_akljYlagf g^ HYl]jaYd Dfl]dd][lmYd Kjgh]jlq, af[dm\af_ ^adaf_ g^ Yhhda[Ylagfk ^gj j]f]oYd,
Y^^a\Ynalk g^ mk] Yf\ Y^^a\Ynalk g^ af[gfl]klYZadalq.

                 )^*     Nm[` BjYflgj k`Ydd lYc] l`] Y[lagfk j]YkgfYZdq f][]kkYjq lg hjgl][l l`]
[gf^a\]flaYdalq g^ HYl]jaYd Dfl]dd][lmYd Kjgh]jlq Yf\ alk ja_`lk l`]j]af, af[dm\af_ )Y* hjgl][laf_ l`] k][j][q
Yf\ [gf^a\]flaYdalq g^ alk [gf^a\]flaYd af^gjeYlagf Yf\ OjY\] N][j]lk, )Z* lYcaf_ Y[lagfk j]YkgfYZdq
f][]kkYjq lg ]fkmj] l`Yl fg OjY\] N][j]l ^Yddk gj `Yk ^Ydd]f aflg l`] hmZda[ \geYaf, Yf\ )[* hjgl][laf_ l`]
k][j][q Yf\ [gf^a\]flaYdalq g^ l`] kgmj[] [g\] g^ Ydd [gehml]j kg^loYj] hjg_jYek Yf\ Yhhda[Ylagfk g^
o`a[` al ak l`] gof]j gj da[]fk]] Zq `Ynaf_ Yf\ ]f^gj[af_ Y hgda[q j]imajaf_ Yfq da[]fk]]k )gj
kmZda[]fk]]k* g^ km[` kgmj[] [g\] lg ]fl]j aflg da[]fk] Y_j]]e]flk oal` YhhjghjaYl] mk] Yf\ fgf-
\ak[dgkmj] j]klja[lagfk.

                  )_*     Nm[` BjYflgj k`Ydd ]p][ml] Yf\ \]dan]j lg l`] >gddYl]jYd <_]fl af ^gje Yf\
kmZklYf[] j]YkgfYZdq Y[[]hlYZd] lg l`] >gddYl]jYd <_]fl Yf\ kmalYZd] ^gj )a* ^adaf_ af l`] Pfal]\ NlYl]k
KYl]fl Yf\ OjY\]eYjc J^^a[], l`] Pfal]\ NlYl]k >ghqja_`l J^^a[] gj Yfq kaeadYj g^^a[] gj Y_]f[q af Yfq
hgdala[Yd kmZ\anakagf g^ l`] Pfal]\ NlYl]k, gj Yfq kaeadYj g^^a[] gj Y_]f[q af Yfq gl`]j [gmfljq gj Yfq
hgdala[Yd kmZ\anakagf l`]j]g^, l`] k`gjl-^gje afl]dd][lmYd hjgh]jlq k][mjalq Y_j]]e]flk af l`] ^gje YllY[`]\
`]j]lg Yk <ff]p DD, Yk eg\a^a]\ Yk j]YkgfYZdq j]imaj]\ ^gj ]Y[` km[` bmjak\a[lagf, ^gj Ydd >ghqja_`lk,
>ghqja_`l Ga[]fk]k, KYl]flk, KYl]fl Ga[]fk]k, OjY\]eYjck Yf\ OjY\]eYjc Ga[]fk]k g^ km[` BjYflgj Yf\
)aa* lg l`] ]pl]fl j]im]kl]\ Zq l`] >gddYl]jYd <_]fl, j][gj\af_ oal` l`] YhhjghjaYl] Dfl]jf]l ?geYaf IYe]
j]_akljYj, Y \mdq ]p][ml]\ ^gje g^ Ykka_fe]fl ^gj Ydd Dfl]jf]l ?geYaf IYe]k g^ km[` BjYflgj )lg_]l`]j
oal` YhhjghjaYl] kmhhgjlaf_ \g[me]flYlagf Yk eYq Z] j]im]kl]\ Zq l`] >gddYl]jYd <_]fl*

                )`*      Nm[` BjYflgj oadd lYc] l`] Y[lagfk j]YkgfYZdq f][]kkYjq lg ]fkmj] l`Yl gof]jk`ah
g^ Ydd HYl]jaYd Dfl]dd][lmYd Kjgh]jlq mk]\ af l`] Zmkaf]kk g^ km[` BjYflgj, gl`]j l`Yf tg^^-l`]-k`]d^u
kg^loYj] gj kg^loYj] da[]fk]\ mf\]j Y tk`jafc-ojYhu gj t[da[c-l`jgm_`u Y_j]]e]fl, ak Ykka_f]\ af ojalaf_
lg km[` BjYflgj Zq alk ]ehdgq]]k, g^^a[]jk, ^gmf\]jk, [gfljY[lgjk gj Yfq gl`]j K]jkgf, Yk Yhhda[YZd].

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         5.7      Dfl]dd][lmYd Kjgh]jlq Aadaf_. D^ km[` BjYflgj, ]al`]j Zq alk]d^ gj l`jgm_` Yfq Y_]fl,
]ehdgq]], da[]fk]] gj \]ka_f]], k`Ydd ^ad] Yf Yhhda[Ylagf ^gj l`] j]_akljYlagf g^ Yfq Dfl]dd][lmYd Kjgh]jlq
oal` l`] Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[], l`] Pfal]\ NlYl]k >ghqja_`l J^^a[] gj Yfq kaeadYj
g^^a[] gj Y_]f[q af Yfq gl`]j [gmfljq gj Yfq hgdala[Yd kmZ\anakagf l`]j]g^, km[` BjYflgj k`Ydd j]hgjl km[`
^adaf_ lg l`] >gddYl]jYd <_]fl Yk j]imaj]\ Zq N][lagf 8.01)\* g^ l`] >j]\al <_j]]e]fl; hjgna\]\, l`Yl, mhgf
j][]ahl ^jge l`] Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[], l`] Pfal]\ NlYl]k >ghqja_`l J^^a[], gj Yfq
kaeadYj g^^a[] gj Y_]f[q af Yfq gl`]j [gmfljq gj Yfq hgdala[Yd kmZ\anakagf l`]j]g^, g^ fgla[] g^ j]_akljYlagf
g^ Yfq Dfl]dd][lmYd Kjgh]jlq, km[` BjYflgj k`Ydd hjgehldq )Zml af fg ]n]fl dYl]j l`Yf ^an] )5* =mkaf]kk
?Yqk ^gddgoaf_ km[` j][]ahl* fgla^q >gddYl]jYd <_]fl g^ km[` j]_akljYlagf Zq \]dan]jaf_, gj [Ymkaf_ lg Z]
\]dan]j]\ lg >gddYl]jYd <_]fl, naY gn]jfa_`l [gmja]j, ]d][ljgfa[ eYad gj l]d]^Y[kaead] Yl l`] Y\\j]kk]k
\]ka_fYl]\ af l`] >j]\al <_j]]e]fl, \g[me]flYlagf km^^a[a]fl ^gj >gddYl]jYd <_]fl lg h]j^][l >gddYl]jYd
<_]flvk Ga]fk gf km[` Dfl]dd][lmYd Kjgh]jlq. Phgf l`] j]im]kl g^ l`] >gddYl]jYd <_]fl, km[` BjYflgj k`Ydd
]p][ml] Yf\ \]dan]j, oal`af ^an] )5* =mkaf]kk ?Yqk g^ km[` j]im]kl )gj km[` dYl]j \Yl] Yk >gddYl]jYd <_]fl
eYq Y_j]] af alk kgd] \ak[j]lagf*, af j][gj\YZd] ^gje, Yfq Yf\ Ydd Y_j]]e]flk, afkljme]flk, \g[me]flk, Yf\
hYh]jk Yk l`] >gddYl]jYd <_]fl eYq j]im]kl lg ]na\]f[] l`] >gddYl]jYd <_]flvk Ga]f gf Yfq j]_akl]j]\
>ghqja_`l, KYl]fl, OjY\]eYjc gj gl`]j Dfl]dd][lmYd Kjgh]jlq gj Yhhda[Ylagf l`]j]^gj Yf\ l`] _gg\oadd Yf\
_]f]jYd aflYf_aZd]k g^ km[` BjYflgj j]dYlaf_ l`]j]lg gj j]hj]k]fl]\ l`]j]Zq.

         5.8     >gee]j[aYd Ogjl >dYaek. D^ km[` BjYflgj k`Ydd gZlYaf Yf afl]j]kl af Yfq >gee]j[aYd
Ogjl >dYae ^gj Yf Yegmfl af ]p[]kk g^ %50,000 ^gj Yfq gf] km[` [dYae gj af ]p[]kk g^ %150,000 af l`]
Y__j]_Yl] ^gj Ydd km[` [dYaek, km[` BjYflgj k`Ydd hjgehldq )Yf\ af Yfq ]n]fl oal`af ^an] )5* =mkaf]kk
?Yqk Y^l]j gZlYafaf_ km[` >gee]j[aYd Ogjl >dYae* fgla^q l`] >gddYl]jYd <_]fl af ojalaf_, Yf\ mhgf l`]
j]im]kl g^ l`] >gddYl]jYd <_]fl, hjgehldq )Yf\ af Yfq ]n]fl oal`af ^an] )5* =mkaf]kk ?Yqk Y^l]j km[`
j]im]kl* Ye]f\ N[`]\md] 5, Yml`gjaraf_ l`] >gddYl]jYd <_]fl lg \g km[` Y[lk gj l`af_k \]]e]\ f][]kkYjq
gj \]kajYZd] Zq l`] >gddYl]jYd <_]fl lg _an] l`] >gddYl]jYd <_]fl Y ^ajkl hjagjalq )kmZb][l gfdq lg K]jeall]\
Ga]fk o`a[`, hmjkmYfl lg l`] l]jek g^ l`] >j]\al <_j]]e]fl, Yj] ]phj]kkdq h]jeall]\ lg `Yn] hjagjalq gn]j
>gddYl]jYd <_]flvk Ga]fk l`]j]gf* h]j^][l]\ k][mjalq afl]j]kl af Yfq km[` >gee]j[aYd Ogjl >dYae.
Ral`gml daealaf_ l`] ^gj]_gaf_, km[` BjYflgj Y_j]]k l`Yl l`] fgla[] \]k[jaZ]\ af l`] ^ajkl k]fl]f[] g^ l`ak
N][lagf 5.8 k`Ydd [gfklalml] l`] _jYfl lg >gddYl]jYd <_]fl Zq km[` BjYflgj g^ Y ^ajkl hjagjalq )kmZb][l gfdq
lg K]jeall]\ Ga]fk o`a[`, hmjkmYfl lg l`] l]jek g^ l`] >j]\al <_j]]e]fl, Yj] ]phj]kkdq h]jeall]\ lg `Yn]
hjagjalq gn]j >gddYl]jYd <_]flvk Ga]fk l`]j]gf* k][mjalq afl]j]kl af l`] >gee]j[aYd Ogjl >dYae \]k[jaZ]\
l`]j]af.

         5.9     >gddYl]jYd af l`] Kgkk]kkagf g^ Y =Yad]]. D^ Yfq >gddYl]jYd `Ynaf_ Y Zggc nYdm] af ]p[]kk
g^ %250,000 ^gj Yfq gf] ZYad]] ak fgo gj Yl Yfq lae] `]j]Y^l]j, af l`] hgkk]kkagf g^ Y ZYad]], km[` BjYflgj
k`Ydd hjgehldq, Zml af Yfq ]n]fl oal`af ^an] )5* =mkaf]kk ?Yqk, fgla^q l`] >gddYl]jYd <_]fl l`]j]g^ Yf\, Yl
l`] >gddYl]jYd <_]flvk j]im]kl Yf\ ghlagf, k`Ydd mk] [gee]j[aYddq j]YkgfYZd] ]^^gjlk lg hjgehldq gZlYaf Yf
Y[cfgod]\_]e]fl ^jge l`] ZYad]], af ^gje Yf\ kmZklYf[] j]YkgfYZdq kYlak^Y[lgjq lg l`] >gddYl]jYd <_]fl,
l`Yl l`] ZYad]] `gd\k km[` >gddYl]jYd ^gj l`] Z]f]^al g^ l`] >gddYl]jYd <_]fl Yf\ km[` ZYad]]vk Y_j]]e]fl lg
[gehdq, oal`gml ^mjl`]j [gfk]fl g^ km[` BjYflgj, Yl Yfq lae] oal` afkljm[lagfk g^ l`] >gddYl]jYd <_]fl Yk
lg km[` >gddYl]jYd. O`] >gddYl]jYd <_]fl Y_j]]k oal` l`] BjYflgjk l`Yl l`] >gddYl]jYd <_]fl k`Ydd fgl _an]
Yfq km[` afkljm[lagfk mfd]kk Yf @n]fl g^ ?]^Ymdl `Yk g[[mjj]\ Yf\ ak [gflafmaf_.

         5.10    @d][ljgfa[ >`Yll]d KYh]j. D^ Yfq BjYflgj, fgo gj Yl Yfq lae] `]j]Y^l]j, `gd\k gj Y[imaj]k
Yf afl]j]kl af Yfq ]d][ljgfa[ [`Yll]d hYh]j, Yfq ]d][ljgfa[ \g[me]fl gj Yfq tljYfk^]jYZd] j][gj\u, Yk l`Yl
l]je ak \]^af]\ af N][lagf 201 g^ l`] ^]\]jYd @d][ljgfa[ Na_fYlmj]k af BdgZYd Yf\ IYlagfYd >gee]j[] <[l,
gj af N][lagf 16 g^ l`] Pfa^gje @d][ljgfa[ OjYfkY[lagfk <[l Yk af ]^^][l af Yfq j]d]nYfl bmjak\a[lagf
`Ynaf_ Y nYdm] g^ %50,000 gj egj] af Yfq gf] afklYf[] gj %150,000 gj egj] af l`] Y__j]_Yl] ^gj Ydd km[`
Ykk]lk, km[` BjYflgj k`Ydd hjgehldq )Yf\ af Yfq ]n]fl oal`af ^an] )5* =mkaf]kk ?Yqk Y^l]j gZlYafaf_ Yfq
km[` Ykk]l* fgla^q l`] >gddYl]jYd <_]fl l`]j]g^ Yf\, Yl l`] j]im]kl Yf\ ghlagf g^ l`] >gddYl]jYd <_]fl, k`Ydd
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hjgehldq lYc] km[` Y[lagf Yk l`] >gddYl]jYd <_]fl eYq j]im]kl lg n]kl af l`] >gddYl]jYd <_]fl [gfljgd,
mf\]j N][lagf 9-105 g^ l`] P>> gj l`] Pfa^gje >gee]j[aYd >g\] g^ Yfq gl`]j j]d]nYfl bmjak\a[lagf, g^
km[` ]d][ljgfa[ [`Yll]d hYh]j, [gfljgd, mf\]j N][lagf 7-106 g^ l`] P>> gj l`] Pfa^gje >gee]j[aYd >g\]
g^ Yfq gl`]j j]d]nYfl bmjak\a[lagf, g^ km[` ]d][ljgfa[ \g[me]fl gj [gfljgd, mf\]j N][lagf 201 g^ l`] ^]\]jYd
@d][ljgfa[ Na_fYlmj]k af BdgZYd Yf\ IYlagfYd >gee]j[] <[l gj, Yk l`] [Yk] eYq Z], N][lagf 16 g^ l`]
Pfa^gje @d][ljgfa[ OjYfkY[lagfk <[l, Yk kg af ]^^][l af km[` bmjak\a[lagf, g^ km[` ljYfk^]jYZd] j][gj\. O`]
>gddYl]jYd <_]fl Y_j]]k oal` ]Y[` BjYflgj l`Yl l`] >gddYl]jYd <_]fl oadd YjjYf_], hmjkmYfl lg hjg[]\mj]k
kYlak^Y[lgjq lg l`] >gddYl]jYd <_]fl Yf\ kg dgf_ Yk km[` hjg[]\mj]k oadd fgl j]kmdl af l`] >gddYl]jYd
<_]flvk dgkk g^ [gfljgd, ^gj km[` BjYflgj lg eYc] Ydl]jYlagfk lg l`] ]d][ljgfa[ [`Yll]d hYh]j, ]d][ljgfa[
\g[me]fl gj ljYfk^]jYZd] j][gj\ h]jeall]\ mf\]j P>> N][lagf 9-105, P>> N][lagf 7-106, gj, Yk l`] [Yk]
eYq Z], N][lagf 201 g^ l`] ^]\]jYd @d][ljgfa[ Na_fYlmj]k af BdgZYd Yf\ IYlagfYd >gee]j[] <[l gj
N][lagf 16 g^ l`] Pfa^gje @d][ljgfa[ OjYfkY[lagfk <[l ^gj Y hYjlq af [gfljgd lg eYc] oal`gml dgkk g^
[gfljgd, mfd]kk Yf @n]fl g^ ?]^Ymdl `Yk g[[mjj]\ Yf\ ak [gflafmaf_ gj ogmd\ g[[mj Y^l]j lYcaf_ aflg
Y[[gmfl Yfq Y[lagf Zq km[` BjYflgj oal` j]kh][l lg km[` ]d][ljgfa[ [`Yll]d hYh]j, ]d][ljgfa[ \g[me]fl gj
ljYfk^]jYZd] j][gj\. O`] hjgnakagfk g^ l`ak N][lagf 5.10 j]dYlaf_ lg ]d][ljgfa[ \g[me]flk Yf\ t[gfljgdu
mf\]j P>> N][lagf 7-106 Yhhdq af l`] ]n]fl l`Yl l`] 2003 j]nakagfk lg <jla[d] 7, oal` Ye]f\e]flk lg
<jla[d] 9, g^ l`] Pfa^gje >gee]j[aYd >g\], af kmZklYflaYddq l`] ^gje Yhhjgn]\ Zq l`] <e]ja[Yf GYo
Dfklalml] Yf\ l`] IYlagfYd >gf^]j]f[] g^ >geeakkagf]jk gf Pfa^gje NlYl] GYok, Yj] fgo gj `]j]Y^l]j
Y\ghl]\ Yf\ Z][ge] ]^^][lan] af I]o Tgjc gj af Yfq gl`]j j]d]nYfl bmjak\a[lagf.

         5.11     G]ll]j-g^->j]\al Ma_`lk. D^ Yfq BjYflgj ak, fgo gj Yl Yfq lae] `]j]Y^l]j, Y Z]f]^a[aYjq
mf\]j Y d]ll]j g^ [j]\al `Ynaf_ Y ^Y[] Yegmfl g^ %50,000 gj egj] af Yfq gf] afklYf[] gj %150,000 gj egj]
^gj Ydd km[` d]ll]jk g^ [j]\al, km[` BjYflgj k`Ydd hjgehldq, Zml af Yfq ]n]fl oal`af ^an] )5* =mkaf]kk ?Yqk,
fgla^q l`] >gddYl]jYd <_]fl l`]j]g^ Yf\, Yl l`] j]im]kl g^ l`] >gddYl]jYd <_]fl, km[` BjYflgj k`Ydd,
hjgehldq hmjkmYfl lg Yf Y_j]]e]fl af ^gje Yf\ kmZklYf[] kYlak^Y[lgjq lg l`] >gddYl]jYd <_]fl, ]al`]j )Y*
YjjYf_] ^gj l`] akkm]j Yf\ Yfq [gf^aje]j g^ km[` d]ll]j g^ [j]\al lg [gfk]fl lg Yf Ykka_fe]fl lg l`]
>gddYl]jYd <_]fl g^ l`] hjg[]]\k g^ l`] d]ll]j g^ [j]\al, gj )Z* YjjYf_] ^gj l`] >gddYl]jYd <_]fl lg Z][ge]
l`] ljYfk^]j]] Z]f]^a[aYjq g^ l`] d]ll]j g^ [j]\al, oal` l`] >gddYl]jYd <_]fl Y_j]]af_, af ]Y[` [Yk], l`Yl l`]
hjg[]]\k g^ l`] d]ll]j g^ [j]\al Yj] lg Z] Yhhda]\ Yk hjgna\]\ af l`] >j]\al <_j]]e]fl.

         5.12    Amjl`]j <kkmjYf[]k; Kd]\_] g^ Dfkljme]flk. <l l`] kgd] ]ph]fk] g^ km[` BjYflgj, km[`
BjYflgj k`Ydd hjgehldq Yf\ \mdq ]p][ml] Yf\ \]dan]j Yfq Yf\ Ydd km[` ^mjl`]j afkljme]flk Yf\ \g[me]flk
Yf\ lYc] km[` ^mjl`]j Y[lagf Yk l`] >gddYl]jYd <_]fl eYq j]YkgfYZdq j]im]kl lg gZlYaf l`] ^mdd Z]f]^alk g^
l`ak <_j]]e]fl Yf\ g^ l`] ja_`lk Yf\ hgo]jk `]j]af _jYfl]\, o`a[` k`Ydd af Yfq [Yk] af[dm\], Zml k`Ydd fgl
Z] daeal]\ lg: )Y* mkaf_ [gee]j[aYddq j]YkgfYZd] ]^^gjlk a^ j]YkgfYZdq j]im]kl]\ af ojalaf_ Zq l`]
>gddYl]jYd <_]fl lg k][mj] Ydd [gfk]flk Yf\ YhhjgnYdk f][]kkYjq gj YhhjghjaYl] ^gj l`] _jYfl g^ Y k][mjalq
afl]j]kl lg l`] >gddYl]jYd <_]fl af Yfq d]Yk], da[]fk], [gfljY[l gj Y_j]]e]fl `]d\ Zq km[` BjYflgj gj af
o`a[` km[` BjYflgj `Yk Yfq ja_`l gj afl]j]kl )gj oal` j]kh][l lg o`a[` km[` BjYflgj `Yk Yfq ja_`l gj
afl]j]kl af l`] Ykk]lk kmZb][l lg km[` d]Yk], da[]fk], [gfljY[l gj Y_j]]e]fl* fgl `]j]lg^gj] Ykka_f]\,
)Z* Yml`gjaraf_ l`] ^adaf_ g^ Yf\ \]dan]jaf_ Yf\ [Ymkaf_ lg Z] ^ad]\ Yfq ^afYf[af_ gj [gflafmYlagf
klYl]e]flk mf\]j l`] P>> oal` j]kh][l lg l`] k][mjalq afl]j]klk _jYfl]\ `]j]Zq, )[* ^adaf_ gj j]YkgfYZdq
[ggh]jYlaf_ oal` l`] >gddYl]jYd <_]fl af ^adaf_ Yfq ^gjek gj gl`]j \g[me]flk j]imaj]\ lg Z] j][gj\]\ oal`
l`] Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[], l`] Pfal]\ NlYl]k >ghqja_`l J^^a[], gj a^ j]YkgfYZdq
j]im]kl]\ Zq l`] >gddYl]jYd <_]fl, Yfq Y[lagfk, ^adaf_k, j][gj\af_k gj j]_akljYlagfk af Yfq ^gj]a_f
bmjak\a[lagf gj mf\]j Yfq afl]jfYlagfYd lj]Ylq, j]imaj]\ lg k][mj] gj hjgl][l l`] >gddYl]jYd <_]flvk afl]j]kl
af km[` BjYflgjvk >gddYl]jYd, )\* lg l`] ]pl]fl j]imaj]\ Zq N][lagf 5.1 gj 5.4, Yl l`] >gddYl]jYd <_]flvk
j]YkgfYZd] j]im]kl, ljYfk^]jjaf_ km[` BjYflgjvk >gddYl]jYd lg l`] >gddYl]jYd <_]flvk hgkk]kkagf )a^ Y
k][mjalq afl]j]kl af km[` >gddYl]jYd [Yf Z] h]j^][l]\ Zq hgkk]kkagf*, )]* Yl l`] >gddYl]jYd <_]flvk
j]YkgfYZd] j]im]kl, hdY[af_ l`] afl]j]kl g^ l`] >gddYl]jYd <_]fl Yk da]f`gd\]j gf l`] []jla^a[Yl] g^ lald] )gj
kaeadYj ]na\]f[] g^ gof]jk`ah* g^ Yfq n]`a[d], oYl]j[jY^l gj gl`]j @imahe]fl [gfklalmlaf_ >gddYl]jYd
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gof]\ Zq km[` BjYflgj o`a[` ak [gn]j]\ Zq Y []jla^a[Yl] g^ lald] )gj kaeadYj ]na\]f[] g^ gof]jk`ah* Yf\ )^*
mhgf l`] >gddYl]jYd <_]flvk j]YkgfYZd] j]im]kl, ]p][mlaf_ Yf\ \]dan]jaf_ gj [Ymkaf_ lg Z] \]dan]j]\
ojall]f fgla[] lg afkmj]jk g^ l`] >gddYl]jYd <_]flvk k][mjalq afl]j]kl af, gj [dYae af gj mf\]j, Yfq hgda[q g^
afkmjYf[] )af[dm\af_ mf]Yjf]\ hj]eamek*. Nm[` BjYflgj Ydkg `]j]Zq Yml`gjar]k l`] >gddYl]jYd <_]fl lg
^ad] Yfq km[` ^afYf[af_ gj [gflafmYlagf klYl]e]fl oal`gml l`] ka_fYlmj] g^ km[` BjYflgj.

                               N@>ODJI 6.       M@H@?D<G KMJQDNDJIN

        6.1     >]jlYaf HYll]jk M]dYlaf_ lg M][]anYZd]k. )Y* <^l]j l`] g[[mjj]f[] Yf\ \mjaf_ l`]
[gflafmYf[] g^ Yf @n]fl g^ ?]^Ymdl, )a* mhgf ^an] )5* \Yqk hjagj ojall]f fgla[] lg l`] BjYflgjk, l`]
>gddYl]jYd <_]fl k`Ydd `Yn] l`] ja_`l lg eYc] l]kl n]ja^a[Ylagfk g^ l`] M][]anYZd]k af Yfq eYff]j Yf\
l`jgm_` Yfq e]\ame l`Yl al [gfka\]jk Y\nakYZd], Yf\ ]Y[` BjYflgj k`Ydd ^mjfak` Ydd km[` YkkaklYf[] Yf\
af^gjeYlagf Yk l`] >gddYl]jYd <_]fl eYq j]YkgfYZdq j]imaj], Yf\ k`Ydd j]aeZmjk] l`] >gddYl]jYd <_]fl ^gj
Yfq Yf\ Ydd j]YkgfYZd] ]ph]fk]k Y[lmYddq af[mjj]\ Zq l`] >gddYl]jYd <_]fl )kmZb][l lg N][lagf 12.05 g^ l`]
>j]\al <_j]]e]fl*, af [gff][lagf oal` km[` l]kl n]ja^a[Ylagfk, Yf\ )aa* mhgf l`] >gddYl]jYd <_]flvk
j]YkgfYZd] j]im]kl )Zml fg egj] g^l]f l`Yf gf[] h]j q]Yj hjagj lg l`] g[[mjj]f[] Yf\ [gflafmYf[] g^ Yf
@n]fl g^ ?]^Ymdl* Yf\ Yl l`] ]ph]fk] g^ l`] j]d]nYfl BjYflgj, km[` BjYflgj k`Ydd hjgehldq [Ymk]
af\]h]f\]fl hmZda[ Y[[gmflYflk gj gl`]jk j]YkgfYZdq kYlak^Y[lgjq lg l`] >gddYl]jYd <_]fl lg ^mjfak` lg l`]
>gddYl]jYd <_]fl j]hgjlk k`goaf_ j][gf[adaYlagfk, Y_af_ Yf\ l]kl n]ja^a[Ylagfk g^, Yf\ ljaYd ZYdYf[]k ^gj, l`]
M][]anYZd]k.

                  )Z*     D^ j]imaj]\ Zq l`] >gddYl]jYd <_]fl Yl Yfq lae] Y^l]j l`] g[[mjj]f[] Yf\ \mjaf_
l`] [gflafmYf[] g^ Yf @n]fl g^ ?]^Ymdl, Yfq hYqe]flk g^ M][]anYZd]k, o`]f [gdd][l]\ Zq Yfq BjYflgj,
)a* k`Ydd Z] ^gjl`oal` )Yf\, af Yfq ]n]fl, oal`af log )2* =mkaf]kk ?Yqk* \]hgkal]\ Zq km[` BjYflgj af l`]
]pY[l ^gje j][]an]\, \mdq ]f\gjk]\ Zq km[` BjYflgj lg l`] >gddYl]jYd <_]fl a^ j]imaj]\, af Y >gddYl]jYd
<[[gmfl eYaflYaf]\ mf\]j l`] kgd] \geafagf Yf\ [gfljgd g^ l`] >gddYl]jYd <_]fl, kmZb][l lg oal`\jYoYd
Zq l`] >gddYl]jYd <_]fl ^gj l`] Y[[gmfl g^ l`] N][mj]\ KYjla]k gfdq Yk hjgna\]\ af N][lagf 6.4, Yf\
)aa* mflad kg lmjf]\ gn]j, k`Ydd Z] `]d\ Zq km[` BjYflgj ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, k]_j]_Yl]\
^jge gl`]j ^mf\k g^ km[` BjYflgj. @Y[` km[` \]hgkal g^ Kjg[]]\k g^ M][]anYZd]k k`Ydd Z] Y[[gehYfa]\ Zq
Y j]hgjl a\]fla^qaf_ af j]YkgfYZd] \]lYad l`] fYlmj] Yf\ kgmj[] g^ l`] hYqe]flk af[dm\]\ af l`] \]hgkal.

                )[*     <l l`] >gddYl]jYd <_]flvk j]im]kl Y^l]j l`] g[[mjj]f[] Yf\ \mjaf_ l`] [gflafmYf[]
g^ Yf @n]fl g^ ?]^Ymdl, ]Y[` BjYflgj k`Ydd hjgehldq \]dan]j lg l`] >gddYl]jYd <_]fl Ydd gja_afYd Yf\ gl`]j
\g[me]flk ]na\]f[af_, Yf\ j]dYlaf_ lg, l`] Y_j]]e]flk Yf\ ljYfkY[lagfk o`a[` _Yn] jak] lg l`]
M][]anYZd]k, af[dm\af_ Ydd gja_afYd gj\]jk, afnga[]k Yf\ k`ahhaf_ j][]ahlk.

         6.2     >geemfa[Ylagfk oal` JZda_gjk; BjYflgjk M]eYaf GaYZd].

                 )Y*    O`] >gddYl]jYd <_]fl eYq af alk gof fYe] gj af l`] fYe] g^ gl`]jk Yl Yfq lae]
Y^l]j l`] g[[mjj]f[] Yf\ \mjaf_ l`] [gflafmYf[] g^ Yf @n]fl g^ ?]^Ymdl, [geemfa[Yl] oal` gZda_gjk mf\]j
l`] M][]anYZd]k Yf\ hYjla]k lg l`] >gfljY[lk lg n]ja^q oal` l`]e lg l`] >gddYl]jYd <_]flvk kYlak^Y[lagf l`]
]pakl]f[], Yegmfl Yf\ l]jek g^ Yfq M][]anYZd]k gj >gfljY[lk.

                 )Z*      Phgf l`] ojall]f j]im]kl g^ l`] >gddYl]jYd <_]fl Yl Yfq lae] Y^l]j l`] g[[mjj]f[]
Yf\ \mjaf_ l`] [gflafmYf[] g^ Yf @n]fl g^ ?]^Ymdl, ]Y[` BjYflgj k`Ydd hjgehldq fgla^q gZda_gjk gf l`]
M][]anYZd]k Yf\ hYjla]k lg l`] >gfljY[lk l`Yl l`] M][]anYZd]k Yf\ l`] >gfljY[lk `Yn] Z]]f Ykka_f]\ lg l`]
>gddYl]jYd <_]fl ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k Yf\ l`Yl hYqe]flk af j]kh][l l`]j]g^ k`Ydd Z] eY\]
\aj][ldq lg l`] >gddYl]jYd <_]fl.

                )[*    <fql`af_ `]j]af lg l`] [gfljYjq fgloal`klYf\af_, ]Y[` BjYflgj k`Ydd j]eYaf daYZd]
mf\]j ]Y[` g^ l`] M][]anYZd]k Yf\ >gfljY[lk lg gZk]jn] Yf\ h]j^gje Ydd l`] [gf\alagfk Yf\ gZda_Ylagfk lg
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Z] gZk]jn]\ Yf\ h]j^gje]\ Zq al l`]j]mf\]j, Ydd af Y[[gj\Yf[] oal` l`] l]jek g^ Yfq Y_j]]e]fl _anaf_ jak]
l`]j]lg. Ig N][mj]\ KYjlq k`Ydd `Yn] Yfq gZda_Ylagf gj daYZadalq mf\]j Yfq M][]anYZd] )gj Yfq Y_j]]e]fl
_anaf_ jak] l`]j]lg* gj >gfljY[l Zq j]Ykgf g^ gj Yjakaf_ gml g^ l`ak <_j]]e]fl )gj Yfq gl`]j >j]\al
?g[me]fl* gj l`] j][]ahl Zq Yfq N][mj]\ KYjlq g^ Yfq hYqe]fl j]dYlaf_ l`]j]lg, fgj k`Ydd Yfq N][mj]\
KYjlq Z] gZda_Yl]\ af Yfq eYff]j lg h]j^gje Yfq g^ l`] gZda_Ylagfk g^ Yfq BjYflgj mf\]j gj hmjkmYfl lg
Yfq M][]anYZd] )gj Yfq Y_j]]e]fl _anaf_ jak] l`]j]lg* gj >gfljY[l, lg eYc] Yfq hYqe]fl, lg eYc] Yfq
afimajq Yk lg l`] fYlmj] gj l`] km^^a[a]f[q g^ Yfq hYqe]fl j][]an]\ Zq al gj Yk lg l`] km^^a[a]f[q g^ Yfq
h]j^gjeYf[] Zq Yfq hYjlq l`]j]mf\]j, lg hj]k]fl gj ^ad] Yfq [dYae, lg lYc] Yfq Y[lagf lg ]f^gj[] Yfq
h]j^gjeYf[] gj lg [gdd][l l`] hYqe]fl g^ Yfq Yegmflk o`a[` eYq `Yn] Z]]f Ykka_f]\ lg al gj lg o`a[` al
eYq Z] ]flald]\ Yl Yfq lae] gj lae]k. Ajge Yf\ Y^l]j l`] g[[mjj]f[] Yf\ \mjaf_ l`] [gflafmYlagf g^ Yf
@n]fl g^ ?]^Ymdl Yf\ ^gddgoaf_ l`] fgla[] l`]j]g^ Zq l`] >gddYl]jYd <_]fl, l`] >gddYl]jYd <_]fl k`Ydd `Yn]
l`] ]p[dmkan] Yml`gjalq lg ]f^gj[] Ydd >gfljY[lk af[dm\]\ oal`af l`] >gddYl]jYd Yf\ fg BjYflgj k`Ydd lYc]
Yfq Y[lagf mf\]j Yfq >gfljY[l, af[dm\af_ Ye]f\af_, oYanaf_, ]pl]f\af_, l]jeafYlaf_ gj [Yf[]ddaf_ Yfq
km[` >gfljY[l, gj lYcaf_ Yfq Y[lagf af ^mjl`]jYf[] l`]j]g^, oal`gml l`] hjagj ojall]f [gfk]fl g^ l`]
>gddYl]jYd <_]fl af ]Y[` afklYf[].

         6.3     Kd]\_]\ Nlg[c.

                  )Y*     D^ Yf @n]fl g^ ?]^Ymdl k`Ydd `Yn] g[[mjj]\ Yf\ Z] [gflafmaf_, )a* l`] >gddYl]jYd
<_]fl k`Ydd `Yn] l`] ja_`l lg j][]an] Yfq Yf\ Ydd \ana\]f\k, hYqe]flk gj gl`]j Kjg[]]\k hYa\ af j]kh][l g^
l`] Dfn]kle]fl Kjgh]jlq Yf\ eYc] Yhhda[Ylagf l`]j]g^ lg l`] N][mj]\ JZda_Ylagfk af l`] gj\]j k]l ^gjl` af
N][lagf 4.02)\* g^ l`] >j]\al <_j]]e]fl, )aa* ^an] )5* =mkaf]kk ?Yqk Y^l]j hjagj ojall]f fgla[] lg BjYflgjk,
Yfq gj Ydd g^ l`] Dfn]kle]fl Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq* eYq Z] j]_akl]j]\ af l`] fYe] g^ l`]
>gddYl]jYd <_]fl gj alk fgeaf]], Yf\ )aaa* ^an] )5* =mkaf]kk ?Yqk Y^l]j hjagj ojall]f fgla[] lg BjYflgjk Yf\
l`] >gddYl]jYd <_]fl gj alk fgeaf]] k`Ydd `Yn] )]p[]hl lg l`] ]pl]fl kh][a^a[Yddq oYan]\ af ]Y[` afklYf[]
Zq l`] >gddYl]jYd <_]fl* l`] ]p[dmkan] ja_`l lg ]p]j[ak] )1* Ydd nglaf_, [gjhgjYl] Yf\ gl`]j ja_`lk h]jlYafaf_
lg km[` Dfn]kle]fl Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq* Yl Yfq e]]laf_ g^ k`Yj]`gd\]jk g^ l`] j]d]nYfl
Dkkm]j gj Dkkm]jk gj gl`]joak] Yf\ )2* Yfq Yf\ Ydd ja_`lk g^ [gfn]jkagf, ]p[`Yf_] Yf\ kmZk[jahlagf Yf\ Yfq
gl`]j ja_`lk, hjanad]_]k gj ghlagfk h]jlYafaf_ lg km[` Dfn]kle]fl Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq*
Yk a^ al o]j] l`] YZkgdml] gof]j l`]j]g^ )af[dm\af_ l`] ja_`l lg ]p[`Yf_], Yl alk \ak[j]lagf, Yfq Yf\ Ydd g^
l`] Dfn]kle]fl Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq* mhgf l`] e]j_]j, [gfkgda\Ylagf, j]gj_YfarYlagf,
j][YhalYdarYlagf gj gl`]j ^mf\Ye]flYd [`Yf_] af l`] [gjhgjYl] kljm[lmj] g^ Yfq Dkkm]j, gj mhgf l`] ]p]j[ak]
Zq Yfq BjYflgj gj l`] >gddYl]jYd <_]fl g^ Yfq ja_`l, hjanad]_] gj ghlagf h]jlYafaf_ lg km[` Dfn]kle]fl
Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq*, Yf\ af [gff][lagf l`]j]oal`, l`] ja_`l lg \]hgkal Yf\ \]dan]j Yfq
Yf\ Ydd g^ l`] Dfn]kle]fl Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq* oal` Yfq [geeall]], \]hgkalYjq,
ljYfk^]j Y_]fl, j]_akljYj gj gl`]j \]ka_fYl]\ Y_]f[q mhgf km[` l]jek Yf\ [gf\alagfk Yk l`] >gddYl]jYd
<_]fl eYq \]l]jeaf]*, Ydd oal`gml daYZadalq ]p[]hl lg Y[[gmfl ^gj hjgh]jlq Y[lmYddq j][]an]\ Zq al, Zml l`]
>gddYl]jYd <_]fl k`Ydd `Yn] fg \mlq lg Yfq BjYflgj lg ]p]j[ak] Yfq km[` ja_`l, hjanad]_] gj ghlagf Yf\
k`Ydd fgl Z] j]khgfkaZd] ^gj Yfq ^Yadmj] lg \g kg gj \]dYq af kg \gaf_.

                 )Z*     @Y[` BjYflgj `]j]Zq Yml`gjar]k Yf\ afkljm[lk ]Y[` Dkkm]j g^ YfqDfn]kle]fl
Kjgh]jlq )gl`]j l`Yf @p[dm\]\ Kjgh]jlq* lg [gehdq oal` Yfq afkljm[lagf j]_Yj\af_ >gddYl]jYd <_]flvk
ja_`lk mf\]j l`] hj][]\af_ [dYmk] )Y* j][]an]\ Zq al ^jge l`] >gddYl]jYd <_]fl af ojalaf_ l`Yl klYl]k l`Yl Yf
@n]fl g^ ?]^Ymdl `Yk g[[mjj]\ Yf\ ak [gflafmaf_, oal`gml Yfq gl`]j gj ^mjl`]j afkljm[lagfk ^jge km[`
BjYflgj, Yf\ ]Y[` BjYflgj Y_j]]k l`Yl ]Y[` Dkkm]j k`Ydd Z] ^mddq hjgl][l]\ af kg [gehdqaf_ Yf\ k`Ydd `Yn]
fg \mlq gj ja_`l lg afimaj] Yk lg l`] >gddYl]jYd <_]flvk Yml`gjalq lg _an] km[` afkljm[lagf, af[dm\af_ l`]
hYqe]fl g^ Yfq \ana\]f\k gj gl`]j hYqe]flk oal` j]kh][l lg km[` Dfn]kle]fl Kjgh]jlq \aj][ldq lg l`]
>gddYl]jYd <_]fl.



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         6.4     Kjg[]]\k lg Z] Omjf]\ Jn]j lg >gddYl]jYd <_]fl. Df Y\\alagf lg l`] ja_`lk g^ l`] N][mj]\
KYjla]k kh][a^a]\ af N][lagf 6.1 oal` j]kh][l lg hYqe]flk g^ M][]anYZd]k, a^ Yf @n]fl g^ ?]^Ymdl k`Ydd `Yn]
g[[mjj]\ Yf\ Z] [gflafmaf_ Yf\ l`] >gddYl]jYd <_]fl k`Ydd kg fgla^q l`] BjYflgj af im]klagf af ojalaf_, Ydd
>gdd][lagfk l`]j]gf k`Ydd Z] `]d\ Zq km[` BjYflgj ^gj Z]f]^al g^ l`] N][mj]\ KYjla]k, k]_j]_Yl]\ ^jge
gl`]j ^mf\k g^ km[` BjYflgj, Yf\ k`Ydd, ^gjl`oal` )Yf\ af Yfq ]n]fl oal`af log )2* =mkaf]kk ?Yqk* mhgf
j][]ahl Zq km[` BjYflgj, Z] lmjf]\ gn]j lg l`] >gddYl]jYd <_]fl af l`] ]pY[l ^gje j][]an]\ Zq km[` BjYflgj
)\mdq ]f\gjk]\ Zq km[` BjYflgj lg l`] >gddYl]jYd <_]fl, a^ j]imaj]\*. <dd Kjg[]]\k j][]an]\ Zq l`]
>gddYl]jYd <_]fl `]j]mf\]j k`Ydd Z] `]d\ Zq l`] >gddYl]jYd <_]fl af Y >gddYl]jYd <[[gmfl eYaflYaf]\
mf\]j alk kgd] \geafagf Yf\ [gfljgd. <dd Kjg[]]\k, o`ad] `]d\ Zq l`] >gddYl]jYd <_]fl af Y >gddYl]jYd
<[[gmfl )gj Zq km[` BjYflgj ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k*, k`Ydd [gflafm] lg Z] `]d\ Yk >gddYl]jYd
mf\]j l`ak <_j]]e]fl Yf\ k`Ydd fgl [gfklalml] hYqe]fl l`]j]g^ mflad Yhhda]\ Yk hjgna\]\ af N][lagf 6.5.

        6.5      <hhda[Ylagf g^ Kjg[]]\k. D^ Yf @n]fl g^ ?]^Ymdl k`Ydd `Yn] g[[mjj]\ Yf\ Z] [gflafmaf_, Yl
l`] >gddYl]jYd <_]flvk ]d][lagf, l`] >gddYl]jYd <_]fl eYq, Yl Yfq km[` lae], Yhhdq Ydd gj Yfq hYjl g^ l`]
Kjg[]]\k g^ >gddYl]jYd, o`]l`]j gj fgl `]d\ af Yfq >gddYl]jYd <[[gmfl, af hYqe]fl g^ l`] N][mj]\
JZda_Ylagfk af l`] gj\]j k]l ^gjl` af N][lagf 4.02)\* g^ l`] >j]\al <_j]]e]fl.

         6.6      P>> Yf\ Jl`]j M]e]\a]k. D^ Yf @n]fl g^ ?]^Ymdl k`Ydd `Yn] g[[mjj]\ Yf\ Z] [gflafmaf_,
l`] >gddYl]jYd <_]fl, gf Z]`Yd^ g^ l`] N][mj]\ KYjla]k, eYq ]p]j[ak], af Y\\alagf lg Ydd gl`]j ja_`lk Yf\
j]e]\a]k _jYfl]\ lg al af l`ak <_j]]e]fl Yf\ af Yfq gl`]j afkljme]fl gj Y_j]]e]fl k][mjaf_, ]na\]f[af_ gj
j]dYlaf_ lg Yfq g^ l`] N][mj]\ JZda_Ylagfk, Ydd ja_`lk Yf\ j]e]\a]k g^ Y k][mj]\ hYjlq mf\]j l`] P>> gj
Yfq gl`]j <hhda[YZd] GYo. Ral`gml daealaf_ l`] _]f]jYdalq g^ l`] ^gj]_gaf_, l`] >gddYl]jYd <_]fl, oal`gml
\]eYf\ g^ h]j^gjeYf[] gj gl`]j \]eYf\, hj]k]fle]fl, hjgl]kl, Y\n]jlak]e]fl gj fgla[] g^ Yfq caf\
)]p[]hl Yk kh][a^a[Yddq hjgna\]\ af l`ak <_j]]e]fl gj l`] gl`]j >j]\al ?g[me]flk* lg gj mhgf Yfq BjYflgj
gj Yfq gl`]j K]jkgf )Ydd Yf\ ]Y[` g^ o`a[` \]eYf\k, \]^]fk]k, Y\n]jlak]e]flk Yf\ fgla[]k Yj] `]j]Zq
oYan]\*, eYq af km[` [aj[meklYf[]k ^gjl`oal` [gdd][l, j][]an], YhhjghjaYl] Yf\ j]Ydar] mhgf l`]
>gddYl]jYd, gj Yfq hYjl l`]j]g^, Yf\/gj eYq ^gjl`oal` k]dd, d]Yk], Ykka_f, _an] ghlagf gj ghlagfk lg hmj[`Yk],
gj gl`]joak] \akhgk] g^ Yf\ \]dan]j l`] >gddYl]jYd gj Yfq hYjl l`]j]g^ )gj [gfljY[l lg \g Yfq g^ l`]
^gj]_gaf_*, af gf] gj egj] hYj[]dk Yl hmZda[ gj hjanYl] kYd] gj kYd]k, Yl Yfq ]p[`Yf_], Zjgc]jvk ZgYj\ gj
g^^a[] g^ Yfq N][mj]\ KYjlq gj ]dk]o`]j] mhgf km[` [gee]j[aYddq j]YkgfYZd] l]jek Yf\ [gf\alagfk Yk al
eYq \]]e Y\nakYZd] Yf\ Yl km[` hja[]k Yk al eYq \]]e Z]kl, ^gj [Yk` gj gf [j]\al, gj ^gj ^mlmj] \]dan]jq,
oal`gml Ykkmehlagf g^ Yfq [j]\al jakc. <fq N][mj]\ KYjlq k`Ydd `Yn] l`] ja_`l mhgf Yfq km[` hmZda[ kYd]
gj kYd]k, Yf\, lg l`] ]pl]fl h]jeall]\ Zq dYo, mhgf Yfq km[` hjanYl] kYd] gj kYd]k, lg hmj[`Yk] l`] o`gd] gj
Yfq hYjl g^ l`] >gddYl]jYd kg kgd\, ^j]] g^ Yfq ja_`l gj ]imalq g^ j]\]ehlagf af Yfq BjYflgj, o`a[` ja_`l gj
]imalq ak `]j]Zq oYan]\ Yf\ j]d]Yk]\. @Y[` BjYflgj ^mjl`]j Y_j]]k, Yl l`] >gddYl]jYd <_]flvk j]im]kl, lg
Ykk]eZd] l`] >gddYl]jYd, gj Yfq hYjl l`]j]g^, Yf\ eYc] al YnYadYZd] lg l`] >gddYl]jYd <_]fl Yl hdY[]k l`Yl
l`] >gddYl]jYd <_]fl k`Ydd j]YkgfYZdq k]d][l, o`]l`]j Yl km[` BjYflgjvk hj]eak]k gj ]dk]o`]j]. O`]
>gddYl]jYd <_]fl k`Ydd Yhhdq l`] hjg[]]\k g^ Yfq Y[lagf lYc]f Zq al hmjkmYfl lg l`ak N][lagf 6.6, Y^l]j
\]\m[laf_ Ydd j]YkgfYZd] [gklk Yf\ ]ph]fk]k g^ ]n]jq caf\ af[mjj]\ af [gff][lagf l`]j]oal` gj af[a\]flYd
lg l`] [Yj] gj kY^]c]]haf_ g^ Yfq g^ l`] >gddYl]jYd gj af Yfq oYq j]dYlaf_ lg l`] >gddYl]jYd gj l`] ja_`lk g^
l`] N][mj]\ KYjla]k `]j]mf\]j, af[dm\af_ j]YkgfYZd] Yf\ \g[me]fl]\ Yllgjf]qkv ^]]k Yf\ \akZmjk]e]flk,
lg l`] hYqe]fl af o`gd] gj af hYjl g^ l`] N][mj]\ JZda_Ylagfk af Y[[gj\Yf[] oal` N][lagf 6.5, Yf\ gfdq
Y^l]j km[` Yhhda[Ylagf Yf\ Y^l]j l`] hYqe]fl Zq l`] >gddYl]jYd <_]fl g^ Yfq gl`]j Yegmfl j]imaj]\ Zq Yfq
hjgnakagf g^ dYo, af[dm\af_ N][lagf 9-615)Y*)3* g^ l`] P>>, f]]\ l`] >gddYl]jYd <_]fl Y[[gmfl ^gj l`]
kmjhdmk, a^ Yfq, lg Yfq BjYflgj. >gddYl]jYd <_]fl k`Ydd `Yn] l`] ja_`l lg l`] Yhhgafle]fl g^ Y j][]an]j ^gj
l`] hjgh]jla]k Yf\ Ykk]lk g^ ]Y[` BjYflgj, Yf\ ]Y[` BjYflgj `]j]Zq [gfk]flk lg km[` ja_`lk Yf\ km[`
Yhhgafle]fl Yf\ `]j]Zq oYan]k Yfq gZb][lagf km[` BjYflgj eYq `Yn] l`]j]lg gj l`] ja_`l lg `Yn] Y Zgf\
gj gl`]j k][mjalq hgkl]\ Zq >gddYl]jYd <_]fl. Og l`] ]pl]fl h]jeall]\ Zq <hhda[YZd] GYo, ]Y[` BjYflgj
oYan]k Ydd [dYaek, \YeY_]k Yf\ \]eYf\k al eYq Y[imaj] Y_Yafkl Yfq N][mj]\ KYjlq Yjakaf_ gml g^ l`]
]p]j[ak] Zq l`]e g^ Yfq ja_`lk _jYfl]\ lg l`] N][mj]\ KYjla]k `]j]mf\]j. D^ Yfq fgla[] g^ Y hjghgk]\ kYd]
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gj gl`]j \akhgkalagf g^ >gddYl]jYd k`Ydd Z] j]imaj]\ Zq dYo, km[` fgla[] k`Ydd Z] \]]e]\ j]YkgfYZd] Yf\
hjgh]j a^ _an]f Yl d]Ykl l]f )10* \Yqk Z]^gj] km[` kYd] gj gl`]j \akhgkalagf. Ral`gml daealaf_ l`] ^gj]_gaf_,
l`] >gddYl]jYd <_]fl k`Ydd `Yn], af alk kgd] Yf\ YZkgdml] \ak[j]lagf Yl Yfq lae] a^ Yf @n]fl g^ ?]^Ymdl `Yk
g[[mjj]\ Yf\ ak [gflafmaf_, l`] ja_`l lg lYc] h`qka[Yd hgkk]kkagf g^ km[` Dfn]flgjq Yf\ lg eYaflYaf al gf
l`] hj]eak]k g^ l`] =gjjgo]j, af Y hmZda[ oYj]`gmk], gj Yl km[` gl`]j hdY[] Yk l`] >gddYl]jYd <_]fl eYq
\]]e YhhjghjaYl].

         6.7      NYd]k g^ Kd]\_]\ Nlg[c. )Y* @Y[` BjYflgj j][g_far]k l`Yl l`] >gddYl]jYd <_]fl eYq Z]
mfYZd] lg ]^^][l Y hmZda[ kYd] g^ Yfq gj Ydd l`] Kd]\_]\ Nlg[c, Zq j]Ykgf g^ []jlYaf hjg`aZalagfk [gflYaf]\
af l`] N][mjala]k <[l Yf\ Yhhda[YZd] klYl] k][mjala]k dYok gj gl`]joak], Yf\ eYq Z] [geh]dd]\ lg j]kgjl lg
gf] gj egj] hjanYl] kYd]k l`]j]g^ lg Y j]klja[l]\ _jgmh g^ hmj[`Yk]jk o`a[` oadd Z] gZda_]\ lg Y_j]],
Yegf_ gl`]j l`af_k, lg Y[imaj] km[` k][mjala]k ^gj l`]aj gof Y[[gmfl ^gj afn]kle]fl Yf\ fgl oal` Y na]o lg
l`] \akljaZmlagf gj j]kYd] l`]j]g^. @Y[` BjYflgj Y[cfgod]\_]k Yf\ Y_j]]k l`Yl Yfq km[` hjanYl] kYd] eYq
j]kmdl af hja[]k Yf\ gl`]j l]jek d]kk ^YngjYZd] l`Yf a^ km[` kYd] o]j] Y hmZda[ kYd] Yf\, fgloal`klYf\af_
km[` [aj[meklYf[]k, Y_j]]k l`Yl k]ddaf_ >gddYl]jYd af Y hjanYl] kYd] Yk ghhgk]\ lg Y hmZda[ kYd] k`Ydd fgl Z]
\]]e]\ lg eYc] km[` kYd] gl`]j l`Yf af Y [gee]j[aYddq j]YkgfYZd] eYff]j. O`] >gddYl]jYd <_]fl k`Ydd Z]
mf\]j fg gZda_Ylagf lg \]dYq Y kYd] g^ Yfq g^ l`] Kd]\_]\ Nlg[c ^gj l`] h]jag\ g^ lae] f][]kkYjq lg h]jeal
l`] Dkkm]j l`]j]g^ lg j]_akl]j km[` k][mjala]k ^gj hmZda[ kYd] mf\]j l`] N][mjala]k <[l, gj mf\]j Yhhda[YZd]
klYl] k][mjala]k dYok, ]n]f a^ km[` Dkkm]j ogmd\ Y_j]] lg \g kg.

                 )Z*    @Y[` BjYflgj Y_j]]k lg mk] alk [gee]j[aYddq j]YkgfYZd] ]^^gjlk lg hjgehldq \g gj
[Ymk] lg Z] \gf] Ydd km[` gl`]j Y[lk Yk eYq Z] f][]kkYjq gj Y\nakYZd] lg eYc] km[` kYd] gj kYd]k g^ Ydd gj
Yfq hgjlagf g^ l`] Kd]\_]\ Nlg[c hmjkmYfl lg l`ak N][lagf 6.7 nYda\ Yf\ Zaf\af_ Yf\ af [gehdaYf[] oal`
Yfq Yf\ Ydd gl`]j <hhda[YZd] GYok.

         6.8     DK Ga[]fk]k. Agj l`] hmjhgk] g^ ]fYZdaf_ l`] >gddYl]jYd <_]fl lg ]p]j[ak] ja_`lk Yf\
j]e]\a]k ^gddgoaf_ l`] g[[mjj]f[] Yf\ \mjaf_ l`] [gflafmYf[] g^ Yf @n]fl g^ ?]^Ymdl )af[dm\af_ af gj\]j
lg lYc] hgkk]kkagf g^, [gdd][l, j][]an], Ykk]eZd], hjg[]kk, YhhjghjaYl], j]egn], j]Ydar] mhgf, k]dd, Ykka_f,
[gfn]q, ljYfk^]j gj _jYfl ghlagfk lg hmj[`Yk] Yfq >gddYl]jYd* Yl km[` lae] Yk l`] >gddYl]jYd <_]fl k`Ydd Z]
dYo^mddq ]flald]\ lg ]p]j[ak] km[` ja_`lk Yf\ j]e]\a]k, ]Y[` BjYflgj `]j]Zq _jYflk lg >gddYl]jYd <_]fl, ^gj
l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, )a* Yf ajj]ng[YZd], fgf]p[dmkan], ogjd\oa\] da[]fk] )]p]j[akYZd]
oal`gml hYqe]fl g^ jgqYdlq gj gl`]j [geh]fkYlagf lg km[` BjYflgj*, kmZb][l, af l`] [Yk] g^ j]_akl]j]\
OjY\]eYjck, lg l`] >gddYl]jYd <_]fl eYaflYafaf_, gj [Ymkaf_ lg Z] eYaflYaf]\, l`] imYdalq g^ l`]
j]kh][lan] _gg\k Yf\ k]jna[]k Ykkg[aYl]\ oal` l`] mk] g^ l`] j]_akl]j]\ OjY\]eYjck Yl kmZklYflaYddq l`]
kYe] d]n]d eYaflYaf]\ Zq l`] BjYflgj aee]\aYl]dq hjagj lg l`] @n]fl g^ ?]^Ymdl, af[dm\af_ af km[` da[]fk]
l`] ja_`l lg kmZda[]fk], mk] Yf\ hjY[la[] Yfq Dfl]dd][lmYd Kjgh]jlq fgo gof]\ gj `]j]Y^l]j Y[imaj]\ Zq
km[` BjYflgj Yf\ Y[[]kk lg Ydd e]\aY af o`a[` Yfq g^ l`] da[]fk]\ al]ek eYq Z] j][gj\]\ gj klgj]\ Yf\ lg
Ydd kg^loYj] Yf\ hjg_jYek mk]\ ^gj l`] [gehadYlagf gj hjaflgml l`]j]g^.

         6.9     RYan]j; ?]^a[a]f[q. @Y[` BjYflgj k`Ydd j]eYaf daYZd] ^gj Yfq \]^a[a]f[q a^ l`] hjg[]]\k
g^ Yfq kYd] gj gl`]j \akhgkalagf g^ l`] >gddYl]jYd Yj] afkm^^a[a]fl lg hYq l`] N][mj]\ JZda_Ylagfk Yf\ l`]
j]YkgfYZd] Yf\ \g[me]fl]\ ^]]k Yf\ \akZmjk]e]flk g^ Yfq Yllgjf]qk ]ehdgq]\ Zq Yfq N][mj]\ KYjlq lg
[gdd][l km[` \]^a[a]f[q.

                              N@>ODJI 7.       OC@ >JGG<O@M<G <B@IO

         7.1     >gddYl]jYd <_]flvk <hhgafle]fl Yk <llgjf]q-af-AY[l, ]l[.

                )Y*      @Y[` BjYflgj `]j]Zq ajj]ng[YZdq Yhhgaflk l`] >gddYl]jYd <_]fl Yf\ Yfq g^^a[]j gj
Y_]fl l`]j]g^, oal` ^mdd hgo]j g^ kmZklalmlagf, Yk alk ljm] Yf\ dYo^md Yllgjf]q-af-^Y[l oal` ^mdd ajj]ng[YZd]

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hgo]j Yf\ Yml`gjalq af l`] hdY[] Yf\ kl]Y\ g^ km[` BjYflgj Yf\ af l`] fYe] g^ km[` BjYflgj gj af alk gof
fYe], ^gj l`] hmjhgk] g^ [Yjjqaf_ gml l`] l]jek g^ l`ak <_j]]e]fl, lg lYc] Yfq Yf\ Ydd YhhjghjaYl] Y[lagf
Yf\ lg ]p][ml] Yfq Yf\ Ydd \g[me]flk Yf\ afkljme]flk l`Yl eYq Z] f][]kkYjq gj \]kajYZd] lg Y[[gehdak`
l`] hmjhgk]k g^ l`ak <_j]]e]fl, Yf\, oal`gml daealaf_ l`] _]f]jYdalq g^ l`] ^gj]_gaf_, ]Y[` BjYflgj `]j]Zq
_an]k l`] >gddYl]jYd <_]fl l`] hgo]j Yf\ ja_`l, gf Z]`Yd^ g^ km[` BjYflgj, oal`gml fgla[] lg )mfd]kk km[`
fgla[] ak j]imaj]\ Zq l`] l]jek g^ l`ak <_j]]e]fl gj Yfq gl`]j >j]\al ?g[me]fl* gj ^mjl`]j Ykk]fl Zq km[`
BjYflgj, lg \g Yfq gj Ydd g^ l`] ^gddgoaf_, af ]Y[` [Yk] Yl l`] >gddYl]jYd <_]flvk kgd] ghlagf:

                          )a*     af l`] fYe] g^ km[` BjYflgj gj alk gof fYe], gj gl`]joak], lYc]
                 hgkk]kkagf g^ Yf\ ]f\gjk] Yf\ [gdd][l Yfq [`][ck, \jY^lk, fgl]k, Y[[]hlYf[]k gj gl`]j
                 afkljme]flk ^gj l`] hYqe]fl g^ egf]qk \m] mf\]j Yfq M][]anYZd] gj >gfljY[l gj oal`
                 j]kh][l lg Yfq gl`]j >gddYl]jYd Yf\ ^ad] Yfq [dYae gj lYc] Yfq gl`]j Y[lagf gj hjg[]]\af_
                 af Yfq [gmjl g^ dYo gj ]imalq gj gl`]joak] \]]e]\ YhhjghjaYl] Zq l`] >gddYl]jYd <_]fl ^gj
                 l`] hmjhgk] g^ [gdd][laf_ Yfq Yf\ Ydd km[` egf]qk \m] mf\]j Yfq M][]anYZd] gj >gfljY[l
                 gj oal` j]kh][l lg Yfq gl`]j >gddYl]jYd o`]f]n]j hYqYZd];

                          )aa*    af l`] [Yk] g^ Yfq Dfl]dd][lmYd Kjgh]jlq, ]p][ml] Yf\ \]dan]j, Yf\ `Yn]
                 j][gj\]\, Yfq Yf\ Ydd Y_j]]e]flk, afkljme]flk, \g[me]flk Yf\ hYh]jk Yk l`] >gddYl]jYd
                 <_]fl eYq j]YkgfYZdq j]im]kl lg ]na\]f[] l`] N][mj]\ KYjla]kv k][mjalq afl]j]kl af km[`
                 Dfl]dd][lmYd Kjgh]jlq Yf\ l`] _gg\oadd Yf\ _]f]jYd aflYf_aZd]k g^ km[` BjYflgj j]dYlaf_
                 l`]j]lg gj j]hj]k]fl]\ l`]j]Zq;

                         )aaa*    hYq gj \ak[`Yj_] lYp]k Yf\ Ga]fk d]na]\ gj hdY[]\ gf gj l`j]Yl]f]\
                 Y_Yafkl Yfq g^ l`] >gddYl]jYd, ]^^][l Yfq j]hYajk lg Yfq g^ l`] >gddYl]jYd Yf\ gZlYaf Yfq
                 afkmjYf[] [Ydd]\ ^gj Zq l`] l]jek g^ l`] >j]\al <_j]]e]fl gj Yfq gl`]j >j]\al ?g[me]fl
                 Yf\ hYq Ydd gj Yfq hYjl g^ l`] hj]eamek l`]j]^gj Yf\ l`] [gklk l`]j]g^, o`a[` Yegmflk
                 k`Ydd [gfklalml] N][mj]\ JZda_Ylagfk;

                          )an*    ]p][ml], af [gff][lagf oal` Yfq kYd] hjgna\]\ ^gj af N][lagfk 6.6 gj 6.7,
                 Yfq ]f\gjk]e]flk, Ykka_fe]flk gj gl`]j afkljme]flk g^ [gfn]qYf[] gj ljYfk^]j oal`
                 j]kh][l lg l`] >gddYl]jYd, gj Yfq hYjl l`]j]g^;

                          )n*     )1* \aj][l Yfq hYjlq daYZd] ^gj Yfq hYqe]fl mf\]j Yfq g^ l`] >gddYl]jYd lg
                 eYc] hYqe]fl g^ Yfq Yf\ Ydd egf]qk \m] gj lg Z][ge] \m] l`]j]mf\]j \aj][ldq lg l`]
                 >gddYl]jYd <_]fl gj Yk l`] >gddYl]jYd <_]fl k`Ydd \aj][l; )2* Ykc gj \]eYf\ ^gj, [gdd][l,
                 Yf\ j][]an] hYqe]fl g^ Yf\ j][]ahl ^gj, Yfq Yf\ Ydd egf]qk, [dYaek Yf\ gl`]j Yegmflk
                 \m] gj lg Z][ge] \m] Yl Yfq lae] af j]kh][l g^ gj Yjakaf_ gml g^ Yfq >gddYl]jYd; )3* ka_f
                 Yf\ ]f\gjk] Yfq afnga[]k, ^j]a_`l gj ]phj]kk Zaddk, Zaddk g^ dY\af_, klgjY_] gj oYj]`gmk]
                 j][]ahlk, \jY^lk Y_Yafkl \]Zlgjk, Ykka_fe]flk, n]ja^a[Ylagfk, fgla[]k Yf\ gl`]j \g[me]flk
                 af [gff][lagf oal` Yfq g^ l`] >gddYl]jYd; )4* [gee]f[] Yf\ hjgk][ml] Yfq kmalk, Y[lagfk
                 gj hjg[]]\af_k Yl dYo gj af ]imalq af Yfq [gmjl g^ [geh]l]fl bmjak\a[lagf lg [gdd][l l`]
                 >gddYl]jYd gj Yfq hgjlagf l`]j]g^ Yf\ lg ]f^gj[] Yfq gl`]j ja_`l af j]kh][l g^ Yfq
                 >gddYl]jYd; )5* \]^]f\ Yfq kmal, Y[lagf gj hjg[]]\af_ Zjgm_`l Y_Yafkl km[` BjYflgj oal`
                 j]kh][l lg Yfq >gddYl]jYd; )6* k]lld], [gehjgeak] gj Y\bmkl Yfq km[` kmal, Y[lagf gj
                 hjg[]]\af_ Yf\, af [gff][lagf l`]j]oal`, _an] km[` \ak[`Yj_]k gj j]d]Yk]k Yk l`]
                 >gddYl]jYd <_]fl eYq \]]e YhhjghjaYl]; )7* Ykka_f Yfq >ghqja_`l, KYl]fl gj OjY\]eYjc
                 )Ydgf_ oal` l`] _gg\oadd g^ l`] Zmkaf]kk lg o`a[` Yfq km[` >ghqja_`l, KYl]fl gj
                 OjY\]eYjc h]jlYafk*, l`jgm_`gml l`] ogjd\ ^gj km[` l]je gj l]jek, gf km[` [gf\alagfk,
                 Yf\ af km[` eYff]j, Yk l`] >gddYl]jYd <_]fl k`Ydd af alk kgd] \ak[j]lagf \]l]jeaf]; )8*
                 h]j^gje Yfq gZda_Ylagfk g^ Yfq BjYflgj mf\]j Yfq >gfljY[l; Yf\ )9* _]f]jYddq, k]dd,
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                 ljYfk^]j, hd]\_] Yf\ eYc] Yfq Y_j]]e]fl oal` j]kh][l lg gj gl`]joak] \]Yd oal` Yfq g^
                 l`] >gddYl]jYd Yk ^mddq Yf\ [gehd]l]dq Yk l`gm_` l`] >gddYl]jYd <_]fl o]j] l`] YZkgdml]
                 gof]j l`]j]g^ ^gj Ydd hmjhgk]k, Yf\ \g, Yl l`] >gddYl]jYd <_]flvk ghlagf Yf\ km[`
                 BjYflgjvk ]ph]fk], Yl Yfq lae], gj ^jge lae] lg lae], Ydd Y[lk Yf\ l`af_k o`a[` l`]
                 >gddYl]jYd <_]fl \]]ek f][]kkYjq lg hjgl][l, hj]k]jn] gj j]Ydar] mhgf l`] >gddYl]jYd Yf\
                 l`] N][mj]\ KYjla]kv k][mjalq afl]j]klk l`]j]af Yf\ lg ]^^][l l`] afl]fl g^ l`ak <_j]]e]fl,
                 Ydd Yk ^mddq Yf\ ]^^][lan]dq Yk km[` BjYflgj ea_`l \g; Yf\

                        )na*    lYc] Ydd Y[lagfk Yf\ ]p][ml] Ydd \g[me]flk af j]kh][l g^ >gfljY[lk Yf\
                 Kd]\_]\ Nlg[c [gfl]ehdYl]\ Zq N][lagfk 6.2 Yf\ 6.3.

<fql`af_ af l`ak <_j]]e]fl lg l`] [gfljYjq fgloal`klYf\af_, l`] >gddYl]jYd <_]fl Y_j]]k l`Yl al oadd fgl
]p]j[ak] Yfq ja_`lk mf\]j l`] hgo]j g^ Yllgjf]q hjgna\]\ ^gj af l`ak N][lagf 7.1 mfd]kk Yf @n]fl g^ ?]^Ymdl
k`Ydd `Yn] g[[mjj]\ Yf\ Z] [gflafmaf_ Yf\ al `Yk hjgna\]\ Yfq fgla[]k j]imaj]\ Zq l`] l]jek g^ l`ak
<_j]]e]fl gj l`] gl`]j >j]\al ?g[me]flk, af[dm\af_, oal`gml daealYlagf, fgla[]k j]imaj]\ Zq N][lagf 6.3
oal` j]kh][l lg Kd]\_]\ Nlg[c.

                )Z*     D^ Yfq BjYflgj ^Yadk lg h]j^gje gj [gehdq oal` Yfq g^ alk Y_j]]e]flk [gflYaf]\
`]j]af gj af Yfq gl`]j >j]\al ?g[me]fl, l`] >gddYl]jYd <_]fl, Yl alk ghlagf, Zml oal`gml Yfq gZda_Ylagf kg
lg \g, eYq h]j^gje gj [gehdq, gj gl`]joak] [Ymk] h]j^gjeYf[] gj [gehdaYf[], oal` km[` Y_j]]e]fl.

                  )[*     O`] ]ph]fk]k g^ l`] >gddYl]jYd <_]fl af[mjj]\ af [gff][lagf oal` Y[lagfk
mf\]jlYc]f Yk hjgna\]\ af l`ak N][lagf 7.1, lg_]l`]j oal` afl]j]kl l`]j]gf Yl Y jYl] h]j Yffme ]imYd lg l`]
`a_`]kl afl]j]kl jYl] Yhhda[YZd] lg l`] GgYfk mf\]j l`] >j]\al <_j]]e]fl, ^jge l`] \Yl] g^ hYqe]fl Zq l`]
>gddYl]jYd <_]fl lg l`] \Yl] j]aeZmjk]\ Zq l`] j]d]nYfl BjYflgj af [Yk`, k`Ydd Z] hYqYZd] Zq km[` BjYflgj
lg l`] >gddYl]jYd <_]fl gf \]eYf\.

                )\*      @Y[` BjYflgj `]j]Zq jYla^a]k Ydd l`Yl kYa\ Yllgjf]qk k`Ydd dYo^mddq \g gj [Ymk] lg
Z] \gf] Zq najlm] `]j]g^. <dd hgo]jk, Yml`gjarYlagfk Yf\ Y_]f[a]k [gflYaf]\ af l`ak <_j]]e]fl Yj]
[gmhd]\ oal` Yf afl]j]kl Yf\ Yj] ajj]ng[YZd] mflad l`ak <_j]]e]fl ak l]jeafYl]\ Yf\ l`] k][mjalq afl]j]klk
[j]Yl]\ `]j]Zq Yj] j]d]Yk]\.

                  )]*     @Y[` BjYflgj _jYflk lg l`] >gddYl]jYd <_]fl Yf DMM@QJ><=G@ KMJST, lg
ngl] Ydd gj Yfq hYjl g^ l`] Kd]\_]\ Nlg[c ^jge lae] lg lae] ^gddgoaf_ l`] g[[mjj]f[] Yf\ \mjaf_ l`]
[gflafmYf[] g^ Yf @n]fl g^ ?]^Ymdl, af ]Y[` [Yk] af Yfq eYff]j l`] >gddYl]jYd <_]fl \]]ek Y\nakYZd] af
alk kgd] \ak[j]lagf ^gj gj Y_Yafkl Yfq gj Ydd eYll]jk kmZeall]\, gj o`a[` eYq Z] kmZeall]\, lg Y ngl] g^
k`Yj]`gd\]jk )af[dm\af_ `gd\]jk g^ Yfq Dfn]kle]fl Kjgh]jlq akkm]\ Zq Yfq Dkkm]j*, hYjlf]jk gj e]eZ]jk, Yk
l`] [Yk] eYq Z], Yf\ lg ]p]j[ak] Ydd gl`]j ja_`lk, hgo]jk, hjanad]_]k Yf\ j]e]\a]k lg o`a[` Yfq km[`
k`Yj]`gd\]jk )af[dm\af_ `gd\]jk g^ Yfq Dfn]kle]fl Kjgh]jlq akkm]\ Yfq Dkkm]j*, hYjlf]jk gj e]eZ]jk
ogmd\ Z] ]flald]\ )af[dm\af_, oal`gml daealYlagf, _anaf_ gj oal``gd\af_ ojall]f [gfk]flk g^ `gd\]jk g^
Dfn]kle]fl Kjgh]jlq akkm]\ Zq Yfq Dkkm]j, [Yddaf_ kh][aYd e]]laf_k g^ l`] `gd\]jk g^ l`] Dfn]kle]fl
Kjgh]jlq akkm]\ Zq Yfq Dkkm]j Yf\ nglaf_ Yl km[` e]]laf_k*. O`] ajj]ng[YZd] hjgpq _jYfl]\ `]j]Zq k`Ydd
Z] ]^^][lan] YmlgeYla[Yddq mhgf l`] g[[mjj]f[] g^ Yf @n]fl g^ ?]^Ymdl oal`gml l`] f][]kkalq l`Yl Yfq
Y[lagf )af[dm\af_, oal`gml daealYlagf, l`Yl Yfq ljYfk^]j g^ Yfq g^ l`] Kd]\_]\ Nlg[c Z] j][gj\]\ gf l`]
Zggck Yf\ j][gj\k g^ l`] j]d]nYfl >j]\al KYjlq* Z] lYc]f Zq Yfq K]jkgf )af[dm\af_ l`] j]d]nYfl >j]\al
KYjlq g^ Yfq Kd]\_]\ Nlg[c gj Yfq g^^a[]j gj Y_]fl l`]j]g^*, k`Ydd Z] [gmhd]\ oal` Yf afl]j]kl Yf\ k`Ydd Z]
ajj]ng[YZd], k`Ydd kmjnan] l`] ZYfcjmhl[q, \akkgdmlagf gj oaf\af_ mh g^ Yfq j]d]nYfl BjYflgj, Yf\ k`Ydd
l]jeafYl] gfdq gf l`] O]jeafYlagf ?Yl].



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         7.2     ?mlq g^ >gddYl]jYd <_]fl. O`] >gddYl]jYd <_]flvk kgd] \mlq oal` j]kh][l lg l`] [mklg\q,
kY^]c]]haf_ Yf\ h`qka[Yd hj]k]jnYlagf g^ l`] >gddYl]jYd af alk hgkk]kkagf, mf\]j N][lagf 9-207 g^ l`] P>>
gj gl`]joak], k`Ydd Z] lg \]Yd oal` al af l`] kYe] eYff]j Yk l`] >gddYl]jYd <_]fl \]Ydk oal` kaeadYj
hjgh]jlq ^gj alk gof Y[[gmfl. Ig N][mj]\ KYjlq fgj Yfq g^ l`]aj j]kh][lan] g^^a[]jk, \aj][lgjk, ]ehdgq]]k
gj Y_]flk k`Ydd Z] daYZd] ^gj ^Yadmj] lg \]eYf\, [gdd][l gj j]Ydar] mhgf Yfq g^ l`] >gddYl]jYd gj ^gj Yfq
\]dYq af \gaf_ kg gj k`Ydd Z] mf\]j Yfq gZda_Ylagf lg k]dd gj gl`]joak] \akhgk] g^ Yfq >gddYl]jYd mhgf l`]
j]im]kl g^ Yfq BjYflgj gj Yfq gl`]j K]jkgf gj lg lYc] Yfq gl`]j Y[lagf o`Ylkg]n]j oal` j]_Yj\ lg l`]
>gddYl]jYd gj Yfq hYjl l`]j]g^. O`] hgo]jk [gf^]jj]\ gf l`] N][mj]\ KYjla]k `]j]mf\]j Yj] kgd]dq lg
hjgl][l l`] N][mj]\ KYjla]kv afl]j]klk af l`] >gddYl]jYd Yf\ k`Ydd fgl aehgk] Yfq \mlq mhgf Yfq N][mj]\
KYjlq lg ]p]j[ak] Yfq km[` hgo]jk. O`] N][mj]\ KYjla]k k`Ydd Z] Y[[gmflYZd] gfdq ^gj Yegmflk l`Yl l`]q
Y[lmYddq j][]an] Yk Y j]kmdl g^ l`] ]p]j[ak] g^ km[` hgo]jk, Yf\ f]al`]j l`]q fgj Yfq g^ l`]aj g^^a[]jk,
\aj][lgjk, ]ehdgq]]k gj Y_]flk k`Ydd Z] j]khgfkaZd] lg Yfq BjYflgj ^gj Yfq Y[l gj ^Yadmj] lg Y[l `]j]mf\]j,
]p[]hl ^gj l`]aj gof _jgkk f]_da_]f[] gj oadd^md eak[gf\m[l.

        7.3      AafYf[af_ NlYl]e]flk. KmjkmYfl lg Yfq <hhda[YZd] GYo, ]Y[` BjYflgj Yml`gjar]k l`]
>gddYl]jYd <_]fl lg ^ad] gj j][gj\ ^afYf[af_ klYl]e]flk Yf\ gl`]j ^adaf_ gj j][gj\af_ \g[me]flk gj
afkljme]flk oal` j]kh][l lg l`] >gddYl]jYd, oal`gml l`] ka_fYlmj] g^ km[` BjYflgj, af km[` ^gje )a^ fg
ka_fYlmj] ak j]imaj]\* Yf\ af km[` g^^a[]k Yk l`] >gddYl]jYd <_]fl \]l]jeaf]k YhhjghjaYl] lg h]j^][l l`]
k][mjalq afl]j]klk g^ l`] >gddYl]jYd <_]fl mf\]j l`ak <_j]]e]fl. @Y[` BjYflgj Yml`gjar]k l`] >gddYl]jYd
<_]fl lg mk] l`] [gddYl]jYd \]k[jahlagf tYdd h]jkgfYd hjgh]jlqu, tYdd Ykk]lku gj ogj\k g^ kaeadYj ]^^][l,
j]_Yj\d]kk g^ o`]l`]j Yfq hYjla[mdYj Ykk]l [gehjak]\ af l`] >gddYl]jYd ^Yddk oal`af l`] k[gh] g^ <jla[d] 9 g^
l`] P>> gj l`] Pfa^gje >gee]j[aYd >g\] g^ Yfq gl`]j Yhhda[YZd] klYl], af Yfq km[` ^afYf[af_
klYl]e]flk.

         7.4     <ml`gjalq g^ >gddYl]jYd <_]fl. @Y[` BjYflgj Y[cfgod]\_]k l`Yl l`] ja_`lk Yf\
j]khgfkaZadala]k g^ l`] >gddYl]jYd <_]fl mf\]j l`ak <_j]]e]fl oal` j]kh][l lg Yfq Y[lagf lYc]f Zq l`]
>gddYl]jYd <_]fl gj l`] ]p]j[ak] gj fgf-]p]j[ak] Zq l`] >gddYl]jYd <_]fl g^ Yfq ghlagf, nglaf_ ja_`l,
j]im]kl, bm\_e]fl gj gl`]j ja_`l gj j]e]\q hjgna\]\ ^gj `]j]af gj j]kmdlaf_ gj Yjakaf_ gml g^ l`ak
<_j]]e]fl k`Ydd, Yk Z]lo]]f l`] N][mj]\ KYjla]k, Z] _gn]jf]\ Zq l`] >j]\al <_j]]e]fl Yf\ Zq km[` gl`]j
Y_j]]e]flk oal` j]kh][l l`]j]lg Yk eYq ]pakl ^jge lae] lg lae] Yegf_ l`]e, Zml, Yk Z]lo]]f l`]
>gddYl]jYd <_]fl Yf\ l`] BjYflgjk, l`] >gddYl]jYd <_]fl k`Ydd Z] [gf[dmkan]dq hj]kme]\ lg Z] Y[laf_ Yk
Y_]fl ^gj l`] N][mj]\ KYjla]k oal` ^mdd Yf\ nYda\ Yml`gjalq kg lg Y[l gj j]^jYaf ^jge Y[laf_, Yf\ fg BjYflgj
k`Ydd Z] mf\]j Yfq gZda_Ylagf, gj ]flald]e]fl, lg eYc] Yfq afimajq j]kh][laf_ km[` Yml`gjalq.

        7.5     >gddYl]jYd HYll]jk. <k Z]lo]]f l`] >gddYl]jYd <_]fl Yf\ l`] N][mj]\ KYjla]k, ]p[]hl Yk
gl`]joak] k]l ^gjl` `]j]af, Yfq Y[lagf gj ]p]j[ak] g^ hgo]jk Zq l`] >gddYl]jYd <_]fl hjgna\]\ mf\]j l`]
>j]\al ?g[me]flk, lg_]l`]j oal` km[` gl`]j hgo]jk Yk Yj] j]YkgfYZdq af[a\]flYd l`]j]lg, k`Ydd Z] \]]e]\
Yml`gjar]\ Zq Yf\ Zaf\af_ mhgf Ydd g^ l`] N][mj]\ KYjla]k. <l Yfq lae] Yf\ oal`gml fgla[] lg gj [gfk]fl
^jge Yfq N][mj]\ KYjlq, l`] >gddYl]jYd <_]fl eYq lYc] Yfq Y[lagf f][]kkYjq gj Y\nakYZd] lg h]j^][l Yf\
eYaflYaf l`] h]j^][lagf g^ l`] Ga]fk mhgf l`] >gddYl]jYd.

                                   N@>ODJI 8.       HDN>@GG<I@JPN

        8.1   <e]f\e]flk af Rjalaf_. Igf] g^ l`] l]jek gj hjgnakagfk g^ l`ak <_j]]e]fl eYq Z]
oYan]\, Ye]f\]\, kmhhd]e]fl]\ gj gl`]joak] eg\a^a]\ ]p[]hl af Y[[gj\Yf[] oal` N][lagf 12.01 g^ l`]
>j]\al <_j]]e]fl.

        8.2    Igla[]k. <dd fgla[]k, j]im]klk Yf\ \]eYf\k lg gj mhgf l`] >gddYl]jYd <_]fl gj Yfq
BjYflgj `]j]mf\]j k`Ydd Z] ]^^][l]\ af l`] eYff]j hjgna\]\ ^gj af N][lagf 12.02 g^ l`] >j]\al <_j]]e]fl.


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         8.3    Ig RYan]j Zq >gmjk] g^ >gf\m[l; >memdYlan] M]e]\a]k. Ig N][mj]\ KYjlq k`Ydd Zq Yfq
Y[l )]p[]hl Zq Y ojall]f afkljme]fl hmjkmYfl lg N][lagf 8.1*, \]dYq, af\md_]f[], geakkagf gj gl`]joak] Z]
\]]e]\ lg `Yn] oYan]\ Yfq ja_`l gj j]e]\q `]j]mf\]j gj lg `Yn] Y[ima]k[]\ af Yfq ?]^Ymdl gj @n]fl g^
?]^Ymdl. Ig ^Yadmj] lg ]p]j[ak], fgj Yfq \]dYq af ]p]j[akaf_, gf l`] hYjl g^ Yfq N][mj]\ KYjlq, Yfq ja_`l,
hgo]j gj hjanad]_] `]j]mf\]j k`Ydd gh]jYl] Yk Y oYan]j l`]j]g^. Ig kaf_d] gj hYjlaYd ]p]j[ak] g^ Yfq ja_`l,
hgo]j gj hjanad]_] `]j]mf\]j k`Ydd hj][dm\] Yfq gl`]j gj ^mjl`]j ]p]j[ak] l`]j]g^ gj l`] ]p]j[ak] g^ Yfq
gl`]j ja_`l, hgo]j gj hjanad]_]. < oYan]j Zq Yfq N][mj]\ KYjlq g^ Yfq ja_`l gj j]e]\q `]j]mf\]j gf Yfq
gf] g[[Ykagf k`Ydd fgl Z] [gfkljm]\ Yk Y ZYj lg Yfq ja_`l gj j]e]\q o`a[` km[` N][mj]\ KYjlq ogmd\
gl`]joak] `Yn] gf Yfq ^mlmj] g[[Ykagf. O`] ja_`lk Yf\ j]e]\a]k `]j]af hjgna\]\ Yj] [memdYlan], eYq Z]
]p]j[ak]\ kaf_dq gj [gf[mjj]fldq Yf\ Yj] fgl ]p[dmkan] g^ Yfq gl`]j ja_`lk gj j]e]\a]k hjgna\]\ Zq dYo.

          8.4     Nm[[]kkgjk Yf\ <kka_fk. O`ak <_j]]e]fl k`Ydd Z] Zaf\af_ mhgf l`] km[[]kkgjk Yf\
Ykka_fk g^ ]Y[` BjYflgj Yf\ k`Ydd afmj] lg l`] Z]f]^al g^ l`] >gddYl]jYd <_]fl Yf\ l`] gl`]j N][mj]\ KYjla]k
Yf\ l`]aj h]jeall]\ km[[]kkgjk Yf\ Ykka_fk; hjgna\]\, l`Yl fg BjYflgj eYq Ykka_f, ljYfk^]j gj \]d]_Yl] Yfq
g^ alk ja_`lk gj gZda_Ylagfk mf\]j l`ak <_j]]e]fl oal`gml l`] hjagj ojall]f [gfk]fl g^ l`] >gddYl]jYd <_]fl.

         8.5      N]l-J^^. @Y[` BjYflgj `]j]Zq ajj]ng[YZdq Yml`gjar]k l`] <_]flk Yf\ ]Y[` N][mj]\ KYjlq
Yl Yfq lae] Yf\ ^jge lae] lg lae] Y^l]j l`] g[[mjj]f[] Yf\ \mjaf_ l`] [gflafmYf[] g^ Yf @n]fl g^ ?]^Ymdl,
mhgf Yfq Yegmfl Z][geaf_ \m] Yf\ hYqYZd] Zq km[` BjYflgj `]j]mf\]j gj mf\]j Yfq gl`]j >j]\al
?g[me]fl )o`]l`]j Yl l`] klYl]\ eYlmjalq, Zq Y[[]d]jYlagf gj gl`]joak]*, lg k]l-g^^ Yf\ YhhjghjaYl] Yf\
Yhhdq Y_Yafkl km[` Yegmfl Yfq Yf\ Ydd \]hgkalk )_]f]jYd gj kh][aYd, lae] gj \]eYf\, hjgnakagfYd gj ^afYd*,
af Yfq [mjj]f[q, Yf\ Yfq gl`]j [j]\alk, af\]Zl]\f]kk gj [dYaek, af Yfq [mjj]f[q, af ]Y[` [Yk] o`]l`]j
\aj][l gj af\aj][l, YZkgdml] gj [gflaf_]fl, eYlmj]\ gj mfeYlmj]\, Yl Yfq lae] `]d\ gj goaf_ Zq km[`
N][mj]\ KYjlq lg gj ^gj l`] [j]\al gj l`] Y[[gmfl g^ km[` BjYflgj, gj Yfq hYjl l`]j]g^ af km[` Yegmflk Yk
km[` <_]fl gj km[` N][mj]\ KYjlq eYq ]d][l, Y_Yafkl Yf\ gf Y[[gmfl g^ l`] gZda_Ylagfk Yf\ daYZadala]k g^
km[` BjYflgj lg km[` <_]fl gj km[` N][mj]\ KYjlq `]j]mf\]j Yf\ [dYaek g^ ]n]jq fYlmj] Yf\ \]k[jahlagf
g^ km[` <_]fl gj km[` N][mj]\ KYjlq Y_Yafkl km[` BjYflgj, af Yfq [mjj]f[q, o`]l`]j Yjakaf_ `]j]mf\]j,
mf\]j l`] >j]\al <_j]]e]fl, Yfq gl`]j >j]\al ?g[me]fl gj gl`]joak], Yk km[` <_]fl gj km[` N][mj]\
KYjlq eYq ]d][l, o`]l`]j gj fgl Yfq N][mj]\ KYjlq `Yk eY\] Yfq \]eYf\ ^gj hYqe]fl Yf\ Ydl`gm_` km[`
gZda_Ylagfk, daYZadala]k Yf\ [dYaek eYq Z] [gflaf_]fl gj mfeYlmj]\. @Y[` N][mj]\ KYjlq, gj >gddYl]jYd
<_]fl gf l`]aj Z]`Yd^, k`Ydd fgla^q km[` BjYflgj hjgehldq g^ Yfq km[` k]l-g^^ Yf\ l`] Yhhda[Ylagf eY\] Zq
km[` N][mj]\ KYjlq g^ l`] hjg[]]\k l`]j]g^; hjgna\]\, l`Yl l`] ^Yadmj] lg _an] km[` fgla[] k`Ydd fgl Y^^][l
l`] nYda\alq g^ km[` k]l-g^^ Yf\ Yhhda[Ylagf. O`] ja_`lk g^ ]Y[` N][mj]\ KYjlq mf\]j l`ak N][lagf 8.5 Yj] af
Y\\alagf lg gl`]j ja_`lk Yf\ j]e]\a]k )af[dm\af_ gl`]j ja_`lk g^ k]l-g^^* l`Yl km[` N][mj]\ KYjlq eYq `Yn]
Yf\ Yj] kmZb][l lg Yfq Yhhda[YZd] daealYlagfk k]l ^gjl` af l`] >j]\al <_j]]e]fl.

        8.6     >gmfl]jhYjlk. O`ak <_j]]e]fl eYq Z] ]p][ml]\ Zq gf] gj egj] g^ l`] hYjla]k lg l`ak
<_j]]e]fl gf Yfq fmeZ]j g^ k]hYjYl] [gmfl]jhYjlk )af[dm\af_ Zq l]d][ghq*, Yf\ Ydd g^ kYa\ [gmfl]jhYjlk
lYc]f lg_]l`]j k`Ydd Z] \]]e]\ lg [gfklalml] gf] Yf\ l`] kYe] afkljme]fl.

         8.7     N]n]jYZadalq. <fq hjgnakagf g^ l`ak <_j]]e]fl l`Yl ak hjg`aZal]\ gj mf]f^gj[]YZd] af Yfq
bmjak\a[lagf k`Ydd, Yk lg km[` bmjak\a[lagf, Z] af]^^][lan] lg l`] ]pl]fl g^ km[` hjg`aZalagf gj
mf]f^gj[]YZadalq oal`gml afnYda\Ylaf_ l`] j]eYafaf_ hjgnakagfk `]j]g^, Yf\ Yfq km[` hjg`aZalagf gj
mf]f^gj[]YZadalq af Yfq bmjak\a[lagf k`Ydd fgl afnYda\Yl] gj j]f\]j mf]f^gj[]YZd] km[` hjgnakagf af Yfq
gl`]j bmjak\a[lagf.

         8.8     N][lagf C]Y\af_k. O`] N][lagf `]Y\af_k mk]\ af l`ak <_j]]e]fl Yj] ^gj [gfn]fa]f[] g^
j]^]j]f[] gfdq Yf\ Yj] fgl lg Y^^][l l`] [gfkljm[lagf `]j]g^ gj Z] lYc]f aflg [gfka\]jYlagf af l`]
afl]jhj]lYlagf `]j]g^.


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        8.9     Dfl]_jYlagf. O`ak <_j]]e]fl Yf\ l`] gl`]j >j]\al ?g[me]flk j]hj]k]fl l`] ]flaj]
Y_j]]e]fl g^ l`] BjYflgjk Yf\ l`] N][mj]\ KYjla]k oal` j]kh][l lg l`] kmZb][l eYll]j `]j]g^ Yf\ l`]j]g^,
Yf\ l`]j] Yj] fg hjgeak]k, mf\]jlYcaf_k, j]hj]k]flYlagfk gj oYjjYfla]k Zq Yfq hYjlq `]j]lg j]dYlan] lg l`]
kmZb][l eYll]j `]j]g^ Yf\ l`]j]g^ fgl ]phj]kkdq k]l ^gjl` gj j]^]jj]\ lg `]j]af gj af l`] gl`]j >j]\al
?g[me]flk.

      8.10 ;CJ9FB=B; @5K.      H<=G 5;F99A9BH 5B8 H<9 F=;<HG 5B8
C6@=;5H=CBG C: H<9 D5FH=9G <9F9IB89F $=B7@I8=B; 5BM 7@5=AG GCIB8=B; =B
7CBHF57H @5K CF HCFH @5K 5F=G=B; CIH C: H<9 GI6>97H A5HH9F <9F9C:
5B8 5BM 89H9FA=B5H=CBG K=H< F9GD97H HC DCGH( >I8;A9BH =BH9F9GH%G<5@@
69 ;CJ9FB98 6M' 5B8 G<5@@ 69 7CBGHFI98 5B8 9B:CF798 =B 577CF85B79
K=H<' H<9 @5KG C: H<9 GH5H9 C: B9K MCF? 5B8 $HC H<9 9LH9BH 5DD@=756@9%
H<9 65B?FIDH7M 7C89 K=H<CIH F9;5F8 HC 7CB:@=7H C: @5KG DF=B7=D@9G
H<9F9C: H<5H KCI@8 F9GI@H =B H<9 5DD@=75H=CB C: 5BM @5K CH<9F H<5B
H<9 @5K C: H<9 GH5H9 C: B9K MCF? CF $HC H<9 9LH9BH 5DD@=756@9% H<9
65B?FIDH7M 7C89)

     8.11 GI6A=GG=CB HC >IF=G8=7H=CB3 K5=J9FG. 957< ;F5BHCF <9F96M
=FF9JC756@M 5B8 IB7CB8=H=CB5@@M2

           )Y*   GI6A=HG' :CF =HG9@: 5B8 =HG DFCD9FHM' HC H<9 9L7@IG=J9
>IF=G8=7H=CB C: H<9 GIDF9A9 7CIFH C: H<9 GH5H9 C: B9K MCF? G=HH=B; =B
B9K MCF? 7CIBHM 5B8 C: H<9 IB=H98 GH5H9G 8=GHF=7H 7CIFH C: H<9
GCIH<9FB 8=GHF=7H C: B9K MCF?' 5B8 5BM 5DD9@@5H9 7CIFH :FCA 5BM
H<9F9C:' =B 5BM 57H=CB CF DFC7998=B; 5F=G=B; CIH C: CF F9@5H=B; HC 5BM
7F98=H 8C7IA9BH' CF :CF F97C;B=H=CB CF 9B:CF79A9BH C: 5BM >I8;A9BH'
5B8 957< C: H<9 D5FH=9G <9F9HC <9F96M =FF9JC756@M 5B8
IB7CB8=H=CB5@@M 5;F99G H<5H 5@@ 7@5=AG =B F9GD97H C: 5BM GI7< 57H=CB
CF DFC7998=B; A5M 69 <95F8 5B8 89H9FA=B98 =B GI7< B9K MCF? GH5H9
7CIFH CF' HC H<9 9LH9BH D9FA=HH98 6M 5DD@=756@9 @5KG' =B GI7< :989F5@
7CIFH) 957< C: H<9 D5FH=9G <9F9HC 5;F99G H<5H 5 :=B5@ >I8;A9BH =B 5BM
GI7< 57H=CB CF DFC7998=B; G<5@@ 69 7CB7@IG=J9 5B8 A5M 69 9B:CF798 =B
CH<9F >IF=G8=7H=CBG 6M GI=H CB H<9 >I8;A9BH CF =B 5BM CH<9F A5BB9F
DFCJ=898 6M @5K) BCH<=B; =B H<=G 5;F99A9BH CF 5BM CH<9F 7F98=H
8C7IA9BH CF CH<9FK=G9 G<5@@ 5::97H 5BM F=;<H H<5H H<9 7C@@5H9F5@
5;9BH' H<9 58A=B=GHF5H=J9 5;9BH CF 5BM @9B89F CF CH<9F G97IF98 D5FHM
A5M CH<9FK=G9 <5J9 HC 6F=B; 5BM 57H=CB CF DFC7998=B; F9@5H=B; HC
H<=G 5;F99A9BH CF 5BM CH<9F 7F98=H 8C7IA9BH 5;5=BGH 5BM ;F5BHCFCF
=HG DFCD9FH=9G =B H<9 7CIFHG C: 5BM >IF=G8=7H=CB CH<9F H<5B H<9GH5H9
C: B9K MCF? HC H<9 9LH9BH H<9 @5KG C: GI7< CH<9F >IF=G8=7H=CB ;CJ9FB
H<9 D9F:97H=CB C: H<9 G97IF=HM =BH9F9GH =B' CF H<9=F F9A98=9G K=H<
F9GD97H HC' 5BM 7C@@5H9F5@3

           )Z*  7CBG9BHG H<5H 5BM GI7< 57H=CB CF DFC7998=B; G<5@@ 69
6FCI;<H =B GI7< 7CIFHG' 5B8 5;F99G BCH HC D@958 CF 7@5=A 5B8 K5=J9G'
HC H<9 :I@@9GH 9LH9BH D9FA=HH98 6M 5DD@=756@9 @5KG' 5BM C6>97H=CB
H<5H =H A5M BCK CF <9F95:H9F <5J9 HC H<9 J9BI9 C: 5BM GI7< 57H=CB CF
DFC7998=B; 5F=G=B; CIH C: CF F9@5H=B; HC H<=G 5;F99A9BH CF 5BM CH<9F
7F98=H 8C7IA9BH =B 5BM 7CIFH F9:9FF98 HC =B G97H=CB 1),,$5%) 957< C: H<9
D5FH=9G <9F9HC <9F96M =FF9JC756@M K5=J9G' HC H<9 :I@@9GH 9LH9BH
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D9FA=HH98 6M 5DD@=756@9 @5KG' H<9 89:9BG9 C: 5B =B7CBJ9B=9BH :CFIA HC
H<9 A5=BH9B5B79 C: GI7< 57H=CB CF DFC7998=B; =B 5BM GI7< 7CIFH3

          )[*   7CBG9BHG HC G9FJ=79 C: DFC79GG =B 5BM 57H=CB CF
DFC7998=B; 5F=G=B; CIH C: CF F9@5H=B; HC 5BM 7F98=H 8C7IA9BH' =B H<9
A5BB9F DFCJ=898 =B G97H=CB ,-),.$S% C: H<9 7F98=H 5;F99A9BH) BCH<=B; =B
H<=G 5;F99A9BH CF 5BM CH<9F 7F98=H 8C7IA9BH K=@@ 5::97H H<9 F=;<H C:
5BM D5FHM HC H<=G 5;F99A9BH HC G9FJ9 DFC79GG =B 5BM CH<9F A5BB9F
D9FA=HH98 6M 5DD@=756@9 @5KG3

          )\*   K5=J9G HF=5@ 6M >IFM =B 5BM @9;5@ 57H=CB CF DFC7998=B;
F9@5H=B; HC H<=G 5;F99A9BH CF 5BM CH<9F 7F98=H 8C7IA9BH 5B8 :CF5BM
7CIBH9F7@5=A H<9F9=B3 5B8

           )]*  K5=J9G' HC H<9 A5L=AIA 9LH9BH BCH DFC<=6=H98 6M @5K'
5BM F=;<H =H A5M <5J9 HC 7@5=A CF F97CJ9F =B 5BM @9;5@ 57H=CB CF
DFC7998=B; F9:9FF98 HC =B H<=G G97H=CB 1),, 5BM GD97=5@' 9L9AD@5FM'
DIB=H=J9 CF 7CBG9EI9BH=5@ 85A5;9G)

         8.12     <[cfgod]\_]e]flk. @Y[` hYjlq `]j]lg `]j]Zq Y[cfgod]\_]k l`Yl:

                 )Y*      al `Yk Z]]f Y\nak]\ Zq [gmfk]d af l`] f]_glaYlagf, ]p][mlagf Yf\ \]dan]jq g^ l`ak
<_j]]e]fl Yf\ l`] gl`]j >j]\al ?g[me]flk lg o`a[` al ak Y hYjlq, Yf\ l`Yl Yfq jmd] g^ [gfkljm[lagf lg l`]
]^^][l l`Yl YeZa_mala]k Yj] lg Z] j]kgdn]\ Y_Yafkl l`] \jY^laf_ hYjlq k`Ydd fgl Z] ]ehdgq]\ af l`]
afl]jhj]lYlagf `]j]g^ gj l`]j]g^;

                )Z*     fg N][mj]\ KYjlq `Yk Yfq ^a\m[aYjq j]dYlagfk`ah oal` gj \mlq lg Yfq BjYflgj
Yjakaf_ gml g^ gj af [gff][lagf oal` l`ak <_j]]e]fl gj Yfq g^ l`] gl`]j >j]\al ?g[me]flk, Yf\ l`]
j]dYlagfk`ah Z]lo]]f l`] BjYflgjk, gf l`] gf] `Yf\, Yf\ l`] N][mj]\ KYjla]k, gf l`] gl`]j `Yf\, af
[gff][lagf `]j]oal` gj l`]j]oal` ak kgd]dq l`Yl g^ \]Zlgj Yf\ [j]\algj; Yf\

                 )[*       fg bgafl n]flmj] ak [j]Yl]\ `]j]Zq gj Zq l`] gl`]j >j]\al ?g[me]flk gj gl`]joak]
]paklk Zq najlm] g^ l`] ljYfkY[lagfk [gfl]ehdYl]\ `]j]Zq Yegf_ l`] N][mj]\ KYjla]k gj Yegf_ l`] BjYflgjk
Yf\ l`] N][mj]\ KYjla]k.

        8.13    <\\alagfYd BjYflgjk. @Y[` NmZka\aYjq g^ Yfq >j]\al KYjlq l`Yl ak j]imaj]\ lg Z][ge] Y
hYjlq lg l`ak <_j]]e]fl hmjkmYfl lg N][lagf 8.10 g^ l`] >j]\al <_j]]e]fl k`Ydd Z][ge] Y BjYflgj ^gj Ydd
hmjhgk]k g^ l`ak <_j]]e]fl mhgf ]p][mlagf Yf\ \]dan]jq Zq km[` NmZka\aYjq g^ Yf <kkmehlagf
<_j]]e]fl af l`] ^gje g^ <ff]p D `]j]lg.

         8.14     M]d]Yk]k g^ Ga]fk.

                 )Y*      Igloal`klYf\af_ Yfql`af_ lg l`] [gfljYjq [gflYaf]\ `]j]af gj af Yfq gl`]j >j]\al
?g[me]fl, l`] >gddYl]jYd <_]fl ak `]j]Zq ajj]ng[YZdq Yml`gjar]\ Zq ]Y[` N][mj]\ KYjlq )oal`gml
j]imaj]e]fl g^ fgla[] lg gj [gfk]fl g^ Yfq N][mj]\ KYjlq ]p[]hl Yk ]phj]kkdq j]imaj]\ Zq N][lagf 12.01 g^
l`] >j]\al <_j]]e]fl* lg lYc] Yfq Y[lagf j]im]kl]\ Zq l`] BjYflgj `Ynaf_ l`] ]^^][l g^ j]d]Ykaf_ Yfq
>gddYl]jYd )a* lg l`] ]pl]fl f][]kkYjq lg h]jeal [gfkmeeYlagf g^ Yfq ljYfkY[lagf fgl hjg`aZal]\ Zq Yfq
>j]\al ?g[me]fl gj l`Yl `Yk Z]]f [gfk]fl]\ lg af Y[[gj\Yf[] oal` N][lagf 12.01 g^ l`] >j]\al
<_j]]e]fl, gj )aa* mf\]j l`] [aj[meklYf[]k \]k[jaZ]\ af hYjY_jYh` )Z* Z]dgo.


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                 )Z*     Jf l`] O]jeafYlagf ?Yl], l`] >gddYl]jYd k`Ydd Z] j]d]Yk]\ ^jge l`] Ga]fk [j]Yl]\
Zq l`ak <_j]]e]fl Yf\ l`] gl`]j N][mjalq ?g[me]flk, Yf\ l`ak <_j]]e]fl Yf\ l`] gl`]j N][mjalq
?g[me]flk Yf\ Ydd gZda_Ylagfk )gl`]j l`Yf l`gk] ]phj]kkdq klYl]\ lg kmjnan] km[` l]jeafYlagf* g^ l`]
>gddYl]jYd <_]fl Yf\ ]Y[` >j]\al KYjlq mf\]j l`ak <_j]]e]fl Yf\ l`] gl`]j N][mjalq ?g[me]flk k`Ydd
l]jeafYl], Ydd oal`gml \]dan]jq g^ Yfq afkljme]fl gj h]j^gjeYf[] g^ Yfq Y[l Zq Yfq K]jkgf.

                )[*      Phgf j]im]kl Zq l`] >gddYl]jYd <_]fl Yl Yfq lae], l`] M]imaj]\ G]f\]jk oadd
[gf^aje af ojalaf_ l`] >gddYl]jYd <_]flvk Yml`gjalq lg j]d]Yk] alk afl]j]kl af hYjla[mdYj lqh]k gj al]ek g^
hjgh]jlq hmjkmYfl lg l`ak N][lagf 8.14. Df ]Y[` [Yk] Yk kh][a^a]\ af l`ak N][lagf 8.14, l`] >gddYl]jYd <_]fl
oadd )Yf\ ]Y[` G]f\]j ajj]ng[YZdq Yml`gjar]k l`] >gddYl]jYd <_]fl lg*, Yl l`] >j]\al KYjla]kv ]ph]fk],
]p][ml] Yf\ \]dan]j lg l`] Yhhda[YZd] >j]\al KYjlq km[` \g[me]flk Yk km[` >j]\al KYjlq eYq j]YkgfYZdq
j]im]kl lg ]na\]f[] l`] j]d]Yk] g^ km[` al]e g^ >gddYl]jYd ^jge l`] Ykka_fe]fl Yf\ k][mjalq afl]j]kl
_jYfl]\ mf\]j l`ak <_j]]e]fl Yf\ l`] gl`]j N][mjalq ?g[me]flk, af ]Y[` [Yk] af Y[[gj\Yf[] oal` l`]
l]jek g^ l`] >j]\al ?g[me]flk Yf\ l`ak N][lagf 8.14.

          8.15    NmZgj\afYlagf. Igloal`klYf\af_ Yfq hjgnakagf g^ l`ak <_j]]e]fl lg l`] [gfljYjq, Yf\
]p[]hl Yk gl`]joak] hjgna\]\ Zq <hhda[YZd] GYo, Ydd ja_`lk g^ l`] BjYflgjk lg af\]efalq, [gfljaZmlagf gj
kmZjg_Ylagf mf\]j <hhda[YZd] GYo gj gl`]joak] k`Ydd Z] ^mddq kmZgj\afYl]\ lg l`] hYqe]fl af ^mdd af [Yk`
g^ l`] N][mj]\ JZda_Ylagfk )gl`]j l`Yf [gflaf_]fl af\]efa^a[Ylagf gZda_Ylagfk ^gj o`a[` fg mf\]jdqaf_
[dYae `Yk Z]]f Ykk]jl]\*. Ig ^Yadmj] gf l`] hYjl g^ l`] =gjjgo]j gj Yfq gl`]j BjYflgj lg eYc] l`]
hYqe]flk j]imaj]\ mf\]j <hhda[YZd] GYo gj gl`]joak] k`Ydd af Yfq j]kh][l daeal l`] gZda_Ylagfk Yf\
daYZadala]k g^ Yfq BjYflgj oal` j]kh][l lg alk gZda_Ylagfk `]j]mf\]j, Yf\ ]Y[` BjYflgj k`Ydd j]eYaf daYZd]
^gj l`] ^mdd Yegmfl g^ l`] gZda_Ylagfk g^ km[` BjYflgj `]j]mf\]j. @Y[` BjYflgj `]j]Zq Y_j]]k l`Yl Ydd
Df\]Zl]\f]kk go]\ lg al Zq Yfq gl`]j BjYflgj k`Ydd Z] ^mddq kmZgj\afYl]\ lg l`] hYqe]fl af ^mdd af [Yk` g^
l`] N][mj]\ JZda_Ylagfk )gl`]j l`Yf [gflaf_]fl af\]efa^a[Ylagf gZda_Ylagfk ^gj o`a[` fg mf\]jdqaf_ [dYae
`Yk Z]]f Ykk]jl]\*.

        8.16    HYjk`Ydaf_. I]al`]j l`] <_]flk fgj Yfq gl`]j N][mj]\ KYjlq k`Ydd Z] j]imaj]\ lg eYjk`Yd
Yfq hj]k]fl gj ^mlmj] [gddYl]jYd k][mjalq )af[dm\af_ Zml fgl daeal]\ lg l`] >gddYl]jYd* ^gj, gj gl`]j
YkkmjYf[]k g^ hYqe]fl g^, l`] JZda_Ylagfk gj Yfq g^ l`]e gj lg j]kgjl lg km[` [gddYl]jYd k][mjalq gj gl`]j
YkkmjYf[]k g^ hYqe]fl af Yfq hYjla[mdYj gj\]j, Yf\ Ydd g^ l`] ja_`lk Yf\ j]e]\a]k g^ l`] N][mj]\ KYjla]k
`]j]mf\]j Yf\ g^ l`] N][mj]\ KYjla]k af j]kh][l g^ km[` [gddYl]jYd k][mjalq Yf\ gl`]j YkkmjYf[]k g^
hYqe]fl k`Ydd Z] [memdYlan] Yf\ af Y\\alagf lg Ydd gl`]j ja_`lk Yf\ j]e]\a]k, `go]n]j ]paklaf_ gj Yjakaf_.

       8.17    M]^]j]f[]k lg N[`]\md]k. M]^]j]f[]k `]j]af lg N[`]\md]k lg l`ak <_j]]e]fl Yj] lg km[`
N[`]\md]k Yk mh\Yl]\ o`]f j]imaj]\ Zq N][lagf 8.01)\* g^ l`] >j]\al <_j]]e]fl.

                                        [Signature Page Follows.]




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                             G7<98I@9G HC G97IF=HM 5;F99A9BH



                                                                                         N[`]\md] 1

                             ?@N>MDKODJI JA DIQ@NOH@IO KMJK@MOT

D\UTWUT Gd_S[2

                                                               DUbSU^dQWU   DUbSU^dQWU
                            BQ]U _V D\UTWUT        7\Qcc _V                              7UbdYVYSQdU
     BQ]U _V ;bQ^d_b                                            _V 7\Qcc     _V 7\Qcc
                              7_]`Q^i              =^dUbUcdc                                B_)
                                                                Cg^UT        D\UTWUT

    Gggl >jYl] Cgd\af_k,
                             Gggl >jYl], Df[.      >geegf        100&         100&           20
            Df[.

                           Gggl >jYl] Cgd\af_k,
     G> Amf\af_, Df[.                              >geegf        100&         100&           3
                                   Df[.

     Gggl >jYl] KYj]fl,
                            G> Amf\af_, Df[.       >geegf        100&         100&           2
           Df[.



D\UTWUT B_dUc2

   Igf]




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                                                                                               N[`]\md] 2



                                  ADGDIBN <I? JOC@M <>ODJIN
                            M@LPDM@? OJ K@MA@>O N@>PMDOT DIO@M@NON


                                               P>> Aadaf_k

                       ;bQ^d_b                                           >ebYcTYSdY_^c

                   Gggl >jYl], Df[.                              ?]dYoYj] N][j]lYjq g^ NlYl]
                                                                 ?]dYoYj] N][j]lYjq g^ NlYl]
               Gggl >jYl] Cgd\af_k, Df[.
                                                                 ?]dYoYj] N][j]lYjq g^ NlYl]
                  G> Amf\af_k, Df[.
                                                                 ?]dYoYj] N][j]lYjq g^ NlYl]
                Gggl >jYl] KYj]fl, Df[.



Dfl]dd][lmYd Kjgh]jlq Aadaf_k

OjY\]eYjc N][mjalq <_j]]e]fl lg Z] ^ad]\ oal` l`] Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc J^^a[].

<[lagfk oal` j]kh][l lg Kd]\_]\ Nlg[c
Jja_afYd klg[c []jla^a[Yl]k oal` klg[c hgo]jk lg Z] \]dan]j]\ lg l`] >gddYl]jYd <_]fl.

Jl`]j <[lagfk

Igf].




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               Case 19-11791-BLS      Doc 144     Filed 09/10/19     Page 97 of 140



                                                                                      N[`]\md] 3


                                            ><KDO<G NOJ>F




                                                            DUbSU^dQWU   DUbSU^dQWU
                        =cceUb _V 7Q`YdQ\       7\Qcc _V                              7UbdYVYSQdU
 BQ]U _V ;bQ^d_b                                             _V 7\Qcc     _V 7\Qcc
                             Gd_S[              =^dUbUcdc                                B_)
                                                             Cg^UT        D\UTWUT

     Gggl >jYl]
                         Gggl >jYl], Df[.       >geegf        100&         100&           20
    Cgd\af_k, Df[.

                       Gggl >jYl] Cgd\af_k,
  G> Amf\af_, Df[.                              >geegf        100&         100&           3
                               Df[.

 Gggl >jYl] KYj]fl,
                        G> Amf\af_, Df[.        >geegf        100&         100&           2
       Df[.




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                                                                                      N[`]\md] 4

                                        DIO@GG@>OP<G KMJK@MOT

D.       >ghqja_`lk Yf\ >ghqja_`l Ga[]fk]k:

Igf].

DD.      KYl]flk Yf\ KYl]fl Ga[]fk]k:

Igf].

DDD.     OjY\]eYjck Yf\ OjY\]eYjc Ga[]fk]k:

N]] YllY[`]\.

DQ.      OjY\] N][j]l Ga[]fk]k:

Igf].

Q.       Dfl]jf]l ?geYaf IYe]k:

N]] YllY[`]\.




209537196 n1
Trademark Reference   Mark Name     Country   International Classes   Status               Appl. No.   Filed Date   Comments
                                                                                                                    Registration fee paid. Awaiting Certificate of Registration.

160980-910119/CA                    Canada    9,16,25,26,28,35,42,45 Allowed               1825921     2017-03-06
                                                                                                                    Registration fee paid. Awaiting Certificate of Registration.

160980-910120/CA                    Canada    9,16,25,26,28,35,42,45 Allowed               1825925     2017-03-06
                                                                                                                    Declaration of Use and registration fee due by November 25, 2019.
                                                                                                                    Other than having our associate pay the registration fee, all that is required is a
                                                                                                                    signed Declaration alleging use of the marks for those goods/services covered.
                                                                                                                    However, Dash recommends that we have our associate pay the registration fee
                                                                                                                    so that the application will proceed to registration for all the goods and services
160980-910115/CA      LOOT ANIME    Canada    25                      Allowed              1,811,388   2016-11-25   without filing a Declaration of Use.
                                                                                                                    Declaration of Use and registration fee due by November 25, 2019.
160980-910112/CA      LOOT CRATE    Canada    25                      Allowed              1,811,385   2016-11-25   Same as above.
                                                                                                                    Declaration of Use and registration fee due by November 25, 2019.
160980-910113/CA      LOOT GAMING   Canada    25                      Allowed              1,811,386   2016-11-25   Same as above.
                                                                                                                    Declaration of Use and registration fee due by November 25, 2019.
                                                                                                                                                                                                          Case 19-11791-BLS




160980-910111/CA      LOOT CRATE DX Canada    9,16,25,26,28,35,42,45 Allowed               1,811,390   2016-11-25   Same as above.
                                                                                                                    Declaration of Use and registration fee due by November 25, 2019.
160980-910116/CA      SLAM CRATE    Canada    25                      Allowed              1811384     2016-11-25   Same as above.
                                                                                                                    Response due October 21, 2019.
                                                                                                                    In order to respond, we need to submit cetified copies of the corresponding U.S.
                                                                                                                    registrations. The U.S. applications for the mark in classes 25, 26, 35 & 45 are
                                                                                                                    registered, and classes 9, 16, 42 are abandoned. LOOT ANIME in class 28 has
                                                                                                                                                                                                          Doc 144




                                                                                                                    now registered, so Dash recommends that we order and submit the required
160980-910105/CA      LOOT ANIME    Canada    9,16,26,28,35,42,45     Pending              1,755,381   2015-11-17   certfied copies.

                                                                                                                  Refused based on an existing registration in China for a third party LC logo.
                                                                      Refused - response                          Response filed arguing the dissimilarity between the marks. Awaiting further
160980-910726/CN                    China     35                      filed                32287967    2018-07-17 reports.


160980-910719/WP-CN                 China     9,16,25,26,28,42,45     Approved             1364453     2017-03-02 Approved for protection.
                                                                                                                                                                                                          Filed 09/10/19




160980-910705/WP-CN   LOOT ANIME    China     16, 26, 28, 42, 45      Approved             1294776     2015-11-24 Approved for protection.

160980-910702/WP-CN   LOOT CRATE    China     9,16,26,28,35,45        Approved             1269214     2015-06-04 Approved for protection.

160980-910711/WP-CN   LOOT CRATE    China     25                      Pending              1330104     2016-11-16 Approved for protection.

160980-910710/WP-CN   LOOT CRATE DX China     9,16,25,26,28,42,45     Approved             1340081     2016-11-16 Approved for protection.

160980-910722/CN      LOOT GAMING   China     35                      Refused              32287971    2018-07-17 Pending under review on refusal.

160980-910708/WP-CN   LOOT GAMING   China     9,16,26,28,35,42,45     Refused              1323894     2016-01-07 Pending under review on refusal.
                                                                                                                                                                                                          Page 99 of 140




160980-910703/WP-CN                 China     16,26,28                Approved             1338701     2015-06-04 Approved for protection.

160980-910717/WP-CN   SLAM CRATE    China     9,16,26,28,42,45        Approved             1362035     2016-11-22 Approved for protection.

160980-910718/WP-CN   SPORTS CRATE China      9,16,25,26,28,42,45     Approved             1346953     2017-02-10 Approved for protection.
                                                                                                        Response filed to suspend application pending outcome of Cancellation Action
160980-911211/WP-MX   LOOT ANIME     Mexico          25    Refused               1851487     2016-11-16 against LOOTT SPORT & Design

160980-911225/WP-MX   LOOT ANIME     Mexico          35    Suspended             1767015     2015-11-24 Suspended pending outcome of Cancellation Action against LOOT & Design
                                                                                                        Response filed to suspend application pending outcome of Cancellation Action
160980-911208/WP-MX   LOOT CRATE     Mexico          25    Refused               1851486     2016-11-16 against LOOTT SPORT & Design

160980-911220/WP-MX   LOOT CRATE     Mexico          35    Suspended             1764951     2015-06-04 Suspended pending outcome of Cancellation Action against LOOT & Design

160980-911241/WP-MX   LOOT CRATE DX Mexico           35    Suspended             1889735     2016-11-16 Suspended pending outcome of Cancellation Action against LOOT & Design
                                                                                                        Response filed to suspend application pending outcome of Cancellation Action
160980-911209/WP-MX   LOOT GAMING    Mexico          25    Refused               1851506     2016-11-16 against LOOTT SPORT & Design
                                                                                                        Response filed to suspend application pending outcome of Cancellation Action
160980-911235/WP-MX   LOOT WEAR      Mexico          25    Refused               1791979     2016-06-22 against LOOTT SPORT & Design

                                     United States of
160980-900202/US                     America          25   Allowed               87/977,051 2017-02-23 Statement of Use filed. Application under examination.
                                                           Office Action -
                                                                                                                                                                                               Case 19-11791-BLS




                                     United States of      Following filing of
160980-900187/US                     America          26   SOU                   87/347,004 2017-02-23 Response to Office Action filed. Application under examination.
                                                                                                       The application is being blocked by a prior existing registration as well as a prior-
                                                                                                       filed application. The application is suspended until the prior-filed application is
                                                                                                       either registered or abandoned. In view of prior instructions to abandon the
                                     United States of                                                  applications for this mark, when the application is removed from suspension we
160980-900175/US      LEVEL UP       America          25   Suspended             87/232,051 2016-11-09 will take no further action and allow it to go abandoned.
                                                                                                                                                                                               Doc 144




                                     United States of                                                  Statement of Use or further Request for Extenstion of Time due January
160980-900170/US      LOOT CRATE     America          25   Allowed               87/232,032 2016-11-09 11, 2020.
                                                                                                       Statement of Use or further Request for Extenstion of Time due November
                                                                                                       28, 2019. In order to proceed with a Statement of Use, we will need the date(s)
                                                                                                       of first use both anywhere and interstate commerce as well as a specimen
                                    United States of                                                   showing use of the mark with the goods: "Toys, namely, action figure toys, vinyl
160980-900166/US      LOOT CRATE DX America          28    Allowed               87/231,893 2016-11-09 toy figures"
                                                                                                       Statement of Use or further Request for Extenstion of Time due September
                                                                                                       18, 2019. As instructed, we will revist closer to the deadline to see if any goods
                                                                                                       other than “make-up bags sold empty” are in use at that time and possibly carve
                                                                                                                                                                                               Filed 09/10/19




                                                                                                       out those goods and file a Statement of Use. The goods not yet in use are:
                                                                                                       “Shoulder bags, duffel bags, gym bags, tote bags, clutches, travel bags,
                                     United States of                                                  weekend bags, all-purpose sports bag, charm bags, wallets, purses”
160980-900158/US      LOOT WEAR      America          18   Allowed               87/070,803 2016-06-14
                                                                                                                                                                                               Page 100 of 140
Trademark Reference   Mark Name     Country     International Classes   Status       Appl. No.   Filed Date Reg. No.     Reg. Date    Sec. 8/15 Due   Renewal Due Date


160980-910419/WP-AU                 Australia   9,16,25,26,28,35,42,45 Registered    1364453     2017-03-02 1871489      2017-03-02                   2027-03-02


160980-910416/WP-AU LEVEL UP        Australia   25                      Registered   1330107     2016-11-16 1824642      2016-11-16                   2026-11-16


160980-910405/WP-AU LOOT ANIME      Australia   9,16,26,28,35,42,45     Registered   1294776     2015-11-24 1761881      2015-11-24                   2025-11-24


160980-910414/WP-AU LOOT ANIME      Australia   25                      Registered   1330105     2016-11-16 1824640      2016-11-16                   2026-11-16


160980-910402/WP-AU LOOT CRATE      Australia   9,16,26,28,35,45        Registered   1269052     2015-04-17 1728240      2015-04-17                   2025-04-17


160980-910411/WP-AU LOOT CRATE      Australia   25                      Registered   1330104     2016-11-16 1824639      2016-11-16                   2026-11-16
                                                                                                                                                                         Case 19-11791-BLS




160980-910410/WP-AU LOOT CRATE DX Australia     9,16,25,26,28,35,42,45 Registered    1340081     2016-11-16 1839259      2016-11-16                   2026-11-16


160980-910408/WP-AU LOOT GAMING     Australia   9,16,26,28,35,42,45     Registered   1323894     2016-01-07 1815881      2016-01-07                   2026-01-07


160980-910412/WP-AU LOOT GAMING     Australia   25                      Registered   1330257     2016-11-16 1824672      2016-11-16                   2026-11-16
                                                                                                                                                                         Doc 144




160980-910409/WP-AU LOOT WEAR       Australia   3,14,18,20,25,26        Registered   1308681     2016-06-22 1796631      2016-06-22                   2026-06-22


160980-910403/WP-AU                 Australia   16,26,28,35,42          Registered   1284118     2015-04-17 1747580      2015-04-17                   2025-04-17


160980-910415/WP-AU SLAM CRATE      Australia   25                      Registered   1330106     2016-11-16 1824641      2016-11-16                   2026-11-16
                                                                                                                                                                         Filed 09/10/19




160980-910417/WP-AU SLAM CRATE      Australia   9,16,26,28,35,42,45     Registered   1362035     2016-11-22 1868316      2016-11-22                   2026-11-22


160980-910418/WP-AU SPORTS CRATE Australia      9,16,25,26,28,35,42,45 Registered    1346953     2017-02-10 1848483      2017-02-10                   2027-02-10


160980-910102/CA      LOOT CRATE    Canada      9,16,26,28,35,45        Registered   1724602     2015-04-20 TMA992,286   2018-03-12                   2033-03-12

                                                                                                            TMA1,026,31
160980-910108/CA      LOOT GAMING   Canada      9,16,26,28,35,42,45     Registered   1762617     2016-01-08 8           2019-06-17                    2029-06-17

                                                                                                            TMA1,025,53
                                                                                                                                                                         Page 101 of 140




160980-910110/CA      LOOT WEAR     Canada      3,14,18, 20,25,26       Registered   1788553     2016-06-23 5           2019-06-17                    2029-06-17

                                                                                                            TMA1,040,11
160980-910118/CA      SPORTS CRATE Canada       9,16,25,26,28,35,42,45 Registered    1824209     2017-02-27 3           2019-07-11                    2029-07-11


160980-910109/CA      SLAM CRATE    Canada      9,16,26,28,35,42,45     Registered   1785539     2016-06-03 TMA1,028,109 2019-06-18                   2029-06-18
160980-910714/WP-CN LOOT ANIME      China   25                    Registered    1330105    2016-11-16 1330105    2016-11-16   2026-11-16


160980-910724/CN      LOOT ANIME    China   35                    Registered    32287969   2018-07-17 32287969   2019-04-07   2029-04-06


160980-910725/CN      LOOT CRATE    China   35                    Registered    32287968   2018-07-17 32287968   2019-04-07   2029-04-06


160980-910728/CN      LOOT CRATE DX China   35`                   Registered    32287965   2018-07-17 32287965   2019-04-07   2029-04-06


160980-910712/WP-CN LOOT GAMING     China   25                    Registered    1330257    2016-11-16 1330257    2016-11-16   2026-11-16


160980-910709/WP-CN LOOT WEAR       China   3,14,18,20,25,26      Registered    1308681    2016-06-22 1308681    2016-06-22   2026-06-22


160980-910721/CN                    China   35                    Registered    20241058   2016-06-08 20241058   2017-07-28   2027-07-27
                                                                                                                                           Case 19-11791-BLS




160980-910715/WP-CN SLAM CRATE      China   25                    Registered    1330106    2016-11-16 1330106    2016-11-16   2026-11-16


160980-910723/CN      SLAM CRATE    China   35                    Registered    32287970   2018-07-17 32287970   2019-04-07   2029-04-06
                                                                                                                                           Doc 144




160980-910727/CN      SPORTS CRATE China    35                    Registered    32287966   2018-07-17 32287966   2019-04-14   2029-04-13


160980-911119/WP-CU                 Cuba    9,16,25,26,28,35,42,45 Registered   1364453    2017-03-02 1364453    2017-03-02   2027-03-02


160980-911116/WP-CU LEVEL UP        Cuba    25                    Registered    1330107    2016-11-16 1330107    2016-11-16   2026-11-16


160980-911114/WP-CU LOOT ANIME      Cuba    25                    Registered    1330105    2016-11-16 1330105    2016-11-16   2026-11-16
                                                                                                                                           Filed 09/10/19




160980-911103/WP-CU LOOT ANIME      Cuba    9,16,26,28,35,42,45   Registered    1294776    2015-11-24 1294776    2015-11-24   2025-11-24


160980-911111/WP-CU LOOT CRATE      Cuba    25                    Registered    1330104    2016-11-16 1330104    2016-11-16   2026-11-16


160980-911107/WP-CU LOOT CRATE      Cuba    9,16,26,28,35,45      Registered    1269214    2015-06-04 1269214    2015-06-04   2025-06-04


160980-911110/WP-CU LOOT CRATE DX Cuba      9,16,25,26,28,35,42,45 Registered   1340081    2016-11-16 1340081    2016-11-16   2026-11-16
                                                                                                                                           Page 102 of 140




160980-911112/WP-CU LOOT GAMING     Cuba    25                    Registered    1330257    2016-11-16 1330257    2016-11-16   2026-11-16


160980-911106/WP-CU LOOT GAMING     Cuba    9,16,26,28,35,42,45   Registered    1323894    2016-01-07 1323894    2016-01-07   2026-01-07
160980-911109/WP-CU LOOT WEAR        Cuba                 3,14,18,20,25,26      Registered    1308681    2016-06-22 1308681    2016-06-22   2026-06-22


160980-911108/WP-CU                  Cuba                 16,26,28,35,42        Registered    1284118    2015-04-17 1284118    2015-04-17   2025-04-17


160980-911117/WP-CU SLAM CRATE       Cuba                 9,16,26,28,35,42,45   Registered    1362035    2016-11-22 1362035    2016-11-22   2026-11-22


160980-911118/WP-CU SPORTS CRATE Cuba                     9,16,25,26,28,35,42,45 Registered   1346953    2017-02-10 1346953    2017-02-10   2027-02-10


160980-910218/EM                     European Union IPO   9,16,25,26,28,35,42,45 Registered   016436453 2017-03-06 016436453   2017-06-28   2027-03-06


160980-910205/EM      LOOT ANIME     European Union IPO   9,16,26,28,35,42,45   Registered    014801302 2015-11-16 014801302   2016-05-10   2025-11-16


160980-910214/EM      LOOT ANIME     European Union IPO   25                    Registered    16077026   2016-11-24 16077026   2017-03-14   2026-11-24
                                                                                                                                                         Case 19-11791-BLS




160980-910202/EM      LOOT CRATE     European Union IPO   9,16,20,26,28,35,45   Registered    013976386 2015-04-22 013976386   2015-10-07   2025-04-22


160980-910211/EM      LOOT CRATE     European Union IPO   25                    Registered    16076895   2016-11-24 16076895   2017-03-15   2026-11-24
                                                                                                                                                         Doc 144




160980-910210/EM      LOOT CRATE DX European Union IPO    9,16,25,26,28,35,42,45 Registered   16076721   2016-11-24 16076721   2017-05-10   2026-11-24


160980-910208/EM      LOOT GAMING    European Union IPO   9,16,26,28,35,42,45   Registered    014984447 2016-01-08 014984447   2016-05-06   2026-01-08


160980-910212/EM      LOOT GAMING    European Union IPO   25                    Registered    16076945   2016-11-24 16076945   2017-03-21   2026-11-24


160980-910209/EM      LOOT WEAR      European Union IPO   3,14,18,20,25,26      Registered    015566466 2016-06-23 015566466   2016-11-21   2026-06-23
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160980-910203/EM                     European Union IPO   16,20,26,28,35        Registered    013976428 2015-04-22 013976428   2015-10-07   2025-04-22


160980-910215/EM      SLAM CRATE     European Union IPO   9,16,25,26,28,35,42,45 Registered   16076631   2016-11-24 16076631   2017-08-22   2026-11-24


160980-910217/EM      SPORTS CRATE European Union IPO     9,16,25,26,28,35,42,45 Registered   016359457 2017-02-13 016359457   2017-09-19   2027-02-13


160980-910321/WP                     International        9,16,25,26,28,35,42,45 Registered   1364453    2017-03-02 1364453    2017-03-02   2027-03-02
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160980-910318/WP      LEVEL UP       International        25                    Registered    1330107    2016-11-16 1330107    2016-11-16   2026-11-16


160980-910316/WP      LOOT ANIME     International        25                    Registered    1330105    2016-11-16 1330105    2016-11-16   2026-11-16
160980-910307/WP      LOOT ANIME      International   9,16,26,28,35,42,45   Registered    1294776   2015-11-24 1294776   2015-11-24   2025-11-24


160980-910313/WP      LOOT CRATE      International   25                    Registered    1330104   2016-11-16 1330104   2016-11-16   2026-11-16


160980-910302/WP      LOOT CRATE      International   9,16,26,28,35,45      Registered    1269052   2015-04-17 1269052   2015-04-17   2025-04-17


160980-910304/WP      LOOT CRATE      International   9,16,26,28,35,45      Registered    1269214   2015-06-04 1269214   2015-06-04   2025-06-04


160980-910312/WP      LOOT CRATE DX International     9,16,25,26,28,35,42,45 Registered   1340081   2016-11-16 1340081   2016-11-16   2026-11-16


160980-910314/WP      LOOT GAMING     International   25                    Registered    1330257   2016-11-16 1330257   2016-11-16   2026-11-16


160980-910908/WP      LOOT GAMING     International   9,16,26,28,35,42,45   Registered    1323894   2016-01-07 1323894   2016-01-07   2026-01-07
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160980-910311/WP      LOOT WEAR       International   3,14,18,20,25,26      Registered    1308681   2016-06-22 1308681   2016-06-22   2026-06-22


160980-910303/WP                      International   16,26,28,35,42        Registered    1284118   2015-04-17 1284118   2015-04-17   2025-04-17
                                                                                                                                                   Doc 144




160980-910305/WP                      International   16,26,28,35           Registered    1338701   2015-06-04 1338701   2015-06-04   2025-06-04


160980-910319/WP      SLAM CRATE      International   9,16,26,28,35,42,45   Registered    1362035   2016-11-22 1362035   2016-11-22   2026-11-22


160980-910317/WP      SLAM CRATE      International   25                    Registered    1330106   2016-11-16 1330106   2016-11-16   2026-11-16


160980-910320/WP      SPORTS CRATE International      9,16,25,26,28,35,42,45 Registered   1346953   2017-02-10 1346953   2017-02-10   2027-02-10
                                                                                                                                                   Filed 09/10/19




160980-910819/WP-JP                   Japan           9,16,25,26,28,35,42,45 Registered   1364453   2017-03-02 1364453   2017-03-02   2027-03-02


160980-910816/WP-JP   LEVEL UP        Japan           25                    Registered    1330107   2016-11-16 1330107   2016-11-16   2026-11-16


160980-910805/WP-JP   LOOT ANIME      Japan           9,16,26,28,35,42,45   Registered    1294776   2015-11-24 1294776   2015-11-24   2025-11-24


160980-910814/WP-JP   LOOT ANIME      Japan           25                    Registered    1330105   2016-11-16 1330105   2016-11-16   2026-11-16
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160980-910802/WP-JP   LOOT CRATE      Japan           9,16,26,28,35,45      Registered    1269214   2015-06-04 1269214   2015-06-04   2025-06-04


160980-910811/WP-JP   LOOT CRATE      Japan           25                    Registered    1330104   2016-11-16 1330104   2016-11-16   2026-11-16
160980-910810/WP-JP   LOOT CRATE DX Japan                     9,16,25,26,28,35,42,45 Registered   1340081   2016-11-16 1340081   2016-11-16   2026-11-16


160980-910808/WP-JP   LOOT GAMING     Japan                   9,16,26,28,35,42,45   Registered    1323894   2016-01-07 1323894   2016-01-07   2026-01-07


160980-910812/WP-JP   LOOT GAMING     Japan                   25                    Registered    1330257   2016-11-16 1330257   2016-11-16   2026-11-16


160980-910809/WP-JP   LOOT WEAR       Japan                   3,14,18,20,25,26      Registered    1308681   2016-06-22 1308681   2016-06-22   2026-06-22


160980-910815/WP-JP   SLAM CRATE      Japan                   25                    Registered    1330106   2016-11-16 1330106   2016-11-16   2026-11-16


160980-910817/WP-JP   SLAM CRATE      Japan                   9,16,26,28,35,42,45   Registered    1362035   2016-11-22 1362035   2016-11-22   2026-11-22


160980-910818/WP-JP   SPORTS CRATE Japan                      9,16,25,26,28,35,42,45 Registered   1346953   2017-02-10 1346953   2017-02-10   2027-02-10
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160980-911019/WP-KR                   Korea, Republic of (KR) 9,16,25,26,28,35,42,45 Registered   1364453   2017-03-02 1364453   2017-03-02   2027-03-02


160980-911014/WP-KR LOOT ANIME        Korea, Republic of (KR) 25                    Registered    1330105   2016-11-16 1330105   2016-11-16   2026-11-16
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160980-911005/WP-KR LOOT ANIME        Korea, Republic of (KR) 9,16,26,28,35,42,45   Registered    1294776   2015-11-24 1294776   2015-11-24   2025-11-24


160980-911011/WP-KR LOOT CRATE        Korea, Republic of (KR) 25                    Registered    1330104   2016-11-16 1330104   2016-11-16   2026-11-16


160980-911002/WP-KR LOOT CRATE        Korea, Republic of (KR) 9,16,26,28,35,45      Registered    1269214   2015-06-04 1269214   2015-06-04   2025-06-04


160980-911010/WP-KR LOOT CRATE DX Korea, Republic of (KR) 9,16,25,26,28,35,42,45 Registered       1340081   2016-11-16 1340081   2016-11-16   2026-11-16
                                                                                                                                                           Filed 09/10/19




160980-911012/WP-KR LOOT GAMING       Korea, Republic of (KR) 25                    Registered    1330257   2016-11-16 1330257   2016-11-16   2026-11-16


160980-911008/WP-KR LOOT GAMING       Korea, Republic of (KR) 9,16,26,28,35,42,45   Registered    1323894   2016-01-07 1323894   2016-01-07   2026-01-07


160980-911009/WP-KR LOOT WEAR         Korea, Republic of (KR) 14,18,20,25,26        Registered    1308681   2016-06-22 1308681   2016-06-22   2026-06-22


160980-911017/WP-KR SLAM CRATE        Korea, Republic of (KR) 9,16,26,28,35,42,45   Registered    1362035   2016-11-22 1362035   2016-11-22   2026-11-22
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160980-911015/WP-KR SLAM CRATE        Korea, Republic of (KR) 25                    Registered    1330106   2016-11-16 1330106   2016-11-16   2026-11-16


160980-911018/WP-KR SPORTS CRATE Korea, Republic of (KR) 9,16,25,26,28,35,42,45 Registered        1346953   2017-02-10 1346953   2017-02-10   2027-02-10
160980-911216/WP-MX               Mexico   9    Registered   1944438   2017-03-02 1896931   2017-03-02   2027-03-02


160980-911257/WP-MX               Mexico   16   Registered   1944439   2017-03-02 1896932   2017-03-02   2027-03-02


160980-911258/WP-MX               Mexico   25   Registered   1944440   2017-03-02 1983034   2017-03-02   2027-03-02


160980-911260/WP-MX               Mexico   28   Registered   1944442   2017-03-02 1896933   2017-03-02   2027-03-02


160980-911261/WP-MX               Mexico   35   Registered   1944443   2017-03-02 1896934   2017-03-02   2027-03-02


160980-911262/WP-MX               Mexico   42   Registered   1944444   2017-03-02 1896935   2017-03-02   2027-03-02


160980-911263/WP-MX               Mexico   45   Registered   1944445   2017-03-02 1897838   2017-03-02   2027-03-02
                                                                                                                      Case 19-11791-BLS




160980-911203/WP-MX LOOT ANIME    Mexico   9    Registered   1767010   2015-11-24 1750851   2015-11-24   2025-11-24


160980-911223/WP-MX LOOT ANIME    Mexico   26   Registered   1767013   2015-11-24 1750852   2015-11-24   2025-11-24
                                                                                                                      Doc 144




160980-911224/WP-MX LOOT ANIME    Mexico   28   Registered   1767014   2015-11-24 1750853   2015-11-24   2025-11-24


160980-911226/WP-MX LOOT ANIME    Mexico   42   Registered   1767016   2015-11-24 1750854   2015-11-24   2025-11-24


160980-911227/WP-MX LOOT ANIME    Mexico   45   Registered   1767017   2015-11-24 1910177   2015-11-24   2025-11-24


160980-911204/WP-MX LOOT CRATE    Mexico   9    Registered   1764947   2015-06-04 1740955   2015-06-04   2025-06-04
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160980-911217/WP-MX LOOT CRATE    Mexico   16   Registered   1764948   2015-06-04 1740956   2015-06-04   2025-06-04


160980-911218/WP-MX LOOT CRATE    Mexico   26   Registered   1764949   2015-06-04 1740957   2015-06-04   2025-06-04


160980-911219/WP-MX LOOT CRATE    Mexico   28   Registered   1764950   2015-06-04 1740958   2015-06-04   2025-06-04


160980-911221/WP-MX LOOT CRATE    Mexico   45   Registered   1764952   2015-06-04 1910176   2015-06-04   2025-06-04
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160980-911207/WP-MX LOOT CRATE DX Mexico   9    Registered   1880730   2016-11-16 1854081   2016-11-16   2026-11-16


160980-911237/WP-MX LOOT CRATE DX Mexico   16   Registered   1880731   2016-11-16 1854082   2016-11-16   2026-11-16
160980-911239/WP-MX LOOT CRATE DX Mexico   26   Registered   1880733   2016-11-16 1854083   2016-11-16   2026-11-16


160980-911240/WP-MX LOOT CRATE DX Mexico   28   Registered   1880734   2016-11-16 1854084   2016-11-16   2026-11-16


160980-911242/WP-MX LOOT CRATE DX Mexico   42   Registered   1880736   2016-11-16 1854085   2016-11-16   2026-11-16


160980-911243/WP-MX LOOT CRATE DX Mexico   45   Registered   1880737   2016-11-16 1854086   2016-11-16   2026-11-16


160980-911232/WP-MX LOOT WEAR     Mexico   14   Registered   1797076   2016-06-22 1824109   2016-06-22   2026-06-22


160980-911233/WP-MX LOOT WEAR     Mexico   18   Registered   1797077   2016-06-22 1827609   2016-06-22   2026-06-22


160980-911234/WP-MX LOOT WEAR     Mexico   20   Registered   1797078   2016-06-22 1824110   2016-06-22   2026-06-22
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160980-911236/WP-MX LOOT WEAR     Mexico   26   Registered   1797080   2016-06-22 1824111   2016-06-22   2026-06-22


160980-911206/WP-MX LOOT WEAR     Mexico   3    Registered   1797075   2016-06-22 1824108   2016-06-22   2026-06-22
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160980-911205/WP-MX               Mexico   16   Registered   1766999   2015-04-17 1750797   2015-04-17   2025-04-17


160980-911228/WP-MX               Mexico   26   Registered   1767000   2015-04-17 1750798   2015-04-17   2025-04-17


160980-911229/WP-MX               Mexico   28   Registered   1767001   2015-04-17 1750799   2015-04-17   2025-04-17


160980-911230/WP-MX               Mexico   35   Registered   1767002   2015-04-17 1880025   2015-04-17   2025-04-17
                                                                                                                      Filed 09/10/19




160980-911231/WP-MX               Mexico   42   Registered   1767003   2015-04-17 1750800   2015-04-17   2025-04-17


160980-911214/WP-MX SLAM CRATE    Mexico   9    Registered   1937630   2016-11-22 1894929   2016-11-22   2026-11-22


160980-911244/WP-MX SLAM CRATE    Mexico   16   Registered   1937631   2016-11-22 1894930   2016-11-22   2026-11-22


160980-911245/WP-MX SLAM CRATE    Mexico   26   Registered   1937632   2016-11-22 1894931   2016-11-22   2026-11-22
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160980-911246/WP-MX SLAM CRATE    Mexico   28   Registered   1937633   2016-11-22 1894932   2016-11-22   2026-11-22


160980-911247/WP-MX SLAM CRATE    Mexico   35   Registered   1937634   2016-11-22 1894933   2016-11-22   2026-11-22
160980-911249/WP-MX SLAM CRATE      Mexico        45                    Registered    1937636   2016-11-22 1894934   2016-11-22   2026-11-22


160980-911212/WP-MX SLAM CRATE      Mexico        25                    Registered    1851488   2016-11-16 1897304   2016-11-16   2026-11-16


160980-911215/WP-MX SPORTS CRATE Mexico           9                     Registered    1898579   2017-02-10 1859781   2017-02-10   2027-02-10


160980-911250/WP-MX SPORTS CRATE Mexico           16                    Registered    1898580   2017-02-10 1859782   2017-02-10   2027-02-10


160980-911251/WP-MX SPORTS CRATE Mexico           25                    Registered    1898581   2017-02-10 1956123   2017-02-10   2027-02-10


160980-911252/WP-MX SPORTS CRATE Mexico           26                    Registered    1898582   2017-02-10 1864261   2017-02-10   2027-02-10


160980-911253/WP-MX SPORTS CRATE Mexico           28                    Registered    1898583   2017-02-10 1864262   2017-02-10   2027-02-10
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160980-911254/WP-MX SPORTS CRATE Mexico           35                    Registered    1898584   2017-02-10 1956124   2017-02-10   2027-02-10


160980-911255/WP-MX SPORTS CRATE Mexico           42                    Registered    1898585   2017-02-10 1864263   2017-02-10   2027-02-10
                                                                                                                                               Doc 144




160980-911256/WP-MX SPORTS CRATE Mexico           45                    Registered    1898586   2017-02-10 1864264   2017-02-10   2027-02-10


160980-910519/WP-NZ                 New Zealand   9,16,25,26,28,35,42,45 Registered   1364453   2017-03-02 1364453   2017-03-02   2027-03-02


160980-910516/WP-NZ   LEVEL UP      New Zealand   25                    Registered    1330107   2016-11-16 1060235   2016-11-16   2026-11-16


160980-910514/WP-NZ   LOOT ANIME    New Zealand   25                    Registered    1330105   2016-11-16 1060233   2016-11-16   2026-11-16
                                                                                                                                               Filed 09/10/19




160980-910505/WP-NZ   LOOT ANIME    New Zealand   9,26,28,35,42,45      Registered    1294776   2015-11-24 1040357   2015-11-24   2025-11-24


160980-910511/WP-NZ   LOOT CRATE    New Zealand   25                    Registered    1330104   2016-11-16 1060232   2016-11-16   2026-11-16


160980-910502/WP-NZ   LOOT CRATE    New Zealand   9,16,26,28,35,45      Registered    1269052   2015-04-17 1029791   2015-04-17   2025-04-17


160980-910510/WP-NZ   LOOT CRATE DX New Zealand   9,16,25,26,28,35,42,45 Registered   1340081   2016-11-16 1064905   2016-11-16   2026-11-16
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160980-910512/WP-NZ   LOOT GAMING   New Zealand   25                    Registered    1330257   2016-11-16 1060252   2016-11-16   2026-11-16


160980-910508/WP-NZ   LOOT GAMING   New Zealand   9,26,35,42,45         Registered    1323894   2016-01-07 1057470   2016-01-07   2026-01-07
160980-910509/WP-NZ   LOOT WEAR     New Zealand   3,14,18,20,25,26      Registered    1308681   2016-06-22 1051003   2016-06-22   2026-06-22


160980-910503/WP-NZ                 New Zealand   16,26,28,35,42        Registered    1284118   2015-04-17 1035919   2015-04-17   2025-04-17


160980-910517/WP-NZ   SLAM CRATE    New Zealand   9,16,26,28,35,42,45   Registered    1362035   2016-11-22 1074562   2016-11-22   2026-11-22


160980-910515/WP-NZ   SLAM CRATE    New Zealand   25                    Registered    1330106   2016-11-16 1060234   2016-11-16   2026-11-16


160980-910518/WP-NZ   SPORTS CRATE New Zealand    9,16,25,26,28,35,42,45 Registered   1346953   2017-02-10 1067979   2017-02-10   2027-02-10


160980-910619/WP-NO                 Norway        9,16,25,26,28,35,42,45 Registered   1364453   2017-03-02 1075603   2017-03-02   2027-03-02


160980-910616/WP-NO LEVEL UP        Norway        25                    Registered    1330107   2016-11-16 1330107   2016-11-16   2026-11-16
                                                                                                                                               Case 19-11791-BLS




160980-910605/WP-NO LOOT ANIME      Norway        9,16,26,28,35,42,45   Registered    1294776   2015-11-24 1294776   2015-11-24   2025-11-24


160980-910614/WP-NO LOOT ANIME      Norway        25                    Registered    1330105   2016-11-16 1330105   2016-11-16   2026-11-16
                                                                                                                                               Doc 144




160980-910602/WP-NO LOOT CRATE      Norway        9,16,26,28,35,45      Registered    1269052   2015-04-17 1269052   2015-04-17   2025-04-17


160980-910611/WP-NO LOOT CRATE      Norway        25                    Registered    1330104   2016-11-16 1330104   2016-11-16   2026-11-16


160980-910610/WP-NO LOOT CRATE DX Norway          9,16,25,26,28,35,42,45 Registered   1340081   2016-11-16 1340081   2016-11-16   2026-11-16


160980-910608/WP-NO LOOT GAMING     Norway        9,16,26,28,35,42,45   Registered    1323894   2016-01-07 1323894   2016-01-07   2026-01-07
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160980-910612/WP-NO LOOT GAMING     Norway        25                    Registered    1330257   2016-11-16 1330257   2016-11-16   2026-11-16


160980-910609/WP-NO LOOT WEAR       Norway        3,14,18,20,25,26      Registered    1308681   2016-06-22 1308681   2016-06-22   2026-06-22


160980-910603/WP-NO                 Norway        16,26,28,35,42        Registered    1284118   2015-04-17 1284118   2015-04-17   2025-04-17


160980-910617/WP-NO SLAM CRATE      Norway        9,16,26,28,35,42,45   Registered    1362035   2016-11-22 1362035   2016-11-22   2026-11-22
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160980-910618/WP-NO SPORTS CRATE Norway           9,16,25,26,28,35,42,45 Registered   1346953   2017-02-10 1346953   2017-02-10   2027-02-10


160980-910919/WP-SG                 Singapore     9,16,25,26,28,35,42,45 Registered   1364453   2017-03-02 1364453   2017-03-02   2027-03-02
160980-910916/WP-SG LEVEL UP       Singapore               25                    Registered    1330107   2016-11-16 1330107      2016-11-16              2026-11-16


160980-910914/WP-SG LOOT ANIME     Singapore               25                    Registered    1330105   2016-11-16 1330105      2016-11-16              2026-11-16


160980-910905/WP-SG LOOT ANIME     Singapore               9,16,26,28,35,42,45   Registered    1294776   2015-11-24 1294776      2015-11-24              2025-11-24


160980-910911/WP-SG LOOT CRATE     Singapore               25                    Registered    1330104   2016-11-16 1330104      2016-11-16              2026-11-16


160980-910902/WP-SG LOOT CRATE     Singapore               9,16,26,28,35,45      Registered    1269214   2015-06-04 1269214      2015-06-04              2025-06-04


160980-910910/WP-SG LOOT CRATE DX Singapore                9,16,25,26,28,35,42,45 Registered   1340081   2016-11-16 1340081      2016-11-16              2026-11-16


160980-910912/WP-SG LOOT GAMING    Singapore               25                    Registered    1330257   2016-11-16 1330257      2016-11-16              2026-11-16
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160980-910908/WP-SG LOOT GAMING    Singapore               9,16,26,28,35,42,45   Registered    1323894   2016-01-07 1323894      2016-01-07              2026-01-07


160980-910909/WP-SG LOOT WEAR      Singapore               3,14,18,20,25,26      Registered    1308681   2016-06-22 1308681      2016-06-22              2026-06-22
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160980-910903/WP-SG                Singapore               16,26,28,35           Registered    1338701   2015-06-04 1338701      2015-06-04              2025-06-04


160980-910917/WP-SG SLAM CRATE     Singapore               9,16,26,28,35,42,45   Registered    1362035   2016-11-22 1362035      2016-11-22              2026-11-22


160980-910915/WP-SG SLAM CRATE     Singapore               25                    Registered    1330106   2016-11-16 1330106      2016-11-16              2026-11-16


160980-910918/WP-SG SPORTS CRATE Singapore                 9,16,25,26,28,35,42,45 Registered   1346953   2017-02-10 1346953      2017-02-10              2027-02-10
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160980-900186/US                   United States of America 25                   Registered    87/347,000 2017-07-11 5,591,061   2018-10-23 2024-10-23   2028-10-23


160980-900184/US                   United States of America 9                    Registered    87/346,985 2017-02-23 5,591,060   2018-10-23 2024-10-23   2028-10-23


160980-900188/US                   United States of America 28                   Registered    87/347,008 2017-02-23 5,596,475   2018-10-30 2024-10-30   2028-10-30


160980-900189/US                   United States of America 35                   Registered    87/347,010 2017-02-23 5,414,334   2018-02-27 2024-02-27   2028-02-27
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160980-900191/US                   United States of America 45                   Registered    87/347,016 2017-02-23 5,591,062   2018-10-23 2024-10-23   2028-10-23


160980-900173/US      LOOT ANIME   United States of America 25                   Registered    87/232,044 2016-11-09 5,628,418   2018-12-11 2024-12-11   2028-12-11
160980-900131/US   LOOT ANIME      United States of America 28                 Registered   86/819,257 2015-11-13 5,807,156   2019-07-16 2025-07-16   2029-07-16


160980-900132/US   LOOT ANIME      United States of America 35                 Registered   86/819,265 2015-11-13 5,514,157   2018-07-10 2024-07-10   2028-07-10


160980-900134/US   LOOT ANIME      United States of America 45                 Registered   86/819,276 2015-11-13 5,514,158   2018-07-10 2024-07-10   2028-07-10


160980-900130/US   LOOT ANIME      United States of America 26                 Registered   86/819,251 2015-11-13 5,525,242   2018-07-24 2024-07-24   2028-07-24


160980-900104/US   LOOT CRATE      United States of America 9,16,26,28,35,45   Registered   86/471,727 2014-12-04 5,034,158   2016-09-06 2022-09-06   2026-09-06


160980-900201/US   LOOT CRATE      United States of America 25                 Registered   87/977,156 2016-11-09 5,460,855   2018-05-01 2024-05-01   2028-05-01


160980-900162/US   LOOT CRATE DX United States of America 9                    Registered   87/231,879 2016-11-09 5,829,313   2019-08-06 2025-08-06   2029-08-06
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160980-900164/US   LOOT CRATE DX United States of America 25                   Registered   87/231,888 2016-11-09 5,829,314   2019-08-06 2025-08-06   2029-08-06


160980-900165/US   LOOT CRATE DX United States of America 26                   Registered   87/231,891 2016-11-09 5,546,584   2018-08-21 2024-08-21   2028-08-21
                                                                                                                                                                   Doc 144




160980-900167/US   LOOT CRATE DX United States of America 35                   Registered   87/231,897 2016-11-09 5,681,088   2019-02-19 2025-02-19   2029-02-19


160980-900171/US   LOOT GAMING     United States of America 25                 Registered   87/232,034 2016-11-09 5,628,417   2018-12-11 2024-12-11   2028-12-11


160980-900142/US   LOOT GAMING     United States of America 9                  Registered   86/861,555 2015-12-30 5,686,505   2019-02-26 2025-02-26   2029-02-26


160980-900145/US   LOOT GAMING     United States of America 28                 Registered   86/861,572 2015-12-30 5,138,798   2017-02-07 2023-02-07   2027-02-07
                                                                                                                                                                   Filed 09/10/19




160980-900146/US   LOOT GAMING     United States of America 35                 Registered   86/861,575 2015-12-30 5,530,662   2018-07-31 2024-07-31   2028-07-31


160980-900144/US   LOOT GAMING     United States of America 26                 Registered   86/861,568 2015-12-30 5,138,797   2017-02-07 2023-02-07   2027-02-07


160980-900148/US   LOOT GAMING     United States of America 45                 Registered   86/861,581 2015-12-30 5,530,663   2018-07-31 2024-07-31   2028-07-31


160980-900124/US   LOOT PETS       United States of America 31                 Registered   86/808,357 2015-11-03 5,138,628   2017-02-07 2023-02-07   2027-02-07
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160980-900122/US   LOOT PETS       United States of America 26                 Registered   86/808,353 2015-11-03 5,242,203   2017-07-11 2023-07-11   2027-07-11


160980-900161/US   LOOT WEAR       United States of America 26                 Registered   87/070,818 2016-06-14 5,424,112   2018-03-13 2024-03-13   2028-03-13
160980-900160/US   LOOT WEAR       United States of America 25               Registered   87/070,812 2016-06-14 5,751,659   2019-05-14 2025-05-14   2029-05-14


160980-900105/US                   United States of America 16,26,28,35,42   Registered   86/471,731 2014-12-04 5,034,159   2016-09-06 2022-09-06   2026-09-06


160980-900174/US   SLAM CRATE      United States of America 25               Registered   87/232,050 2016-11-09 5,530,972   2018-07-31 2024-07-31   2028-07-31


160980-900153/US   SLAM CRATE      United States of America 35               Registered   87/051,420 2016-05-26 5,307,619   2017-10-10 2023-10-10   2027-10-10


160980-900151/US   SLAM CRATE      United States of America 26               Registered   87/051,410 2016-05-26 5,590,748   2018-10-23 2024-10-23   2028-10-23


160980-900152/US   SLAM CRATE      United States of America 28               Registered   87/051,414 2016-05-26 5,628,292   2018-12-11 2024-12-11   2028-12-11


160980-900178/US   SPORTS CRATE United States of America 25                  Registered   87/322,365 2017-02-02 5,628,491   2018-12-11 2024-12-11   2028-12-11
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160980-900179/US   SPORTS CRATE United States of America 26                  Registered   87/322,369 2017-02-02 5,628,492   2018-12-11 2024-12-11   2028-12-11


160980-900180/US   SPORTS CRATE United States of America 28                  Registered   87/322,372 2017-02-02 5,628,493   2018-12-11 2024-12-11   2028-12-11
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160980-900181/US   SPORTS CRATE United States of America 35                  Registered   87/322,374 2017-02-02 5,676,777   2019-02-12 2025-02-12   2029-02-12


160980-900194/US                   United States of America 25               Registered   87/349,274 2017-02-24 5,734,407   2019-04-23 2025-04-23   2029-04-23


160980-900195/US                   United States of America 26               Registered   87/349,276 2017-02-24 5,734,408   2019-04-23 2025-04-23   2029-04-23


160980-900196/US                   United States of America 28               Registered   87/349,278 2017-02-24 5,734,409   2019-04-23 2025-04-23   2029-04-23
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160980-900197/US                   United States of America 35               Registered   87/349,281 2017-02-24 5,734,410   2019-04-23 2025-04-23   2029-04-23
                                                                                                                                                                 Page 112 of 140
GD97=5@HM*D5FHB9F 7F5H9 D5FHB9FG2
@YSU^c_b*DQbd^Ub     HbQTU]Qb[c                                        Db_TeSd 7QdUW_bi                                     Hi`U                 HUbbYd_bi              8YcdbYRedY_^ 7XQ^^U\c      7bQdU :bUaeU^Si       =^YdYQ\ HUb]         @YSU^cU MUQbc         @YSU^cU EeQbdUbc        @YSU^cU :UU      F_iQ\di FQdU*DQi]U^dc                DQi]U^d GSXUTe\U            7ebbU^Si    ;eQbQ^dUUT F_iQ\dYUc           ;eQbQ^dUUT F_iQ\dYUc DQi]U^d            AQb[UdY^W   AQb[UdY^W G`U^T   AY^Y]e] BUd   FU^UgQ\   GU\\(CVV DUbY_T      FU^UgQ\            B_^(7_]`UdYdY_^             AQ^eVQSdebUb DbU(     @YSU^c_b*AQ^eVQSdebUb   :5A5 5``b_fQ\     AYcSU\\Q^U_ec*FUcdbYSdY_^c        5ccYW^]U^d_ V 8UcYW^c      ;YfUQgQi FUcdbYSdY_^c


B65 Db_`UbdYUc' =^S)         I=< hjgh]jla]k/l]Yek/eYk[glk af[dm\af_:   $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$       Igf-]p[dmkan]   Pfal]\ NlYl]k Yf\ >YfY\Y           G>(k @-[gee]j[]           =a-Hgfl`dq        11/2/17 - 9/30/20     11/2/17 - 9/30/20   GL1: 11/2/17 - 12/31/17       I/<                      12&                   30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %                  575,000                >gfljY[l Tj 1:                  I/<            I/<             I/<         I/<          90-?Yq             I/<                     T]k                        T]k                     T]k                   Ig         G> k`Ydd fgl mk], gj Yddgo Yfq     >gfljY[lgjk Yf\ Dfl]jfYd
                                                                                                                                                                                o]Zkal]                                                                          GL2: 1/1/18 - 3/31/18                               Aajkl >gklk                    da[]fk] imYjl]j                                                                   %0.00                                                                                                                                                                                                               3j\ hYjlq lg mk], Yfq Ga[]fk]\           @ehdgq]]k
$"B65 DQbd^Ub 5WbUU]U^d"% <ldYflY CYock - CYjjq l`] CYoc                                                                                                                                                                >gfljY[l Tj 1:        >gfljY[l Tj 1:     GL3: 4/1/18 - 6/30/18                                                                                                                                                                                                                                    @phaj]k                                                                                                                         Kjg\m[l Yk Y Kj]eame oal`gml
                          <ldYflY CYock - NcqCYoc                                                                                                                                QYmdl                                 11/2/17 - 9/30/18     11/2/17 - 9/30/18   GL4: 7/1/18 - 9/30/18                    +Aajkl >gkl lg e]Yf Ydd hjg\m[lk                                                                                       >gfljY[l Tj 2:                                                                           12/31/20                                                                                                                        hjagj ojall]f YhhjgnYd.               Agje ak hjgna\]\
                          >`Yjdgll] Cgjf]lk - Cm_g                                                                                                                                                                                                               GL5: 10/1/18 - 12/31/18                           kgd\/k`ahh]\                                                                                               %117, 500 Zq 10/31/18
                          >`a[Y_g =mddk - =]ffq l`] =mdd                                                                                                                   O`aj\ hYjlq gfdaf]                           >gfljY[l Tj 2:        >gfljY[l Tj 2:     GL6: 1/1/19 - 3/31/19                                                                                                                                         %117,500 Zq 4/30/19                                                                                                                                                                                                        Ig jgqYdla]k hYqYZd] lg I=<K
                          >d]n]dYf\ >YnYda]jk - Naj >.>.                                                                                                                    j]lYad]jk klja[ldq                         10/1/18 - 9/30/19     10/1/18 - 9/30/19   GL7: 4/1/19 - 6/30/19                                                                                                                                                                                                                                                                                                                                                                    k`Ydd Z] g^^k]l gj [j]\al]\
                          ?YddYk HYn]ja[ck - >`Yeh                                                                                                                      hjg`aZal]\ Zq Hal[`]dd '                                                                 GL8: 7/1/19 - 9/30/19                                                                                                                                            >gfljY[l Tj 3:                                                                                                                                                                                                          Y_Yafkl Yfq Hafaeme
                          ?]fn]j Im__]lk - Mg[cq                                                                                                                                  I]kk.                                 >gfljY[l Tj 3:        >gfljY[l Tj 3:     GL9: 10/1/19 - 12/31/19                                                                                                                                       %170,000 Zq 10/31/19                                                                                                                                                                                                       BmjYfl]]
                          Cgmklgf Mg[c]lk - >dml`                                                                                                                                                                      10/1/19 - 9/30/20     10/1/19 - 9/30/20   GL10: 1/1/20 - 3/31/20                                                                                                                                        %170,000 Zq 4/30/20
                          Df\aYfY KY[]jk - =gge]j                                                                                                                                                                                                                GL11: 4/1/20 - 6/30/20                                                                                                                                                                                                                                                                                                                                                                   Ig Kj]eame k`Ydd Z] g^^]j]\
                          H]eh`ak Bjarrda]k - Bjarr                                                                                                                                                                                                              GL12: 7/1/20 - 9/30/20                                                                                                                                ++DI <??DODJI OJ OC@ <=JQ@++                                                                                                                                                                                                       oal` l`] Ga[]fk] Kjg\m[lk
                          Haff]kglY OaeZ]jogdn]k - >jmf[`                                                                                                                                                                                                                                                                                                                                                              Yf #<m\al A]]# Ydkg Yhhda]k Yk ^gddgok:                                                                                                                                                                                            oal`gml hjagj ojall]f YhhjgnYd
                          I]o Jjd]Yfk K]da[Yfk - Ka]jj]                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ^jge I=<K
                          JcdY`geY >alq O`mf\]j - MmeZd] l`] =akgf                                                                                                                                                                                                                                                                                                                                                                >gfljY[l Tj 1:
                          K`g]fap Nmfk - O`] BgjaddY                                                                                                                                                                                                                                                                                                                                                                             %4,250 Yl ka_faf_                                                                                                                                                                                                        G> ak fgl hjg`aZal]\ ^jge
                          KgjldYf\ OjYad =dYr]jk - =dYr]                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  eYjc]laf_ Ga[]f]\ Kjg\m[lk
                          NY[jYe]flg Faf_k - NdYekgf                                                                                                                                                                                                                                                                                                                                                                              >gfljY[l Tj 2:                                                                                                                                                                                                          mkaf_ [j]Ylan] l][`faim]k
                          Ogjgflg MYhlgjk - O`] MYhlgj                                                                                                                                                                                                                                                                                                                                                                          %4,250 Zq 10/31/19                                                                                                                                                                                                        [gfkakl]fl oal` af\mkljq
                          RYk`af_lgf RarYj\k - B-Rar                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      hjY[la[], af[dm\af_, Zml fgl
                          RYk`af_lgf RarYj\k - B-HYf                                                                                                                                                                                                                                                                                                                                                                               >gfljY[l Tj 3:                                                                                                                                                                                                         daeal]\ lg, h]jag\a[ #kh][aYdk,#


K_b\TgYTU KbUcd\Y^W          <dd [ghqja_`lk Yf\ ljY\]eYjck gof]\ Zq    Kjg\m[lk hmj[`Yk]\ ^jge RR@(k Yml`gjar]\         Igf-]p[dmkan]            O]jjalgjq 1:              G>(k @-[gee]j[]         G>(k kgd] ghlagf   10/18/17 - 3/31/21    10/18/17 - 3/31/21   GL1: 10/1/17 - 12/31/17       I/<               14& g^ I]l NYd]k             30 \Yqk ^gddgoaf_ l`] ]f\ g^      PN?          %75,000 ^ajkl [gfljY[l             Aajkl >gfljY[l T]Yj:               I/<            I/<             I/<         I/<           I/<               I/<            ?mjaf_ l`] l]je Yf\ ^gj             T]k                      Ig                   Ig         Kjg`aZalagf <_Yafkl                      >gfljY[lgjk
9^dUbdQY^]U^d' =^S) $KK9%    RR@ lg Z] mk]\ h]j alk \ak[j]lagf         da[]fk]]k; Yf\                                                       Pfal]\ NlYl]k Yf\ alk               o]Zkal]                                                                          GL2: 1/1/18 - 3/31/18                                                           ]Y[` [Yd]f\Yj imYjl]j                              q]Yj                    %75,000 \m] mhgf ]p][mlagf                                                                                                      gf] q]Yj Y^l]j G> [Yffgl                                                                      Kj]eamek: RR@ \g]k fgl
                                                                                                                                        l]jjalgja]k, hgkk]kkagfk Yf\                                                                                             GL3: 4/1/18 - 6/30/18                                                                                                                                                                                                                                                                       hjg\m[] Yfq hjg\m[lk gj                                                                      _jYfl G> l`] ja_`l lg mk],           N]] Gaf\Y ^gj ^gje
$"KK9 DQbd^Ub                Kjg^]kkagfYd oj]kld]jk o`g `Yn] _jYfl]\   Kjg\m[lk hmj[`Yk]\ \aj][ldq ^jge RR@; Yf\                         hjgljY[lgjYl]k Yf\ >YfY\Y                                                                                               GL4: 7/1/18 - 9/30/18                                                                                                   %400,000 k][gf\ [gfljY[l             N][gf\ >gfljY[l T]Yj:                                                                                                         hjgna\] Yfq k]jna[]k )]._.                                                                    hjgegl], _an]YoYq gj kYd] Yl
5WbUU]U^d"%                  da[]fkaf_ ja_`lk lg RR@                                                                                              Yk o]dd Yk;                                                                                                    GL5: 10/1/18 - 12/31/18                                                                                                           q]Yj                       %100,000 \m] 3/31/17                                                                                                         Y\n]jlake]flk, hjgeglagfk                                                                      kmZklYflaYddq d]kk l`Yl mkmYd
                                                                       Kjg\m[lk eYfm^Y[lmj]\ Zq G>.                                                                                                                                                              GL6: 1/1/19 - 3/31/19                                                                                                                                        %100,000 \m] 6/30/17                                                                                                             Yf\/gj khgfkgjk`ahk*.                                                                      hja[], Yfq Ga[]fk]\ Kjg\m[l
                                                                                                                                                 O]jjalgjq 2:                                                                                                    GL7: 4/1/19 - 6/30/19                                                                                                    %200,000 l`aj\ [gfljY[l             %100,000 \m] 9/30/17                                                                                                           )Y* l`] fYe]k, dg_gk, gj                                                                     ^gj l`] hmjhgk] g^ af[j]Ykaf_
                                                                                                                                        <mkljYdaY, <mkljaY, =]d_ame,                                                                                             GL8: 7/1/19 - 9/30/19                                                                                                            q]Yj                        %100,000 \m] 12/31/17                                                                                                        gl`]j ljY\]eYjck gj k]jna[]                                                                    kYd] g^, gj hmZda[araf_, Yfq
                                                                                                                                         =md_YjaY, >jgYlaY, >qhjmk,                                                                                              GL9: 10/1/19 - 12/31/19                                                                                                                                                                                                                                                                   eYjck Ykkg[aYl]\ oal` Yfq                                                                      hjg\m[l gj k]jna[], gj km[`
                                                                                                                                        >r][` M]hmZda[, ?]feYjc,                                                                                                 GL10: 1/1/20 - 3/31/20                                                                                                  %100,000 ^gmjl` [gfljY[l               O`aj\ >gljY[l T]Yj:                                                                                                            hjg^]kkagfYd oj]kldaf_                                                                     gl`]j _an]oYoYq gj
                                                                                                                                          @klgfaY, AafdYf\, AjYf[],                                                                                              GL11: 4/1/20 - 6/30/20                                                                                                           q]Yj                          %50,000 \m] 3/31/18                                                                                                          gj_YfarYlagf gl`]j l`Yf                                                                      hjgeglagfYd k]jna[], oal`gml
                                                                                                                                        B]jeYfq, Bj]][], Cmf_Yjq,                                                                                                GL12: 7/1/20 - 9/30/20                                                                                                                                          %50,000 \m] 7/1/18                                                                                                                     RR@;                                                                              RR@(k hjagj ojall]f YhhjgnYd.
                                                                                                                                            Dj]dYf\, DlYdq, GYlnaY,                                                                                              GL13: 10/1/20 - 12/31/20                                                                                                 %100,000 ^a^l` [gfljY[l              %100,000 \m] 10/1/18                                                                                                           )Z* l`] fYe]k, dg_gk gj
                                                                                                                                          Gal`mYfaY, Gmp]eZgmj_,                                                                                                 GL14: 1/1/21 - 3/31/21                                                                                                           q]Yj                                                                                                                                                     gl`]j ljY\]eYjck gj k]jna[]                                                                    <dd ja_`lk j]dYlan] lg
                                                                                                                                          HYdlY, l`] I]l`]jdYf\k,                                                                                                                                                                                                                                                              Agmjl` >gfljY[l T]Yj:                                                                                                       eYjck Ykkg[aYl]\ oal` Yfq                                                                      #Kj]eamek# Yk al [gf[]jfk l`]
                                                                                                                                        KgdYf\, Kgjlm_Yd, MgeYfaY,                                                                                                                                                                                                                                                             %100,000 \m] 5/31/19                                                                                                             Zgpaf_ gj_YfarYlagf,                                                                      Ga[]fk]\ Kjg\m[lk Yj]
                                                                                                                                         NdgnYcaY, Ndgn]faY, NhYaf,                                                                                                                                                                                                                                                                                                                                                                                            hjg^]kkagfYd oj]kldaf_                                                                     j]k]jn]\ Zq Yf\ ^gj RR@(k
                                                                                                                                        No]\]f, Pfal]\ Faf_\ge,                                                                                                                                                                                                                                                                 Aa^l` >gfljY[l T]Yj:                                                                                                            [geh]lalagfk Yf\/gj                                                                       mk]. RR@ oadd `Yn] l`] ja_`l
                                                                                                                                         H]pa[g Yf\ I]o U]YdYf\                                                                                                                                                                                                                                                                %100,000 \m] 10/1/20                                                                                                             ]p`aZalagfk, YeYl]mj                                                                      lg ]phdgal km[` #Kj]eamek#
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              oj]kldaf_ gj_YfarYlagf,                                                                     oal`gml Yfq [geh]fkYlagf \m]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            eap]\ eYjlaYd Yjlk Yf\/gj                                                                     lg G>.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  mdlaeYl] ^a_`laf_
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    gj_YfarYlagf;                                                                         G> [Yffgl mk] Ga[]fk]\
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                )[* l`] fYe]k Yf\/gj                                                                      Kjg\m[lk Yk Y #Kj]eame# af
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 19-11791-BLS




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   dac]f]kk g^ Yfq                                                                        Yfq ^gje gj eYff]j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           hjg^]kkagfYd ojj]kld]jk fgl                                                                    o`Ylkg]n]j, af[dm\af_ Yk Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Ykkak[aYl]\ oal` RR;                                                                       eYjc]laf_ lggd ^gj l`] kYd] g^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Yf\/gj                                                                            gl`]j Ga[]f]\ Kjg\m[l.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           )\* lg l`] ]pl]fl h]jeall]\

IA6F9@@5 D5FHB9FG2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             AQ^eVQSdebUb DbU(                                                                               5ccYW^]U^d _V 8UcYW^c
                                                                                                                                                                                                                                                                                                                                                                                                                         ;eQbQ^dUUT F_iQ\dYUc DQi]U^d            AQb[UdY^W                     AY^Y]e] BUd                                                  5``b_fQ\ FUaeYbUT Ri         @YSU^c_b*AQ^eVQSdebUb     :5A5 5``b_fQ\                                  FUaeYbUT4
@YSU^c_b*DQbd^Ub             HbQTU]Qb[c                                Db_TeSd 7QdUW_bi                                     Hi`U                 HUbbYd_bi              8YcdbYRedY_^ 7XQ^^U\c      7bQdU :bUaeU^Si       =^YdYQ\ HUb]         @YSU^cU MUQbc         @YSU^cU EeQbdUbc        @YSU^cU :UU      F_iQ\di FQdU*DQi]U^dc                DQi]U^d GSXUTe\U            7ebbU^Si    ;eQbQ^dUUT F_iQ\dYUc                      HUb]c                         :e^T       AQb[UdY^W G`U^T      GQ\Uc      FU^UgQ\   GU\\(CVV DUbY_T   B_^(7_]`UdYdY_^         @YSU^c_b4                  :_b] FUaeYbUT4           FUaeYbUT             AYcSU\\Q^U_ec        ]-D>@INJM 'JMH 3@LPDM@?       ;YfUQgQi FUcdbYSdY_^c


57H === @YSU^cY^W' @@7)      O`] Kjaf[]kk =ja\]                        <[[]kkgja]k                                      Igf-]p[dmkan]           Rgjd\oa\]                  G>(k @-[gee]j[]              I/<           10/3/17 - 12/31/19    10/3/17 - 12/31/19   GL1: 10/3/17 - 12/31/17       I/<                       12&               30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`        PN?      %                     7,500            %3,750 Yl ka_faf_                  I/<            I/<             I/<         I/<          90-?Yq             I/<                     T]k                         Ig                      Ig                  I/<            >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       <hhYj]d                                                                                                  o]Zkal]                                                                          GL2: 1/1/18 - 3/31/18                    Aajkl >gklk g^ Ga[]fk]\ Kjg\m[lk       da[]fk] imYjl]j                                                               %3,750 \m] 12/31/18                                                                                                                                                                                                                 @ehdgq]]k
$"57H ===(I]RbU\\Q                                                     >gdd][laZd]k/Aa_mj]k                                                                                                                                                                      GL3: 4/1/18 - 6/30/18                                                                                                                                                                                                                                 @phaj]k 3/31/19
5WbUU]U^d"%                                                            Cgmk]oYj]k                                                                                                QYmdl                                                                           GL4: 7/1/18 - 9/30/18                       +Aajkl >gklk lg e]Yf _jgkk                                                                                                                                                                                                                                                                                                                        N]] Gaf\Y ^gj Agje
                                                                       CYj\daf]k                                                                                                                                                                                 GL5: 10/1/18 - 12/31/18                      afnga[] Yegmfl Zadd]\ Zq
                                                                       Ng^ldaf]k                                                                                                                                                                                 GL6: 1/1/19 - 3/31/19                       eYfm^Y[lmj]j g^ Ga[]fk]\
                                                                                                                                                                                                                                                                 GL7: 4/1/19 - 6/30/19                    Kjg\m[lk, d]kk k`ahhaf_/`Yf\daf_,
                                                                                                                                                                                                                                                                 GL8: 7/1/18 - 9/30/18                      [mklgek/\mla]k Yf\ hjg\m[l
                                                                                                                                                                                                                                                                 GL9: 10/1/18 - 12/31/18                               l]klaf_
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Doc 144




5^Y`\Uh _V 5]UbYSQ' =^S)     >]ddk <l Rgjc                             <[[]kkgja]k; _a^lk/[gdd][laZd]k; `Yj\daf]k;      Igf-@p[dmkan]        PN<, PF, >YfY\Y,              G>(k @-[gee]j[]              I/<            >]ddk <l Rgjc:        >]ddk <l Rgjc:      GL1: 6/1/18 - 6/30/18         I/<                      I/<                   30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %                     3,000             %3,000 Yl ka_faf_                 I/<            I/<             I/<         I/<         180-?Yq             I/<                     T]k                        T]k                      Ig                  I/<            >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       `gmk]oYj]k; kg^ldaf]k; lgqk/^a_mj]k, YhhYj]d                         <mkljYdaY, B]jeYfq,                 o]Zkal]                                6/1/18 - 5/31/20      6/1/18 - 5/31/20    GL2: 7/1/18 - 9/30/18                                                              da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                @ehdgq]]k
$"5^Y`\Uh I]RbU\\Q                                                                                                                           IgjoYq, No]\]f,                                                                                                     GL3: 10/1/18 - 12/31/18                                                                                                                                                                                                                               >]ddk <l Rgjc
5WbUU]U^d(7U\\c Qd K_b["%                                                                                                               I]l`]jdYf\k, I]o U]YdYf\,                QYmdl                                                                           GL4: 1/1/19 - 3/31/19                                                                                                                                                                                                                                   @phaj]k:                                                                                                                               N]] Oqd]j ^gj Agje
                                                                                                                                          ?]feYjc, AjYf[], NhYaf,                                                                                                GL5: 4/1/19 - 6/30/19                                                                                                                                                                                                                                   11/30/20
                                                                                                                                        Dj]dYf\, Noalr]jdYf\, DkjY]d,                                                                                            GL6: 7/1/19 - 9/30/19
                                                                                                                                           <mkljaY, DlYdq, AafdYf\,                                                                                              GL7: 101/1/19 - 12/31/19
                                                                                                                                         =]d_ame, H]pa[g, KgdYf\,                                                                                                GL8: 1/1/20 - 3/31/20
                                                                                                                                           Kgjlm_Yd, Ngml` <^ja[Y,                                                                                               GL9: 4/1/20 - 6/30/20
                                                                                                                                         <j_]flafY, >`ad], Omjc]q,                                                                                               GL10: 7/1/20 - 9/30/20
                                                                                                                                         >gdgeZaY, D[]dYf\, >r][`                                                                                                GL11: 10/1/20 - 12/31/20
                                                                                                                                          M]hmZda[, Gmp]eZgmj_,
                                                                                                                                                  Cmf_Yjq

5^Y`\Uh _V 5]UbYSQ' =^S)     Nogj\ <jl Jfdaf]                          <[[]kkgja]k; _a^lk/[gdd][laZd]k; `Yj\daf]k;      Igf-@p[dmkan]        PN<, PF, >YfY\Y,              G>(k @-[gee]j[]              I/<           Nogj\ <jl Jfdaf]:     Nogj\ <jl Jfdaf]:    GL1: 7/1/18 - 9/30/18         I/<                      I/<                   30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %                    20,000            %10,000 \m] 7/1/18                 I/<            I/<             I/<         I/<         180-?Yq             I/<                     T]k                        T]k                      Ig                  I/<            >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       `gmk]oYj]k; kg^ldaf]k; lgqk/^a_mj]k, YhhYj]d                         <mkljYdaY, B]jeYfq,                 o]Zkal]                                7/1/18 - 6/30/21      7/1/18 - 6/30/21    GL2: 10/1/18 - 12/31/18                                                            da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                @ehdgq]]k
$"5^Y`\Uh I]RbU\\Q                                                                                                                           IgjoYq, No]\]f,                                                                                                     GL3: 1/1/19 - 3/31/19                                                                                                                                         %10,000 \m] 6/30/19                                                                       Nogj\ <jl
5WbUU]U^d(Gg_bT 5bd"%                                                                                                                   I]l`]jdYf\k, I]o U]YdYf\,                QYmdl                                                                           GL4: 4/1/19 - 6/30/19                                                                                                                                                                                                                                     Jfdaf]                                                                                                                               N]] Oqd]j ^gj Agje
                                                                                                                                          ?]feYjc, AjYf[], NhYaf,                                                                                                GL5: 7/1/19 - 9/30/19                                                                                                                                                                                                                                    @phaj]k:
                                                                                                                                        Dj]dYf\, Noalr]jdYf\, DkjY]d,                                                                                            GL6: 101/1/19 - 12/31/19                                                                                                                                                                                                                                 12/31/21
                                                                                                                                           <mkljaY, DlYdq, AafdYf\,                                                                                              GL7: 1/1/20 - 3/31/20
                                                                                                                                         =]d_ame, H]pa[g, KgdYf\,                                                                                                GL8: 4/1/20 - 6/30/20
                                                                                                                                           Kgjlm_Yd, Ngml` <^ja[Y,                                                                                               GL9: 7/1/20 - 9/30/20
                                                                                                                                         <j_]flafY, >`ad], Omjc]q,                                                                                               GL10: 10/1/20 - 12/31/20
                                                                                                                                         >gdgeZaY, D[]dYf\, >r][`                                                                                                GL11: 1/1/21 - 3/31/21
                                                                                                                                          M]hmZda[, Gmp]eZgmj_,                                                                                                  GL12: 4/1/21 - 6/30/21
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Filed 09/10/19




                                                                                                                                                  Cmf_Yjq                                                                                                        GL13: 7/1/21 - 9/30/21
                                                                                                                                                                                                                                                                 GL14: 10/1/21 - 12/31/21

5^Y`\Uh _V 5]UbYSQ' =^S)     AYl] NlYq Ia_`l C]Yn]f(k A]]d DD          <[[]kkgja]k; _a^lk/[gdd][laZd]k; `Yj\daf]k;      Igf-@p[dmkan]        PN<, PF, >YfY\Y,              G>(k @-[gee]j[]              I/<            12/1/18 - 4/30/21     12/1/18 - 4/30/21   GL1: 12/1/18 - 12/31/18       I/<                      I/<                   30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %                     5,000             %5,000 Yl ka_faf_                 I/<            I/<             I/<         I/<           I/<               I/<                     T]k                        T]k                      Ig                  I/<            >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       `gmk]oYj]k; kg^ldaf]k; lgqk/^a_mj]k, YhhYj]d                         <mkljYdaY, B]jeYfq,                 o]Zkal]                                                                          GL2: 1/1/19 - 3/31/19                                                              da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                @ehdgq]]k
$"5^Y`\Uh I]RbU\\Q                                                                                                                           IgjoYq, No]\]f,                                                                                                     GL3: 4/1/19 - 6/30/19
5WbUU]U^d(:QdU GdQi"%                                                                                                                   I]l`]jdYf\k, I]o U]YdYf\,                QYmdl                                                                           GL4: 7/1/19 - 9/30/19                                                                                                                                                                                                                                                                                                                                                                          N]] Oqd]j ^gj Agje
                                                                                                                                          ?]feYjc, AjYf[], NhYaf,                                                                                                GL5: 101/1/19 - 12/31/19
                                                                                                                                        Dj]dYf\, Noalr]jdYf\, DkjY]d,                                                                                            GL6: 1/1/20 - 3/31/20
                                                                                                                                           <mkljaY, DlYdq, AafdYf\,                                                                                              GL7: 4/1/20 - 6/30/20
                                                                                                                                         =]d_ame, H]pa[g, KgdYf\,                                                                                                GL8: 7/1/20 - 9/30/20
                                                                                                                                           Kgjlm_Yd, Ngml` <^ja[Y,                                                                                               GL9: 10/1/20 - 12/31/20
                                                                                                                                         <j_]flafY, >`ad], Omjc]q,                                                                                               GL10: 1/1/21 - 3/31/21
                                                                                                                                         >gdgeZaY, D[]dYf\, >r][`                                                                                                GL11: 4/1/21 - 4/30/21
                                                                                                                                          M]hmZda[, Gmp]eZgmj_,
                                                                                                                                                  Cmf_Yjq

5fUh DYSdebUc' =^S)          KacYlYjg(k GmddYZq GYGY=q                 KacYlYjg(k GmddYZq GYGY=q:                       Igf-@p[dmkan]        PN<, PF, >YfY\Y,              G>(k @-[gee]j[]              I/<           KacYlYjg(k GmddYZq    KacYlYjg(k GmddYZq   GL1: 8/30/17 - 9/30/17        I/<                       10&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`       PN?           KacYlYjg(k GmddYZq            KacYlYjg(k GmddYZq GYGY=q:             I/<            I/<             I/<         I/<         180-?Yq             I/<                     T]k                        T]k                      Ig                  I/<            >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       <[[]kkgja]k; `Yj\daf]k; `gmk]oYj]k; kg^ldaf]k;                       <mkljYdaY, B]jeYfq,                 o]Zkal]                                    GYGY=q:               GYGY=q:         GL2: 10/1/17 - 12/31/17                  Aajkl >gklk g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j                                 GYGY=q:                        %5,000 Yl ka_faf_                                                                                                                                                                                                                 @ehdgq]]k
$"5fUh I]RbU\\Q 5WbUU]U^d(                                             lgqk/^a_mj]k                                                          IgjoYq, No]\]f,                                                          8/30/17 - 12/31/19    8/30/17 - 12/31/19   GL4: 1/1/18 - 3/31/18                                                                                                             %5,000                                                                                                              @phaj]k 6/30/20
DY[QdQb_"                                                                                                                               I]l`]jdYf\k, I]o U]YdYf\,                QYmdl                                                                           GL5: 4/1/18 - 6/30/18                                                                                                                                                                                                                                                                                                                                                                          N]] Oqd]j ^gj Agje
                                                                                                                                          ?]feYjc, AjYf[], NhYaf,                                                                                                GL6: 7/1/18 - 9/30/18
                                                                                                                                        Dj]dYf\, Noalr]jdYf\, DkjY]d,                                                                                            GL7: 101/1/18 - 12/31/18
                                                                                                                                           <mkljaY, DlYdq, AafdYf\,                                                                                              GL8: 1/1/19 - 3/31/19
                                                                                                                                         =]d_ame, H]pa[g, KgdYf\,                                                                                                GL9: 4/1/19 - 6/30/19
                                                                                                                                           Kgjlm_Yd, Ngml` <^ja[Y,                                                                                               GL10: 7/1/19 - 9/30/19
                                                                                                                                         <j_]flafY, >`ad], Omjc]q,                                                                                               GL11: 10/1/19 - 12/31/19
                                                                                                                                         >gdgeZaY, D[]dYf\, >r][`
                                                                                                                                          M]hmZda[, Gmp]eZgmj_,
                                                                                                                                                  Cmf_Yjq

5fUh DYSdebUc' =^S)          FYc]_mjma                                 FYc]_mjma:                                       Igf-@p[dmkan]        PN<, PF, >YfY\Y,              G>(k @-[gee]j[]              I/<               FYc]_mjma:            FYc]_mjma:      GL1: 10/1/17 - 12/31/17        I/<                       10&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`       PN?               FYc]_mjma                          FYc]_mjma                     I/<            I/<             I/<         I/<         180-?Yq             I/<                     T]k                        T]k                      Ig                  I/<            >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       <[[]kkgja]k; `Yj\daf]k; `gmk]oYj]k; kg^ldaf]k;                       <mkljYdaY, B]jeYfq,                 o]Zkal]                               10/17/17 - 12/31/19   10/17/17 - 12/31/19 GL2: 1/1/18 - 3/31/18                     Aajkl >gklk g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j                                  %7,500                        %2,500 Yl ka_faf_                                                                                                                                                                                                                 @ehdgq]]k
$"5fUh I]RbU\\Q 5WbUU]U^d(                                             lgqk/^a_mj]k; YhhYj]d                                                 IgjoYq, No]\]f,                                                                                                    GL3: 4/1/18 - 6/30/18                                                                                                                                            %5,000 Zq 3/31/18                                                                     @phaj]k 6/30/20
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Page 113 of 140




?Q[UWebeY"                                                                                                                              I]l`]jdYf\k, I]o U]YdYf\,                QYmdl                                                                          GL4: 7/1/18 - 9/30/18                                                                                                                                                                                                                                                                                                                                                                           N]] Oqd]j ^gj Agje
                                                                                                                                          ?]feYjc, AjYf[], NhYaf,                                                                                               GL5: 101/1/18 - 12/31/18
                                                                                                                                        Dj]dYf\, Noalr]jdYf\, DkjY]d,                                                                                           GL6: 1/1/19 - 3/31/19
                                                                                                                                           <mkljaY, DlYdq, AafdYf\,                                                                                             GL7: 4/1/19 - 6/30/19
                                                                                                                                         =]d_ame, H]pa[g, KgdYf\,                                                                                               GL8: 7/1/19 - 9/30/19
                                                                                                                                           Kgjlm_Yd, Ngml` <^ja[Y,                                                                                              GL9: 10/1/19 - 12/31/19
                                                                                                                                         <j_]flafY, >`ad], Omjc]q,
                                                                                                                                         >gdgeZaY, D[]dYf\, >r][`
                                                                                                                                          M]hmZda[, Gmp]eZgmj_,
                                                                                                                                                  Cmf_Yjq
6Q^TQY BQ]S_ 9^dUbdQY^]U^d KY[-HYf                                    CYj\daf]k                                                Igf-@p[dmkan]      Rgjd\oa\]           G>(k @-[gee]j[]           I/<        11/1/17 - 12/31/19    11/1/17 - 12/31/19   GL1: 11/1/17 - 12/31/17    I/<                  12&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?       KY[-HYf/BYdY_Y/?a_             KY[-HYf/BYdY_Y/?a_           I/<    I/<     I/<   I/<      60-?Yqk        I/<   T]k   T]k   Ig               I/<               >gfljY[lgjk Yf\ Dfl]jfYd
5]UbYSQ' =^S)              BYdY_Y                                     Ng^ldaf]k                                                                                            o]Zkal]                                                                    GL2: 1/1/18 - 3/31/18                 Aajkl >gklk g^ hjg\m[lk              da[]fk] imYjl]j                      ?m_/O]cc]f/Ngmd         ?m_/O]cc]f/Ngmd >YdaZmj/FYlYeYja                                                                                                           @ehdgq]]k
                           ?a_ ?m_                                    <[[]kkgja]k                                                                                                                                                                     GL3: 4/1/18 - 6/30/18                       kgd\/k`ahh]\                                                        >YdaZmj/FYlYeYja                    ?YeY[q:                                              @phaj]k:
$"6B95 I]RbU\\Q            O]cc]f                                     Ba^lk/>gdd][laZd]k                                                                                    QYmdl                                                                     GL4: 7/1/18 - 9/30/18                                                                                               ?YeY[q:                     %5,000 Yl ka_faf_                                        2/28/20                                                               N]] Gaf\Y ^gj Agje
5WbUU]U^d"%                Ngmd >YdaZmj                               Cgmk]oYj]k                                                                                                                                                                      GL5: 10/1/18 - 12/31/18                                                                                             %12,500                   %7,500 \m] 12/31/18
                           FYlYeYja ?YeY[q                            Ogqk/Aa_mjaf]k                                                                                                                                                                  GL6: 1/1/19 - 3/31/19
                           ?Yjc Ngmdk                                                                                                                                                                                                                 GL7: 4/1/19 - 6/30/19                                                                                          ?Yjc Ngmdk ^jYf[`ak]:          ?Yjc Ngmdk ^jYf[`ak]:
                           ?Yjc Ngmdk DD                                                                                                                                                                                                              GL8: 7/1/19 - 9/30/19                                                                                                %2,500                    %2,500 Yl ka_faf_
                           ?Yjc Ngmdk DDD                                                                                                                                                                                                             GL9: 10/1/19 - 12/31/19

6\YjjQbT 9^dUbdQY^]U^d' =^S)   ?aYZdg                                 <hhYj]d:                                                 Igf-@p[dmkan]      Rgjd\oa\]           G>(k @-[gee]j[]           I/<        10/1/17 - 12/31/19    10/1/17 - 12/31/19   GL1: 10/1/17 - 12/31/17    I/<                  14&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?             %85,000                    %42,500 Yl ka_faf_         I/<   %1,000   I/<   I/<       90-?Yq        I/<   T]k   T]k   T]k     <hhjgnYd j]im]kl lg Z]              I/<
                               C]Yjl`klgf]                            O-k`ajlk, No]Ylk`ajlk, Cgg\a]k, Ad]][] Oghk,                                                         o]Zkal]                                                                    GL2: 1/1/18 - 3/31/18               Aajkl >gklk lg HYfm^Y[lmj]             da[]fk] imYjl]j                                                    %15,000 \m] 12/31/18                                                                               kmZeall]\ lg da[]fkgj ^gj
$"6\YjjQbT I]RbU\\Q            C]jg]k g^ l`] Nlgje                    G]__af_k, EY[c]lk, =gp]jk Yf\ Nd]]ho]Yj                                                                                                                                         GL3: 4/1/18 - 6/30/18                                                                                                                           %20,000 \m] 7/1/19                                       @phaj]k:                                 eYfm^Y[lmj]j YhhjgnYd
5WbUU]U^d"%                    Jn]joYl[`                                                                                                                                    QYmdl                                                                     GL4: 7/1/18 - 9/30/18                                                                                                                          %7,500 \m] 12/31/19                                       3/31/20
                               NlYj[jY^l                              <[[]kkgja]k:                                                                                                                                                                    GL5: 10/1/18 - 12/31/18                                                                                                                                                                                                                         NlYf\Yj\ Yf\ >]jla^a[Ylagf
                               Rgjd\ g^ RYj[jY^l                      =Y_k, =Y[chY[ck, RYdd]lk, NeYdd G]Yl`]j Bgg\k,                                                                                                                                  GL6: 1/1/19 - 3/31/19                                                                                                                                                                                                                                lg Z] ka_f]\ Zq
                                                                      F]q >`Yafk, CYlk, =]Yfa]k, GYfqYj\k, Ng[ck,                                                                                                                                     GL7: 4/1/19 - 6/30/19                                                                                                                                                                                                                               HYfm^Y[lmj]j Yf\
                                                                      KYl[`]k, AdYk`da_`lk, KYkk Cgd\]jk, H]\Yddagfk Yf\                                                                                                                              GL8: 7/1/19 - 9/30/19                                                                                                                                                                                                                                   fglYjar]\
                                                                      E]o]djq                                                                                                                                                                         GL9: 10/1/19 - 12/31/19

                                                                      Cge] ?][gj/?jafcoYj]/Cgmk]oYj]k:
                                                                      Hm_k, Nl]afk, BdYkk]k, N`gl BdYkk]k, Gmf[`Zgp]k,
                                                                      OYZd]oYj], ?jafcoYj], >gYkl]jk, N[jgddk, Hajjgjk
                                                                      Yf\ RYdd <jl

                                                                      KmZdak`af_/Kjafl]\ Bgg\k:
                                                                      Kgkl]jk, Kgkl[Yj\k, Nla[c]jk, >Yd]f\Yjk, >gdd][lgj(k
                                                                      >Yj\k, Agd\]jk, Kgjl^gdagk, =Y[c-lg-N[`ggd
                                                                      NlYlagfYjq

                                                                      Ogqk/Aa_mjaf]k:
                                                                      <f\ Y\\alagfYd al]ek oadd Z] [gfka\]j]\ gf Y [Yk]-
                                                                      Zq-[Yk] ZYkak

7Qbd__^ BUdg_b[ 9^dUb`bYcUc' <\n]flmj] Oae]                           <hhYj]d:                                                 Igf-@p[dmkan]      Rgjd\oa\]           G>(k @-[gee]j[]           I/<         7/1/16 - 12/31/21     7/1/16 - 12/31/21   /0%. +#%#%* " -#'$#%*      I/<                   8&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?            %150,000                   %25,000 Zq 4/6/19           I/<    I/<     I/<   I/<      90-?Yqk        I/<   T]k   Ig    T]k              I/<                        I/<
=^S)                         O`] Kgo]jhm^^ Bajdk                      O-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                               o]Zkal]                                                                    /0&. %$#%#%* " %&#'%#%*           ^ajkl [gkl g^ Ma[c Yf\ Hgjlq l-          da[]fk] imYjl]j
                             Nl]n]f Pfan]jk]                          bY[c]lk, Zgp]jk, kd]]ho]Yj                                                                                                                                                      /0'. %#%#%+ " '#'%#%+             k`ajl ^gj Emdq 2016 eYaf [jYl]                                                                               %25,000 Zq 8/31/19                                     @phaj]k 3/31/22
$"7B I]RbU\\Q 5WbUU]U^d"% Ma[c Yf\ Hgjlq                                                                                                                                    QYmdl                                                                     /0(. (#%#%+ " *#'$#%+
                             NYemjYa EY[c                             <[[]kkgja]k:                                                                                                                                                                    /0). +#%#%+ " -#'$#%+                           11&                                                                                            %25,000 Zq 2/28/20
                             >gmjY_] l`] >goYj\dq ?g_                 =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k, hafk,                                                                                                                            /0*. %$#%#%+ " %&#'%#%+            ^ajkl [gkl gf Ydd al]ek af [gj]
                             ?]pl]j(k GYZgjYlgjq                      c]q [`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                                                                                            /0+. %#%#%, " '#'%#%,                           [jYl]                                                                                          %25,000 Zq 8/31/20
                             Agkl]j(k Cge] ^gj DeY_afYjq Aja]f\k      ^dYk`da_`lk, hYkkhgjl `gd\]j, e]\Yddagfk, b]o]djq                                                                                                                               /0,. (#%#%, " *#'$#%,
                             Q]flmj] =jgk.                                                                                                                                                                                                            /0-. +#%#%, " -#'$#%,                           15&                                                                                            %50,000 Zq 8/31/21
                             O`] <eYraf_ Rgjd\ g^ BmeZYdd             Cge] ?][gj/?jafcoYj]/Cgmk]oYj]:                                                                                                                                                 /0%$. %$#%#%, "                    ^ajkl [gkl gf fgf-[gj] [jYl]k
                             R] =Yj] =]Yjk                            Hm_k, _dYkk]k, kl]afk, k`gl _dYkk]k, dmf[` Zgp]k,                                                                                                                               %&#'%#%,
                             NhY[] B`gkl >gYkl lg >gYkl               lYZd]oYj], \jafcoYj], [gYkl]jk, eajjgjk, oYdd Yjl                                                                                                                               /0%%. %#%#%- " '#'%#%-                          6&
                             Eg`ffq =jYng                                                                                                                                                                                                             /0%&. (#%#%- " *#'$#%-           M]lYad Kja[] g^ ?]\a[Yl]\ >jYl]k
                             >go Yf\ >`a[c]f                          Kjafl]\ Bgg\k:                                                                                                                                                                  /0%'. +#%#%- " -#'$#%-
                             @\, @\\ ' @\\q                           Kgkl]jk, hgkl [Yj\k, kla[c]jk, [Yd]f\Yjk, [gdd][lgj                                                                                                                             /0%(. %$#%#%- "                     +Ig jgqYdla]k gf hjg\m[lk
                                                                                                                                                                                                                                                      %&#'%#%-
                             O`] Bjae <\n]flmj]k g^ =addq Yf\ HYf\q   [Yj\k, ^gd\]jk, hgjl^gdagk, ZY[c-lg-k[`ggd klYlagfYjq                                                                                                                                                                eYfm^Y[lmj]\ Zq G> ^gj
                                                                                                                                                                                                                                                      /0%). %#%#&$ " '#'%#&$
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Case 19-11791-BLS




                             M]_mdYj N`go                                                                                                                                                                                                                                                 af[dmkagf af l`] ?]\a[Yl]\
                                                                                                                                                                                                                                                      /0%*. (#%#&$ " *#'$#&$
                             Jn]j l`] BYj\]f RYdd                     Ogqk/Kdmk`/>gdd][laZd]k/Ign]dlq:                                                                                                                                                                                              >jYl]k
                                                                                                                                                                                                                                                      /0%+. +#%#&$ " -#'$#&$
                             H]lYdg[Ydqhk]                            Aa_mj]k, \agjYeYk, Zmklk, `gmk]oYj]k,
                                                                                                                                                                                                                                                      /0%,. %$#%#&$ "
                             <imY O]]f Cmf_]j Agj[]                   fgn]dlq/aehmdk] al]ek, Ydd mhgf_ >I(k YhhjgnYd
                                                                                                                                                                                                                                                      %&#'%#&$
                             MgZgl >`a[c]f
                                                                                                                                                                                                                                                      /0%-. %#%#&% " '#'%#&%
                                                                                                                                                                                                                                                      /0&$. (#%#&% " *#'$#&%
                                                                                                                                                                                                                                                      /0&%. +#%#&% " -#'$#&%
                                                                                                                                                                                                                                                      /0&&. %$#%#&% "
                                                                                                                                                                                                                                                      %&#'%#&%




76G 7_^ce]Ub Db_TeSdc' =^S)    +050>3;387 *0:30;@                     <hhYj]d, af[dm\af_:                                      Igf-]p[dmkan]      Rgjd\oa\]           G>(k ]-[gee]j[]        =a-Hgfl`dq    12/8/16 - 12/31/19    12/8/16 - 12/31/19   GL1: 12/8/16 - 12/31/16    I/<                 12&                   30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?   %                   25,000         %10,000 \m] 12/31/17         I/<    I/<     I/<   I/<     180-?Yqk        I/<   I/<   T]k   Ig                Ig                        I/<
                               4O<M 5M@FW 5C@ 0MDBDI<G 4@MD@N         O-k`aljk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                              o]Zkal]                                                                     GL2: 1/1/17 - 3/31/17                  >gkl g^ Bgg\k kgd\+                 da[]fk] imYjl]j
$"76G I]RbU\\Q 5WbUU]U^d(                                             bY[c]lk, Zgp]jk Yf\ kd]]hoYj]                                                                                                                                                   GL3: 4/1/17 - 6/30/17                                                                                                                         %7,500 \m] 12/31/18                                     @phaj] 6/30/20
GdQb HbU["%
                               4O<M 5M@FW 5C@ /@SO (@I@M<ODJI                                                                                                      OjY\] k`gok )mhgf hjagj                                                            GL4: 7/1/17 - 9/30/17            +>gkl g^ Bgg\k lg e]Yf l`] [gkl
                               4O<M 5M@FW &IO@MKMDN@                  <[[]kkgja]k, af[dm\af_:                                                                         ojall]f YhhjgnYd*                                                               GL5: 10/1/17 - 12/31/17             Zgjf] Zq G> gj Yfq g^ alk                                                                                 %7,500 \m] 12/31/19
                               4O<M 5M@FW %@@K 4K<>@ /DI@             =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k,                                                                                                                                  GL6: 1/1/18 - 3/31/18                Y^^adaYl]\, Ykkg[aYl]\ gj
                                                                      c]q[`Yafk, `Ylk, dYfqYj\k, kg[ck, hYl[`]k, ^dYk`da_`k,                                        M]lYad]jk )mhgf hjagj                                                             GL7: 4/1/18 - 6/30/18              kmZka\aYjq [gehYfa]k g^ l`]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Doc 144




                               4O<M 5M@FW 7JT<B@M
                                                                      hYf `gd\]jk, e]\Yddagfk Yf\ b]o]djq                                                            ojall]f YhhjgnYd*                                                                GL8: 7/1/18 - 9/30/18                eYfm^Y[lmj] g^ Ga[]fk]\
                               4O<M 5M@FW 5C@ "IDH<O@? 4@MD@N
                                                                                                                                                                                                                                                      GL9: 10/1/18 - 12/31/18          <jla[d]k [gf[]jf]\, oal`gml Yfq
                                                                      Cge] ?][gj:                                                                                   +N]] Hak[. [gdmef Yl                                                              GL10: 1/1/19 - 3/31/19               \]\m[lagfk o`Ylkg]n]j.
                               +20-<:3.-5 '8<387 )3.<=:0;@            ?jafcoYj] Yf\ `gmk]oYj]k, af[dm\af_ [gYkl]jk,                                                 l`] ]f\ ^gj Y\\alagfYd                                                            GL11: 4/1/19 - 6/30/19
                               4O<M 5M@FW 5C@ .JODJI 1D>OPM@          lYZd]oYj], k[jgddk, eajjgjk Yf\ oYdd Yjl                                                           af^gjeYlagf                                                                  GL12: 7/1/19 - 9/30/19
                               4O<M 5M@FW 5C@ 8M<OC JA ,C<I                                                                                                                                                                                           GL13: 10/1/19 - 12/31/19
                                                                      Kjafl eYl]jaYdk, af[dm\af_:
                               4O<M 5M@FW 5C@ 4@<M>C AJM 4KJ>F        Kgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk, [gdd][lgj
                               4O<M 5M@FW 5C@ 7JT<B@ )JH@             [Yj\k, ^gd\]jk, hgjl^gdagk, k[`ggd klYlagfYjq, [gea[
                               4O<M 5M@FW 5C@ 'DI<G 'MJIOD@M          Zggck Yf\ _jYh`a[ fgn]dk
                               4O<M 5M@FW 5C@ 6I?DN>JQ@M@? $JPIOMT
                                                                      Ogqk/Kdmk`/>gdd][laZd]k/Ign]dlq, af[dm\af_:
                               4O<M 5M@F (@I@M<ODJIN
                                                                      Aa_mj]k, \agjYeYk, Zmklk Yf\ fgn]dlq/aehmdk] al]ek
                               4O<M 5M@FW 'DMNO $JIO<>O
                               4O<M 5M@FW *INPMM@>ODJI                +Jl`]j al]ek Yhhjgn]\ Zq >=N gf Y [Yk]-Zq-[Yk]
                               4O<M 5M@F /@H@NDN                      ZYkak
                               4O<M 5M@F 9* [baae M@=JJO\
                                                                      ++NYa\ Yjla[d]k [Yf Z] ^]Ylmj]\ af gja_afYd [jYl]k
                               4O<M 5M@F *IOJ %<MFI@NN                [gflYafaf_ l`] Ga[]fk]\ <jla[d]k Zmf\d]\ lg_]l`]j
                               4O<M 5M@F #@TJI?                       oal` gl`]j ZjYf\]\ [gkme]j e]j[`Yf\ak]



7bUQdYfU @YSU^cY^W             =add ' O]\ @p[]dd]fl <\n]flmj]         <KK<M@G:                                                 Igf-@p[dmkan]      Rgjd\oa\]           G>(k @-[gee]j[]           I/<        9/13/16 - 12/31/20    9/13/16 - 12/31/20   GL1: 9/13/16 - 9/30/16     I/<                  10&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?               I/<                            I/<                  I/<    I/<     I/<   I/<      90-\Yqk        I/<   T]k   Ig    I/<              I/<               >gfljY[lgjk Yf\ Dfl]jfYd
7_b`_bQdY_^                    =add ' O]\(k =g_mk Egmjf]q             O-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                               o]Zkal]                                                                    GL2: 10/1/16 - 12/31/16          Aajkl >gklk g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                           @ehdgq]]k
                                                                      bY[c]lk, Zgp]jk, kd]]ho]Yj                                                                                                                                                      GL3: 1/1/17 - 3/31/17
$"7bUQdYfU @YSU^cY^W                                                  <>>@NNJMD@N:                                                                                          QYmdl                                                                     GL4: 4/1/17 - 6/30/17                                                                                                                                                                                                                                                          N]] Gaf\Y ^gj Agje
I]RbU\\Q 5WbUU]U^d"%                                                  =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k, c]q                                                                                                                              GL5: 7/1/17 - 9/30/17
                                                                      [`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                                                                                                GL6: 10/1/17 - 12/31/17
                                                                      ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk Yf\ b]o]djq                                                                                                                               GL7: 1/1/18 - 3/31/18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Filed 09/10/19




                                                                      CJH@ ?@>JM/CJPN@R<M@N                                                                                                                                                           GL8: 4/1/18 - 6/30/18
                                                                      ?jafcoYj], em_k, _dYkk]k, kl]afk, k`gl _dYkk]k,                                                                                                                                 GL9: 7/1/18 - 9/30/18
                                                                      dmf[`Zgp]k, lYZd]oYj], [gYkl]jk, k[jgddk, eajjgjk Yf\                                                                                                                           GL10: 10/1/18 - 12/31/18
                                                                      oYdd Yjl                                                                                                                                                                        GL11: 1/1/19 - 3/31/19
                                                                      KP=GDNCDIB/KMDIO@? BJJ?N:                                                                                                                                                       GL12: 4/1/19 - 6/30/19
                                                                      Kgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk, [gdd][lgj(k                                                                                                                            GL13: 7/1/19 - 9/30/19
                                                                      [Yj\k, ^gd\]jk, hgjl^gdagk Yf\ ZY[c-lg-k[`ggd                                                                                                                                   GL14: 10/1/19 - 12/31/19
                                                                      klYlagfYjq                                                                                                                                                                      GL15: 1/1/20 - 3/31/20
                                                                      OJTN/IJQ@GOT DO@HN:                                                                                                                                                             GL16: 4/1/20 - 6/30/20
                                                                      =gZZd] `]Y\k, \agjYeYk, eafa-^a_mj]k Yf\ Zmklk                                                                                                                                  GL17: 7/1/20 - 9/30/20
                                                                                                                                                                                                                                                      GL18: 10/1/20 - 12/31/20

7bi`d_^ :edebU AUTYQ' =^S)     CYlkmf] Hacm                           <[[]kkgja]k                                              Igf-@p[dmkan]      Rgjd\oa\]           G>(k @-[gee]j[]           I/<         2/1/18 - 12/31/19     2/1/18 - 12/31/19   GL1: 2/1/18 - 3/31/18      I/<                  10&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?               I/<                            I/<                  I/<    I/<     I/<   I/<      90-\Yqk        I/<   T]k   Ig    I/<              I/<               >gfljY[lgjk Yf\ Dfl]jfYd
                               FY_Yeaf] G]f                           Ba^lk/>gdd][laZd]k                                                       )@p[dm\af_ >`afY*           o]Zkal]                                                                    GL2: 4/1/18 - 6/30/18                 Aajkl >gklk g^ hjg\m[lk              da[]fk] imYjl]j                                                                                                                                                                                         @ehdgq]]k
$"7bi`d_^ I]RbU\\Q             H]_mjaf] GmcY                          CYj\daf]k                                                                                                                                                                       GL3: 7/1/18 - 9/30/18                       kgd\/k`ahh]\                                                                                                                                                 @phaj]k:
5WbUU]U^d"%                    FYalg                                  Ng^ldaf]k                                                                                             QYmdl                                                                     GL4: 10/1/18 - 12/31/18                                                                                                                                                                                  3/31/20                                                               N]] Gaf\Y ^gj Agje
                               H]acg                                  Cgmk]oYj]k                                                                                                                                                                      GL5: 1/1/19 - 3/31/19
                                                                      Ogqk/Aa_mjaf]k                                                                                                                                                                  GL6: 4/1/19 - 6/30/19
                                                                      <hhYj]d                                                                                                                                                                         GL7: 7/1/19 - 9/30/19
                                                                                                                                                                                                                                                      GL8: 10/1/19 - 12/31/19

8_eR\U :Y^U Db_TeSdY_^c' =^S) Kkq[`gfYmlk 1 ' 2                       <[[]kkgja]k                                              Igf-]p[dmkan]      Rgjd\oa\]           G>(k @-[gee]j[]           I/<       10/26/2018 - 12/31/21 10/26/2018 - 12/31/21 GL1: 8/10/16 - 9/30/16     I/<                  10&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?               I/<                            I/<                  I/<    I/<     I/<   I/<     180-?Yqk        I/<   T]k   Ig    Ig               I/<                        I/<
                              =jmlYd G]_]f\                           Ba^lk/[gdd][laZd]k                                                                                   o]Zkal]                                                                    GL2: 10/1/16 - 12/31/16           g^ ^ajkl [gklk g^ Kjg\m[lk kgd\          da[]fk] imYjl]j
$"8_eR\U :Y^U I]RbU\\Q        =jgc]f <_]                              CYj\daf]k                                                                                                                                                                       GL3: 1/1/17 - 3/31/17                       Yf\ k`ahh]\                                                                                                                                                  @phaj]k
5WbUU]U^d"%                   >gklme] Lm]kl 1 ' 2                     Ng^ldaf]k                                                                                    OjY\] N`gok/@n]flk Yf\                                                             GL4: 4/1/17 - 6/30/17                                                                                                                                                                                    6/30/22
                                                                      Ogqk/Aa_mjaf]k                                                                                   gl`]j M]lYad]jk                                                                GL5: 7/1/17 - 9/30/17
                                                                                                                                                                      oal` hjagj ojall]f                                                              GL6: 10/1/17 - 12/31/17
                                                                                                                                                                          YhhjgnYd                                                                    GL7: 1/1/18 - 3/31/18
                                                                                                                                                                                                                                                      GL8: 4/1/18 - 6/30/18
                                                                                                                                                                                                                                                      GL9: 7/1/18 - 9/30/18
                                                                                                                                                                                                                                                      GL10: 10/1/18 - 12/31/18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Page 114 of 140
:e^Y]QdY_^                    ?Yf_YfjgfhY l`] <faeYlagf      %-71-7:879-W                                  Igf-@p[dmkan]     <j_]flafY, <mkljYdaY,      G>(k @-[gee]j[]                      I/<    HYaf <_j]]e]fl:      HYaf <_j]]e]fl: GL1: 1/1/17 - 3/31/17          I/<                10&                    30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?      ?Yf_YfjgfhY:                 ?Yf_YfjgfhY:                  I/<   I/<   I/<   I/<     180-?Yqk        Ig    T]k   I/<   I/<   Ga[]fk]\ Kjg\m[lk k`Ydd                 I/<
                              Kkq[`g-KYkk                    3@KGD>< /@>F 5D@                                             <mkljaY, =]d_ame, >YfY\Y,          o]Zkal]                                8/4/16 - 12/31/21    8/4/16 - 12/31/21 GL2: 4/1/17 - 6/30/17                g^ l`] >gkl g^ Bgg\k g^ Ydd             da[]fk] imYjl]j                      %20,000                %20,000 \m] Yl ka_faf_                                                                              kh][a^a[Yddq ]p[dm\]
$":e^Y]QdY_^ I]RbU\\Q         <llY[c gf OalYf                                                                              >`ad], >gdgeZaY, >r][`                                                                                          GL3: 7/1/17 - 9/30/17              hjg\m[lk kgd\ naY kmZk[jahlagfk                                                                                                                                                                           Yjla[d]k Ykkg[aYl]\ \aj][ldq
5WbUU]U^d"%                   =dY[c GY_ggf
                                                             );?.28B)-;;A#5-.4 &-1887A%0-/6-7                                 M]hmZda[, ?]feYjc,             QYmdl+                                =mf\d] <_j]]e]flk    =mf\d] <_j]]e]flk GL4: 10/1/17 - 12/31/17                                                                                           Kkq[`g-KYkk:                 Kkq[`g-KYkk:                                                                                   gj af\aj][ldq oal` Yfq
                              ?]Y\eYf Rgf\]jdYf\             ,87/0:5-7/W                                                  AafdYf\, AjYf[], B]jeYfq,                                                       )DKk*:               )DKk*:      GL5: 1/1/18 - 3/31/18                              8&                                                              %13,333                %4,445 \m] Yl ka_faf_                                                                              #KmZdak`af_ Ma_`lk# Yf\/gj
                              <kkYkkafYlagf >dYkkjgge 2      "KK<M@GV DI>GP?DIBV =PO IJO GDHDO@? OJW OZ                  Pfal]\ Faf_\ge, Cmf_Yjq,      C%-71-7:879-                                 1/1/17 - 12/31/19    1/1/17 - 12/31/19 GL6: 4/1/18 - 6/30/18              g^ Ydd j]lYad kYd]k g^ Yfq ]p[]kk                                                                      %4,444 \m] 12/31/17                                                                                #Hmka[ KmZdak`af_ Ma_`lk#.
                              AG>G                           NCDMONV NR@<ONCDMONV CJJ?D@NV AG@@>@ OJKNV                     D[]dYf\, Dj]dYf\, DkjY]d,                                                                                      GL7: 7/1/18 - 9/30/18              afn]flgjq kgd\ af\ana\mYddq gf                                              <llY[c gf OalYf:           %4,444 \m] 12/31/18                                                                                #Hmka[ KmZdak`af_ Ma_`lk#
                                                                                                                                                       7<PGO 5@MMDOJMD@N
                              Ca_` N[`ggd ?p?                                                                            DlYdq, Gmp]eZgmj_, H]pa[g,                                                                                        GL8: 10/1/18 - 12/31/18            l`] QYmdl )a.]., fgl af[dm\]\ af                                                %15,000                                                                                                                   k`Ydd e]Yf l`] ja_`l lg
                                                             G@BBDIBNV E<>F@ONV =JS@MNV NG@@KR@<M                                                       [<I? cM? 1<MOT
                              Hmk`a-k`a                                                                                  I]l`]jdYf\k, I]o U]YdYf\,                                                                                         GL9: 1/1/19 - 3/31/19                 Zgp]k Yk #hYkl [jYl]k# gj                                                                             <llY[c gf OalYf:                                                                                 hmZdak` gj h]j^gje emka[
                              Hq C]jg <[Y\]eaY               ">>@NJMD@NV DI>GP?DIBV =PO IJO GDHDO@? OJW                   IgjoYq, KgdYf\, Kgjlm_Yd,       M@O<DG@MN\W                                                                      GL10: 4/1/19 - 6/30/19                     #eqkl]jq [jYl]k#*                                                    =dY[c GY_ggf:             %5,000 \m] Yl ka_faf_                                                                              o`a[` ak [gflYaf]\ gj
                              IgjY_Yea                       =<BNV =<>FK<>FNV R<GG@ONV NH<GG G@<OC@M                         Ngml` <^ja[Y, NhYaf,       6IDO@? 4O<O@NV                                                                     GL11: 7/1/19 - 9/30/19                                                                                             %12,000                %5,000 \m] 12/31/17                                                                                hj]k]fl]\ af Aade, Yf\ l`]
                              N]n]f ?]Y\dq Nafk              BJJ?NV F@T >C<DINV C<ONV =@<ID@NV G<I?T<M?NV                    No]\]f, Noalr]jdYf\,       $<I<?< 6IDO@?                                                                      GL12: 10/1/19 - 12/31/19                        10&                                                                                       %5,000 \m] 12/31/18                                                                                l]je #KmZdak`af_ Ma_`lk#
                              Nl]afk; BYl]                   NJ>FNV K<O>C@NV AG<NCGDBCONV K<NN CJG?@MNV                      Omjc]q, Pfal]\ NlYl]k                                                                                                                            g^ l`] o`gd]kYd] hja[] ^gj Yfq                                            ?]Y\eYf Rgf\]jdYf\:                                                                                                             k`Ydd e]Yf l`] ja_`l lg
                                                                                                                                                      ,DIB?JHV *M@G<I?V
                              Oja_mf =Y\dYf\k MmeZd]                                                                                                                                                                                                                          Ga[]fkgj Yhhjgn]\ l`ja\ hYjlq                                                   %6,300                    =dY[c GY_ggf:                                                                                   hmZdak` [gea[ Zggck, klgjq
                                                             H@?<GGDJINV E@R@GMT                                                                        "PNOM<GD<V /@R                                                                                                         j]lYad]jk ^gj \akljaZmlagf g^                                                                         %4,000 \m] Yl ka_faf_                                                                              Zggck, afkljm[lagfYd Zggck,
                                                                                                                                %-71-7:879-
                                                             )JH@ %@>JMY%MDIFR<M@Y)JPN@R<M@NV                                                          ;@<G<I?V 4JPOC                                                                                                                Ga[]fk]\ Kjg\m[l                                                                                %4,000 \m] 12/31/17                                                                                hgkl]j Zggck, [Yd]f\Yjk,
                                                                                                                          7<PGO 5@MMDOJMD@N [<I?
                                                             DI>GP?DIBV =PO IJO GDHDO@? OJW HPBNV BG<NN@NV                                               "AMD><V -<ODI                                                                                                                                                                                                               %4,000 \m] 12/31/18                                                                                Yf\/gj kla[c] YdZmek gj
                                                                                                                            cM? 1<MOT M@O<DG@MN\W                                                                                                                                                                                                                                                                                                                                       Yfq gl`]j hjg\m[l ZYk]\ mh
                                                             NO@DINV NCJO BG<NN@NV GPI>C=JS@NV O<=G@R<M@V                                             "H@MD><V $@IOM<G
                                                                                                                          6IDO@? 4O<O@NV $<I<?<                                                                                                                                                                                                                                     ?]Y\eYf Rgf\]jdYf\:                                                                                 gf l`] Kjgh]jlq, l`] Aade
                                                             ?MDIFR<M@V >J<NO@MNV N>MJGGNV HDMMJMNV R<GG                                                   "H@MD><
                                                                                                                             6IDO@? ,DIB?JHV                                                                                                                                                                                                                                         %2,100 \m] Yl ka_faf_                                                                              gj l`] OjY\]eYjc o`a[`
                                                             <MO                                                                                                                                                                                                                                                                                                                     %2,100 \m] 12/31/17                                                                                l]ddk Y fYjjYlan] klgjq.
                                                                                                                         *M@G<I?V "PNOM<GD<V /@R
                                                             1P=GDNCDIBY1MDIO@? (JJ?NV DI>GP?DIBV =PO                                                      C);?.28B                                                                                                                                                                                                                  %2,100 \m] 12/31/18
                                                                                                                          ;@<G<I?V 4JPOC "AMD><V
                                                             IJO GDHDO@? OJW KJNO@MNV KJNO><M?NV NOD>F@MNV                                             )-;;A"<<-.4 87
                                                                                                                          -<ODI "H@MD><V $@IOM<G
                                                             ><G@I?<MNV >JGG@>OJM ><M?NV AJG?@MNV                                                            +3<-7
                                                                                                                                  "H@MD><
                                                             KJMOAJGDJNV =<>FZOJZN>CJJG NO<ODJI<MT                                                     7<PGO 5@MMDOJMD@N
                                                             5JTNY1GPNCY$JGG@>OD=G@NY/JQ@GOTV DI>GP?DIBV                                                [<I? cM? 1<MOT
                                                                                                                         );?.28B)-;;A"<<-.4 87
                                                             =PO IJO GDHDO@? OJW ADBPM@NV =J==G@ C@<?NV                                                   M@O<DG@MN\W
                                                                                                                                     +3<-7
                                                             ?DJM<H<^NV HDID ADBPM@NV =PNONV                                                            6IDO@?   4O<O@NV
                                                                                                                          7<PGO 5@MMDOJMD@N [<I?
                                                             IJQ@GOTYDHKPGN@ DO@HN                                                                     $<I<?<V 6IDO@?
                                                                                                                            cM? 1<MOT M@O<DG@MN\W
                                                             "<<-.4 87 +3<-7W
                                                                                                                         6IDO@? 4O<O@N $<I<?< ,DIB?JHV *M@G<I?V
<Qb]_^i ;_\T                  MgZgl][`                       Cge] \][gj dYeh                                            Igf-]p[dmkan]          Rgjd\oa\]              G>(k @-[gee]j[]        I/<    10/1/16 - 9/30/19    10/1/16 - 9/30/19   GL1: 10//16 - 12/31/16     I/<                 10&                   30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?         %15,000                 %15,000 \m] 9/30/19             I/<   I/<   I/<   I/<      90-?Yqk        I/<   T]k   Ig    T]k              I/<                 >gfljY[lgjk Yf\ Dfl]jfYd
                                                             Kdmk` MgZgl][` jgZgl \gdd                                                       ]p[dm\af_ EYhYf               o]Zkal]                                                           GL2: 1/1/17 - 3/31/17            g^ ^ajkl [gklk g^ Kjg\m[lk kgd\           da[]fk] imYjl]j                                                                                                                                                                                      @ehdgq]]k
$"<Qb]_^i ;_\T I]RbU\\Q                                      Kdmk` MgZgl][` [`YjY[l]j \gdd                                                                                                                                                   GL3: 4/1/17 - 6/30/17                      Yf\ k`ahh]\
5WbUU]U^d"%                                                  KYh]j [jY^l gja_Yea MgZgl][` jgZglk                                                                                                                                             GL4: 7/1/17 - 9/30/17                                                                                                                                                                                                                                                       N]] Gaf\Y ^gj Agje
                                                             Ngmf\ljY[c >?                                                                                                                                                                   GL5: 10/1/17 - 12/31/17                       10&
                                                             5( dgf_ Zg\q haddgo haddgo[Yk] oal` MgZgl][`                                                                                                                                    GL6: 1/1/18 - 3/31/18            g^ I]l NYd]k ^gj kYd]k lg gl`]j
                                                             [`YjY[l]jk                                                                                                                                                                      GL7: 4/1/18 - 6/30/18                       j]lYad]jk
                                                             <mlg_jYh`]\ hjafl g^ MgZgl][` [`YjY[l]jk                                                                                                                                        GL8: 7/1/18 - 9/30/18
                                                             MgZgl][` [`YjY[l]j kmf_dYkk]k                                                                                                                                                   GL9: 10/1/18 - 12/31/18
                                                             Aa_mj]k - mh lg 6(, nafqd                                                                                                                                                       GL10: 1/1/19 - 3/31/19
                                                             O-k`ajlk                                                                                                                                                                        GL11: 4/1/19 - 6/30/19
                                                             N[Yjn]k                                                                                                                                                                         GL12: 7/1/19 - 9/30/19
                                                             RjaklZYf\
                                                             Bdgn]k

@UWU^TQbi DYSdebUc :e^TY^W' Ggkl af NhY[] )I]l^dap k]ja]k*   <hhYj]d:                                                   Igf-@p[dmkan]          Rgjd\oa\]              G>(k @-[gee]j[]        I/<   8/13/18 - 12/31/19   8/13/18 - 12/31/19   GL1: 8/13/18 - 9/30/18     I/<               12&                     30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?         %7,500                   %2,500 Zq 8/13/18              I/<   I/<   I/<   I/<      90 ?Yqk        I/<   T]k   T]k   I/<
@@7)                                                         O-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                                        o]Zkal]                                                           GL2: 10/1/18 - 12/31/18               Aajkl >gklk g^ al]ek                 da[]fk] imYjl]j                                                %5,000 Zq 1/31/19
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Case 19-11791-BLS




                                                             bY[c]lk, Zgp]jk Yf\ kd]]ho]Yj                                                                                                                                                   GL3: 1/1/19 - 3/31/19                eYfm^Y[lmj]\ Yf\ kgd\                                                                                                                                       @phaj]k 3/31/20
$"@UWU^TQbi I]RbU\\Q                                                                                                                                                        QYmdl                                                            GL4: 4/1/19 - 6/30/19
5WbUU]U^d(@=G"%                                              <[[]kkgja]k:                                                                                                                                                                    GL5: 7/1/19 - 9/30/19             Ig jgqYdlq gf al]ek kgmj[]\
                                                             =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k,                                                                                                                                  GL6: 10/1/19 - 12/31/19           ^jge Ga[]fkgj(k Yml`gjar]\
                                                             c]q[`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                                                                                                                                        da[]fk]]k
                                                             ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk Yf\ b]o]djq

                                                             Cge] ?][gj/?jafcoYj]/Cgmk]oYj]:
                                                             Hm_k, _dYkk]k, kl]af_k, k`gl _dYkk]k, dmf[`Zgp]k,
                                                             lYZd]oYj], \jafcoYj], [gYkl]jk, k[jgddk, eajjgjk Yf\
                                                             oYdd Yjl

                                                             Kjafl]\ Bgg\k:
                                                             Kgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk, [gdd][lgj
                                                             [Yj\k, ^gd\]jk, hgjl^gdagk Yf\ ZY[c-lg-k[`ggd
                                                             klYlagfYjq )hmZdak`af_ ja_`lk ^gj fgn]dk, k`gjl klgja]k,
                                                             [gea[ Zggck, _jYh`a[ fgn]dk, ]l[. Yj] fg af[dm\]\ af
                                                             Yfq ^gje*

                                                             Ogqk/Kdmk`/>gdd]laZd]k/Ign]dlq:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Doc 144




                                                             Aa_mj]k, ZgZZd] `]Y\k, \aYjgYeYk, eafa ^a_mj]k,
                                                             Zmklk, fgn]dlq Yf\ aehmdk] al]ek

                                                             +<\\alagfYd al]ek eYq Z] Yhhjgn]\ gf Y [Yk]-Zq-
                                                             [Yk] ZYkak+


@UWU^TQbi DYSdebUc :e^TY^W' Oa[c (j Oj]Yl                    <hhYj]d:                                                   Igf-@p[dmkan]          Rgjd\oa\]              G>(k @-[gee]j[]        I/<   8/13/18 - 12/31/19   8/13/18 - 12/31/19   GL1: 8/13/18 - 9/30/18     I/<               12&                     30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?         %5,000                   %2,500 Zq 8/13/18              I/<   I/<   I/<   I/<      90 ?Yqk        I/<   T]k   T]k   I/<
@@7)                        FjYehmk                          O-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                                        o]Zkal]                                                           GL2: 10/1/18 - 12/31/18               Aajkl >gklk g^ al]ek                 da[]fk] imYjl]j                                                %2,500 Zq 4/30/19
                                                             bY[c]lk, Zgp]jk Yf\ kd]]ho]Yj                                                                                                                                                   GL3: 1/1/19 - 3/31/19                eYfm^Y[lmj]\ Yf\ kgd\                                                                                                                                       @phaj]k 3/31/20
$"@UWU^TQbi I]RbU\\Q                                                                                                                                                        QYmdl                                                            GL4: 4/1/19 - 6/30/19
5WbUU]U^d(H#bH*?bQ]`ec"%                                     <[[]kkgja]k:                                                                                                                                                                    GL5: 7/1/19 - 9/30/19             Ig jgqYdlq gf al]ek kgmj[]\
                                                             =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k,                                                                                                                                  GL6: 10/1/19 - 12/31/19           ^jge Ga[]fkgj(k Yml`gjar]\
                                                             c]q[`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                                                                                                                                        da[]fk]]k
                                                             ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk Yf\ b]o]djq

                                                             Cge] ?][gj/?jafcoYj]/Cgmk]oYj]:
                                                             Hm_k, _dYkk]k, kl]af_k, k`gl _dYkk]k, dmf[`Zgp]k,
                                                             lYZd]oYj], \jafcoYj], [gYkl]jk, k[jgddk, eajjgjk Yf\
                                                             oYdd Yjl

                                                             Kjafl]\ Bgg\k:
                                                             Kgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk, [gdd][lgj
                                                             [Yj\k, ^gd\]jk, hgjl^gdagk Yf\ ZY[c-lg-k[`ggd
                                                             klYlagfYjq )hmZdak`af_ ja_`lk ^gj fgn]dk, k`gjl klgja]k,
                                                             [gea[ Zggck, _jYh`a[ fgn]dk, ]l[. Yj] fg af[dm\]\ af
                                                             Yfq ^gje*

                                                             Ogqk/Kdmk`/>gdd]laZd]k/Ign]dlq:
                                                             Aa_mj]k, ZgZZd] `]Y\k, \aYjgYeYk, eafa ^a_mj]k,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Filed 09/10/19




                                                             Zmklk, fgn]dlq Yf\ aehmdk] al]ek

                                                             +<\\alagfYd al]ek eYq Z] Yhhjgn]\ gf Y [Yk]-Zq-
                                                             [Yk] ZYkak+


D_\iW_^ DYSdebUc              =G<H@"                         <[[]kkgja]k                                                Igf-]p[dmkan]       Pfal]\ NlYl]k, Pfal]\      G>(k @-[gee]j[]       I/<   3/20/17 - 12/31/19   3/20/17 - 12/31/19   GL1: 3/20/17 - 3/31/17     I/<                  10&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?        %9,500.00                %2,385 \m] 4/24/17              I/<   I/<   I/<   I/<      90-?Yqk        I/<   T]k   T]k   T]k              I/<                       >gfljY[lgjk
                                                             Ba^lk/>gdd][laZd]k                                                              Faf_\ge, >YfY\Y,               o]Zkal]                                                          GL2: 4/1/17 - 6/30/17            Aajkl [gklk g^ hjg\m[lk kgd\ Yf\          da[]fk] imYjl]j
$"D_\iW_^ DYSdebUc I]RbU\\Q                                  CYj\daf]k                                                                      <mkljYdaY, B]jeYfq,                                                                              GL3: 7/17/17 - 9/30/17                        k`ahh]\                                                                            %4,750 \m] \Yl] g^ ^ajkl hjg\m[l kgd\                                                                                                      N]] Gaf\Y ^gj ^gje
5WbUU]U^d%                                                   Cgmk]oYj]k                                                                      IgjoYq, No]\]f,                 QYmdl                                                           GL4: 10/1/17 - 12/31/17
                                                             Ng^ldaf]k                                                                  I]l`]jdYf\k, I]o U]YdYf\,                                                                            GL5: 1/1/18 - 3/31/18            Ig jgqYdala]k \m] gf hjg\m[lk                                                                           %2,375 \m] 12/31/17
                                                             Ogqk/Aa_mjaf]k                                                               ?]feYjc, AjYf[], NhYaf, @n]flk, [gfn]flagfk Yf\                                                    GL6: 4/1/18 - 6/30/18              kgmj[]\ ^jge Kgdq_gf(k
                                                             <hhYj]d                                                                    Dj]dYf\, Noalr]jdYf\, DkjY]d, gl`]j j]lYad]jk mhgf                                                   GL7: 7/1/18 - 9/30/18                Yml`gjar]\ da[]fk]](k.
                                                                                                                                           <mkljaY, DlYdq, AafdYf\,    ojall]f YhhjgnYd                                                      GL8: 10/1/18 - 12/31/18
                                                                                                                                         =]d_ame, H]pa[g, KgdYf\,                                                                            GL9: 1/1/19 - 3/31/19
                                                                                                                                           Kgjlm_Yd, Ngml` <^ja[Y,                                                                           GL10: 4/1/19 - 6/30/19
                                                                                                                                         <j_]flafY, >`ad], Omjc]q,                                                                           GL11: 7/1/19 - 9/30/19
                                                                                                                                         >gdgeZaY, D[]dYf\, >r][`                                                                            GL12: 10/1/19 - 12/31/19
                                                                                                                                          M]hmZda[, Gmp]eZgmj_,
                                                                                                                                                  Cmf_Yjq

D_\iW_^ DYSdebUc              Ffa_`lk g^ Na\gfaY             <[[]kkgja]k                                                Igf-]p[dmkan]       Pfal]\ NlYl]k, Pfal]\      G>(k @-[gee]j[]       I/<   3/20/17 - 12/31/19   3/20/17 - 12/31/19   GL1: 3/20/17 - 3/31/17     I/<                  10&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?        %8,000.00                 %2,666 Yl ka_faf_              I/<   I/<   I/<   I/<      90-?Yqk        I/<   T]k   T]k   T]k              I/<                       >gfljY[lgjk
                                                             Ba^lk/>gdd][laZd]k                                                              Faf_\ge, >YfY\Y,               o]Zkal]                                                          GL2: 4/1/17 - 6/30/17            Aajkl [gklk g^ hjg\m[lk kgd\ Yf\          da[]fk] imYjl]j
$"D_\iW_^ DYSdebUc I]RbU\\Q                                  CYj\daf]k                                                                      <mkljYdaY, B]jeYfq,                                                                              GL3: 7/17/17 - 9/30/17                        k`ahh]\                                                                                    %2,666 \m] 12/31/17                                                                                                                N]] Gaf\Y ^gj ^gje
5WbUU]U^d%                                                   Cgmk]oYj]k                                                                      IgjoYq, No]\]f,                 QYmdl                                                           GL4: 10/1/17 - 12/31/17
                                                             Ng^ldaf]k                                                                  I]l`]jdYf\k, I]o U]YdYf\,                                                                            GL5: 1/1/18 - 3/31/18            Ig jgqYdala]k \m] gf hjg\m[lk                                                                           %2,668 \m] 12/31/18
                                                             Ogqk/Aa_mjaf]k                                                               ?]feYjc, AjYf[], NhYaf, @n]flk, [gfn]flagfk Yf\                                                    GL6: 4/1/18 - 6/30/18              kgmj[]\ ^jge Kgdq_gf(k
                                                             <hhYj]d                                                                    Dj]dYf\, Noalr]jdYf\, DkjY]d, gl`]j j]lYad]jk mhgf                                                   GL7: 7/1/18 - 9/30/18                Yml`gjar]\ da[]fk]](k.
                                                                                                                                           <mkljaY, DlYdq, AafdYf\,    ojall]f YhhjgnYd                                                      GL8: 10/1/18 - 12/31/18
                                                                                                                                         =]d_ame, H]pa[g, KgdYf\,                                                                            GL9: 1/1/19 - 3/31/19
                                                                                                                                           Kgjlm_Yd, Ngml` <^ja[Y,                                                                           GL10: 4/1/19 - 6/30/19
                                                                                                                                         <j_]flafY, >`ad], Omjc]q,                                                                           GL11: 7/1/19 - 9/30/19
                                                                                                                                         >gdgeZaY, D[]dYf\, >r][`                                                                            GL12: 10/1/19 - 12/31/19
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Page 115 of 140




                                                                                                                                          M]hmZda[, Gmp]eZgmj_,
                                                                                                                                                  Cmf_Yjq
GdeTY_SQ^Q\ G)5)G)             @k[Yh] ^jge I]o Tgjc )da[]fkgj lg Yhhjgn]     <hhYj]d, af[dm\af_, Zml fgl daeal]\ lg:                     Igf-@p[dmkan]            Rgjd\oa\]                G>(k @-[gee]j[]   I/<    4/19/17 - 12/31/19   4/19/17 - 12/31/19                              I/<                 10&                   30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?             I/<                               I/<                 I/<   I/<   I/<   I/<         IJ           Ig    T]k   Ig    Ig    @k[Yh] ^jge I]o Tgjc -        >gfljY[lgjk Yf\ Dfl]jfYd
                               ]Y[` Kjg\m[l, gf Y [Yk]-Zq-[Yk] ZYkak         O-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                                             o]Zkal]                                                                                          Aajkl >gklk ^gj Ydd Kjg\m[lk            da[]fk] imYjl]j                                                                                                                                                    Ga[]fkgj lg Yhhjgn] ]Y[`            @ehdgq]]k
$"GdeTY_SQ^Q\ I]RbU\\Q         @nad ?]Y\ 2                                   bY[c]lk, Zgp]jk Yf\ kd]]ho]Yj                                                  +@p[dm\af_ >`afY ^gj                                                                                                                eYfm^Y[lmj]\ l`Yl Yj] kgd\ Yf\                                                                                                                                    <dd j]eYafaf_                             Kjg\m[l gf Y [Yk]-Zq-[Yk]
5WbUU]U^d"%                    O`] O]jeafYlgj                                                                                                              Kjg\m[lk j]dYl]\ lg O`]              QYmdl                                                                                                      k`ahh]\                                                                                                                                               afn]flgjq emkl                                       ZYkak                 N]] Gaf\Y ^gj ^gje
                               O]jeafYlgj 2: Em\_e]fl ?Yq                    <[[]kkgja]k, af[dm\af_, Zml fgl daeal]\ lg:                                 O]jeafYlgj Yf\ O]jeafYlgj                                                                                                                                                                                                                                                                               Z] \]kljgq]\ gj
                               O`ak ak NhafYd OYh                            =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k, c]q                               2: Em\_e]fl ?Yq                                                                                                                      Ig MgqYdla]k ^gj Kjg\m[l                                                                                                                                       hmj[`Yk]\ Zq                                =Y\ =gqk )Ga[]fkgj lg
                               CYee]j Cgjjgj Aadek                           [`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                                                                                                                                      kgmj[]\ ^jge Ga[]fkgj(k                                                                                                                                       Ga[]fkgj Yl G>(k                            [gf^aje ogjd\oa\] ja_`lk
                               Ca_`dYf\]j                                    ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk Yf\ b]o]djq                                                                                                                                                                       Yhhjgn]\ Ga[]fk]](k                                                                                                                                              [gkl lg                               o`]f G> ]phj]kk]k afl]j]kl
                               OglYd M][Ydd                                                                                                                                                                                                                                                                                                                                                                                                                        eYfm^Y[lmj]
                               =Y\ =gqk )da[]fkgj lg [gf^aje ogjd\oa\]       Cge] \][gj, \jafcoYj] Yf\ `gmk]oYj]k, af[dm\af_,                                                                                                                                                                                                                                                                                                                                                                                  Phgf ]phajYlagf g^
                               ja_`lk o`]f G> ]phj]kk]k afl]j]kl*            Zml fgl daeal]\ lg:                                                                                                                                                                                                                                                                                                                                                                                                             Y_j]]e]fl Ydd eYl]jaYdk
                               =Yka[ Dfklaf[l                                Hm_k, _dYkk]k, kl]afk, k`gl _dYkk]k, dmf[`Zgp]k,                                                                                                                                                                                                                                                                                                                                                                               Z]Yjaf_ Yf\/gj ZYk]\ mhgf
                               Aajkl =dgg\                                   lYZd]oYj], \jafcoYj], [gYkl]jk, k[jgddk, eajjgjk Yf\                                                                                                                                                                                                                                                                                                                                                                           Nlm\ag[YfYd(k eYjck emkl
                               HY\ Hgfkl]j KYjlq                             oYdd Yjl                                                                                                                                                                                                                                                                                                                                                                                                                              Z] j]lmjf]\.
                               MYeZg 3
                               MYeZg: Aajkl =dgg\ KYjl 2                     Kjafl]\ _gg\, af[dm\af_, Zml fgl daeal]\ lg:                                                                                                                                                                                                                                                                                                                                                                                      Phgf ]phajYlagf, Ydd
                               O`] <n]f_]jk )Nl]]\ ' Hjk. K]]d*              Kgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk, [gdd][lgj                                                                                                                                                                                                                                                                                                                                                                             j]eYafaf_ afn]flgjq k`Ydd,
                               O`] Ag_                                       [Yj\k, ^gd\]jk, hgjl^gdagk Yf\ ZY[c-lg-k[`ggd                                                                                                                                                                                                                                                                                                                                                                                      Yl G>(k ghlagf, Z]
                               O`] BjY\mYl]                                  klYlagfYjq                                                                                                                                                                                                                                                                                                                                                                                                                     \]kljgq]\ gj hmj[`Yk]\ Zq
                               O`] Cgodaf_                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Nlm\ag[YfYd Yl G>(k [gkl lg
                               Pfan]jkYd Ngd\a]j                             Ogqk, hdmk`, [gdd][laZd]k Yf\ fgn]dlq al]ek mf\]j 7                                                                                                                                                                                                                                                                                                                                                                                   eYfm^Y[lmj].
                               +km[` gl`]j lald]k Yk emlmYddq Y_j]]\ mhgf    af[`]k lYdd, af[dm\af_, Zml fgl daeal]\ lg:
                                                                             =gZZd] `]Y\k, \aYgjYeY(k, eafa ^a_mj]k Yf\ Zmklk

                                                                             +<\\alagfYd hjg\m[lk Yhhjgn]\ Zq Ga[]fkgj af
                                                                             ojalaf_ gf Y [Yk]-Zq-[Yk] ZYkak.

                                                                             +O`] ^gddgoaf_ k`Ydd fgl Z] af[dm\]\ Yk Kjg\m[lk:
                                                                             @k[Yh] Ajge I]o Tgjc: 7-8# ^a_mj]k Yf\ oYl[`]k
                                                                             @nad ?]Y\ 2: 6# [gdd][laZd] ^a_mj] Yf\ 7# ^a_mj]k
                                                                             O]jeafYlgj: 4#, 7# ^a_mj]k, b]o]djq, ]Yjjaf_k,
                                                                             \g_lY_k f][cdY[]k h]f\Yflk jaf_k ZjY[]d]lk

HQdce^_[_ Db_TeSdY_^c 7_)'     Nh]]\ MY[]j )1967*                            <hhYj]d                                                     Igf-@p[dmkan]           Rgjd\oa\]                 G>(k @-[gee]j[]   I/<    12/1/18 - 11/30/20   12/1/18 - 11/30/20   GL1: 12/1/18 - 12/31/18    I/<                  10&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?           %10,000                     %5,000 \m] 12/31/18         I/<   I/<   I/<   I/<      90-?Yqk         Ig    T]k   T]k   T]k              I/<                >gfljY[lgjk Yf\ Dfl]jfYd
@dT)                           BYl[`YeYf )1972*                              <[[]kkgja]k                                                                      )]p[dm\af_ EYhYf*                 o]Zkal]                                                       GL2: 1/1/19 - 3/31/19                 Aajkl >gklk g^ hjg\m[lk              da[]fk] imYjl]j                                                                                                                                                                                        @ehdgq]]k
                               =Ylld] g^ l`] KdYf]lk )1978*                  Ba^lk/>gdd][laZd]k                                                                                                                                                               GL3: 4/1/19 - 6/30/19                       kgd\/k`ahh]\                                                                                        %5,000 \m] 3/29/19                                    @phaj]k:
$"HQdce^_[_ I]RbU\\Q                                                         CYj\daf]k                                                                                                          QYmdl                                                         GL4: 7/1/19 - 9/30/19                                                                                                                                                                                 2/28/21                                                                 N]] Gaf\Y ^gj ^gje
5WbUU]U^d"%                                                                  Cgmk]oYj]                                                                                                                                                                        GL5: 10/1/19 - 12/31/19
                                                                             Ng^ldaf]k                                                                                                                                                                        GL6: 1/1/20 - 3/31/20
                                                                             Ogqk/Aa_mj]k                                                                                                                                                                     GL7: 4/1/20 - 6/30/20
                                                                                                                                                                                                                                                              GL8: 7/1/20 - 9/30/20
                                                                                                                                                                                                                                                              GL9: 10/1/18 - 11/30/20

HUje[Q Db_TeSdY_^c 7_)' @dT) <kljg =gq-O]lkmoYf <lge                         GYehk                                                       Igf-@p[dmkan]       Pfal]\ NlYl]k, Pfal]\         G>(k @-[gee]j[]   I/<     5/1/17 - 4/30/21     5/1/17 - 4/30/21    GL1: 5/1/17 - 6/30/17      I/<                  12&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?           %12,000                       %4,000 Yl ka_faf_         I/<   I/<   I/<   I/<      180-?Yqk        Ig    T]k   T]k   T]k              I/<                >gfljY[lgjk Yf\ Dfl]jfYd
                                                                             O-k`ajlk                                                                         Faf_\ge, >YfY\Y,                  o]Zkal]                                                       GL2: 7/1/17 - 9/30/17                 Aajkl >gklk g^ hjg\m[lk              da[]fk] imYjl]j                                                                                                                                                                                        @ehdgq]]k
$"HUje[Q I]RbU\\Q                                                            <[[]kkgja]k                                                                     <mkljYdaY, B]jeYfq,                                                                              GL3: 10/1/17 - 12/31/17                     kgd\/k`ahh]\                                                                                       %4,000 \m] 12/31/17                                    @phaj]k:
5WbUU]U^d"%                                                                  Ba^lk/>gdd][laZd]k                                                               IgjoYq, No]\]f,                   QYmdl                                                         GL4: 1/1/18 - 3/31/18                                                                                                                                                                                 10/31/21                                                                N]] Gaf\Y ^gj ^gje
                                                                             CYj\daf]k                                                                   I]l`]jdYf\k, I]o U]YdYf\,                                                                            GL5: 4/1/18 - 6/30/18                                                                                                                          %4,000 \m] 12/31/18
                                                                             Ng^ldaf]k                                                                     ?]feYjc, AjYf[], NhYaf,                                                                            GL6: 7/1/18 - 9/30/18
                                                                             Cgmk]oYj]k                                                                  Dj]dYf\, Noalr]jdYf\, DkjY]d,                                                                        GL7: 10/1/18 - 12/31/18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Case 19-11791-BLS




                                                                             Ogqk/Aa_mj]k                                                                   <mkljaY, DlYdq, AafdYf\,                                                                          GL8: 1/1/19 - 3/31/19
                                                                             <hhYj]d                                                                      =]d_ame, H]pa[g, KgdYf\,                                                                            GL9: 4/1/19 - 6/30/19
                                                                                                                                                            Kgjl_mYd, Ngml` <^ja[Y,                                                                           GL10: 7/1/19 - 9/30/19
                                                                                                                                                          <j_]flafY, >`ad], Omjc]q,                                                                           GL11: 10/1/19 - 12/31/19
                                                                                                                                                          >gdgeZaY, D[]dYf\, >r][`                                                                            GL12: 1/1/20 - 3/31/20
                                                                                                                                                         M]hmZda[, Gmp]eZgmj_ Yf\                                                                             GL13: 4/1/20 - 6/30/20
                                                                                                                                                                   Cmf_Yjq                                                                                    GL14: 7/1/20 - 9/30/20
                                                                                                                                                                                                                                                              GL15: 10/1/20 - 12/31/20
                                                                                                                                                                                                                                                              GL16: 1/1/21 - 3/31/21
                                                                                                                                                                                                                                                              GL17: 4/1/21 - 4/30/21

HgU^dYUdX 7U^debi :_h :Y\]     <da]f                                         <GD@I AjYf[`ak] gfdq:                                       Igf-]p[dmkan]            Rgjd\oa\]                G>(k @-[gee]j[]   I/<   <GD@I Yf\ JOC@MN: <GD@I Yf\ JOC@MN: <GD@I Yf\ JOC@MN:                                       12&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?         <GD@I gfdq:                    <GD@I ^jYf[`ak]:           I/<   I/<   I/<   I/<      90-?Yqk         I/<   T]k   Ig    Ig               I/<                      >gfljY[lgjk
7_b`_bQdY_^                    <da]fk                                        =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k, c]q                                                                 o]Zkal]             10/1/16 - 12/31/19 10/1/16 - 12/31/19 GL1: 10/1/16 - 12/31/16               g^ ^ajkl [gklk g^ al]ek kgd\ Yf\         da[]fk] imYjl]j                        %25,000                       %6,250 Yl ka_faf_
                               <da]f3                                        [`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                                                                                             GL2: 1/1/17 - 3/31/17                              k`ahh]\                                                                                         %6,250 \m] 12/31/17                                                                                                            N]] Gaf\Y ^gj ^gje
$"-+*:_h I]RbU\\Q              <da]f: M]kmjj][lagf                           ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk, b]o]djq,                                                                                                                              GL3: 4/1/17 - 6/30/17                                                                                               JOC@MN gfdq:
5WbUU]U^d"%                    <da]f: >gn]fYfl                               \jafcoYj], em_k, _dYkk]k, Z]]j kl]afk, k`gl _dYkk]k,                                                                                                                         GL4: 7/1/17 - 9/30/17                                                                                                 %35,000                       <da]f: >gn]fYfl:
                               24                                            dmf[` Zgp]k, lYZd]oYj], [gYkl]jk, k[jgddk, eajjgjk,                                                                                                                          GL5: 10/1/17 - 12/31/17                                                                                                                             %6,260 Yl ka_faf_
                               <e]ja[Yf Cgjjgj Nlgjq                         oYdd Yjl, hgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk,                                                                                                                           GL6: 1/1/18 - 3/31/18                                                                                          =m^^q l`] QYehaj] NdYq]j:           %6,250 \m] 12/31/17
                               <j[`]j                                        ^gd\]jk, hgjl^gdagk, ZY[c-lg-k[`ggd klYlagfYjq,                                                                                                                              GL7: 4/1/18 - 6/30/18                                                                                                   %25,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Doc 144




                               <jj]kl]\ ?]n]dghe]fl                          ^a_mj]k, \agjYeYk, Zmklk Yf\ fgn]dlq al]ek                                                                                                                                   GL8: 7/1/18 - 9/30/18                                                                                                                        JOC@MN )<j[`]j/=gZ(k =mj_]jk/S-
                               =a_ OjgmZd] af Galld] >`Yaf                                                                                                                                                                                                GL9: 10/1/18 - 12/31/18                                                                                                                         Aad]k/Aa_`l >dmZ/24* gfdq:
                               =gZ(k =mj_]jk                                 24, HDNN K@M@BMDI@(N, =JM<O,                                                                                                                                                                                                                                                                                                          <j[`]j
                               =m^^ l`] QYehaj] NdYq]j )ln k]ja]k*           DI?@K@I?@I>@ ?<T, DI?@K@I?@I>@ ?<T                                                                                                                                                                                                                                                                                               %5,000 Yl ka_faf_
                               ?a] CYj\                                      M@NPMB@I>@, OC@M@(N NJH@OCDIB <=JPO                                                                                                                                                                                                                                                                                             %5,000 \m] 12/31/17
                               @\oYj\ N[akkgj`Yf\k                           H<MT, ODO<I <.@., O<KN gfdq:
                               Aa_`l >dmZ                                    <hhYj]d - l-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk,                                                                                                                                                                                                                                                                             =gZ(k =mj_]jk:
                               O`] Adq )1959*                                d]__af_k, bY[c]lk, Zgp]j k`gjlk Yf\ kd]]hoYj]                                                                                                                                                                                                                                                                                    %5,000 Yl ka_faf_
                               O`] Adq )1986*                                                                                                                                                                                                                                                                                                                                                                %5,000 \m] 12/31/17
                               Cge] <dgf]                                    <GG JOC@M:
                               IYhgd]gf ?qfYeal]                             <hhYj]d, ZY_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j                                                                                                                                                                                                                                                                                      S-Aad]k:
                               J^^a[] NhY[]                                  _gg\k, c]q [`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck,                                                                                                                                                                                                                                                                               %2,500 Yl ka_faf_
                               Kj]\Ylgj                                      hYl[`]k, ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk,                                                                                                                                                                                                                                                                                 %5,000 \m] 12/31/17
                               Kj]\Ylgj 2                                    b]o]djq, \jafcoYj], em_k, _dYkk]k, Z]]j kl]afk, k`gl
                               Kj]\Ylgjk                                     _dYkk]k, `gmk]oYj]k, dmf[` Zgp]k, lYZd]oYj],                                                                                                                                                                                                                                                                                        Aa_`l >dmZ:
                               Kj]\Ylgj )2018*                               [gYkl]jk, k[jgddk, eajjgjk, oYdd Yjl, hgkl]jk, hgkl[Yj\k,                                                                                                                                                                                                                                                                        %2,500 Yl ka_faf_
                               M]n]f_] g^ l`] I]j\k                          kla[c]jk, [Yd]f\Yjk, ^gd\]jk, hgjl^gdagk, ZY[c-lg-                                                                                                                                                                                                                                                                              %5,000 \m] 12/31/17
                               O`] NYf\dgl                                   k[`ggd klYlagfYjq, ^a_mj]k, \agjYeYk, Zmklk Yf\
                               S-Aad]k )ln k]ja]k*                           fgn]dlq al]ek                                                                                                                                                                                                                                                                                                                           24:
                               Hakk K]j]_jaf](k Cge] ^gj K][mdaYj >`ad\j]f                                                                                                                                                                                                                                                                                                                                    %2,500 Yl ka_faf_
                               =gjYl: >mdlmjYd G]Yjfaf_k g^ <e]ja[Y ^gj                                                                                                                                                                                                                                                                                                                                      %5,000 \m] 12/31/17
                               HYc] =]f]^al Bdgjagmk IYlagf g^
                               FYrYc`klYf                                                                                                                                                                                                                                                                                                                                                                  =m^^q l`] QYehaj] NdYq]j:
                               Df\]h]f\]f[] ?Yq                                                                                                                                                                                                                                                                                                                                                              %12 500 \m] 11/1/17

I^YfUbcQ\ GdeTY_c @YSU^cY^W'   Hj. MgZgl                                     Hj. MgZgl:                                                  Igf-]p[dmkan]        N`Ymf g^ l`] ?]Y\:           G>(k @-[gee]j[]   I/<     8/1/17 - 9/30/19     8/1/17 - 9/30/19    Hj. MgZgl:                 I/<               <GG DKk:                15 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?          Hj. MgZgl:                        Hj. MgZgl:             I/<   I/<   I/<   I/<      <GG DKk:        Ig    T]k   T]k   T]k              I/<                >gfljY[lgjk Yf\ Dfl]jfYd
@@7                            =Y[c lg l`] Amlmj]                            <hhYj]d                                                                         <j_]flafY, <mkljYdaY,              o]Zkal]                                                       GL1: 10/4/16 - 12/31/17                                                    da[]fk] imYjl]j                          I/<                                I/<                                          180-?Yq N]dd                                                                  @ehdgq]]k
                               O`] =a_ G]Zgokca                              <[[]kkgja]k                                                                  <mkljaY, =]d_ame, >YfY\Y,                                                                           GL2: 1/1/17 - 3/31/17                            12&                                                                                                                                                     J^^
$"I^YfUbcQ\ GdeTY_c I]RbU\\Q O`] =dm]k =jgl`]jk )1980*                       Cge] ?][gj                                                                    >`ad], >gdgeZaY, >r][`               QYmdl                                                         GL3: 4/1/17 - 6/30/17             ^ajkl [gklk g^ Kjg\m[lk kgd\ Yf\                                               Hmdlahd] DKk:                     Hmdlahd] DKk:                                   @phaj]k 3/31/20                                                            N]] Gaf\Y ^gj ^gje
5WbUU]U^d"%                    O`] =j]Yc^Ykl >dmZ                            KmZdak`af_ Dl]ek                                                                M]hmZda[, ?]feYjc,                                                                               GL4: 7/1/17 - 9/30/17                          k`ahh]\                                                            %100,000                      %25,000 Yl ka_faf_
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Filed 09/10/19




                               >`m[cq ^jYf[`ak]                              Ogqk Yf\ >gdd][laZd]k                                                        AafdYf\, AjYf[], B]jeYfq,                                                                           GL5: 10/1/17 - 12/31/17                                                                                                                         %25,000 \m] 3/1/18
&&8bUQ]K_b[c =Dc gY\\ ^_g @.O. O`] @pljY-O]jj]kljaYd                         Ign]dlq Dl]ek                                                                Cmf_Yjq, D[]dYf\, Dj]dYf\,                                                                          GL6: 1/1/18 - 3/31/18              Cgo lg OjYaf Tgmj ?jY_gf:                                                   Cgo lg OjYaf Tgmj                %25,000 \m] 9/1/18
VQ\\ e^TUb I^YfUbcQ\ GdeTY_c&& AYkl ' Amjagmk ^jYf[`ak]                                                                                                   DkjY]d, DlYdq, EYhYf, Fgj]Y                                                                         GL7: 4/1/18 - 6/30/18                           13&                                                                ?jY_gf:                      %25,000 \m] 3/1/19
                               AYkl Oae]k Yl Ma\_]egfl Ca_`                  Hmdlahd] DKk:                                                                  )Ngml`*, Gmp]eZgmj_,                                                                              GL8: 7/1/18 - 9/30/18             Aajkl >gklk g^ Ydd eYfm^Y[lmj]\                                                   %5,000
                               CYddgo]]f 2 )1981*                            Gakl ak imal] ]pl]fkan]. Kd]Yk] j]^]j lg [gfljY[l                            H]pa[g, I]l`]jdYf\k, I]o                                                                            GL9: 10/1/18 - 12/31/18                       hjg\m[lk                                                                                      Cgo lg OjYaf Tgmj ?jY_gf:
                               EYok )1975*                                   hgkl]\ gf NYd]kAgj[] mf\]j Y[[gmfl fYe]:                                     U]YdYf\, IgjoYq, KgdYf\,                                                                                                                                                                                                                            %5,000 Yl ka_faf_
                               EmjYkka[ KYjc ^jYf[`ak]                       #Pfan]jkYd Nlm\agk Ga[]fkaf_ )Hmdlahd] DKk*# ^gj l`]                         Kgjlm_Yd, Naf_Yhgj], Ngml`                                                                          Cgo lg OjYaf Tgmj
                               Kkq[`g                                        [gehd]l] dakl                                                                  <^ja[Y, NhYaf, No]\]f,                                                                            ?jY_gf:
                               N`Ymf g^ l`] ?]Y\                                                                                                         Noalr]jdYf\, Omjc]q, Pfal]\                                                                          GL1: 6/1/16 - 6/30/16
                               Napl]]f >Yf\d]k                               ?j]YeRgjck DKk:                                                             Faf_\ge, Pfal]\ NlYl]k Yf\                                                                           GL2: 7/1/16 - 9/30/16
                               Pfan]jkYd Nlm\agk Hgfkl]jk                    +N]] ?j]YeRgjck jgo YZgn]+                                                      Ydd alk l]jjalgja]k Yf\                                                                          GL3: 10/1/16 - 12/31/16
                                                                                                                                                                  hgkk]kkagfk.                                                                                GL4: 1/1/17 - 3/31/17
                                                                                                                                                                                                                                                              GL5: 4/1/17 - 6/30/17
                                                                                                                                                                  Hj. MgZgl:                                                                                  GL6: 7/1/17 - 9/30/17
                                                                                                                                                                  Rgjd\oa\]                                                                                   GL7: 10/1/17 - 12/31/17
                                                                                                                                                                                                                                                              GL8: 1/1/18 - 3/31/18
                                                                                                                                                                                                                                                              GL9: 4/1/18 - 6/30/18

J=N AUTYQ' @@7                 Cmfl]j S Cmfl]j                               <hhYj]d:                                                    Igf-@p[dmkan]       <j_]flafY, <mkljYdaY,         G>(k @-[gee]j[]   I/<    11/1/17 - 12/31/19   11/1/17 - 12/31/19   GL1: 11/1/17 - 12/31/17    I/<                  12&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`    PN?   %                     4,000           %4,000 Yl ka_faf_         I/<   I/<   I/<   I/<      90-?Yqk         I/<   T]k   T]k   T]k              I/<                >gfljY[lgjk Yf\ Dfl]jfYd
                                                                             O-k`ajlk                                                                     <mkljaY, =]d_ame, >YfY\Y,             o]Zkal]                                                       GL2: 1/1/18 - 3/31/18            Aajkl >gklk g^ [jYl]k kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                         @ehdgq]]k
$"J=N I]RbU\\Q 5WbUU]U^d(                                                                                                                                  >`ad], >gdgeZaY, >r][`                                                                             GL3: 4/1/18 - 6/30/18                                                                                                                                                                                 @phaj]k:
<L<"%                                                                        Cge] ?][gj/?jafcoYj]/Cgmk]oYj]k:                                                 M]hmZda[, ?]feYjc,                QYmdl                                                         GL4: 7/1/18 - 9/30/18                                                                                                                                                                                 3/31/20                                                                 N]] Gaf\Y ^gj ^gje
                                                                             Gmf[` =gp]k                                                                  AafdYf\, AjYf[], B]jeYfq,                                                                           GL5: 10/1/18 - 12/31/18
                                                                             =dYfc]lk                                                                    Pfal]\ Faf_\ge, Cmf_Yjq,                                                                             GL6: 1/1/19 - 3/31/19
                                                                                                                                                            D[]dYf\, Dj]dYf\, DkjY]d,                                                                         GL7: 4/1/19 - 6/30/19
                                                                                                                                                         DlYdq, Gmp]eZgmj_, H]pa[g,                                                                           GL8: 7/1/19 - 9/30/19
                                                                                                                                                         I]l`]jdYf\k, I]o U]YdYf\,                                                                            GL9: 10/1/19 - 12/31/19
                                                                                                                                                            IgjoYq, K]jm, KgdYf\,
                                                                                                                                                            Kgjlm_Yd, Ngml` <^ja[Y,
                                                                                                                                                                NhYaf, No]\]f,
                                                                                                                                                         Noalr]jdYf\, Omjc]q Yf\ l`]
                                                                                                                                                         PN Yf\ Ydd al(k l]jjalgja]k Yf\
                                                                                                                                                                  hgkk]kkagfk
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Page 116 of 140
J=N AUTYQ' @@7               ?]Yl` Igl]                                <hhYj]d:                                                Igf-@p[dmkan]       <j_]flafY, <mkljYdaY,            G>(k @-[gee]j[]             I/<          11/1/17 - 12/31/19    11/1/17 - 12/31/19   GL1: 11/1/17 - 12/31/17        I/<                       12&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %               4,000         %4,000 Yl ka_faf_          I/<            I/<             I/<         I/<           90-?Yqk          I/<           T]k                  T]k                    T]k                        I/<                   >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       O-k`ajlk, No]Ylk`ajlk, Cgg\a]k, Ad]][] Oghk,                             <mkljaY, =]d_ame, >YfY\Y,                o]Zkal]                                                                        GL2: 1/1/18 - 3/31/18                     Aajkl >gklk g^ [jYl]k kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                                                                                                          @ehdgq]]k
$"J=N I]RbU\\Q 5WbUU]U^d(                                              G]__af_k, EY[c]lk, =gp]jk Yf\ Nd]]ho]Yj                                   >`ad], >gdgeZaY, >r][`                                                                                                 GL3: 4/1/18 - 6/30/18                                                                                                                                                                                                                     @phaj]k:
8B"%                                                                                                                                                M]hmZda[, ?]feYjc,                   QYmdl                                                                          GL4: 7/1/18 - 9/30/18                                                                                                                                                                                                                     3/31/20                                                                                                                        N]] Gaf\Y ^gj ^gje
                                                                       <[[]kkgja]k:                                                             AafdYf\, AjYf[], B]jeYfq,                                                                                               GL5: 10/1/18 - 12/31/18
                                                                       =Y_k, =Y[chY[ck, RYdd]lk, NeYdd G]Yl`]j Bgg\k )fgl                      Pfal]\ Faf_\ge, Cmf_Yjq,                                                                                                 GL6: 1/1/19 - 3/31/19
                                                                       f][]kkYjadq eY\] g^ d]Yl`]j*, F]q >`Yafk, CYlk,                            D[]dYf\, Dj]dYf\, DkjY]d,                                                                                             GL7: 4/1/19 - 6/30/19
                                                                       =]Yfa]k, GYfqYj\k, Ng[ck, KYl[`]k, AdYk`da_`lk Yf\                      DlYdq, Gmp]eZgmj_, H]pa[g,                                                                                               GL8: 7/1/19 - 9/30/19
                                                                       E]o]djq                                                                 I]l`]jdYf\k, I]o U]YdYf\,                                                                                                GL9: 10/1/19 - 12/31/19
                                                                                                                                                  IgjoYq, K]jm, KgdYf\,
                                                                       Cge] ?][gj/?jafcoYj]/Cgmk]oYj]:                                            Kgjlm_Yd, Ngml` <^ja[Y,
                                                                       Hm_k, BdYkk]k, Nl]afk, N`gl BdYkk]k, Gmf[` =gp]k,                              NhYaf, No]\]f,
                                                                       OYZd]oYj], ?jafcoYj], >gYkl]jk, N[jgddk, Hajjgjk,                       Noalr]jdYf\, Omjc]q Yf\ l`]
                                                                       RYdd <jl Yf\ Ign]dlq Ga_`laf_                                           PN Yf\ Ydd al(k l]jjalgja]k Yf\
                                                                                                                                                        hgkk]kkagfk
                                                                       KmZdak`af_/Kjafl]\ Bgg\k:
                                                                       Kgkl]jk, Kgkl[Yj\k, Nla[c]jk, >Yd]f\Yjk, >gdd][lgj(k
                                                                       >Yj\k, Agd\]jk, Kgjl^gdagk Yf\ =Y[c-lg-N[`ggd
                                                                       NlYlagfYjq

                                                                       Ogqk/Kdmk`/>gdd][laZd]k/Ign]dlq:
                                                                       Aa_mj]k, =gZZd] C]Y\k, ?agjYeYk, Hafa Aa_mj]k,
                                                                       =mklk Yf\ Ign]dlq/Dehmdk] Dl]ek

J=N AUTYQ' @@7               EJEJ =arYjj] <\n]flmj]k )N]Ykgfk 1-3*     <hhYj]d:                                                Igf-@p[dmkan]       <j_]flafY, <mkljYdaY,            G>(k @-[gee]j[]             I/<          11/15/17 - 12/31/19   11/15/17 - 12/31/19 GL1: 11/15/17 - 12/31/17        I/<                       12&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %               4,000         %4,000 Yl ka_faf_          I/<            I/<             I/<         I/<           90-?Yqk          I/<           T]k                  T]k                    T]k                        I/<                   >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       O-k`ajlk, No]Ylk`ajlk, Cgg\a]k, Ad]][] Oghk,                             <mkljaY, =]d_ame, >YfY\Y,                o]Zkal]                                                                       GL2: 1/1/18 - 3/31/18                      Aajkl >gklk g^ [jYl]k kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                                                                                                          @ehdgq]]k
$"J=N I]RbU\\Q 5WbUU]U^d(                                              G]__af_k, EY[c]lk, =gp]jk Yf\ Nd]]ho]Yj                                   >`ad], >gdgeZaY, >r][`                                                                                                GL3: 4/1/18 - 6/30/18                                                                                                                                                                                                                      @phaj]k:
>C>C"%                                                                                                                                              M]hmZda[, ?]feYjc,                   QYmdl                                                                         GL4: 7/1/18 - 9/30/18                                                                                                                                                                                                                      3/31/20                                                                                                                        N]] Gaf\Y ^gj ^gje
                                                                       <[[]kkgja]k:                                                             AafdYf\, AjYf[], B]jeYfq,                                                                                              GL5: 10/1/18 - 12/31/18
                                                                       =Y_k, =Y[chY[ck, RYdd]lk, NeYdd G]Yl`]j Bgg\k )fgl                      Pfal]\ Faf_\ge, Cmf_Yjq,                                                                                                GL6: 1/1/19 - 3/31/19
                                                                       f][]kkYjadq eY\] g^ d]Yl`]j*, F]q >`Yafk, CYlk,                            D[]dYf\, Dj]dYf\, DkjY]d,                                                                                            GL7: 4/1/19 - 6/30/19
                                                                       =]Yfa]k, GYfqYj\k, Ng[ck, N[Yjn]k, KYl[`]k Yf\                          DlYdq, Gmp]eZgmj_, H]pa[g,                                                                                              GL8: 7/1/19 - 9/30/19
                                                                       E]o]djq                                                                 I]l`]jdYf\k, I]o U]YdYf\,                                                                                               GL9: 10/1/19 - 12/31/19
                                                                                                                                                  IgjoYq, K]jm, KgdYf\,
                                                                       Cge] ?][gj/?jafcoYj]/Cgmk]oYj]:                                            Kgjlm_Yd, Ngml` <^ja[Y,
                                                                       Hm_k, BdYkk]k, Nl]afk, N`gl BdYkk]k, Gmf[` =gp]k,                              NhYaf, No]\]f,
                                                                       Agg\ >gflYaf]jk, OYZd]oYj], ?jafcoYj], >gYkl]jk,                        Noalr]jdYf\, Omjc]q Yf\ l`]
                                                                       N[jgddk, Hajjgjk, RYdd <jl Yf\ Ign]dlq Ga_`laf_                         PN Yf\ Ydd al(k l]jjalgja]k Yf\
                                                                                                                                                        hgkk]kkagfk
                                                                       KmZdak`af_/Kjafl]\ Bgg\k:
                                                                       Kgkl]jk, Kgkl[Yj\k, Nla[c]jk, >Yd]f\Yjk, >gdd][lgj(k
                                                                       >Yj\k, Agd\]jk, Kgjl^gdagk Yf\ =Y[c-lg-N[`ggd
                                                                       NlYlagfYjq

                                                                       Kdmk`/>gdd][laZd]k/Ign]dlq:
                                                                       K]f[ad N`Yjh]f]jk Yf\ Cgd\]jk, AdYk`da_`lk Yf\
                                                                       Ign]dlq/Dehmdk] Dl]ek


J=N AUTYQ' @@7               Jf]-Kmf[` HYf                             <hhYj]d:                                                Igf-@p[dmkan]       <j_]flafY, <mkljYdaY,            G>(k @-[gee]j[]             I/<          10/1/18 - 12/31/20    10/1/18 - 12/31/20   GL1: 10/1/18 - 12/31/18        I/<                       12&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %               4,000         %4,000 Yl ka_faf_          I/<            I/<             I/<         I/<           90-?Yqk          I/<           T]k                  T]k                    T]k                        I/<                   >gfljY[lgjk Yf\ Dfl]jfYd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Case 19-11791-BLS




                                                                       O-k`ajlk, No]Ylk`ajlk, Cgg\a]k, Ad]][] Oghk,                             <mkljaY, =]d_ame, >YfY\Y,                o]Zkal]                                                                        GL2: 1/1/19 - 3/31/19                     Aajkl >gklk g^ [jYl]k kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                                                                                                          @ehdgq]]k
$"J=N I]RbU\\Q 5WbUU]U^d(                                              G]__af_k, EY[c]lk, =gp]jk Yf\ Nd]]ho]Yj                                   >`ad], >gdgeZaY, >r][`                                                                                                 GL3: 4/1/19 - 6/30/19                                                                                                                                                                                                                     @phaj]k:
CDA"%                                                                                                                                               M]hmZda[, ?]feYjc,                   QYmdl                                                                          GL4: 7/1/19 - 9/30/19                                                                                                                                                                                                                     3/31/21                                                                                                                        N]] Gaf\Y ^gj ^gje
                                                                       <[[]kkgja]k:                                                             AafdYf\, AjYf[], B]jeYfq,                                                                                               GL5: 10/1/19 - 12/31/19
                                                                       =Y_k, CYlk, =]Yfa]k, >gaf Kmjk]/RYdd]lk Yf\                             Pfal]\ Faf_\ge, Cmf_Yjq,                                                                                                 GL6: 1/1/20 - 3/31/20
                                                                       N[Yjn]k                                                                    D[]dYf\, Dj]dYf\, DkjY]d,                                                                                             GL7: 4/1/20 - 6/30/20
                                                                                                                                               DlYdq, Gmp]eZgmj_, H]pa[g,                                                                                               GL8: 7/1/20 - 9/30/20
                                                                       Cge] ?][gj/?jafcoYj]/Cgmk]oYj]:                                         I]l`]jdYf\k, I]o U]YdYf\,                                                                                                GL9: 10/1/20 - 12/31/20
                                                                       BdYkk]k, RYl]j =glld]k, Gmf[` =gp]k, OYZd]oYj],                            IgjoYq, K]jm, KgdYf\,
                                                                       ?jafcoYj], >gYkl]jk Yf\ Ign]dlq Ga_`laf_                                   Kgjlm_Yd, Ngml` <^ja[Y,
                                                                                                                                                      NhYaf, No]\]f,
                                                                       KmZdak`af_/Kjafl]\ Bgg\k:                                               Noalr]jdYf\, Omjc]q Yf\ l`]
                                                                       NlYlagfYjq Yf\ =ggc HYjck                                               PN Yf\ Ydd al(k l]jjalgja]k Yf\
                                                                                                                                                        hgkk]kkagfk
                                                                       Ogqk/Kdmk`/>gdd][laZd]k/Ign]dlq:
                                                                       Aa_mj]k

J=N AUTYQ' @@7               =JMPOJ - IYjmlg l`] I]pl B]f]jYlagf       30,000 l-k`ajlk                                         Igf-@p[dmkan]       <j_]flafY, <mkljYdaY,            G>(k @-[gee]j[]             I/<           9/1/18 - 6/30/21      9/1/18 - 6/30/21    GL1: 9/1/18 - 9/30/18          I/<                       12&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %               4,000         %4,000 Yl ka_faf_          I/<            I/<             I/<         I/<           90-?Yqk          I/<           T]k                  T]k                    T]k                        I/<                   >gfljY[lgjk Yf\ Dfl]jfYd
                                                                       30,000 haddgok                                                           <mkljaY, =]d_ame, >YfY\Y,                o]Zkal]                                                                        GL2: 10/1/18 - 12/31/18                   Aajkl >gklk g^ [jYl]k kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                                                                                                          @ehdgq]]k
$"J=N I]RbU\\Q 5WbUU]U^d(                                                                                                                        >`ad], >gdgeZaY, >r][`                                                                                                 GL3: 1/1/19 - 3/31/19                                                                                                                                                                                                                 @phaj]k 9/30/21
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Doc 144




6CFIHC"%                                                                                                                                            M]hmZda[, ?]feYjc,                   QYmdl                                                                          GL4: 4/1/19 - 6/30/19                                                                                                                                                                                                                                                                                                                                                    N]] Gaf\Y ^gj ^gje
                                                                                                                                                AafdYf\, AjYf[], B]jeYfq,                                                                                               GL5: 7/1/19 - 9/30/19
                                                                                                                                               Pfal]\ Faf_\ge, Cmf_Yjq,                                                                                                 GL6: 10/1/19 - 12/31/19
                                                                                                                                                  D[]dYf\, Dj]dYf\, DkjY]d,                                                                                             GL7: 1/1/20 - 3/31/20
                                                                                                                                               DlYdq, Gmp]eZgmj_, H]pa[g,                                                                                               GL8: 4/1/20 - 6/30/20
                                                                                                                                               I]l`]jdYf\k, I]o U]YdYf\,                                                                                                GL9: 7/1/20 - 9/30/20
                                                                                                                                                  IgjoYq, K]jm, KgdYf\,                                                                                                 GL10: 10/1/20 - 12/31/20
                                                                                                                                                  Kgjlm_Yd, Ngml` <^ja[Y,                                                                                               GL11: 1/1/21 - 3/31/21
                                                                                                                                                      NhYaf, No]\]f,                                                                                                    GL12: 4/1/21 - 6/30/21
                                                                                                                                               Noalr]jdYf\, Omjc]q Yf\ l`]
                                                                                                                                               PN Yf\ Ydd al(k l]jjalgja]k Yf\
                                                                                                                                                        hgkk]kkagfk

KQb^Ub 6b_c 7_^ce]Ub      GJOM AjYf[`ak]                               O`ak dakl ak eYkkan]. Kd]Yk] [`][c oal` Oqd]j AYjj]dd   Igf-]p[dmkan]   Pfal]\ NlYl]k: >gfkaklaf_ g^         G>(k @-[gee]j[]             I/<           1/1/19 - 12/31/19     1/1/19 - 12/31/19   GL1: 1/1/19 - 3/31/19          I/<        Ga[]fk]\ Kjg\m[l/R=-=jYf\]\ 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`            PN?           %200,000                %50,000 Zq 5/22/19          I/<            I/<             I/<         I/<           90-?Yqk          I/<           T]k                  Ig                      Ig                Kjg\m[l M]klja[lagfk:               >gfljY[lgjk
Db_TeSdc' =^S)            CgZZal AjYf[`ak]                             ^gj hjg\m[l YhhjgnYdk                                                     PN<, Km]jlg Ma[g Yf\                    o]Zkal]                                                                        GL2: 4/1/19 - 6/30/19                          NmZk[jahlagf >jYl]:          da[]fk] imYjl]j
                          CYjjq Kgll]j AjYf[`ak]                                                                                                 Pfal]\ NlYl]k HadalYjq                                                                                                 GL3: 7/1/19 - 9/30/19                                   6&                                                                                           %50,000 Zq 6/15/19                                                               @phaj]k 3/31/20                                                                                   + Kjg\m[lk l`] emkl Z]           N]] Gaf\Y ^gj ^gje
$"K6 I]RbU\\Q 5WbUU]U^d"% AYflYkla[ =]Yklk AjYf[`ak]                                                                                                     =Yk]k;                          QYmdl                                                                          GL4: 10/1/19 - 12/31/19                    g^ ?aj][l-lg->gfkme]j NYd]k                                                                                                                                                                                                                                                               HYjc]l]\ Yf\ kgd\ lg l`gk]
                          N`YrYe                                                                                                                                                                                                                                                                                                                                                                                             %50,000 Zq 9/15/19                                                                                                                                                                  o`g Yj] 17 gj gd\]j:
                          N`Y^l )2019*                                                                                                                    >YfY\Y;                                                                                                                                                      HYfm^Y[lmj]\ Kjg\m[lk:                                                                                                                                                                                                                                                                    N`Y^l; < >dg[cogjc
                          O`] Emkla[] G]Y_m] )2017*                                                                                                                                                                                                                                                                              20&                                                                                         %50,000 Zq 12/15/19                                                                                                                                                                JjYf_]; O`] N`afaf_;
                          Rgf\]j RgeYf                                                                                                          GYlaf <e]ja[Y: >gfkaklaf_                                                                                                                                              g^ Aajkl >gkl g^ Kjg\m[l                                                                                                                                                                                                                                                                HgjlYd FgeZYl 9, 10, 11
                          2001: < NhY[] J\qkk]q                                                                                                    g^ <j_]flafY, >`ad],                                                                                                                                             )afnga[] hja[]\ Zadd]\ lg G>*                                                                                                                                                                                                                                                                  Yf\ HF FdYkka[;
                          < >dg[cogjc JjYf_]                                                                                                     >gdgeZaY Yf\ H]pa[g;                                                                                                                                                                                                                                                                                                                                                                                                                                            <ffYZ]dd] ^jYf[`ak];
                          O`] N`afaf_                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        >gfbmjaf_ ^jYf[`ak]; >mjk]
                          Raddq RgfcY Yf\ l`] >`g[gdYl] AY[lgjq                                                                                @mjgh], Ha\\d] @Ykl, <^ja[Y                                                                                                                                                                                                                                                                                                                                                                                                                                   g^ GY GdgjgfY; @pgj[akl; DO
                          O]]f OalYfk Bg" Og O`] Hgna]k                                                                                         )t@H@<u*: >gfkaklaf_ g^                                                                                                                                                                                                                                                                                                                                                                                                                                       ^jYf[`ak]; Ggkl =gqk; O`]
                          O]]f OalYfk Bg" )OQ N]ja]k*                                                                                           <mkljaY, =]d_ame, >r][`                                                                                                                                                                                                                                                                                                                                                                                                                                                  Imf
                          Nmh]j_ajd )OQ N]ja]k*                                                                                                          M]hmZda[,
                          Man]j\Yd] )OQ N]ja]k*                                                                                                ?]feYjc, AafdYf\, AjYf[],                                                                                                                                                                                                                                                                                                                                                                                                                                      + =a[q[d] oYl]j Zglld]k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Filed 09/10/19




                          O`] =a_ =Yf_ O`]gjq                                                                                                  B]jeYfq, Cmf_Yjq, D[]dYf\,                                                                                                                                                                                                                                                                                                                                                                                                                                    eYq fgl mk] #Fjqhlgfal] gj
                          R]klogjd\ )OQ N]ja]k*                                                                                                    Dj]dYf\, DkjY]d, DlYdq,                                                                                                                                                                                                                                                                                                                                                                                                                                      Yfq gl`]j #Fjqhlg#-
                          Df^afal] >jakak )Qa\]g BYe]*                                                                                                 Gmp]eZgmj_,                                                                                                                                                                                                                                                                                                                                                                                                                                               ^gjeYlan] ogj\k
                          Dfbmkla[]: Bg\k <egf_ Pk )Qa\]g BYe]*                                                                                   I]l`]jdYf\k, IgjoYq,
                          Dfbmkla[] 2 )Qa\]g BYe]*                                                                                               KgdYf\, Kgjlm_Yd, Ngml`                                                                                                                                                                                                                                                                                                                                                                                                                                       + Kjg\m[l kgd\ af Ngml`
                          Gggf]q Omf]k >gj]                                                                                                       <^ja[Y, NhYaf, No]\]f,                                                                                                                                                                                                                                                                                                                                                                                                                                      Fgj]Y eYq fgl mladar] #<
                          N[ggZq-?gg >gj]                                                                                                        Noalr]jdYf\, Omjc]q Yf\                                                                                                                                                                                                                                                                                                                                                                                                                                      >dg[cogjc JjYf_]#; Ydkg
                          Oge ' E]jjq >gj]                                                                                                           Pfal]\ Faf_\ge;                                                                                                                                                                                                                                                                                                                                                                                                                                            ^gglo]Yj, YhhYj]d Yf\
                          Emkla[] G]Y_m] >gj]                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    `]Y\o]Yj ^]Ylmjaf_
                          Nmh]jeYf >gj]                                                                                                        <kaY KY[a^a[: >gfkaklaf_ g^                                                                                                                                                                                                                                                                                                                                                                                                                                    Bj]edafk ^jYf[`ak] eYq
                          ?> Rge]f >gj]                                                                                                         <mkljYdaY, EYhYf, Fgj]Y                                                                                                                                                                                                                                                                                                                                                                                                                                      fgl Z] kgd\ af Ngml` Fgj]Y
                          Rgf\]j RgeYf >gj]                                                                                                    )Ngml`*, I]o U]YdYf\ Yf\
                          O`] Adaflklgf]k >gj]                                                                                                         Naf_Yhgj]                                                                                                                                                                                                                                                                                                                                                                                                                                             + O`] CgZZal ^jYf[`ak] ak
                          RY[cq MY[]k )OQ N]ja]k*                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             daeal]\ lg l`] ^gddgoaf_
                          <faeYfaY[k )OQ N]ja]k*                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     hjg\m[lk:
                          HgjlYd FgeZYl 9 )Qa\]g BYe]*                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       <\mdl l-k`ajlk; c]q [`Yafk;
GD97=5@HM*D5FHB9F*IA6F9@@5 $S_]R_% 5;F99A9BHG2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               AQ^eVQSdebUb DbU(                                                                                            5ccYW^]U^d _V 8UcYW^c
                                                                                                                                                                                                                                                                                                                                                                                                                        ;eQbQ^dUUT F_iQ\dYUc DQi]U^d   AQb[UdY^W                     AY^Y]e] BUd                                                              5``b_fQ\ FUaeYbUT Ri   @YSU^c_b*AQ^eVQSdebUb       :5A5 5``b_fQ\                                                   FUaeYbUT4
@YSU^c_b*DQbd^Ub             HbQTU]Qb[c                                Db_TeSd 7QdUW_bi                                            Hi`U                  HUbbYd_bi               8YcdbYRedY_^ 7XQ^^U\c     7bQdU :bUaeU^Si      =^YdYQ\ HUb]         @YSU^cU MUQbc         @YSU^cU EeQbdUbc         @YSU^cU :UU       F_iQ\di FQdU*DQi]U^dc              DQi]U^d GSXUTe\U            7ebbU^Si   ;eQbQ^dUUT F_iQ\dYUc               HUb]c                :e^T       AQb[UdY^W G`U^T      GQ\Uc      FU^UgQ\    GU\\(CVV DUbY_T     FU^UgQ\   B_^(7_]`UdYdY_^        @YSU^c_b4            :_b] FUaeYbUT4             FUaeYbUT                 AYcSU\\Q^U_ec*FUcdbYSdY_^c       ]-D>@INJM 'JMH 3@LPDM@?   ;YfUQgQi FUcdbYSdY_^c


6UdXUcTQ G_Vdg_b[c' @@7     AYddgml ^jYf[`ak]O`]
                                             "   @d\]j N[jgddkMY_]?gge
                                                              "   "    O-k`ajlk                                                Igf-]p[dmkan]            Rgjd\oa\]                ]-[gee]j[] o]Zkal]QYmdl
                                                                                                                                                                                                   "            I/<           7/13/18 - 6/30/20     7/13/18 - 6/30/20   GL1: 7/13/18 - 9/30/18GL2
                                                                                                                                                                                                                                                                                              "        I/<           =]l`]k\Y =jYf\]\ >jYl]k:       30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`      PN?      %            200,000         %100,000 Yl ka_faf_         I/<            I/<              I/<         I/<     Yqk@phaj]k:10/31/2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                "       "           I/<           Ig                  T]k                     Ig                         Ig                G> k`Ydd fgl [jgkk hjgegl]                 I/<
                                                                       Cgg\]\ No]Ylk`ajlk                                                                                                                                                                                                                                      10&                        da[]fk] imYjl]j                                                                                                                                                                                                                                                                  gl`]j hjg\m[lk gj ZjYf\k mkaf_
$"6UdXUcTQ DQbd^Ub*I]RbU\\Q                                            Aa_mj]k                                                                                                                                                                                                                                        g^ I]l NYd]k g^ [jYl]k                                                                                 %50,000 \m] 12/1/18                                                                                                                                                                                           l`] =]l`]k\Y eYjck gj Yfq
5WbUU]U^d"%                                                            Kafk                                                                                                                                                                                                                                                kgd\/k`ahh]\                                                                                                                                                                                                                                                                                                    gl`]j =]l`]k\Y eYjck mfd]kk
                                                                                                                                                                                                                                                                                                                                                                                                                             %50,000 \m] 12/1/19                                                                                                                                                                                           hj]-Yhhjgn]\ af ojalaf_ Zq
                                                                       +Jl`]j hjg\m[lk mhgf hjgj ojall]f YhhjgnYd ^jge                                                                                                                                                                                             <dd Jl`]j Df\ana\mYd Kjg\m[lk                                                                                                                                                                                                                                                                                           =]l`]k\Y.
                                                                       =]l`]k\Y+                                                                                                                                                                                                                                    ^]Ylmj]\ af Ydd gl`]j [jYl]k
                                                                                                                                                                                                                                                                                                                    Yf\/gj kgd\ af\ana\mYddq gf                                                                                                                                                                                                                                                                                            G> [Yffgl \akljaZml] Yfq
                                                                                                                                                                                                                                                                                                                               QYmdl:                                                                                                                                                                                                                                                                                                      =]l`]k\Y kmZk[jahlagf [jYl]k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Yk hjgeglagfYd-la]-afk,
                                                                                                                                                                                                                                                                                                                    O-k`ajlk: PN %0.30 h]j mfal                                                                                                                                                                                                                                                                                            _an]YoYqk, gj #\meh# gj k]dd
                                                                                                                                                                                                                                                                                                                   Cgg\]\ No]Ylk`ajlk: PN %0.90                                                                                                                                                                                                                                                                                            gj g^^]j lg k]dd =]l`]k\Y
                                                                                                                                                                                                                                                                                                                              h]j mfal                                                                                                                                                                                                                                                                                                     kmZk[jahlagf [jYl]k Yl Y hja[]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Page 117 of 140




                                                                                                                                                                                                                                                                                                                    Aa_mj]k: PN %0.35 h]j mfal                                                                                                                                                                                                                                                                                             Z]dgo [gkl oal`gml =]l`]k\Y
                                                                                                                                                                                                                                                                                                                     Kafk: PN %0.05 h]j mfal                                                                                                                                                                                                                                                                                               hjagj ojall]f [gfk]fl.
<QcRb_' =^S)                 >dm]                                          <KK<M@G:                                                 Igf-@p[dmkan]            Rgjd\oa\]                  G>(k @-[gee]j[]           I/<       11/15/16 - 12/31/19   11/15/16 - 12/31/19 GL1: 11/15/16 - 12/31/16         I/<                        6&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`        PN?        %150,000                  %25,000 Yl ka_faf_           I/<   I/<   I/<   I/<     180-?Yqk        I/<   T]k   Ig    T]k   I/<      >gfljY[lgjk Yf\ Dfl]jfYd
                             ?mf_]gfk ' ?jY_gfk                            O-N`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                                            o]Zkal]                                                                  GL2: 1/1/17 - 3/31/17                         I]l NYd]k+ ^gj \]\a[Yl]\ [jYl]k       da[]fk] imYjl]j                                                                                                                                                                   @ehdgq]]k
$"<QcRb_ DQbd^Ub*I]RbU\\Q    B.D. Eg]: < M]Yd <e]ja[Yf C]jg nk. >gZjY      bY[c]lk, Zgp]jk Yf\ kd]]ho]Yj                                                                                                                                                              GL3: 4/1/17 - 6/30/17                         )[jYl]k oal` gfdq CYkZjg al]ek*                                                                           %50,000 gf 6/1/17                                    @phaj]k 6/30/20
5WbUU]U^d"%                  HY_a[: O`] BYl`]jaf_                                                                                                                                             QYmdl                                                                   GL4: 7/1/17 - 9/30/17                                                                                                                                                                                                                                             N]] Gaf\Y ^gj Agje
                             Hgfghgdq                                      <>>@NNJMD@N:                                                                                                                                                                               GL5: 10/1/17 - 12/31/17                                   7.5&                                                                                          %25,000 gf 12/1/17
                             Hj. KglYlg C]Y\ - >dYkka[                     =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k, c]q                                                                                                                                         GL6: 1/1/18 - 3/31/18                          AJ= NYd]k ^gj \]\a[Yl]\ [jYl]k
                             LmabY                                         [`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                                                                                                           GL7: 4/1/18 - 6/30/18                                                                                                                                   %25,000 gf 6/1/18
                             KdYq-?g`                                      ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk Yf\ b]o]djq                                                                                                                                          GL8: 7/1/18 - 9/30/18                                       12&
                             OjYfk^gje]jk - B]f]jYlagf 1                                                                                                                                                                                                              GL9: 10/1/18 - 12/31/18                        I]l NYd]k++ ^gj Ydd gl`]j [jYl]k                                                                         %25,000 gf 12/1/18
                             +<\\alagfYd DKk Yhhjgn]\ Zq Y [Yk]-Zq-[Yk]    CJH@ ?@>JM/?MDIFR<M@/CJPN@R<M@:                                                                                                                                                            GL10: 1/1/19 - 3/31/19
                             ZYkak                                         Hm_k, _dYkk]k, kl]afk, k`gl _dYkk]k, dmf[`Zgp]k,                                                                                                                                           GL11: 4/1/19 - 6/30/19                                   13.5&
                                                                           lYZd]oYj], \jafcoYj], [gYkl]jk, k[jgddk, eajjgjk Yf\                                                                                                                                       GL12: 7/1/19 - 9/30/19                         AJ= NYd]k ^gj Ydd gl`]j [jYl]k
                                                                           oYdd Yjl                                                                                                                                                                                   GL13: 10/1/19 - 12/31/19
                                                                                                                                                                                                                                                                                                                     )%0/3.-<0/ $:-<0;\ ]/@O
                                                                           KP=GDNCDIB/KMDIO@? BJJ?N:                                                                                                                                                                                                                4<G@N NC<GG H@<I OC@ M@O<DG
                                                                           Kgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk, ^gd\]jk,
                                                                           hgjl^gdagk, Yf\ ZY[c-lg-k[`ggd klYlagfYjq
                                                                                                                                                                                                                                                                                                                     N<G@N KMD>@ >C<MB@? =T -$
                                                                                                                                                                                                                                                                                                                      OJ >PNOJH@MNV G@NN JIGT
                                                                                                                                                                                                                                                                                                                     N<G@N O<S@NV NCDKKDIB <I?
                                                                                                                                                                                                                                                                                                                       M@OPMIN AJM ?<H<B@?
                                                                                                                                                                                                                                                                                                                        BJJ?NV =PO IJ JOC@M
                                                                                                                                                                                                                                                                                                                       ?@?P>ODJINV DI>GP?DIB
                                                                                                                                                                                                                                                                                                                      PI>JGG@>OD=G@ <>>JPIONX

                                                                                                                                                                                                                                                                                                                    ["55 (<20: $:-<0;\ ]]/@O
                                                                                                                                                                                                                                                                                                                    4<G@N NC<GG H@<I OC@ 'DMNO
                                                                                                                                                                                                                                                                                                                     $JNO 1PM>C<N@ 1MD>@V OC@
                                                                                                                                                                                                                                                                                                                          KMD>@? K<D? OJ
                                                                                                                                                                                                                                                                                                                    H<IPA<>OPM@MV [@S>GP?DIB
                                                                                                                                                                                                                                                                                                                    CD D         GD =G O
AQbfU\ 9^dUbdQY^]U^d' =^S)   H<MQ@G >G<NND> NOTG@ BPD?@N:                  Kjg\m[lk eYfm^Y[lmj]\ Yf\ kmhhda]\ Zq Yml`gjar]\         Igf-]p[dmkan]   Pfal]\ NlYl]k, al(k l]jjalgja]k     G>(k @-[gee]j[]        =a-Hgfl`dq    1/1/18 - 12/31/20     1/1/18 - 12/31/20   GL1: 1/1/18 - 3/31/18          %2,000         O-k`ajlk - HYjn]d >dYkka[ Nlqd]     30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`   PN?   <dd DKk @p[]hl S-H]f   <dd DKk @p[]hl S-H]f Yf\ ?]Y\hggd:   I/<   I/<   I/<   I/<      90 \Yqk        I/<   Ig    T]k   T]k   T]k   Pfd]kk gl`]joak] Yhhjgn]\ af      >gfljY[lgjk Yf\ Dfl]jfYd    NmZb][l lg HYjn]dvk hjagj
                             Nha\]j-HYf >dYkka[ Nlqd] Bma\]                HYjn]d da[]fk]]k; Yf\                                                       Yf\ hgkk]kkagfk, Yf\                  o]Zkal]                                                                   GL2: 4/1/18 - 6/30/18       ?m] Yl ka_faf_                Bma\]:                        da[]fk] imYjl]j                     Yf\ ?]Y\hggd:               %28,000 Zq 3/15/19                                                                                  Y\nYf[] af ojalaf_ Zq HYjn]d,           @ehdgq]]k              ojall]f YhhjgnYd af ]Y[`
$"AQbfU\ DQbd^Ub*I]RbU\\Q    <n]f_]jk >dYkka[ Nlqd] Bma\]                                                                                                     >YfY\Y                                                             Ng^ldaf]k:            Ng^ldaf]k:      GL3: 7/1/18 - 9/30/18                              %0.35 h]j mfal kgd\;                                                        %70,000                   %24,500 Zq 8/1/19                                     @phaj]k:                                       ]Y[` af\ana\mYd Ga[]fk]\                                     afklYf[], Ga[]fk]] k`Ydd
5WbUU]U^d"%                  HYjn]d >gea[ M]ljg >dYkka[ Nlqd] Bma\]        Kjg\m[lk \]ka_f]\ Yf\ eYfm^Y[lmj]\ Zq G>.                                                                    QYmdl mhgf ojall]f                   1/1/18 - 12/31/19     1/1/18 - 12/31/19   GL4: 10/1/18 - 12/31/18                                                                                                                                  %17,500 Zq 2/1/20                                     3/31/20                                         Kjg\m[l eYq fgl Z] kgd\           Agje ak hjgna\]\             [gf\m[l Y\n]jlakaf_,
                             HYjn]d FYoYaa <jl >gdd][lagf Nlqd] Bma\]                                                                               <mklYdaY Yf\ I]o U]YdYf\          YhhjgnYd ^gj ]Y[` al]e                                                           GL5: 1/1/19 - 3/31/19                         O-k`ajlk - HYjn]d Hgna] Nlqd]                                             S-H]f Yf\ ?]Y\hggd:                                                                                                                    k]hYjYl]dq Yf\ emkl Z]                                    eYjc]laf_ Yf\ hjgeglagfYd
                             HYjn]d BYe]k >dYkka[ Nlqd] Bma\]              <>>@NNJMD@N:                                                                                                                                                                                GL6: 4/1/19 - 6/30/19                                     Bma\]:                                                             %30,000                 S-H]f Yf\ ?]Y\hggd:                                     Ng^ldaf]k 90                                    af[dm\]\ oal`af Yf\ kgd\ Yk                                  Y[lanala]k j]YkgfYZd] Yf\
                             BmYj\aYfk g^ l`] BYdYpq >dYkka[ Nlqd] Bma\]   CYlk Yf\ >Yhk                                                              <mkljaY, =]d_ame, >r][`      <ml`gjar]\ AYf                                                                      GL7: 7/1/19 - 9/30/19                              %0.40 h]j mfal kgd\                                                                                %12,000 Zq 3/15/19                                         \Yqk                                         hYjl g^ l`] HYjn]d >jYl].                                  YhhjghjaYl] lg kmhhgjl l`]
                             HYjn]d O`] ?]^]f\]jk >dYkka[ Nlqd] Bma\]      N[Yjn]k                                                                      M]hmZda[, ?]feYjc,      >gfn]flagfk dac] >gea[-                                                                GL8: 10/1/19 - 12/31/19                                                                                                                                %10,500 Zq 8/1/19                                    @phaj]k 3/31/20                                                                                              kYd] g^ Ga[]fk]\ Kjg\m[lk,
                             HYjn]d 80l` <ffan]jkYjq >dYkka[ Nlqd]         Cgka]jq                                                                  AafdYf\, B]jeYfq, Cmf_Yjq,    >gf mhgf ojall]f                                                                                                                         AYk`agf Cgg\a]k:                                                                                   %7,500 Zq 2/1/20                                                                                                                                                  o`a[` eYq af[dm\] gf] gj
                             Bma\]                                         RYdd]lk Yf\ NeYdd G]Yl`]j Bgg\k                                            D[]dYf\, Dj]dYf\, DkjY]d,       YhhjgnYd                                                                                                                        Bj]Yl]j g^ 15& g^ >gfkme]j                                                                                                                                                                                   O`] Zgp Yf\ hY[cY_af_ ^gj l`]                                   egj] g^ l`] ^gddgoaf_:
                             HYjn]d Pfan]jk] >dYkka[ Nlqd] Bma\]           Nmf_dYkk]k                                                                    DlYdq, Gmp]eZgmj_,                                                                                                                                           NYd]k gj %0.90 h]j mfal kgd\                                                                                                                                                                                   HYjn]d >jYl] emkl Z] [g-                                        )a* hgafl g^ hmj[`Yk]
                                          56,?)5564:,+ 1078 4-
                             ) 10208,+ 84 )                                Kafk                                                                        I]l`]jdYf\k, IgjoYq,                                                                                                                                                                                                                                                                                                                                                        ZjYf\]\ oal` Ga[]fk]]vk Gggl                                     \akhdYqk ^gj Ga[]fk]\
                             */)6)*8,67> &1,)7, 7,, "4386)*87              =mkaf]kk >Yj\ Cgd\]jk                                                      KgdYf\, Kgjlm_Yd, Ngml`                                                                                                                                                AYk`agf Oghk:                                                                                                                                                                                          >jYl] ZjYf\ Yk Yhhjgn]\ Zq                                    Kjg\m[lk )fgl af[dm\af_
                                                                           F]q >`Yafk )]p[dm\af_ 3? [`YjY[l]j ^a_mjaf]k*                              <^ja[Y, NhYaf, No]\]f,                                                                                                                                          Bj]Yl]j g^ 15& g^ >gfkme]j                                                                                                                                                                                             HYjn]d.                                                  hY[cY_af_ gj gl`]j
                             %)3).,6 '<1,6 $)66,11 46 6,-,6 84 8/,         PeZj]ddYk                                                                  Noalr]jdYf\ Yf\ Omjc]q                                                                                                                                          NYd]k gj %0.50 h]j mfal kgd\                                                                                                                                                                                                                                               af\ana\mYd hjg\m[l [gklk*,
                             *4386)*8 -46 246, +,8)017 \                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Ga[]fk]] k`Ydd `Yn] Y                                     )aa* hjafl Y\n]jlakaf_ ^gj
                                                                           <KK<M@G: )+($,&%'#+ "-)%*#  /0.1/./2 \                                      EYhYf, Ngml` Fgj]Y,                                                                                                                                                Jml]jo]Yj EY[c]lk:                                                                                                                                                                                       eafaeme g^ gf] )1* O-k`ajl af                                Ga[]fk]\ Kjg\m[lk )km[` Yk
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Case 19-11791-BLS




                             ."37&- .07*& 45:-& (6*%&4W                    .@I^NV RJH@I^N <I? +PIDJM^N <KK<M@GV                                     <j_]flafY, >`ad], >gdmeZaY,                                                                                                                                       Bj]Yl]j g^ 15& g^ >gfkme]j                                                                                                                                                                                    Ga[]fk]]vk [gj] kmZk[jahlagf                                  eY_Yraf] Y\k, [YlYdg_k,
                                                                                                                                                    H]pa[g, Naf_Yhgj], Pfal]\                                                                                                                                         NYd]k gj %1.19 h]j mfal kgd\                                                                                                                                                                                  [jYl] ^gj ]Y[` [Yd]f\Yj q]Yj.                                   [aj[mdYjk Yf\ afk]jlk*,
                             "Q@IB@MNW *IADIDOT 8<M 4OTG@ (PD?@            GDHDO@? OJ OC@ AJGGJRDIBW                                                         Faf_\ge                                                                                                                                                                                                                                                                                                                                                                O`ak ak lg e]Yf, Yl d]Ykl gf]                               )aaa* e]\aY Y\n]jlakaf_ ^gj
                             #G<>F 1<IOC@M .JQD@ 4OTG@ (PD?@               5ZNCDMON [GJIB NG@@Q@ <I? NCJMO NG@@Q@\                                                                                                                                                                                                  ++<dd l`] YZgn] ak Yhhda[YZd] lg                                                                                                                                                                                )1* S-e]f/?]Y\hggd l-k`ajl,                                       Ga[]fk]\ Kjg\m[lk,
                             "IOZ.<I _ 5C@ 8<NK .JQD@ 4OTG@                )JJ?D@N [APGG UDK <I? KPGGJQ@MN\                                                                                                                                                                                                         G>(k [gj] kmZk[jahlagf [jYl] gfdq                                                                                                                                                                              Yf\ Yl d]Ykl gf] )1* ^gj #Jl`]j                                 )an* e]YkmjYZd] hmZda[
                             (PD?@                                         '<NCDJI 5JKN                                                                                                                                                                                                                               Yf\ fgl l`] HYjn]d >jYl]++                                                                                                                                                                                                 DK#.                                                 j]dYlagfk hjg_jYek
                             $<KO<DI .<MQ@G .JQD@ 4OTG@ (PD?@                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      \]\a[Yl]\ lg Ga[]fk]\
                                                                           '<NCDJI #JOOJHN
                                                                                                                                                                                                                                                                                                                        HYjn]d >jYl] ' Yfq gl`]j                                                                                                                                                                                                                                                            Kjg\m[lk,
                             "Q@IB@MNW &I?B<H@ .JQD@ 4OTG@                 0PO@MR@<M E<>F@ON                                                                                                                                                                                                                             Ga[]fk]\ Kjg\m[lk kgd\                                                                                                                                                                                                                                                   )n* kYehdaf_ )]p[dm\af_
                             (PD?@                                         4J>FN                                                                                                                                                                                                                                      af\ana\mYddq ^jge l`] HYjn]d                                                                                                                                                                                                                                                  >gfljY[l NYehd]k ^gj
                                                                           4GDKK@MN                                                                                                                                                                                                                                               >jYl]:                                                                                                                                                                                                                                                        YhhjgnYd hjg[]kk Yf\ j]lYad
                             ."37&- 57 45:-& (6*%&4W                       'JJOR@<M                                                                                                                                                                                                                                     15& g^ >gfkme]j NYd]k                                                                                                                                                                                                                                                            hj]k]flYlagfk*,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                )na* ko]]hklYc]k, [gfl]klk
                             .<MQ@G -DQ@ ">ODJI 57 4OTG@ (PD?@             'GDK 'GJKN                                                                                                                                                                                                                               <f Y\\alagfYd 4& lg Z] Y\\]\ lg                                                                                                                                                                                                                                                gj gl`]j kaeadYj _Ye]k,
                                                                           6I?@MR@<M                                                                                                                                                                                                                                 jYl]k ^gj <GG GYf\]\/Df NYd]k                                                                                                                                                                                                                                                     )naa* ljY\] k`gok

AYSb_c_Vd 7_b`_bQdY_^        CYdg CYdg
                                  "    dg_g343
                                           "   Df\mklja]kHa[jgkg^l
                                                         "                 CYdg hjg\m[lk l`Yl Yj] eYfm^Y[lmj]\ Yf\ kmhhda]\         Igf-]p[dmkan] Pfal]\ NlYl]k, >YfY\Y,   f hjagj ojall]f
                                                                                                                                                                                   "       YhhjgnYd*M
                                                                                                                                                                                                    "          =a-Hgfl`dq    4/1/16 - 7/31/19      4/1/16 - 7/31/19    GL1: 4/1/16 - 6/30/16GL2:
                                                                                                                                                                                                                                                                                            "           I/<                        7&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`      PN?           I/<                           I/<                   I/<   I/<   I/<   I/<      180 \Yqk       I/<   Ig    T]k   T]k   Ig     O`] mk] g^ l`] Ga[]fk]\                >gfljY[lgjk
                                                                           Ha[jgkg^l(k Yml`gjar]\ CYdg da[]fk]]k                                  <mkljYdaY, I]o U]YdYf\,                                                                                                                                            g^ 100& g^ I]l NYd]k ^gj CYdg          da[]fk] imYjl]j                                                                                                                                                        <jla[d]k Yk hj]eamek,
$"AYSb_c_Vd <Q\_ DQbd^Ub                                                                                                                          Pfal]\ Faf_\ge, @mjgh]Yf                                                                                                                                             >g-ZjYf\]\ [jYl]k Yf\ >g-                                                                                                                                                                                   hjgeglagfYd la]-afk gj Yfq          N]] Gaf\Y ^gj ^gje
5WbUU]U^d"%                                                                >g-ZjYf\]\ hjg\m[lk eYfm^Y[lmj]\ Zq Ga[]fk]]                           Pfagf, IgjoYq, GYlaf                                                                                                                                              ZjYf\]\ hjg\m[lk kgd\ )af[dm\af_                                                                                                                                                                               gl`]j k][gf\Yjq mk] g^ l`]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Doc 144




                                                                                                                                                  <e]ja[Y )af[dm\af_                                                                                                                                                 ]p[]kk afn]flgjq ^jge CYdg [g-                                                                                                                                                                                Ga[]fk]\ <jla[d]k Yj] fgl
                                                                           sssssssssssssssssssssssssss                                            H]pa[g*                                                                                                                                                           ZjYf\]\ [jYl]k* kgd\ af\ana\mYddq                                                                                                                                                                              da[]fk]\ Yk hYjl g^ l`ak
                                                                                                                                                                                                                                                                                                                      Yk hYjl g^ #eqkl]jq [jYl]k# gj                                                                                                                                                                               <_j]]e]fl; km[` ja_`lk Yj]
                                                                           1000 K]ffq <j[Y\] >gdd][laZd] CYdg Kaf ^gj k]dd Yl                                                                                                                                                                                        #hYkl [jYl]k# gj af\ana\mYddq af                                                                                                                                                                              j]k]jn]\ Zq Ha[jgkg^l.
                                                                           K<S 2017 ]n]flk                                                                                                                                                                                                                             l`] ?akljaZmlagf >`Yff]dk

                                                                                                                                                                                                                                                                                                                                  12&
                                                                                                                                                                                                                                                                                                                     g^ Aajkl >gklk ^gj [g-ZjYf\]\
                                                                                                                                                                                                                                                                                                                    hjg\m[lk af[dm\]\ af fgf-CYdg
                                                                                                                                                                                                                                                                                                                                 [jYl]k.
                                                                                                                                                                                                                                                                                                                    )G> emkl j][]an] hjagj ojall]f
                                                                                                                                                                                                                                                                                                                    YhhjgnYd ^jge Ha[jgkg^l gf l`]
                                                                                                                                                                                                                                                                                                                    Aajkl >gklk ^gj ]Y[` [g-ZjYf\]\
                                                                                                                                                                                                                                                                                                                    hjg\m[l af[dm\]\ af Y fgf-CYdg
                                                                                                                                                                                                                                                                                                                                 [jYl]*

                                                                                                                                                                                                                                                                                                                    XXXXXXXXXXXXXXXXXXXXXXXXXX
                                                                                                                                                                                                                                                                                                                          XXXXXXXXXXXXXXXX
                                                                                                                                                                                                                                                                                                                     K]ffq <j[Y\] >gdd][laZd] CYdg
                                                                                                                                                                                                                                                                                                                                 Kaf
                                                                                                                                                                                                                                                                                                                           7& g^ I]l NYd]k+

                                                                                                                                                                                                                                                                                                                     +#I]l NYd]k# lg e]Yf l`] [gklk
                                                                                                                                                                                                                                                                                                                     G> af[mjk o`]f eYfm^Y[lmjaf_
                                                                                                                                                                                                                                                                                                                    Yf al]e, fgl af[dm\af_ [gklk ^gj
                                                                                                                                                                                                                                                                                                                    hjg\m[l l]klaf_, k`ahhaf_, gj Yfq
                                                                                                                                                                                                                                                                                                                    lYp]k/\mla]k/[mklgek [`Yj_]\ lg
                                                                                                                                                                                                                                                                                                                     G> ^gj al]ek l`Yl Yj] kgd\ Yf\

AYSb_c_Vd $FQbU%             N]Y g^ O`a]n]k                                <hhYj]d, af[dm\af_, Zml fgl daeal]\ lg:                  Igf-@p[dmkan]            Rgjd\oa\]                  G>(k ]-[gee]j[]        =a-Hgfl`dq    3/1/17 - 12/31/20     3/1/17 - 12/31/20   GL1: 3/1/17 - 3/31/17           I/<                 >g-=jYf\]\ >jYl]k:        30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`       PN?          I/<                            I/<                   I/<   I/<   I/<   I/<     180-?Yqk        I/<   Ig    T]k   Ig    Ig    O`] mk] g^ l`] Ga[]fk]\                 >gfljY[lgjk
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Filed 09/10/19




                             =Ylld]lgY\k                                   O-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                                           o]Zkal]                                                                    GL2: 4/1/17 - 6/30/17                                        6&                     da[]fk] imYjl]j                                                                                                                                                         <jla[d]k Yk hj]eamek,
$"AYSb_c_Vd $FQbU%           =Yfbg-FYrgga]                                 bY[c]lk, Zgp]jk Yf\ kd]]ho]Yj                                                                                                                                                               GL3: 7/1/17 - 9/30/17                          g^ I]l NYd]k )_jgkk kYd]k d]kk                                                                                                                                                                               hjgeglagfYd la]-afk gj Yfq          N]] Gaf\Y ^gj ^gje
DQbd^Ub*I]RbU\\Q             K]j^][l ?Yjc                                                                                                                                                     QYmdl                                                                    GL4: 10/1/17 - 12/31/17                            gfdq l`] kme g^ Y[lmYd                                                                                                                                                                                   gl`]j k][gf\Yjq mk] g^ l`]
5WbUU]U^d"%                  >gfc]j                                        <[[]kkgja]k, af[dm\af_, Zml fgl daeal]\ lg:                                                                                                                                                 GL5: 1/1/18 - 3/31/18                         \g[me]fl]\ [Yk` \ak[gmflk Yf\                                                                                                                                                                                 Ga[]fk]\ <jla[d]k Yj] fgl
                             QanY KafYlY                                   =Y_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k, c]q                                                                                                                                          GL6: 4/1/18 - 6/30/18                           ^j]a_`l \ak[gmflk Yf\ Y[lmYd                                                                                                                                                                                da[]fk]\ Yk hYjl g^ l`ak
                                                                           [`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                                                                                                            GL7: 7/1/18 - 9/30/18                        j]lmjfk ^gj \YeY_]\ gj \]^][lan]                                                                                                                                                                               <_j]]e]fl; km[` ja_`lk Yj]
                                                                           ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk Yf\ b]o]djq                                                                                                                                           GL8: 10/1/18 - 12/31/18                       hjg\m[lk, l`] Y__j]_Yl] g^ km[`                                                                                                                                                                               j]k]jn]\ Zq Ha[jgkg^l.
                                                                                                                                                                                                                                                                                                                     \ak[gmflk/j]lmjfk fgl lg ]p[]]\
                                                                           Cge] ?][gj/?jafcoYj]/Cgmk]oYj]k, af[dm\af_, Zml                                                                                                                                                                                            5& g^ _jgkk kYd]k \mjaf_ Yfq
                                                                           fgl daeal]\ lg:                                                                                                                                                                                                                                    [Yd]f\Yj q]Yj.*
                                                                           Hm_k, _dYkk]k, kl]afk, k`gl _dYkkk, dmf[` Zgp]k,
                                                                           lYZd]oYj], \jafcoYj], [gYkl]jk, k[jgddk, eajjgjk Yf\                                                                                                                                                                                                Jl`]j >jYl]k:
                                                                           oYdd Yjl                                                                                                                                                                                                                                                 12&
                                                                                                                                                                                                                                                                                                                         g^ Aajkl >gklk g^ ]Y[` >g-
                                                                           KmZdak`af_/Kjafl]\ Bgg\k, af[dm\af_, Zml fgl daeal]\                                                                                                                                                                                        =jYf\]\ Kjg\m[l af[dm\]\ af
                                                                           lg:                                                                                                                                                                                                                                        gl`]j [jYl]k. G> oadd fgl hYq Y
                                                                           Kgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk, [gdd][lgj                                                                                                                                                                                       jgqYdlq ^gj Yfq Kjg\m[l kgd\ l`Yl
                                                                           [Yj\k, ^gd\]jk, hgjl^gdagk, ZY[c lg k[`ggd klYlagfYjq,                                                                                                                                                                                   oYk hmj[`Yk]\ ^jge Ha[jgkg^l(k
                                                                           [gea[ Zggck Yf\ _jYh`a[ fgn]dk                                                                                                                                                                                                           gl`]j Yml`gjar]\ MYj] da[]fk]]k.
                                                                                                                                                                                                                                                                                                                     )Aajkl >gkl lg e]Yf ^ajkl [gkl g^
                                                                           Ogqk/Kdmk`/>gdd][laZd]k/Ign]dlq Dl]ek, af[dm\af_,                                                                                                                                                                                            eYfm^Y[lmj] g^ >g-=jYf\]\
                                                                           Zml fgl daeal]\ lg:                                                                                                                                                                                                                        Kjg\m[lk l`Yl Yj] kgd\/k`ahh]\
                                                                           ?agjYeYk, Zmklk Yf\ fgn]dlq/aehmdk] al]ek                                                                                                                                                                                                   d]kk k`ahhaf_, [mklgek/\mla]k
                                                                                                                                                                                                                                                                                                                            Yf\ hjg\m[l l]klaf_.*
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Page 118 of 140
G_^i DYSdebUc 7_^ce]Ub        B`gklZmkl]jk )1984*B`gklZmkl]jk
                                                 "            )2016*B`gk
                                                                    "    <hhYj]d:                                                   Igf-]p[dmkan]          Rgjd\oa\]             Gggl >jYl] =gp: bgZZ]jk, 1 B=-ZjYf\]\ [jYl]       03/21/16 - 12/31/20   03/21/16 - 12/31/20 GL1: 3/21/16 - 3/31/16GL2
                                                                                                                                                                                                                                                                                                   "        I/<                      10&                   30 \Yqk Y^l]j l`] [dgk] g^      PN?      %                38,000 1/1/17%7,500
                                                                                                                                                                                                                                                                                                                                                                                                                                  "      \m] 6/30/18%10,000
                                                                                                                                                                                                                                                                                                                                                                                                                                                    "       \m] 6     I/<            I/<              I/<         I/<     ?Yqk@phaj]k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              "       6/30/2     I/<          I/<                  T]k                     Ig                  T]k        Ga[]fkgj kh][a^a[Yddq j]k]jn]k           >gfljY[lgjk
Db_TeSdc' =^S $GD7D%                                                     O-k`ajlk; ko]Ylk`ajlk; `gg\a]k; ^d]][] lghk; d]__af_k;                                                      o`gd]kYd]jk Yf\                                                                                                                        g^ >gkl g^ Bgg\k kgd\           ]Y[` [Yd]f\Yj imYjl]j                                                                                                                                                                                                                                                         mflg alk]d^ Yf\/gj alk \]ka_f]]k
                                                                         bY[c]lk; Zgp]jk; kd]]ho]Yj; Y\\agfYd YhhYj]d lg Z]                                                      \akljaZmlgjk ^gj kYd] Yf\ Ma_`l lg eYfm^Y[lmj]                                                                                                                                                                                                                                                                                                                                                                                                           Yl Ydd lae]k l`jgm_`gml l`]
$"GD7D DQbd^Ub*I]RbU\\Q                                                  Yhhjgn]\ gf Y [Yk]-Zq-[Yk] ZYkak                                                                          \akljaZmlagf lg j]lYad  hjg\m[lk ^gj gl`]j G>                                                                                                                                                                                                                                                                                                                                                                                                          O]je Yf\ O]jjalgjq l`]
5WbUU]U^d ( ;6"%                                                                                                                                                                  klgj]k Yf\ e]j[`Yflk,            [jYl]k                                                                                                                                                                                                                                                                                                                                                                                                                 ]p[dmkan] ja_`l lg
                                                                           <[[]kkgja]k:                                                                                               Yf\ naY G>(k ]-                                                                                                                                                                                                                                                                                                                                                                                                                                     eYfm^Y[lmj], \]n]dgh,
                                                                           =Y_k; ZY[chY[ck; oYdd]lk; keYdd d]Yl`]j _gg\k; c]q                                                      [gee]j[] o]Zkal].                                                                                                                                                                                                                                                                                                                                                                                                                                      \akljaZml], g^^]j ^gj kYd],
                                                                           [`Yafk; `Ylk; Z]Yfa]k; dYfqYj\; kg[ck; hYl[`]k;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Y\n]jlak], hjgegl], \akhdYq,
                                                                           ^dYk`da_`lk; hYkk `gd\]jk; e]\Yddagfk; b]o]djq;                                                           B`gklZmkl]jk =gp:                                                                                                                                                                                                                                                                                                                                                                                                                                    k]dd Yf\ /gj gl`]joak] ]phdgal
                                                                           Y\\agfYd YhhYj]d lg Z] Yhhjgn]\ gf Y [Yk]-Zq-[Yk]                                                     bgZZ]jk, o`gd]kYd]jk Yf\                                                                                                                                                                                                                                                                                                                                                                                                                                 oal`gml daealYlagf Yf\
                                                                           ZYkak                                                                                                  \akljaZmlgjk ^gj kYd] Yf\                                                                                                                                                                                                                                                                                                                                                                                                                               l`jgm_`gml l`] ogjd\
                                                                                                                                                                                    \akljaZmlagf lg j]lYad                                                                                                                                                                                                                                                                                                                                                                                                                                e]j[`Yf\ak], _gg\k Yf\
                                                                           Cge] ?][gj/Cgmk]oYj]k:                                                                                  klgj]k Yf\ e]j[`Yflk                                                                                                                                                                                                                                                                                                                                                                                                                                   hjg\m[lk kaeadYj Yf\/gj
                                                                           Hm_k; _dYkk]k; kl]afk; k`gl _dYkk]k; dmf[`Zgp]k;                                                            Yf\ naY G>(k ]-                                                                                                                                                                                                                                                                                                                                                                                                                                    a\]fla[Yd lg l`] <jla[d]k ^gj
                                                                           lYZd]oYj]; \jafcoYj]; [gYkl]jk; \][gjYlan] k[jgddk;                                                    [gee]j[] o]Zkal] gf Y                                                                                                                                                                                                                                                                                                                                                                                                                                   mk] af [gff][lagf oal`:
                                                                           eajjgjk; oYdd Yjl; Y\\agfYd YhhYj]d lg Z] Yhhjgn]\ gf                                                    gf]-lae] ZYkak gfdq,                                                                                                                                                                                                                                                                                                                                                                                                                                  )Y* l`] hjgeglagf Yf\
                                                                           Y [Yk]-Zq-[Yk] ZYkak                                                                                    [gfn]flagfk Yf\ ljY\]                                                                                                                                                                                                                                                                                                                                                                                                                                  eYjc]laf_ g^ l`] Kjgh]jlq,
                                                                                                                                                                                           k`gok                                                                                                                                                                                                                                                                                                                                                                                                                                          )Z* hj]eame kYd]k,
                                                                           Kjafl]\ Bgg\k:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 )[* hjgeglagfYd la]- afk,
                                                                           Kgkl]jk; hgkl[Yj\k; kla[c]jk; [Yd]f\Yjk; [gdd][lgj                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             )\* _an]-YoYqk,
                                                                           [Yj\k; ^gd\]jk; hgjl^gdagk; ZY[c-lg-k[`ggd klYlagfYjq;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         )]* `ge] k`ghhaf_ l]d]nakagf
                                                                           Y\\agfYd YhhYj]d lg Z] Yhhjgn]\ gf Y [Yk]-Zq-[Yk]                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              kYd]k )]._., LQ>*,
                                                                           ZYkak                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          )^* [YZd] hjg_jYek,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          )_* n]f\af_ eY[`af]k
                                                                           Kdmk`/>gdd][laZd]k/Ign]dlq:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    )`* ]d][ljgfa[ kYd]k )]._.,
                                                                           Aa_mj]k; ZgZZd] `]Y\k; \agjYeYk; eafa ^a_mj]k; Zmklk;                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dfl]jf]l kYd]k \aj][ldq lg l`]
                                                                           fgn]dlq/aehmdk] al]ek; hdmk`; Y\\agfYd YhhYj]d lg Z]                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           hmZda[*,
                                                                           Yhhjgn]\ gf Y [Yk]-Zq-[Yk] ZYkak                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               )a* \aj][l j]khgfk] kYd]k )]._.,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          \aj][l eYad Yf\ l]d]h`gf]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          kYd]k \aj][ldq lg l`] hmZda[*,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          )b* af-klm\ag kYd]k o`]j] l`]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Kjgh]jlq ak Z]af_ ^ade]\ gj

CB9(H=A9 D5FHB9F
7F5H9G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            AQ^eVQSdebUb DbU(                                                                                5ccYW^]U^d _V 8UcYW^c
                                                                                                                                                                                                                                                                                                                                                                                                                               ;eQbQ^dUUT F_iQ\dYUc DQi]U^d         AQb[UdY^W                     AY^Y]e] BUd                                                              5``b_fQ\ FUaeYbUT Ri   @YSU^c_b*AQ^eVQSdebUb   :5A5 5``b_fQ\                                           FUaeYbUT4
@YSU^c_b*DQbd^Ub              HbQTU]Qb[c                                   Db_TeSd 7QdUW_bi                                             Hi`U                HUbbYd_bi            8YcdbYRedY_^ 7XQ^^U\c        7bQdU :bUaeU^Si         =^YdYQ\ HUb]         @YSU^cU MUQbc         @YSU^cU EeQbdUbc        @YSU^cU :UU      F_iQ\di FQdU*DQi]U^dc              DQi]U^d GSXUTe\U            7ebbU^Si   ;eQbQ^dUUT F_iQ\dYUc                  HUb]c                      :e^T       AQb[UdY^W G`U^T      GQ\Uc      FU^UgQ\    GU\\(CVV DUbY_T     FU^UgQ\   B_^(7_]`UdYdY_^        @YSU^c_b4            :_b] FUaeYbUT4         FUaeYbUT              AYcSU\\Q^U_ec                ]-D>@INJM 'JMH 3@LPDM@?   ;YfUQgQi FUcdbYSdY_^c


/? AUTYQ' =^S)                Tm-Ba-J`"                                    Cgmk]oYj] )af[dm\af_ ZdYfc]lk, l`jgok, haddgok,          Igf-]p[dmkan]           Rgjd\oa\]               G>(k @-[gee]j[]               Hgfl`dq          11/18/18 - 6/30/21    11/18/18 - 6/30/21                                 I/<                      10&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?           %4,000.00                   %2,000.00 Yl ka_faf_             I/<            I/<             I/<         I/<           90-?Yqk          I/<           I/<                  T]k                     Ig                  Ig                      I/<                   >gfljY[lgjk Yf\ Dfl]jfYd
                                                                           ^dggj eYlk, Z]n]jY_]-oYj] Yf\ eY_f]lk*                                        )]p[dm\af_ <kaY*                o]Zkal]                                                                                                                         Aajkl >gklk g^ Kjg\m[lk kgd\          da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                     @ehdgq]]k
$"/? ,(HY]U 5WbUU]U^d"%                                                                                                                                                                                                                                                                                                                                                                                                             %2,000.00 Zq 12/31/19                                                                      @phaj]k
                                                                                                                                                                                           QYmdl                                                                                                                                     6&                                                                                                                                                                                        9/30/21                                                                                                                                         N]] Gaf\Y ^gj Agje
                                                                                                                                                                                                                                                                                                                          ?aj][l lg >gfkme]j NYd]k
                                                                                                                                                                                                                                                                                                                         )QYmdl Yf\/gj OjY\] N`gok*

5c]_TUU B_bdX 5]UbYSQ' =^S) <jc`Ye Cgjjgj mfan]jk]                         <hhYj]d                                                  Igf-]p[dmkan]          Rgjd\oa\]                G>(k @-[gee]j[]                                 1/7/19 - 12/31/20     1/7/19 - 12/31/20   GL1: 1/7/19 - 3/31/19         I/<                    10&                   30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?              I/<                              I/<                      I/<            I/<              I/<         I/<          90-?Yqk           I/<          I/<                  T]k                    I/<                  I/<                      I/<                  >gfljY[lgjk Yf\ Dfl]jfYd
$"5c]_TUU ,(HY]U            <jc`Ye Cgjjgj: O`] =gYj\ BYe] hjg\m[l          <[[]kkgja]k                                                                                                   o]Zkal]                                                                              GL2: 4/1/19 - 6/30/19                        >JBN g^ ]Y[` mfal kgd\              da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                     @ehdgq]]k
5WbUU]U^d"%                 daf]                                           Cge] ?][gj                                                                                                                                                                                         GL3: 7/1/19 - 9/30/19                                                                                                                                                                                                                            @phaj]k
                                                                           ?jafcoYj]                                                                                                       QYmdl                                                                              GL4: 10/1/19 - 12/31/19                                                                                                                                                                                                                          3/31/21                                                                                                                                         N]] Oqd]j ^gj Agje
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case 19-11791-BLS




                                                                           Cgmk]oYj]                                                                                                                                                                                          GL5: 1/1/20 - 3/31/20
                                                                           Kjafl]\ Bgg\k                                                                                                                                                                                      GL6: 4/1/20 - 6/30/20
                                                                           Kdmk`                                                                                                                                                                                              GL7: 7/1/20 - 9/30/20
                                                                           >gdd][laZd]k                                                                                                                                                                                       GL8: 10/1/20 - 12/31/20
                                                                           Ign]dlq Dl]ek

9\\QdY_^' =^S)               Emfa OYak]f: Ug\aY[ RYj N]Ykgf 1              Hm_ / [mh oal` da\                                       Igf-]p[dmkan]          Rgjd\oa\]                G>(k @-[gee]j[]                                 2/2/18 - 12/31/19     2/2/18 - 12/31/19   GL1: 2/2/18 - 3/31/18         I/<                     10&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`       PN?            %7,030                      %7,030 \m] 6/1/18               I/<            I/<              I/<         I/<          90-?Yqk           I/<          I/<                  T]k                    I/<                  I/<                      I/<                  >gfljY[lgjk Yf\ Dfl]jfYd
$"9\\QdY_^ ,(HY]U 5WbUU]U^d(                                                                                                                                                             o]Zkal]                                                                              GL2: 4/1/18 - 6/30/18                    g^ R`gd]kYd] Kja[] g^ ]Y[` mfal       da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                       @ehdgq]]k
>e^Y HQYcU^"%                                                                                                                                         @p[dm\af_ <GG <kaYf                                                                                                     GL3: 7/1/18 - 9/30/18                            eYfm^Y[lmj]\                                                                                                                                                                                    @phaj]k
                                                                                                                                                           [gmflja]k                                                                                                          GL4: 10/1/18 - 12/31/18                                                                                                                                                                                                                          3/31/20                                                                                                                                         N]] Oqd]j ^gj Agje
                                                                                                                                                                                                                                                                              GL5: 1/1/19 - 3/31/19                         R`gd]kYd] Kja[] lg Z]:
                                                                                                                                                                                                                                                                              GL6: 4/1/19 - 6/30/19                              %1.90/mfal
                                                                                                                                                                                                                                                                              GL7: 7/1/19 - 9/30/19
                                                                                                                                                                                                                                                                              GL8: 10/1/19 - 12/31/19

9\\QdY_^' =^S)               FgfgkmZY: Bg\(k =d]kkaf_ gf l`ak Rgf\]j^md Kaddgo                                                      Igf-]p[dmkan]          Rgjd\oa\]                G>(k @-[gee]j[]                                 2/2/18 - 12/31/19     2/2/18 - 12/31/19   GL1: 2/2/18 - 3/31/18         I/<                     10&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`       PN?            %7,400                      %7,400 \m] 6/1/18               I/<            I/<              I/<         I/<          90-?Yqk           I/<          I/<                  T]k                    I/<                  I/<                      I/<                  >gfljY[lgjk Yf\ Dfl]jfYd
$"9\\QdY_^ ,(HY]U 5WbUU]U^d( Rgjd\ N]Ykgf 1                                                                                                                                              o]Zkal]                                                                              GL2: 4/1/18 - 6/30/18                    g^ R`gd]kYd] Kja[] g^ ]Y[` mfal       da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                       @ehdgq]]k
?_^_ceRQ"%                                                                                                                                            @p[dm\af_ <GG <kaYf                                                                                                     GL3: 7/1/18 - 9/30/18                            eYfm^Y[lmj]\                                                                                                                                                                                    @phaj]k
                                                                                                                                                           [gmflja]k                                                                                                          GL4: 10/1/18 - 12/31/18                                                                                                                                                                                                                          3/31/20                                                                                                                                         N]] Oqd]j ^gj Agje
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Doc 144




                                                                                                                                                                                                                                                                              GL5: 1/1/19 - 3/31/19                         R`gd]kYd] Kja[] lg Z]:
                                                                                                                                                                                                                                                                              GL6: 4/1/19 - 6/30/19                              %1.90/mfal
                                                                                                                                                                                                                                                                              GL7: 7/1/19 - 9/30/19
                                                                                                                                                                                                                                                                              GL8: 10/1/19 - 12/31/19

9^TU]_\ GXY^U =D 6J           =dY[c Hajjgj                                 <hhYj]d:                                                 Igf-]p[dmkan]          Rgjd\oa\]                G>(k @-[gee]j[]                                 9/1/18 - 12/31/20     9/1/18 - 12/31/20   GL1: 9/1/18 - 9/30/18         I/<                     12&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?            %8,000                      %4,000 Yl ka_faf_               I/<            I/<             I/<         I/<          120-?Yqk          I/<           I/<                  T]k                     Ig                  Ig                      I/<                   >gfljY[lgjk Yf\ Dfl]jfYd
$"9^TU]_\ GXY^U ,(HY]U                                                     l-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk, d]__af_k,                                                        o]Zkal]                                                                              GL2: 10/1/18 - 12/31/18                     Aajkl >gklk g^ Kjg\m[lagf            da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                     @ehdgq]]k
5WbUU]U^d"%                                                                bY[c]lk, Zgp]jk, kd]]ho]Yj                                                                                                                                                                         GL3: 1/1/19 - 3/31/19                                                                                                                                  %4,000 \m] 12/31/18                                                                    @phaj]k 4/30/21
                                                                                                                                                                                           QYmdl                                                                              GL4: 4/1/1/9 - 6/30/19                                                                                                                                                                                                                                                                                                                                                                           N]] Gaf\Y ^gj Agje
                                                                           <[[]kkgja]k:                                                                                                                                                                                       GL5: 7/1/19 - 9/30/19
                                                                           ZY_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j _gg\k, c]q                                                      @n]flk, ljY\] k`gok,                                                                       GL6: 10/1/19 - 12/31/19
                                                                           [`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck, hYl[`]k,                                                         j]lYad oal` ojall]f                                                                       GL7: 1/1/20 - 3/31/20
                                                                           ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk, b]o]djq                                                               h]jeakkagf                                                                            GL8: 4/1/20 - 6/30/20
                                                                                                                                                                                                                                                                              GL9: 7/1/20 - 9/30/20
                                                                           Cge] ?][gj/?jafcoYj]/Cgmk]oYj]:                                                                                                                                                                    GL10: 10/1/20 - 12/31/20
                                                                           em_k, _dYkk]k, kl]afk, k`gl _dYkk]k, dmf[`Zgp]k,
                                                                           lYZd]oYj], \jafcoYj], [gYkl]jk, k[jgddk, eajjgjk, oYdd
                                                                           Yjl

                                                                           KmZdak`af_/Kjafl]\ Bgg\k:
                                                                           hgkl]jk, hgkl[Yj\k, kla[c]jk, [Yd]f\Yjk, [gdd][lgj
                                                                           [Yj\k, ^gd\]jk, hgjl^gdagk, ZY[c lg k[`ggd klYlagfYjq

                                                                           Ogqk/Kdmk`/>gdd][laZd]k/Ign]dlq:
                                                                           ^a_mj]k, ZgZZd] `]Y\k, \agjYeYk, eafa-^a_mj]k, Zmklk,
                                                                           fgn]dlq/aehmdk] al]ek


;b_e^TK_b[c                   c`YjY                                        Ng^ldaf]k                                                Igf-]p[dmkan]          Rgjd\oa\]                G>(k @-[gee]j[]               Hgfl`dq           11/1/17 - 11/1/19     11/1/17 - 11/1/19   GL1: 11/1/17 - 12/31/17       I/<                      10&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?              I/<                              I/<                      I/<            I/<             I/<         I/<          180-?Yqk          I/<           I/<                  T]k                     Ig                  Ig                      I/<                   >gfljY[lgjk Yf\ Dfl]jfYd
                                                                           CYj\daf]k                                                                     ]p[dm\af_ >`afY                 o]Zkal]                                                                              GL2: 1/1/18 - 3/31/18                      Aajkl [gklk g^ eYfm^Y[lmj]\           da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                     @ehdgq]]k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Filed 09/10/19




$";b_e^TK_b[c ,(HY]U                                                       <[[]kkgja]k                                                                                                                                                                                        GL3: 4/1/18 - 6/30/18                      hjg\m[lk kgd\/k`ahh]\, d]kk                                                                                                                                                                        @phaj]k 5/1/20
5WbUU]U^d"%                                                                Cgmk]oYj]                                                                                                       QYmdl                                                                              GL4: 7/1/18 - 9/30/18                     k`ahhaf_, [mklgek/\mla]k Yf\                                                                                                                                                                                                                                                                                                                           N]] Gaf\Y ^gj Agje
                                                                           Ogqk/Aa_mjaf]k                                                                                                                                                                                     GL5: 10/1/18 - 12/31/18                           hjg\m[l l]klaf_
                                                                                                                                                                                   @n]flk, ljY\] k`gok,                                                                       GL6: 1/1/19 - 3/31/19
                                                                                                                                                                                    j]lYad oal` ojall]f                                                                       GL7: 4/1/1/9 - 6/30/19
                                                                                                                                                                                        h]jeakkagf                                                                            GL8: 7/1/19 - 9/30/19
                                                                                                                                                                                                                                                                              GL9 10/1/19 - 11/1/19

<Qb]_^i ;_\T IG5' =^S)        MgZgl][`                                     RYdd k[jgddk g^ [`Yj[l]jk                                Igf-]p[dmkan]          Rgjd\oa\]                G>(k @-[gee]j[]               Hgfl`dq           10/1/16 - 9/30/19     10/1/16 - 9/30/19   GL1: 10/1/16 - 12/31/16       I/<                      10&                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?            %15,000                    %15,000 Zq 9/30/19               I/<            I/<             I/<         I/<           90-?Yqk          I/<           I/<                  T]k                     Ig                  Ig                      I/<                   >gfljY[lgjk Yf\ Dfl]jfYd
                                                                           Cge] \][gj dYeh                                                               ]p[dm\af_ EYhYf                 o]Zkal]                                                                              GL2: 1/1/17 - 3/31/17                      Aajkl [gklk g^ eYfm^Y[lmj]\           da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                     @ehdgq]]k
$"<Qb]_^i ;_\T ,(HY]U                                                      Kdmk` MgZgl][` \gdd                                                                                                                                                                                GL3: 4/1/17 - 6/30/17                         hjg\m[lk kgd\/k`ahh]\                                                                                                                                                                              @phaj]k
5WbUU]U^d"%                                                                KYh]j [jY^l gja_Yea                                                                                             QYmdl                                                                              GL4: 7/1/17 - 9/30/17                                                                                                                                                                                                                            12/31/19                                                                                                                                        N]] Gaf\Y ^gj Agje
                                                                           Ngmf\ljY[c >?                                                                                                                                                                                      GL5: 10/1/17 - 12/31/17
                                                                           5( dgf_ Zg\q haddgo o/ MgZgl][` haddgo[Yk]                                                              @n]flk, ljY\] k`gok,                                                                       GL6: 1/1/18 - 3/31/18
                                                                           k`mf_dYkk]k                                                                                              j]lYad oal` ojall]f                                                                       GL7: 4/1/1/8 - 6/30/18
                                                                           6# ^a_mj]                                                                                                    h]jeakkagf                                                                            GL8: 7/1/18 - 9/30/18
                                                                           O-k`ajlk                                                                                                                                                                                           GL9 10/1/18 - 12/31/18
                                                                           N[Yjn]k                                                                                                                                                                                            GL10: 1/1/19 - 3/31/19
                                                                           RjaklZYf\k                                                                                                                                                                                         GL11: 4/1/1/9 - 6/30/19
                                                                           Bdgn]k                                                                                                                                                                                             GL12: 7/1/19 - 9/30/19



?Y^W FUS_bTc                  Kgh O]Ye @ha[                                Ng^ldaf]k                                                Igf-]p[dmkan]      Pfal]\ NlYl]k; Pfal]\        G>(k @-[gee]j[]                                 3/1/18 - 2/29/20      3/1/18 - 2/29/20    GL1: 3/1/18 - 3/31/18         I/<                       10&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %                 9,500            %3,166 Yl ka_faf_              I/<            I/<              I/<         I/<        Ig N]dd-J^^         I/<          I/<                  T]k                    I/<                  I/<                      I/<                  >gfljY[lgjk Yf\ Dfl]jfYd
                                                                           CYj\daf]k                                                                    Faf_\ge; >YfY\Y;                 o]Zkal]                                                                              GL2: 4/1/18 - 6/30/18                    Aajkl >gklk g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                                                                                                                                     @ehdgq]]k
$"?Y^W FUS_bTc ,(HY]U                                                      <[[]kkgja]k                                                                 <mkljYdaY; B]jeYfq;                                                                                                    GL3: 7/1/18 - 9/30/18                                                                                                                                  %3,166 \m] 6/30/18                                                                     Kmdd al]ek gf[]
5WbUU]U^d"%                                                                Cgmk]oYj]                                                                     IgjoYq; No]\]f;                   QYmdl                                                                              GL4: 10/1/18 - 12/31/18                                                                                                                                                                                                                       da[]fk] ]phaj]k                                                                                                                                    N]] Oqd]j ^gj Agje
                                                                           Ogqk/Aa_mjaf]k                                                           I]l`]jdYf\k; I]o U]YdYf\;                                                                                                 GL5: 1/1/19 - 3/31/19                                                                                                                                  %3,166 \m] 12/31/18                                                                       gf 2/29/20
                                                                                                                                                     ?]feYjc; AjYf[]; NhYaf;                                                                                                  GL6: 4/1/19 - 6/30/19
                                                                                                                                                      Dj]dYf\; <mkljaY; DlYdq;                                                                                                GL7: 7/1/19 - 9/30/19
                                                                                                                                                    AafdYf\; =]d_ame; H]pa[g;                                                                                                 GL8: 10/1/19 - 12/31/19
                                                                                                                                                     KgdYf\; Kgjlm_Yd; Ngml`                                                                                                  GL9: 1/1/20 - 2/29/20
                                                                                                                                                     <^ja[Y; <j_]flafY; >`ad];
                                                                                                                                                    Omjc]q; >gdgeZaY; D[]dYf\;
                                                                                                                                                         >r][` M]hmZda[;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Page 119 of 140




                                                                                                                                                      G]p]eZgmj_; Cmf_Yjq
?_TQ^cXQ @Y]YdUT               <EDI                                   O-k`ajlk                                                   Igf-]p[dmkan]      Pfal]\ NlYl]k; Pfal]\        G>(k @-[gee]j[]                          4/1/18 - 3/31/20     4/1/18 - 3/31/20    GL1: 4/1/18 - 6/30/18       %7,920.00                   I/<                 30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?                  I/<                           I/<                 I/<            I/<              I/<         I/<     Yqk@phaj]k:6/30/20
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "       "           I/<          I/<                  T]k                    I/<                  I/<            I/<         >gfljY[lgjk Yf\ Dfl]jfYd
                                                                                                                                                     Faf_\ge; >YfY\Y;                 o]Zkal]                                                                      GL2: 7/1/18 - 9/30/18      \m] 11/16/18                                           da[]fk] imYjl]j                                                                                                                                                                                                                                                                              @ehdgq]]k
$"?_TQ^cXQ ,(HY]U                                                                                                                                   <mkljYdaY; B]jeYfq;                                                                                            GL3: 10/1/18 - 12/31/18
5WbUU]U^d"%                                                                                                                                           IgjoYq; No]\]f;                  QYmdl                                                                       GL4: 1/1/19 - 3/31/19                                                                                                                                                                                                                                                                                                                                                      N]] Oqd]j ^gj Agje
                                                                                                                                                 I]l`]jdYf\k; I]o U]YdYf\;                                                                                         GL5: 4/1/19 - 6/30/19
                                                                                                                                                  ?]feYjc; AjYf[]; NhYaf;                                                                                          GL6: 7/1/19 - 9/30/19
                                                                                                                                                   Dj]dYf\; <mkljaY; DlYdq;                                                                                        GL7: 10/1/19 - 12/31/19
                                                                                                                                                 AafdYf\; =]d_ame; H]pa[g;                                                                                         GL8: 1/1/20 - 3/31/20
                                                                                                                                                  KgdYf\; Kgjlm_Yd; Ngml`
                                                                                                                                                  <^ja[Y; <j_]flafY; >`ad];
                                                                                                                                                 Omjc]q; >gdgeZaY; D[]dYf\;
                                                                                                                                                      >r][` M]hmZda[;
                                                                                                                                                   G]p]eZgmj_; Cmf_Yjq



?_^Q]Y 8YWYdQ\                 H]lYd B]Yj Ngda\                       CYl )H]lYd B]Yj Ngda\*                                     Igf-]p[dmkan]           Rgjd\oa\]               G>(k @-[gee]j[]                         10/2/17 - 12/31/19   10/2/17 - 12/31/19   GL1: 10/28/17 - 12/31/17       I/<                       12&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?          %10,000 )H]lYd B]Yj            H]lYd B]Yj Ngda\:          I/<            I/<              I/<         I/<            I/<             I/<          I/<                  T]k                    I/<                  I/<            I/<         >gfljY[lgjk Yf\ Dfl]jfYd
9^dUbdQY^]U^d' =^S)            H]lYd B]Yj                                                                                                                                             o]Zkal]                                                                      GL2: 1/1/18 - 3/31/18                     Aajkl >gklk g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j                                Ngda\*                   %5,000 gf ka_faf_                                                                                                                                                                                                    @ehdgq]]k
                               Nad]fl Cadd                            ?jafcoYj] )H]lYd B]Yj*                                                                                                                                                                       GL3: 4/1/18 - 6/30/18                                                                                                                                    %5,000 \m] 4/30/18
$"?_^Q]Y ,(HY]U                                                                                                                                                                        QYmdl                                                                       GL4: 7/1/18 - 9/30/18                                                                                                      %5,000 )>Ykld]nYfaY*                                                                                                                                                                                                                            N]] Gaf\Y ^gj Agje
5WbUU]U^d"%                                                           O-k`ajl )>Ykld]nYfaY*                                                                                                                                                                        GL5: 10/1/18 - 12/31/18                                                                                                                                      >Ykld]nYfaY:
                                                                                                                                                                                @n]flk, ljY\] k`gok,                                                               GL6: 1/1/19 - 3/31/19                                                                                                      %2,500 )H]lYd B]Yj*            %5,000 \m] 4/2/18
                                                                      >gYkl]jk )Nad]fl Cadd*                                                                                     j]lYad oal` ojall]f                                                               GL7: 4/1/19 - 6/30/19
                                                                                                                                                                                     h]jeakkagf                                                                    GL8: 7/1/19 - 9/30/19                                                                                                      %1,500 )Nad]fl Cadd*             H]lYd B]Yj:
                                                                                                                                                                                                                                                                   GL9: 10/1/19 - 12/31/19                                                                                                                                  %2,500 \m] 4/26/18

                                                                                                                                                                                                                                                                                                                                                                                                                                Nad]fl Cadd:
                                                                                                                                                                                                                                                                                                                                                                                                                            %1,500 \m] 4/26/18

F__cdUb HUUdX Db_TeSdY_^c'     MR=T                                   <hhYj]d:                                                   Igf-]p[dmkan]           Rgjd\oa\]               G>(k @-[gee]j[]                         12/1/18 - 12/31/20   12/1/18 - 12/31/20   GL1: 12/28/18 - 12/31/18       I/<                       12&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?      %                    5,000         %5,000 Yl ka_faf_          I/<            I/<              I/<         I/<     Yqk@phaj]k:6/30/2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               "       "           I/<          I/<                  T]k                    I/<                  I/<            I/<         >gfljY[lgjk Yf\ Dfl]jfYd
@77)                                                                  O-k`ajlk; ko]Ylk`ajlk; `gg\a]k; ^d]][] lghk; d]__af_k;                                                          o]Zkal]                                                                      GL2: 1/1/19 - 3/31/19                     Aajkl >gklk g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                                                                                                              @ehdgq]]k
                                                                      bY[c]lk; Zgp]jk; kd]]ho]Yj                                                                                                                                                                   GL3: 4/1/19 - 6/30/19
$"F__cdUb HUUdX ,(HY]U                                                                                                                                                                 QYmdl                                                                       GL4: 7/1/19 - 9/30/19                                                                                                                                                                                                                                                                                                                                                      N]] Gaf\Y ^gj Agje
5WbUU]U^d"%                                                           Cge] ?][gj/?jafcoYj]/Cgmk]oYj]:                                                                                                                                                              GL5: 10/1/19 - 12/31/19
                                                                      Hm_k; kl]afk; _dYkk]k; k`gl _dYkk]k; dmf[`Zgp]k;                                                          @n]flk, ljY\] k`gok,                                                               GL6: 1/1/20 - 3/31/20
                                                                      lYZd]oYj]; \jafcoYj]; [gYkl]jk; k[jgddk; eajjgjk; oYdd                                                     j]lYad oal` ojall]f                                                               GL7: 4/1/20 - 6/30/20
                                                                      Yjl                                                                                                            h]jeakkagf                                                                    GL8: 7/1/20 - 9/30/20
                                                                                                                                                                                                                                                                   GL9: 10/1/20 - 12/31/20
                                                                      <[[]kkgja]k:
                                                                      =Y_k; ZY[chY[ck; oYdd]lk; keYdd d]Yl`]j _gg\k; c]q
                                                                      [`Yafk; `Ylk; Z]Yfa]k; dYfqYj\k; kg[ck; hYl[`]k;
                                                                      ^dYk`da_`lk; hYkk `gd\]jk; e]\Yddagfk; b]o]djq

                                                                      Kjafl]\ Bgg\k:
                                                                      Kgkl]jk; hgkl[Yj\k; kla[c]jk; [Yd]f\Yjk; [gdd][lgj
                                                                      [Yj\k; ^gd\]jk; hgjl^gdagk; ZY[c-lg-k[`ggd klYlagfYjq

                                                                      Kdmk`/>gdd][laZd]k/Ign]dlq:
                                                                      Aa_mj]k; ZgZZd] `]Y\k; \agjYeYk; eafa-^a_mj]k;
                                                                      Zmklk; fgn]lq/aehmdk] al]ek; hafk, af[dm\af_ ]fYe]d
                                                                      Yf\ ]hgpq
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Case 19-11791-BLS




                                                                      ++<\\alagfYd al]ek Yhhjgn]\ gf Y [Yk]-Zq-[Yk] ZYkak




HC9= 5^Y]QdY_^' =^S)           ?jY_gf =Ydd U )1989 ^ade gfdq*         =]Yfa]                                                     Igf-]p[dmkan]       <j_]flafY; <mkljYdaY;       G>(k @-[gee]j[]        J[lgZ]j 2018     10/1/18 - 12/31/20   10/1/18 - 12/31/20   GL1: 10/1/18 - 12/31/18        I/<                     12&                  30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?              %10,000.00                %5,000.00 Yl ka_faf_        I/<            I/<             I/<         I/<           90-?Yqk          I/<                                T]k                                                                               T]k
                                                                      O-k`ajl                                                                     <mkljaY; =]d_ame; >YfY\Y;           o]Zkal]          ?][]eZ]j 2019                                               GL2: 1/1/19 - 3/31/19                         I]l NYd]k g^ al]ek kgd\             da[]fk] imYjl]j
$"HC9= ,(dY]U 5WbUU]U^d(                                                                                                                           >`ad]; >gdgeZaY; >r][`                                                                                          GL3: 4/1/19 - 6/30/19                                                                                                                                   %5,000.00 \m] 1/31/19                                                                 @phaj]k
8bQW_^ 6Q\\"%                                                                                                                                        M]hmZda[; ?]feYjc;                QYmdl                                                                       GL4: 7/1/19 - 9/30/19                                    8&                                                                                                                                                                                   3/31/21
                                                                                                                                                  AafdYf\; AjYf[]; B]jeYfq;                                                                                        GL5: 10/1/19 - 12/31/19                    ^gj hjg\m[lk kgd\ Yl o`gd]kYd]
                                                                                                                                                  Cmf_Yjq; D[]dYf\; Dj]dYf\;                                                                                       GL6: 1/1/20 - 3/31/20
                                                                                                                                                  DkjY]d; DlYdq; Gmp]eZgmj_;                                                                                       GL7: 4/1/20 - 6/30/20
                                                                                                                                                  H]pa[g; I]l`]jdYf\k; I]o                                                                                         GL8: 7/1/20 - 9/30/20
                                                                                                                                                  U]YdYf\; IgjoYq; KgdYf\;                                                                                         GL9: 10/1/20 - 12/31/20
                                                                                                                                                    Kgjlm_Yd; Ngml` <^ja[Y;
                                                                                                                                                        NhYaf; No]\]f;
                                                                                                                                                 Noalr]jdYf\; Omjc]q; Pfal]\
                                                                                                                                                   Faf_\ge; Pfal]\ NlYl]k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Doc 144




HC9= 5^Y]QdY_^' =^S)           Jf] Ka][]                              FfYhkY[c                                                   Igf-]p[dmkan]       <j_]flafY; <mkljYdaY;       G>(k @-[gee]j[]                         8/8/17 - 10/31/19    8/8/17 - 10/31/19    GL1: 8/8/17 - 9/30/17          I/<                      12&               30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`       PN?              %11,070.00                 %5,535 Yl ka_faf_          I/<            I/<             I/<         I/<           90-?Yqk          I/<                                T]k                                                                               T]k
                                                                      Pl]fkad k]l                                                                 <mkljaY; =]d_ame; >YfY\Y;           o]Zkal]                                                                      GL2: 10/1/17 - 12/31/17                   I]l NYd]k g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j
$"HC9= ,(dY]U 5WbUU]U^d(Gd)                                                                                                                        >`ad]; >gdgeZaY; >r][`                                                                                          GL3: 1/1/18 - 3/31/18                                                                                                                                    %2,767.50 Zq 3/1/18                                                                  @phaj]k
GUYiQ"%                                                                                                                                              M]hmZda[; ?]feYjc;                QYmdl                                                                       GL4: 4/1/18 - 6/30/18                                                                                                                                                                                                                         1/31/20
                                                                                                                                                  AafdYf\; AjYf[]; B]jeYfq;                                                                                        GL5: 7/1/18 - 9/30/18                                                                                                                                   %2,767.50 Zq 9/30/18
                                                                                                                                                  Cmf_Yjq; D[]dYf\; Dj]dYf\;                                                                                       GL6: 10/1/18 - 12/31/18
                                                                                                                                                  DkjY]d; DlYdq; Gmp]eZgmj_;                                                                                       GL7: 1/1/19 - 3/31/19
                                                                                                                                                  H]pa[g; I]l`]jdYf\k; I]o                                                                                         GL8: 4/1/19 - 6/30/19
                                                                                                                                                  U]YdYf\; IgjoYq; KgdYf\;                                                                                         GL9: 7/1/19 - 9/30/19
                                                                                                                                                    Kgjlm_Yd; Ngml` <^ja[Y;                                                                                        GL10: 10/1/19 - 10/31/19
                                                                                                                                                        NhYaf; No]\]f;
                                                                                                                                                 Noalr]jdYf\; Omjc]q; Pfal]\
                                                                                                                                                   Faf_\ge; Pfal]\ NlYl]k



HceRebQiQ Db_TeSdY_^c 7_)'     PdljYeYf )1966-1981*                   <hhYj]d: l-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk,      Igf-]p[dmkan]          Rgjd\oa\]                G>(k @-[gee]j[]                         1/18/19 - 12/31/20   1/18/19 - 12/31/20   GL1: 1/18/19 - 3/31/19         I/<                       10&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?                %5,000                   %5,000 Yl ka_faf_          I/<            I/<              I/<         I/<         180-?Yqk           I/<          I/<                  T]k                    I/<                  I/<            I/<         >gfljY[lgjk Yf\ Dfl]jfYd
@dT)                           + #,-03,+ )7 03*19+03. 8/, -4114;03.   d]__af_k, bY[c]lk, Zgp]jk, kd]]ho]Yj                                           )]p[dm\af_ >`afY*                o]Zkal]                                                                      GL2: 4/1/19 - 6/30/19                     Aajkl >gklk g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j                                                                                                                                                                                                                                                                              @ehdgq]]k
$"HceRebQiQ ,(HY]U             (186)2)3 7,60,7=                                                                                                                                                                                                                    GL3: 7/1/19 - 9/30/19                                                                                                                                                                                                                         @phaj]k
5WbUU]U^d"%                                                           <[[]kkgja]k: ZY_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j                                                             QYmdl                                                                       GL4: 10/1/19 - 12/31/19                                                                                                                                                                                                                       6/30/21                                                                                                                      N]] Oqd]j ^gj Agje
                               6GOM< 2                                _gg\k, c]q[`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck,                                                                                                                                            GL5: 1/1/20 - 3/31/20
                               6GOM<H<I                               hYl[`]k, ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk,                                                                                                                                              GL6: 4/1/20 - 6/30/20
                               6GOM<N@Q@I                             b]o]djq                                                                                                                                                                                      GL7: 7/1/20 - 9/30/20
                               3@OPMI JA 6GOM<H<I                                                                                                                                                                                                                  GL8: 10/1/20 - 12/31/20
                                                                      Cge] ?][gj/?jafcoYj]/Cgmk]oYj]: em_k, _dYkk]k,
                               6GOM<H<I ">@
                                                                      kl]afk, k`gl _dYkk]k, dmf[`Zgp]k, lYZd]oYj],
                               6GOM<H<I 5<MJ                          \jafcoYj], [gYkl]jk, k[jgddk, eajjgjk, oYdd Yjl
                               6GOM<H<I -@J
                               6GOM<H<I da                            Kjafl]\ Bgg\k: hgkl]jk, hgkl[Yj\k, kla[c]jk,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Filed 09/10/19




                                                                      [Yd]f\Yjk, [gdd][lgj(k [Yj\k, ^gd\]jk, hgjl^gdagk, ZY[c-
                                                                      lg-k[`ggd klYlagfYjq, [gea[ Zggck Yhhjgn]\ Zq
                                                                      Pfan]jkYd, _jYh`a[ fgn]dk Yhhjgn]\ Zq Pfan]jkYd

                                                                      Ogqk/Kdmk`/>gdd][laZd]k/Ign]dlq: ^a_mj]k, ZgZZd]
                                                                      `]Y\k, \agjYeYk, eafa ^a_mj]k, Zmklk, fgn]dlq al]ek

                                                                      ++<\\alagfYd al]ek eYq Z] Yhhjgn]\ Zq Pfan]jkYd
                                                                      gf Y [Yk]-Zq-[Yk] ZYkak




I^YfUbcQ\ GdeTY_c @YSU^cY^W'   KYjck Yf\ M][j]Ylagf                   <hhYj]d: l-k`ajlk, ko]Ylk`ajlk, `gg\a]k, ^d]][] lghk,      Igf-]p[dmkan]           Rgjd\oa\]               G>(k @-[gee]j[]                          7/1/18 - 6/30/20     7/1/18 - 6/30/20    GL1: 7/1/18 - 9/30/18          I/<                       12&                30 \Yqk Y^l]j l`] ]f\ g^ ]Y[`     PN?               %4,000.00                 %4,000 Yl ka_faf_          I/<            I/<             I/<         I/<          184-?Yqk          I/<                                T]k                                                                               T]k
@@7                                                                   d]__af_k, bY[c]lk, Zgp]jk, kd]]ho]Yj                                                                            o]Zkal]                                                                      GL2: 10/1/18 - 12/31/18                   Aajkl >gklk g^ al]ek kgd\/k`ahh]\       da[]fk] imYjl]j
$"I^Y ,(dY]U 5WbUU]U^d(                                                                                                                                                                                                                                            GL3: 1/1/19 - 3/31/19                                                                                                                                                                                                                         @phaj]k
DQb[c*FUS"%                                                           <[[]kkgja]k: ZY_k, ZY[chY[ck, oYdd]lk, keYdd d]Yl`]j                                                             QYmdl                                                                       GL4: 4/1/19 -6/30/19                                                                                                                                                                                                                          1/3/21
                                                                      _gg\k, c]q[`Yafk, `Ylk, Z]Yfa]k, dYfqYj\k, kg[ck,                                                                                                                                            GL5: 7/1/19 - 9/30/19
                                                                      hYl[`]k, ^dYk`da_`lk, hYkk `gd\]jk, e]\Yddagfk,                                                                                                                                              GL6: 10/1/19 - 12/31/19
                                                                      b]o]djq                                                                                                                                                                                      GL7: 1/1/20 - 3/31/20
                                                                                                                                                                                                                                                                   GL8: 4/1/20 - 6/30/20
                                                                      Cge] ?][gj/?jafcoYj]/Cgmk]oYj]: em_k, _dYkk]k,
                                                                      kl]afk, k`gl _dYkk]k, dmf[`Zgp]k, lYZd]oYj],
                                                                      \jafcoYj], [gYkl]jk, k[jgddk, eajjgjk, oYdd Yjl

                                                                      Kjafl]\ Bgg\k: hgkl]jk, hgkl[Yj\k, kla[c]jk,
                                                                      [Yd]f\Yjk, [gdd][lgj(k [Yj\k, ^gd\]jk, hgjl^gdagk, ZY[c-
                                                                      lg-k[`ggd klYlagfYjq, [gea[ Zggck Yhhjgn]\ Zq
                                                                      Pfan]jkYd, _jYh`a[ fgn]dk Yhhjgn]\ Zq Pfan]jkYd

                                                                      Ogqk/Kdmk`/>gdd][laZd]k/Ign]dlq: ^a_mj]k, ZgZZd]
                                                                      `]Y\k, \agjYeYk, eafa ^a_mj]k, Zmklk, fgn]dlq al]ek

                                                                      ++<\\alagfYd al]ek eYq Z] Yhhjgn]\ Zq Pfan]jkYd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Page 120 of 140




                                                                      gf Y [Yk]-Zq-[Yk] ZYkak



A@6 D5FHB9F 7F5H9G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              AQ^eVQSdebUb DbU(                                                             5ccYW^]U^d _V 8UcYW^c
                                                                                                                                                                                                                                                                                                                                                                                                                       ;eQbQ^dUUT F_iQ\dYUc DQi]U^d   AQb[UdY^W                     AY^Y]e] BUd                                                              5``b_fQ\ FUaeYbUT Ri   @YSU^c_b*AQ^eVQSdebUb   :5A5 5``b_fQ\                        FUaeYbUT4
@YSU^c_b*DQbd^Ub               HbQTU]Qb[c                             Db_TeSd 7QdUW_bi                                               Hi`U                HUbbYd_bi             8YcdbYRedY_^ 7XQ^^U\c   7bQdU :bUaeU^Si     =^YdYQ\ HUb]        @YSU^cU MUQbc          @YSU^cU EeQbdUbc        @YSU^cU :UU       F_iQ\di FQdU*DQi]U^dc              DQi]U^d GSXUTe\U            7ebbU^Si   ;eQbQ^dUUT F_iQ\dYUc                    HUb]c                :e^T       AQb[UdY^W G`U^T      GQ\Uc      FU^UgQ\    GU\\(CVV DUbY_T     FU^UgQ\   B_^(7_]`UdYdY_^        @YSU^c_b4            :_b] FUaeYbUT4         FUaeYbUT      AYcSU\\Q^U_ec     ]-D>@INJM 'JMH 3@LPDM@?   ;YfUQgQi FUcdbYSdY_^c
AQZ_b @UQWeU 6QcURQ\\     @pl]fkan] dakl g^ HG= Kjgh]jla]k            >dmZ l`]e]\ [gdd][laZd]k Zgp]k                          @p[dmkan]     Rgjd\oa\]      G>(k ]-[gee]j[]         Hgfl`dq: HYq-N]h.      O]je Jf]:           O]je Jf]:        GL1: 8/1/16 - 9/30/16      I/<   Ogh-g^-Zgp: 3& g^ I]l          15 \Yqk Y^l]j ]Y[` egfl` ]f\   PN?        %1,100,002          %300,000 \m] 3/15/17                  %300,000 \m] lg    I/<   I/<   180-?Yqk   Ig   T]k   T]k   Ig   I/<
Db_`UbdYUc' =^S) $A@6D%                                                                                                                                        o]Zkal]                                 8/1/16 - 12/31/17   8/1/16 - 12/31/17   GL2: 10/1/16 - 12/31/16          R`gd]kYd] NYd]k                                                                                                                    HG=<H
                          Kd]Yk] k]] [gfljY[l ^gj daklaf_.            >gdd][laZd] Zgp]k                                          '                                                  Nh][aYdlq: ?][.                                            GL3: 1/1/17 - 3/31/17                                                                                Df[j]Yk]k a^ l]Yek Yj]   %250,001 \m] 10/15/17                 1/15/18                        @phaj]k:
A@6 5TfQ^SUT AUTYQ' @D                                                                                                                                     >dmZ-gof]\ k`ghk,                              O]je Oog:           O]je Oog:        GL4: 4/1/17 - 6/30/17            HYfm^Y[lmj]\ al]ek )a.]. fgl                                           Y\\]\ af q]Yj 2                                                                            6/30/21
$A@65A%                   >gflY[l Oqd]j AYjj]dd ^gj egj] af^geYlagf   <[lagf ^a_mjaf]k, \][gjYlan] jm_k, haddgo [Yk]k Yf\   Igf-@p[dmkan]               klY\mae [gf[]kkagfYaj]k,                       1/1/18 - 12/31/20   1/1/18 - 12/31/20   GL5: 7/1/17 - 9/30/17            hmj[`Yk]\ ^jge l`aj\-hYjlq                                                                   %300,000 \m] 1/15/18                  %300,000 \m] lg
                                                                      [gn]jk, harrY [mll]jk, kYdl/h]hh]j k`Yc]jk                                               HG=.[ge                                                                         GL6: 10/1/17 - 12/31/17          da[]fk]]k*: 12& g^ I]l                                                                                                             HG=<H
$"A@65A 5WbUU]U^d"%                                                                                                                                                                                                                            GL7: 1/1/18 - 3/31/18            R`gd]kYd] NYd]k                                                                              %250,001 \m] 10/15/18                 10/15/18
                                                                      +Jl`]j hjg\m[lk Yk hj]-Yhhjgn]\ af ojallaf_ Zq HG=                                                                                                                       GL8: 4/1/18 - 6/30/18
                                                                      gf Y [Yk]-Zq-[Yk] ZYkak                                                                                                                                                  GL9: 7/1/18 - 9/30/18                                                                                                         Df[j]Yk]k a^ l]Yek Yj] Y\\]\ af q]Yj 2 %300,000 \m] lg
                                                                                                                                                                                                                                               GL10: 10/1/18 - 12/31/18                                                                                                                                             HG=<H
                                                                      +G> Y[cfgod]\_]k Yf\ Y_j]]k l`Yl af fg ]n]fl k`Ydd                                                                                                                       GL11: 1/1/19 - 3/31/19                                                                                                        >jgkk]\ oal` eYjc]laf_ [geeale]fl 3/15/17
                                                                      HG= Yhhjgn] hjg\m[lk af Yfq g^ l`] ^gddgoaf_                                                                                                                             GL12: 4/1/19 - 6/30/19                                                                                                        lg HG=<H )jgqYdla]k af ]p[]kk g^ l`]
                                                                      [Yl]_gja]k g^ _gg\k: YhhYj]d, Y[[]kkgja]k, []jYea[                                                                                                                       GL13: 7/1/19 - 9/30/19                                                                                                        lglYd _mYjYfl]]\ [geh]fkYlagf lg       %300,000 \m] lg
                                                                      em_k, _dYkkoYj], fYe] hdYl]k, oYdd Yf\ _dYkk \][Ydk                                                                                                                      GL14: 10/1/19 - 12/31/19                                                                                                      HG=K k`dd fgl Z] \m] Yf\ hYqYZd]       HG=<H
                                                                      Yf\ ^dY_k                                                                                                                                                                GL15: 1/1/20 - 3/31/20                                                                                                        mfd]kk Yf\ mflad Ga[]fk]] ]Yjfk        10/15/17
                                                                                                                                                                                                                                               GL16: 4/1/20 - 6/30/20                                                                                                        jgqYdla]k fa ]p[]kk g^ l`] [geZaf]\
                                                                                                                                                                                                                                               GL17: 7/1/20 - 9/30/20                                                                                                        lglYd _mYjYfl]]\ [geh]fkYlagf lg Zgl`
                                                                                                                                                                                                                                               GL18: 10/1/20 - 12/31/20                                                                                                      HG=K Yf\ HG=<H*
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Page 121 of 140
Domain Name               Paid Through Date   Status              Renewal Status   TLD
adventureloot.com         2020-10-21          registered locked   Auto Renewal     .com
allstarcrate.com          2019-09-20          registered locked   Auto Renewal     .com
allstarcrate.net          2019-09-20          registered locked   Auto Renewal     .net
allstarcrate.org          2019-09-20          registered locked   Auto Renewal     .org
allstarcrates.com         2019-09-20          registered locked   Auto Renewal     .com
allstarcrates.net         2019-09-20          registered locked   Auto Renewal     .net
allstarcrates.org         2019-09-20          registered locked   Auto Renewal     .org
animecrate.com            2021-08-21          registered locked   Auto Renewal     .com
armorcrate.com            2021-05-01          registered locked   Auto Renewal     .com
armourchest.com           2021-05-01          registered locked   Auto Renewal     .com
armouredgeek.com          2021-05-01          registered locked   Auto Renewal     .com
artistcrate.com           2021-05-01          registered locked   Auto Renewal     .com
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blacklinecrate.com        2021-05-01          registered locked   Auto Renewal     .com
blackloot.com             2021-05-01          registered locked   Auto Renewal     .com
bladecrate.com            2021-06-19          registered locked   Auto Renewal     .com
bluescrate.com            2019-09-21          registered locked   Auto Renewal     .com
boozecrate.com            2021-05-01          registered locked   Auto Renewal     .com
                                                                                            Doc 144




bostoncreampiecrate.com   2021-03-22          registered locked   Auto Renewal     .com
cajasdesuscripción.com    2021-07-30          registered locked   Auto Renewal     .com
caselladiiscrizione.it    2020-11-23          registered locked   Auto Renewal     .it
casellediiscrizione.it    2020-11-23          registered locked   Auto Renewal     .it
collectorcorps.co.uk      2021-08-07          registered locked   Auto Renewal     .co.uk
courtside-crate.com       2019-09-19          registered locked   Auto Renewal     .com
courtside-crate.net       2019-09-19          registered locked   Auto Renewal     .net
                                                                                            Filed 09/10/19




courtsidecrate.com        2019-09-19          registered locked   Auto Renewal     .com
courtsidecrate.net        2019-09-19          registered locked   Auto Renewal     .net
craftscrate.com           2021-05-01          registered locked   Auto Renewal     .com
cratedeal.com             2021-05-01          registered locked   Auto Renewal     .com
cratefresh.com            2021-05-01          registered locked   Auto Renewal     .com
cratemart.com             2021-05-01          registered locked   Auto Renewal     .com
crateswap.com             2021-05-01          registered locked   Auto Renewal     .com
cratetheloot.com          2020-10-26          registered locked   Auto Renewal     .com
cratetraders.com          2021-05-01          registered locked   Auto Renewal     .com
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cratexchange.com          2021-05-01          registered locked   Auto Renewal     .com
dealscrate.com            2021-05-01          registered locked   Auto Renewal     .com
diamondcrate.net          2019-09-20          registered locked   Auto Renewal     .net
diamondcrate.org          2019-09-20          registered locked   Auto Renewal     .org
dragonscrate.com        2021-05-01   registered locked   Auto Renewal   .com
fireflycargocrate.com   2027-11-03   registered locked   Auto Renewal   .com
fitnesscrate.com        2021-05-01   registered locked   Auto Renewal   .com
footballcrate.com       2021-05-01   registered locked   Auto Renewal   .com
galaxycrate.com         2021-05-01   registered locked   Auto Renewal   .com
geekfuel.ch             2021-07-31   registered locked   Auto Renewal   .ch
geekfuel.co.uk          2021-07-29   registered locked   Auto Renewal   .co.uk
geekfuel.in             2021-07-30   registered locked   Auto Renewal   .in
geekfuel.kiwi           2021-07-30   registered locked   Auto Renewal   .kiwi
geekfuel.mx             2021-07-30   registered locked   Auto Renewal   .mx
geekfuel.nl             2021-07-30   registered locked   Auto Renewal   .nl
geekfuel.ph             2020-07-30   registered locked   Auto Renewal   .ph
geekfuel.pl             2021-07-30   registered locked   Auto Renewal   .pl
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geekfuel.se             2021-07-30   registered locked   Auto Renewal   .se
geekpetwear.com         2021-05-01   registered locked   Auto Renewal   .com
geekyarmour.com         2021-05-01   registered locked   Auto Renewal   .com
geekypetbox.com         2021-05-01   registered locked   Auto Renewal   .com
geekypetcrate.com       2021-05-01   registered locked   Auto Renewal   .com
                                                                                 Doc 144




geekypets.com           2021-05-01   registered locked   Auto Renewal   .com
geekypetwear.com        2021-05-01   registered locked   Auto Renewal   .com
getlootcrate.com        2021-07-23   registered locked   Auto Renewal   .com
givecrate.com           2021-05-01   registered locked   Auto Renewal   .com
givingcrate.com         2021-05-01   registered locked   Auto Renewal   .com
grapeclubcrate.com      2021-05-01   registered locked   Auto Renewal   .com
grapescrate.com         2021-05-01   registered locked   Auto Renewal   .com
                                                                                 Filed 09/10/19




gridironcrate.com       2019-09-20   registered locked   Auto Renewal   .com
gridironcrate.net       2019-09-20   registered locked   Auto Renewal   .net
gridironcrate.org       2019-09-20   registered locked   Auto Renewal   .org
hootchcrate.com         2021-05-01   registered locked   Auto Renewal   .com
horrorcrate.com         2021-05-01   registered locked   Auto Renewal   .com
l00tcr4t3.com           2020-10-21   registered locked   Auto Renewal   .com
l00tcrate.com           2020-10-21   registered locked   Auto Renewal   .com
legendarycrate.com      2021-05-01   registered locked   Auto Renewal   .com
legendscrate.com        2021-05-01   registered locked   Auto Renewal   .com
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lewtcrate.com           2020-10-21   registered locked   Auto Renewal   .com
lewtkrate.com           2020-10-21   registered locked   Auto Renewal   .com
liquorcrate.com         2021-05-01   registered locked   Auto Renewal   .com
loot-admin.com          2021-02-06   registered locked   Auto Renewal   .com
loot-labs.com        2020-10-26   registered locked           Auto Renewal   .com
loot-pop.com         2020-10-21   registered locked           Auto Renewal   .com
loot-sports.com      2020-10-21   registered locked           Auto Renewal   .com
loot-vault.com       2019-09-26   registered locked           Auto Renewal   .com
loot-vault.net       2019-09-26   registered locked           Auto Renewal   .net
loot-vault.org       2019-09-26   registered locked           Auto Renewal   .org
loot.cr              2021-03-23   registered locked           Auto Renewal   .cr
lootadmin.com        2021-02-06   registered locked           Auto Renewal   .com
lootarmada.com       2020-10-21   registered locked           Auto Renewal   .com
lootbarter.com       2021-05-01   registered locked           Auto Renewal   .com
lootblack.com        2021-05-01   registered locked           Auto Renewal   .com
lootclassical.com    2020-10-21   registered locked           Auto Renewal   .com
lootcorp.net         2020-10-21   registered locked           Auto Renewal   .net
                                                                                       Case 19-11791-BLS




lootcorp.org         2020-10-21   registered locked           Auto Renewal   .org
lootcrap.com         2020-10-23   registered locked           Auto Renewal   .com
lootcrate-labs.com   2020-10-26   registered locked           Auto Renewal   .com
lootcrate.at         2020-07-28   registered locked           Auto Renewal   .at
lootcrate.be         2020-11-03   registered unlocked         Auto Renewal   .be
                                                                                       Doc 144




lootcrate.biz        2020-10-20   registered locked           Auto Renewal   .biz
lootcrate.ca         2021-02-04   registered locked           Auto Renewal   .ca
lootcrate.cc         2020-10-21   registered locked           Auto Renewal   .cc
lootcrate.ch         2021-07-31   registered locked           Auto Renewal   .ch
lootcrate.co.il      2020-10-25   registered locked           Auto Renewal   .co.il
lootcrate.co.nz      2020-10-22   registered locked           Auto Renewal   .co.nz
lootcrate.com        2024-07-20   registered premium locked   Auto Renewal   .com
                                                                                       Filed 09/10/19




lootcrate.com.es     2020-11-16   registered locked           Auto Renewal   .com.es
lootcrate.dev        2021-02-28   registered locked           Auto Renewal   .dev
lootcrate.dk         2020-10-31   registered locked           Auto Renewal   .dk
lootcrate.fr         2020-10-25   registered locked           Auto Renewal   .fr
lootcrate.fun        2021-03-27   registered locked           Auto Renewal   .fun
lootcrate.gr         2020-10-23   registered locked           Auto Renewal   .gr
lootcrate.hk         2020-11-21   registered locked           Auto Renewal   .hk
lootcrate.hu         2020-11-03   registered locked           Auto Renewal   .hu
lootcrate.it         2020-10-25   registered locked           Auto Renewal   .it
                                                                                       Page 124 of 140




lootcrate.kiwi       2021-07-30   registered locked           Auto Renewal   .kiwi
lootcrate.kr         2020-10-27   registered locked           Auto Renewal   .kr
lootcrate.lu         2020-10-21   registered locked           Auto Renewal   .lu
lootcrate.me         2020-10-21   registered locked           Auto Renewal   .me
lootcrate.mobi             2020-10-21   registered locked   Auto Renewal   .mobi
lootcrate.mx               2021-07-28   registered locked   Auto Renewal   .mx
lootcrate.ninja            2019-09-21   registered locked   Auto Renewal   .ninja
lootcrate.no               2020-10-26   registered locked   Auto Renewal   .no
lootcrate.org              2020-07-09   registered locked   Auto Renewal   .org
lootcrate.ph               2021-07-28   registered locked   Auto Renewal   .ph
lootcrate.pl               2021-07-28   registered locked   Auto Renewal   .pl
lootcrate.ro               2019-10-24   registered locked   Auto Renewal   .ro
lootcrate.se               2021-07-29   registered locked   Auto Renewal   .se
lootcrate.tk               2020-10-23   registered locked   Auto Renewal   .tk
lootcrate.tv               2020-10-21   registered locked   Auto Renewal   .tv
lootcrate.tw               2020-10-21   registered locked   Auto Renewal   .tw
lootcrate.us               2020-10-25   registered locked   Auto Renewal   .us
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lootcrate.xxx              2020-10-21   registered locked   Auto Renewal   .xxx
lootcratedx.com            2027-11-03   registered locked   Auto Renewal   .com
lootcrateinteractive.com   2021-03-09   registered locked   Auto Renewal   .com
lootcratelabs.com          2020-10-26   registered locked   Auto Renewal   .com
lootcrateproductions.com   2020-10-31   registered locked   Auto Renewal   .com
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lootcratestudios.com       2020-10-31   registered locked   Auto Renewal   .com
lootcreep.com              2020-10-21   registered locked   Auto Renewal   .com
lootcrepe.com              2020-10-21   registered locked   Auto Renewal   .com
looted.by                  2021-05-12   registered locked   Auto Renewal   .by
lootedm.com                2020-10-21   registered locked   Auto Renewal   .com
lootercrate.com            2020-10-26   registered locked   Auto Renewal   .com
looterlabs.com             2020-10-26   registered locked   Auto Renewal   .com
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looterlove.com             2020-10-21   registered locked   Auto Renewal   .com
looterplay.com             2020-10-21   registered locked   Auto Renewal   .com
looterprofile.com          2020-10-21   registered locked   Auto Renewal   .com
lootfilms.com              2021-05-01   registered locked   Auto Renewal   .com
lootfleet.com              2020-10-21   registered locked   Auto Renewal   .com
lootflex.com               2020-10-21   registered locked   Auto Renewal   .com
lootflix.com               2021-05-01   registered locked   Auto Renewal   .com
lootgreat.com              2020-10-21   registered locked   Auto Renewal   .com
lootguardian.com           2020-10-21   registered locked   Auto Renewal   .com
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loothold.com               2020-10-21   registered locked   Auto Renewal   .com
lootjazz.com               2020-10-21   registered locked   Auto Renewal   .com
lootlooks.com              2019-12-04   registered locked   Auto Renewal   .com
lootlooks.info             2020-12-04   registered locked   Auto Renewal   .info
lootlooks.net           2020-12-04   registered locked   Auto Renewal   .net
lootlooks.org           2020-12-04   registered locked   Auto Renewal   .org
lootmarkets.com         2021-05-01   registered locked   Auto Renewal   .com
lootmetal.com           2020-10-21   registered locked   Auto Renewal   .com
lootpie.com             2021-03-22   registered locked   Auto Renewal   .com
lootpies.com            2021-03-22   registered locked   Auto Renewal   .com
lootplatform.com        2020-10-21   registered locked   Auto Renewal   .com
lootplayer.com          2020-10-21   registered locked   Auto Renewal   .com
lootqa.com              2023-06-24   registered locked   Auto Renewal   .com
lootrocks.com           2020-10-21   registered locked   Auto Renewal   .com
lootsanctum.com         2020-10-21   registered locked   Auto Renewal   .com
lootscape.com           2020-10-21   registered locked   Auto Renewal   .com
lootsport.com           2020-09-27   registered locked   Auto Renewal   .com
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lootsummoner.com        2020-10-21   registered locked   Auto Renewal   .com
lootsys.com             2020-10-21   registered locked   Auto Renewal   .com
lootsystem.com          2020-10-21   registered locked   Auto Renewal   .com
loottechno.com          2020-10-21   registered locked   Auto Renewal   .com
lootthecrate.com        2020-10-26   registered locked   Auto Renewal   .com
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lootthreads.com         2021-04-24   registered locked   Auto Renewal   .com
lootthreads.info        2021-04-24   registered locked   Auto Renewal   .info
lootthreads.net         2021-04-24   registered locked   Auto Renewal   .net
lootthreads.org         2021-04-24   registered locked   Auto Renewal   .org
lootthreads.us          2021-04-23   registered locked   Auto Renewal   .us
loottime.com            2020-10-21   registered locked   Auto Renewal   .com
loottunes.com           2020-10-21   registered locked   Auto Renewal   .com
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loottv.com              2021-05-01   registered locked   Auto Renewal   .com
lootunes.com            2020-10-21   registered locked   Auto Renewal   .com
lootvault.com           2021-11-12   registered locked   Auto Renewal   .com
lootvault.org           2019-09-26   registered locked   Auto Renewal   .org
lootvideo.com           2021-05-01   registered locked   Auto Renewal   .com
mecrate.com             2021-05-01   registered locked   Auto Renewal   .com
membercrate.com         2021-05-01   registered locked   Auto Renewal   .com
memberscrate.com        2021-05-01   registered locked   Auto Renewal   .com
moviescrate.com         2021-05-01   registered locked   Auto Renewal   .com
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nba-slam-crate.com      2019-09-21   registered locked   Auto Renewal   .com
nbacourtsidecrate.com   2019-09-21   registered locked   Auto Renewal   .com
nbaslamcrate.com        2019-09-21   registered locked   Auto Renewal   .com
nerdblock.ch            2021-07-31   registered locked   Auto Renewal   .ch
nerdblock.in         2021-07-30   registered locked   Auto Renewal   .in
nerdblock.kiwi       2021-07-30   registered locked   Auto Renewal   .kiwi
nerdblock.mx         2021-07-30   registered locked   Auto Renewal   .mx
nerdblock.nl         2021-07-30   registered locked   Auto Renewal   .nl
nerdblock.ph         2021-07-30   registered locked   Auto Renewal   .ph
nerdblock.pl         2021-07-30   registered locked   Auto Renewal   .pl
piecrate.com         2021-03-22   registered locked   Auto Renewal   .com
piratecrate.com      2021-05-01   registered locked   Auto Renewal   .com
playercrate.net      2019-09-20   registered locked   Auto Renewal   .net
playercrate.org      2019-09-20   registered locked   Auto Renewal   .org
playercrates.com     2019-09-20   registered locked   Auto Renewal   .com
playercrates.net     2019-09-20   registered locked   Auto Renewal   .net
playercrates.org     2019-09-20   registered locked   Auto Renewal   .org
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razorcrate.com       2021-06-19   registered locked   Auto Renewal   .com
rnbcrate.com         2019-09-21   registered locked   Auto Renewal   .com
rnrcrate.com         2019-09-21   registered locked   Auto Renewal   .com
rocknrollcrate.com   2019-09-21   registered locked   Auto Renewal   .com
scificrate.com       2021-05-01   registered locked   Auto Renewal   .com
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shirtandsocks.com    2021-05-01   registered locked   Auto Renewal   .com
shockpack.com        2021-05-01   registered locked   Auto Renewal   .com
sidekickcrate.com    2021-05-01   registered locked   Auto Renewal   .com
slam-crate.com       2019-09-19   registered locked   Auto Renewal   .com
slam-crate.net       2019-09-19   registered locked   Auto Renewal   .net
slam-crate.org       2019-09-19   registered locked   Auto Renewal   .org
slamcrate.com        2019-09-19   registered locked   Auto Renewal   .com
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slamcrate.net        2019-09-19   registered locked   Auto Renewal   .net
soccercrate.com      2021-05-01   registered locked   Auto Renewal   .com
sockscrate.com       2021-05-01   registered locked   Auto Renewal   .com
spiritcrate.com      2021-05-01   registered locked   Auto Renewal   .com
spiritscrate.com     2021-05-01   registered locked   Auto Renewal   .com
sport-crate.com      2020-11-02   registered locked   Auto Renewal   .com
sport-crate.net      2020-11-02   registered locked   Auto Renewal   .net
sportcrate.net       2020-11-02   registered locked   Auto Renewal   .net
sports-crate.net     2020-11-02   registered locked   Auto Renewal   .net
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sportscrate.co       2021-03-14   registered locked   Auto Renewal   .co
sportscrate.com      2021-08-02   registered locked   Auto Renewal   .com
sportscrate.net      2020-11-02   registered locked   Auto Renewal   .net
sportscratedev.com   2020-12-28   registered locked   Auto Renewal   .com
sportscratevault.com    2019-10-12   registered locked   Auto Renewal   .com
streamloot.com          2021-05-01   registered locked   Auto Renewal   .com
subscriptionbox.com     2027-02-20   registered locked   Auto Renewal   .com
subscriptionbox.de      2020-12-07   registered locked   Auto Renewal   .de
subscriptionboxes.com   2027-02-06   registered locked   Auto Renewal   .com
superstarcrate.com      2019-09-20   registered locked   Auto Renewal   .com
superstarcrate.net      2019-09-20   registered locked   Auto Renewal   .net
superstarcrate.org      2019-09-20   registered locked   Auto Renewal   .org
superstarcrates.com     2019-09-20   registered locked   Auto Renewal   .com
superstarcrates.net     2019-09-20   registered locked   Auto Renewal   .net
superstarcrates.org     2019-09-20   registered locked   Auto Renewal   .org
syfycrate.com           2021-05-01   registered locked   Auto Renewal   .com
tailoredarmor.com       2021-05-01   registered locked   Auto Renewal   .com
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tailoredarmour.com      2021-05-01   registered locked   Auto Renewal   .com
theblackcrates.com      2021-05-01   registered locked   Auto Renewal   .com
thedailycrate.com       2019-11-22   registered locked   Auto Renewal   .com
thediscerninggeek.com   2021-03-15   registered locked   Auto Renewal   .com
tvcrate.com             2021-05-01   registered locked   Auto Renewal   .com
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unicorncrate.com        2021-05-07   registered locked   Auto Renewal   .com
whitelinecrate.com      2021-05-01   registered locked   Auto Renewal   .com
whiteloot.com           2021-05-01   registered locked   Auto Renewal   .com
worldoflootcraft.com    2020-10-21   registered locked   Auto Renewal   .com
wweslamcrate.com        2023-06-03   registered locked   Auto Renewal   .com
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                                                                                                 N[`]\md] 5

                                    >JHH@M>D<G OJMO >G<DHN

 1. <fq Yf\ Ydd [dYaek Yf\ [Ymk]k g^ Y[lagf g^ Yfq BjYflgj Y_Yafkl l`] \aj][lgjk gj g^^a[]jk g^ Yfq
     BjYflgj gj Yfq gl`]j K]jkgf, Yjakaf_ ^jge gj j]dYlaf_ lg l`] [gdd][lagf, Y[[jmYd, \ak[dgkmj], j]hgjlaf_
     gj fgfhYqe]fl g^ kYd]k lYp daYZadala]k Zq gj gf Z]`Yd^ g^ Yfq BjYflgj, o`]l`]j Yjakaf_ af [gfljY[l, lgjl
     gj gl`]joak], Yf\ af[dm\af_ Zml fgl daeal]\ lg [dYaek Yjakaf_ ^jge gj j]dYlaf_ lg )a* l`]
     mf\]jklYl]e]fl )Yf\ mf\]jhYqe]fl* g^ l`] BjYflgjkv kYd]k lYp daYZadala]k, )aa* Yfq BjYflgjvk [gdd][lagf
     Yf\/gj ^Yadmj] lg j]eal kYd]k lYp]k Yf\ )aaa* Yfq j]hj]k]flYlagfk, oYjjYfla]k, ^afYf[aYd klYl]e]flk Yf\
     gl`]j af^gjeYlagf hjgna\]\ lg l`] N][mj]\ KYjla]k gj l`]aj hj]\][]kkgjk af afl]j]kl, Yf\ l`]aj
     j]kh][lan] Y\nakgjk, Yf\ j]^d][laf_ km[` [gdd][l]\ kYd]k lYp]k Yf\ mf\]jklYl]\ gj mfhYa\ kYd]k lYp
     daYZadala]k

 2. <fq Yf\ Ydd [dYaek Yf\ [Ymk]k g^ Y[lagf g^ Yfq BjYflgj Y_Yafkl l`] \aj][lgjk gj g^^a[]jk g^ Yfq
     BjYflgj, Yjakaf_ ^jge gj j]dYlaf_ lg l`] hj]k]flYlagf g^ l`] ^afYf[aYd [gf\alagf g^ l`] BjYflgjk lg l`]
     N][mj]\ KYjla]k gj l`]aj hj]\][]kkgjk af afl]j]kl, Yf\ l`]aj j]kh][lan] Y\nakgjk Yf\/gj l`] hj]hYjYlagf
     g^ l`] ^afYf[aYd klYl]e]flk Yf\ ^afYf[aYd af^gjeYlagf g^ l`] BjYflgjk \]dan]j]\ lg l`] N][mj]\ KYjla]k
     gj l`]aj hj]\][]kkgjk af afl]j]kl, Yf\ l`]aj j]kh][lan] Y\nakgjk, af[dm\af_, oal`gml daealYlagf, af
     [gff][lagf oal` l`] kYd]k lYp eYll]jk Y\\j]kk]\ af [dYmk] )1* YZgn], af ]Y[` [Yk], o`]l`]j Yjakaf_ af
     [gfljY[l, lgjl gj gl`]joak].

 3. <fq Yf\ Ydd [dYaek Yf\ [Ymk]k g^ Y[lagf g^ Yfq BjYflgj Y_Yafkl Yfq afkmj]j af j]kh][l g^ l`] [dYaek
     kh][a^a]\ af [dYmk]k )1* Yf\ )2* YZgn] mf\]j Yfq \aj][lgj Yf\ g^^a[]j afkmjYf[] hgda[q gj gl`]j hgda[q
     [gn]jaf_ km[` [dYaek Yf\ af[dm\af_ Yfq Yf\ Ydd ja_`lk lg Yegmflk hYqYZd] af j]kh][l g^ km[` hgda[a]k.




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                                                                                                      <ff]p D
                                                                                                           lg
                                                                  Nmh]jhjagjalq Kd]\_] Yf\ N][mjalq <_j]]e]fl


        <NNPHKODJI <BM@@H@IO )l`ak tAssumption Agreementu*, \Yl]\ Yk g^
XXXXXXXXXXXXXXXX, 20XX, eY\] Zq XXXXXXXXXXXXXXXXXX, Y XXXXXXXXXXX )l`] tAdditional Grantoru*,
af ^Yngj g^ Hgf]q >`]kl GG>, Yk [gddYl]jYd Y_]fl )af km[` [YhY[alq, lg_]l`]j oal` alk km[[]kkgjk Yf\
Ykka_fk af km[` [YhY[alq, l`] tCollateral Agentu* Y[laf_ hmjkmYfl lg l`ak <kkmehlagf <_j]]e]fl ^gj l`]
Z]f]^al g^ l`] N][mj]\ KYjla]k. <dd [YhalYdar]\ l]jek fgl \]^af]\ `]j]af k`Ydd `Yn] l`] e]Yfaf_ Yk[jaZ]\ lg
l`]e af l`] N][mjalq <_j]]e]fl.


                                                   RDOI@NN@OC:

         RC@M@<N, Gggl >jYl], Df[., Y ?]dYoYj] [gjhgjYlagf )tBorroweru*, Gggl >jYl] KYj]fl, Df[., Y
?]dYoYj] [gjhgjYlagf )tParentu*, Yfq NmZka\aYja]k g^ KYj]fl l`Yl Yj] BmYjYflgjk gj Z][ge] BmYjYflgjk
hmjkmYfl lg N][lagf 8.10 g^ l`] >j]\al <_j]]e]fl )af[dm\af_ KYj]fl, l`] tGuarantorsu, Yf\, lg_]l`]j oal`
=gjjgo]j, l`] tCredit Partiesu*, l`] G]f\]jk ^jge lae] lg lae] hYjlq l`]j]lg )l`] tLendersu*, Hgf]q
>`]kl GG>, Yk Y\eafakljYlan] Y_]fl ^gj l`] G]f\]jk )af km[` [YhY[alq, lg_]l`]j oal` alk km[[]kkgjk Yf\
Ykka_fk af km[` [YhY[alq, l`] tAdministrative Agentu* Yf\ l`] >gddYl]jYd <_]fl ^gj l`] G]f\]jk, `Yn]
]fl]j]\ aflg Y >j]\al <_j]]e]fl, \Yl]\ Yk g^ <m_mkl 14, 2019 )Yk Ye]f\]\, j]klYl]\, Ye]f\]\ Yf\
j]klYl]\, kmhhd]e]fl]\ gj gl`]joak] eg\a^a]\ ^jge lae] lg lae], l`] tCredit Agreementu*;

               RC@M@<N, af [gff][lagf oal` l`] >j]\al <_j]]e]fl, l`] >j]\al KYjla]k )gl`]j l`Yf l`]
<\\alagfYd BjYflgj* `Yn] ]fl]j]\ aflg l`] N][mjalq <_j]]e]fl \Yl]\ Yk g^ <m_mkl 14, 2019 )Yk Ye]f\]\,
j]klYl]\, Ye]f\]\ Yf\ j]klYl]\, kmhhd]e]fl]\ gj gl`]joak] eg\a^a]\ ^jge lae] lg lae], l`] tSecurity
Agreementu* af ^Yngj g^ l`] >gddYl]jYd <_]fl, ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k;

                RC@M@<N, l`] >j]\al <_j]]e]fl j]imaj]k l`] <\\alagfYd BjYflgj lg Z][ge] Y hYjlq lg
l`] N][mjalq <_j]]e]fl; Yf\

               RC@M@<N, l`] <\\alagfYd BjYflgj `Yk Y_j]]\ lg ]p][ml] Yf\ \]dan]j l`ak <kkmehlagf
<_j]]e]fl af gj\]j lg Z][ge] Y hYjlq lg l`] N][mjalq <_j]]e]fl;

                     IJR, OC@M@AJM@, DO DN <BM@@?:

N][mjalq <_j]]e]fl. =q ]p][mlaf_ Yf\ \]dan]jaf_ l`ak <kkmehlagf <_j]]e]fl, l`] <\\alagfYd BjYflgj, Yk
hjgna\]\ af N][lagf 8.13 g^ l`] N][mjalq <_j]]e]fl, `]j]Zq Z][ge]k Y hYjlq lg l`] N][mjalq <_j]]e]fl Yk
Y BjYflgj l`]j]mf\]j oal` l`] kYe] ^gj[] Yf\ ]^^][l Yk a^ gja_afYddq fYe]\ l`]j]af Yk Y BjYflgj Yf\,
oal`gml daealaf_ l`] _]f]jYdalq g^ l`] ^gj]_gaf_, `]j]Zq _jYflk, hd]\_]k, [gddYl]jYddq Ykka_fk Yf\ ljYfk^]jk
lg l`] >gddYl]jYd <_]fl, Yf\ `]j]Zq _jYflk lg l`] >gddYl]jYd <_]fl, ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, Y
k][mjalq afl]j]kl af Ydd g^ alk h]jkgfYd hjgh]jlq Yf\ gl`]j Ykk]lk, o`]j]n]j dg[Yl]\, o`]l`]j fgo gof]\ gj
Yl Yfq lae] `]j]Y^l]j Y[imaj]\ Zq km[` BjYflgj l`]j]af gj af o`a[` km[` BjYflgj l`]j]af fgo `Yk gj Yl Yfq
lae] af l`] ^mlmj] eYq Y[imaj] Yfq ja_`l, lald] gj afl]j]kl, af[dm\af_ l`] >gddYl]jYd, Yk [gddYl]jYd k][mjalq ^gj
l`] hjgehl Yf\ [gehd]l] hYqe]fl Yf\ h]j^gjeYf[] o`]f \m] )o`]l`]j Yl l`] klYl]\ eYlmjalq, Zq
Y[[]d]jYlagf gj gl`]joak]* g^ alk N][mj]\ JZda_Ylagfk, Yf\ )Z* ]phj]kkdq Ykkme]k Ydd gZda_Ylagfk Yf\
daYZadala]k g^ Y BjYflgj l`]j]mf\]j. O`] af^gjeYlagf k]l ^gjl` af <ff]p 1-< `]j]lg ak `]j]Zq Y\\]\ lg l`]
af^gjeYlagf k]l ^gjl` af N[`]\md]VkW VXXXW1 lg l`] N][mjalq <_j]]e]fl. O`] <\\alagfYd BjYflgj `]j]Zq

1   M]^]j lg ]Y[` N[`]\md] o`a[` f]]\k lg Z] kmhhd]e]fl]\.


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j]hj]k]flk Yf\ oYjjYflk l`Yl, oal` j]kh][l lg l`] <\\alagfYd BjYflgj, ]Y[` g^ l`] j]hj]k]flYlagfk Yf\
oYjjYfla]k [gflYaf]\ af N][lagf 4 g^ l`] N][mjalq <_j]]e]fl ak ljm] Yf\ [gjj][l gf Yf\ Yk l`] \Yl] `]j]g^
)Y^l]j _anaf_ ]^^][l lg l`ak <kkmehlagf <_j]]e]fl* Yk a^ eY\] gf Yf\ Yk g^ km[` \Yl].

Bgn]jfaf_ GYo. O`ak Ykkmehlagf Y_j]]e]fl k`Ydd Z] _gn]jf]\ Zq, Yf\ [gfkljm]\ Yf\ afl]jhj]l]\ af
Y[[gj\Yf[] oal`, l`] dYo g^ l`] klYl] g^ I]o Tgjc oal`gml j]^]j]f[] lg [gf^da[lk g^ dYo hjgnakagfk. Df
Y\\alagf, l`] hjgnakagfk g^ N][lagfk 8.6, 8.7, 8.8 Yf\ 8.12 g^ l`] N][mjalq <_j]]e]fl Yj] af[gjhgjYl]\
`]j]af Zq j]^]j]f[], mutatis mutandis.

Ig IgnYlagf gj M]d]Yk]. Igl`af_ af l`ak <kkmehlagf <_j]]e]fl k`Ydd Z] [gfkljm]\ lg j]d]Yk] Yfq gl`]j
BjYflgj Yl Yfq lae] hYjlq lg l`] N][mjalq <_j]]e]fl ^jge alk gZda_Ylagfk Yf\ daYZadala]k l`]j]mf\]j gj
gl`]joak] Y^^][l Yfq g^ km[` gl`]j BjYflgjvk gZda_Ylagfk gj daYZadala]k mf\]j Yfq >j]\al ?g[me]fl.

       DI RDOI@NN RC@M@JA, l`] mf\]jka_f]\ `Yk [Ymk]\ l`ak <kkmehlagf <_j]]e]fl lg Z] \mdq
]p][ml]\ Yf\ \]dan]j]\ Yk g^ l`] \Yl] ^ajkl YZgn] ojall]f.

                                                V<??DODJI<G BM<IOJMW,



                                                =q:
                                                      IYe]:
                                                      Oald]:



<>FIJRG@?B@?:

Hgf]q >`]kl GG>,
Yk >gddYl]jYd <_]fl


=q:
      IYe]:
      Oald]:




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                                                                                <ff]p 1-<

                          VDIN@MO DIAJMH<ODJI OJ =@ <??@? OJ
                    OC@ <KKGD><=G@ N@>PMDOT <BM@@H@IO N>C@?PG@NW




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               Case 19-11791-BLS         Doc 144      Filed 09/10/19       Page 133 of 140



                                                                                                 <ff]p DD
                                                                                                       lg
                                                              Nmh]jhjagjalq Kd]\_] Yf\ N][mjalq <_j]]e]fl


    :CFA C: GID9FDF=CF=HM =BH9@@97HI5@ DFCD9FHM G97IF=HM 5;F99A9BH

         OCDN NPK@MKMDJMDOT V>JKTMDBCOW VK<O@IOW VOM<?@H<MFW N@>PMDOT
<BM@@H@IO, \Yl]\ Yk g^ XXXXXXXXXX XX, 20XX, ak eY\] Zq ]Y[` g^ l`] ]flala]k dakl]\ gf l`] ka_fYlmj]
hY_]k `]j]g^ )]Y[` Y tGrantoru Yf\, [gdd][lan]dq, l`] tGrantorsu*, af ^Yngj g^ Hgf]q >`]kl GG>, Yk
[gddYl]jYd Y_]fl )af km[` [YhY[alq, lg_]l`]j oal` alk km[[]kkgjk Yf\ Ykka_fk af km[` [YhY[alq, l`]
tCollateral Agentu* ^gj l`] G]f\]jk Yf\ l`] gl`]j N][mj]\ KYjla]k.

                                           R D O I @ N N @ O C:

        RC@M@<N, Gggl >jYl], Df[., Y ?]dYoYj] [gjhgjYlagf )tBorroweru*, Gggl >jYl] KYj]fl, Df[., Y
?]dYoYj] [gjhgjYlagf )tParentu*, Yfq NmZka\aYja]k g^ KYj]fl l`Yl Yj] BmYjYflgjk gj Z][ge] BmYjYflgjk
hmjkmYfl lg N][lagf 8.10 g^ l`] >j]\al <_j]]e]fl )af[dm\af_ KYj]fl, l`] tGuarantorsu, Yf\, lg_]l`]j oal`
=gjjgo]j, l`] tCredit Partiesu*, l`] G]f\]jk ^jge lae] lg lae] hYjlq l`]j]lg )l`] tLendersu*, Hgf]q
>`]kl GG>, Yk Y\eafakljYlan] Y_]fl ^gj l`] G]f\]jk )af km[` [YhY[alq, lg_]l`]j oal` alk km[[]kkgjk Yf\
Ykka_fk af km[` [YhY[alq, l`] tAdministrative Agentu* Yf\ l`] >gddYl]jYd <_]fl ^gj l`] G]f\]jk, `Yn]
]fl]j]\ aflg Y ?]Zlgj-af-Kgkk]kkagf >j]\al <_j]]e]fl, \Yl]\ Yk g^ <m_mkl 14, 2019 )Yk Ye]f\]\, j]klYl]\,
Ye]f\]\ Yf\ j]klYl]\, kmhhd]e]fl]\ gj gl`]joak] eg\a^a]\ ^jge lae] lg lae], l`] tCredit Agreementu*;

        RC@M@<N, Ydd g^ l`] BjYflgjk Yj] hYjlq lg Y Nmh]jhjagjalq Kd]\_] Yf\ N][mjalq <_j]]e]fl g^
]n]f \Yl] `]j]oal` af ^Yngj g^ l`] >gddYl]jYd <_]fl )Yk l`] kYe] eYq Z] Ye]f\]\, j]klYl]\, kmhhd]e]fl]\
gj gl`]joak] eg\a^a]\ ^jge lae] lg lae], l`] tSecurity Agreementu*, hmjkmYfl lg o`a[` l`] BjYflgjk Yj]
j]imaj]\ lg ]p][ml] Yf\ \]dan]j l`ak Nmh]jhjagjalq V>ghqja_`lW VKYl]flW VOjY\]eYjcW N][mjalq <_j]]e]fl;

        IJR, OC@M@AJM@, af [gfka\]jYlagf g^ l`] hj]eak]k Yf\ lg af\m[] l`] G]f\]jk Yf\ l`]
>gddYl]jYd <_]fl lg ]fl]j aflg l`] >j]\al <_j]]e]fl Yf\ lg af\m[] l`] G]f\]jk lg eYc] l`]aj j]kh][lan]
]pl]fkagfk g^ [j]\al lg l`] =gjjgo]j l`]j]mf\]j, ]Y[` BjYflgj `]j]Zq Y_j]]k oal` l`] >gddYl]jYd <_]fl Yk
^gddgok:

        N][lagf 1.       ?]^af]\ O]jek. >YhalYdar]\ l]jek mk]\ `]j]af oal`gml \]^afalagf Yj] mk]\ Yk
\]^af]\ af l`] N][mjalq <_j]]e]fl.

         N][lagf 2.       BjYfl g^ N][mjalq Dfl]j]kl af V>ghqja_`lW VOjY\]eYjcW VKYl]flW >gddYl]jYd. @Y[`
BjYflgj, Yk [gddYl]jYd k][mjalq ^gj l`] hjgehl Yf\ [gehd]l] hYqe]fl Yf\ h]j^gjeYf[] o`]f \m] )o`]l`]j
Yl klYl]\ eYlmjalq, Zq Y[[]d]jYlagf gj gl`]joak]* g^ l`] N][mj]\ JZda_Ylagfk g^ km[` BjYflgj, `]j]Zq
egjl_Y_]k Yf\ hd]\_]k lg l`] >gddYl]jYd <_]fl ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k, Yf\ _jYflk lg l`]
>gddYl]jYd <_]fl ^gj l`] Z]f]^al g^ l`] N][mj]\ KYjla]k Y Ga]f gf Yf\ k][mjalq afl]j]kl af, Ydd g^ alk ja_`l,
lald] Yf\ afl]j]kl af, lg Yf\ mf\]j l`] ^gddgoaf_ >gddYl]jYd g^ km[` BjYflgj )l`] “[Copyright] [Patent]
[Trademark] Collateralu*:

                )Y*     VYdd g^ alk >ghqja_`lk Yf\ Ydd >ghqja_`l Ga[]fk]k hjgna\af_ ^gj l`] _jYfl Zq gj lg
km[` BjYflgj g^ Yfq ja_`l mf\]j Yfq >ghqja_`l, af[dm\af_ l`gk] j]^]jj]\ lg gf N[`]\md] 1 `]j]lg;

                 )Z*     Ydd j]f]oYdk, j]n]jkagfk Yf\ ]pl]fkagfk g^ l`] ^gj]_gaf_; Yf\




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                )[*     Ydd af[ge], jgqYdla]k, hjg[]]\k Yf\ daYZadala]k Yl Yfq lae] \m] gj hYqYZd] gj
Ykk]jl]\ mf\]j Yf\ oal` j]kh][l lg Yfq g^ l`] ^gj]_gaf_, af[dm\af_ Ydd ja_`lk lg km] Yf\ j][gn]j Yl dYo gj af
]imalq ^gj Yfq hYkl, hj]k]fl Yf\ ^mlmj] af^jaf_]e]fl, eakYhhjghjaYlagf, \admlagf, nagdYlagf gj gl`]j
aehYaje]fl l`]j]g^.W

gj

                )Y*     VYdd g^ alk KYl]flk Yf\ Ydd KYl]fl Ga[]fk]k hjgna\af_ ^gj l`] _jYfl Zq gj lg km[`
BjYflgj g^ Yfq ja_`l mf\]j Yfq KYl]fl, af[dm\af_ l`gk] j]^]jj]\ lg gf N[`]\md] 1 `]j]lgW;

                )Z*      Ydd j]akkm]k, j]]pYeafYlagfk, [gflafmYlagfk, [gflafmYlagfk-af-hYjl, \anakagfYdk, Yf\
]pl]fkagfk g^ l`] ^gj]_gaf_; Yf\

                )[*     Ydd af[ge], jgqYdla]k, hjg[]]\k Yf\ daYZadala]k Yl Yfq lae] \m] gj hYqYZd] gj
Ykk]jl]\ mf\]j Yf\ oal` j]kh][l lg Yfq g^ l`] ^gj]_gaf_, af[dm\af_ Ydd ja_`lk lg km] Yf\ j][gn]j Yl dYo gj af
]imalq ^gj Yfq hYkl, hj]k]fl Yf\ ^mlmj] af^jaf_]e]fl, eakYhhjghjaYlagf, nagdYlagf gj gl`]j aehYaje]fl
l`]j]g^.W

gj

                )Y*     VYdd g^ alk OjY\]eYjck Yf\ Ydd OjY\]eYjc Ga[]fk]k hjgna\af_ ^gj l`] _jYfl Zq gj lg
km[` BjYflgj g^ Yfq ja_`l mf\]j Yfq OjY\]eYjc, af[dm\af_ l`gk] j]^]jj]\ lg gf N[`]\md] 1 `]j]lgW;

                 )Z*     Ydd j]f]oYdk Yf\ ]pl]fkagfk g^ l`] ^gj]_gaf_;

              )[*        Ydd _gg\oadd g^ l`] Zmkaf]kk [gff][l]\ oal` l`] mk] g^, Yf\ kqeZgdar]\ Zq, ]Y[`
km[` OjY\]eYjc; Yf\

                )\*     Ydd af[ge], jgqYdla]k, hjg[]]\k Yf\ GaYZadala]k Yl Yfq lae] \m] gj hYqYZd] gj
Ykk]jl]\ mf\]j Yf\ oal` j]kh][l lg Yfq g^ l`] ^gj]_gaf_, af[dm\af_ Ydd ja_`lk lg km] Yf\ j][gn]j Yl dYo gj af
]imalq ^gj Yfq hYkl, hj]k]fl Yf\ ^mlmj] af^jaf_]e]fl, eakYhhjghjaYlagf, \admlagf, nagdYlagf gj gl`]j
aehYaje]fl l`]j]g^. Igloal`klYf\af_ l`] ^gj]_gaf_, l`]j] k`Ydd Z] fg k][mjalq afl]j]kl gj Ga]f gf Yfq
OjY\]eYjc Yhhda[Ylagf l`Yl ak ^ad]\ gf Yf tafl]fl-lg-mk]u ZYkak )mflad km[` lae] Yk Y klYl]e]fl g^ mk] ak
^ad]\ oal` j]kh][l lg km[` Yhhda[Ylagf Yf\ \mdq Y[[]hl]\ Zq l`] Pfal]\ NlYl]k KYl]fl Yf\ OjY\]eYjc
J^^a[]*.W

         N][lagf 3.      N][mjalq <_j]]e]fl. O`] k][mjalq afl]j]kl _jYfl]\ hmjkmYfl lg l`ak Nmh]jhjagjalq
V>ghqja_`lW VKYl]flW VOjY\]eYjcW N][mjalq <_j]]e]fl ak _jYfl]\ af [gfbmf[lagf oal` l`] k][mjalq afl]j]kl
_jYfl]\ lg l`] >gddYl]jYd <_]fl hmjkmYfl lg l`] N][mjalq <_j]]e]fl Yf\ ]Y[` BjYflgj `]j]Zq
Y[cfgod]\_]k Yf\ Y_j]]k l`Yl l`] ja_`lk Yf\ j]e]\a]k g^ l`] >gddYl]jYd <_]fl oal` j]kh][l lg l`] k][mjalq
afl]j]kl af l`] V>ghqja_`lW VKYl]flW VOjY\]eYjcW >gddYl]jYd eY\] Yf\ _jYfl]\ `]j]Zq Yj] egj] ^mddq k]l
^gjl` af l`] N][mjalq <_j]]e]fl, l`] l]jek Yf\ hjgnakagfk g^ o`a[` Yj] af[gjhgjYl]\ Zq j]^]j]f[] `]j]af
Yk a^ ^mddq k]l ^gjl` `]j]af. Df l`] ]n]fl l`Yl Yfq hjgnakagf g^ l`ak Nmh]jhjagjalq V>ghqja_`lW VKYl]flW
VOjY\]eYjcW N][mjalq <_j]]e]fl [gf^da[lk oal` Yfq hjgnakagf g^ l`] N][mjalq <_j]]e]fl, l`] N][mjalq
<_j]]e]fl k`Ydd _gn]jf.

        N][lagf 4.      BjYflgj M]eYafk GaYZd]. @Y[` BjYflgj `]j]Zq Y_j]]k l`Yl, Yfql`af_ `]j]af lg l`]
[gfljYjq fgloal`klYf\af_, km[` BjYflgj k`Ydd Ykkme] ^mdd Yf\ [gehd]l] j]khgfkaZadalq ^gj l`] hjgk][mlagf,
\]^]fk], ]f^gj[]e]fl gj Yfq gl`]j f][]kkYjq gj \]kajYZd] Y[lagfk af [gff][lagf oal` l`]aj V>ghqja_`lkW
VKYl]flkW VOjY\]eYjckW kmZb][l lg Y k][mjalq afl]j]kl `]j]mf\]j.



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        N][lagf 5.       >gmfl]jhYjlk. O`ak Nmh]jhjagjalq V>ghqja_`lW VKYl]flW VOjY\]eYjcW N][mjalq
<_j]]e]fl eYq Z] ]p][ml]\ af Yfq fmeZ]j g^ [gmfl]jhYjlk Yf\ Zq \a^^]j]fl hYjla]k af k]hYjYl]
[gmfl]jhYjlk, ]Y[` g^ o`a[` o`]f kg ]p][ml]\ k`Ydd Z] \]]e]\ lg Z] Yf gja_afYd Yf\ Ydd g^ o`a[` lYc]f
lg_]l`]j k`Ydd [gfklalml] gf] Yf\ l`] kYe] Y_j]]e]fl. Na_fYlmj] hY_]k eYq Z] \]lY[`]\ ^jge emdlahd]
k]hYjYl] [gmfl]jhYjlk Yf\ YllY[`]\ lg Y kaf_d] [gmfl]jhYjl.

         N][lagf 6.     Bgn]jfaf_ GYo. H<=G GID9FDF=CF=HM O7CDMF=;<HP OD5H9BHP
OHF589A5F?P G97IF=HM 5;F99A9BH 5B8 H<9 F=;<HG 5B8 C6@=;5H=CBG C: H<9
D5FH=9G <9F9HC G<5@@ 69 ;CJ9FB98 6M' 5B8 7CBGHFI98 5B8 =BH9FDF9H98 =B
577CF85B79 K=H<' H<9 @5K C: H<9 GH5H9 C: B9K MCF? K=H<CIH F9:9F9B79
HC 7CB:@=7HG C: @5K DFCJ=G=CBG $CH<9F H<5B G97H=CB 0(,/+, C: H<9 B9K
MCF? ;9B9F5@ C6@=;5H=CBG @5K%) Df Y\\alagf, l`] hjgnakagfk g^ N][lagf 8.6, 8.7, 8.8 Yf\
8.12 g^ l`] N][mjalq <_j]]e]fl Yj] af[gjhgjYl]\ `]j]af Zq j]^]j]f[], mutatis mutandis.

                                 VNDBI<OPM@ K<B@N AJGGJRW




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          DI RDOI@NN RC@M@JA, ]Y[` BjYflgj `Yk [Ymk]\ l`ak Nmh]jhjagjalq V>ghqja_`lW VKYl]flW
VOjY\]eYjcW N][mjalq <_j]]e]fl lg Z] ]p][ml]\ Yf\ \]dan]j]\ Zq alk \mdq Yml`gjar]\ g^^a[]j Yk g^ l`] \Yl]
^ajkl k]l ^gjl` YZgn].

                                                VBM<IOJMW, Yk BjYflgj

                                                =q:
                                                IYe]:
                                                Oald]:




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                                         N>C@?PG@ D

                                              OJ

 NPK@MKMDJMDOT V>JKTMDBCOW VK<O@IOW VOM<?@H<MFW N@>PMDOT <BM@@H@IO



1.       M@BDNO@M@? V>JKTMDBCONW VK<O@IONW VOM<?@H<MFNW

VDf[dm\] M]_akljYlagf ImeZ]j Yf\ ?Yl]W

2.       V>JKTMDBCOW VK<O@IOW VOM<?@H<MFW <KKGD><ODJIN

VDf[dm\] <hhda[Ylagf ImeZ]j Yf\ ?Yl]W

3.       V>JKTMDBCOW VK<O@IOW VOM<?@H<MFW GD>@IN@N

VDf[dm\] [gehd]l] d]_Yd \]k[jahlagf g^ Y_j]]e]fl )fYe] g^ Y_j]]e]fl, hYjla]k Yf\ \Yl]*W




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                                          Exhibit B

                                         Milestones


Milestone                                                       Specified Deadline
Deadline to file Sale Motion                                    1 Business Day after Petition
                                                                Date
Deadline for Bankruptcy Court to enter Interim Order            3 Business Days after Petition
                                                                Date
Deadline for Bankruptcy Court to enter Sale Procedures Order    25 days after Petition Date
Deadline for Bankruptcy Court to enter Second Interim Order     25 days after Petition Date
Deadline to conduct the Auction                                 45 days after Petition Date
Deadline for Bankruptcy Court to enter the Sale Order           47 days after Petition Date
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                                             Exhibit C

                                               Budget




                                                   1

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Loot Crate, Inc.
                                                                                                                                                          Confidential
DIP Forecast - 9/7/2019
                                                    Actuals-->                                          Forecast-->
Week Ending                                         8/18/2019        8/25/2019          9/1/2019          9/8/2019           9/15/2019    5 -week Total
Cash Receipts
Subscription & Vault Receipts                   $     383,616    $    490,133     $     319,069     $   1,185,749     $       809,345     $   3,187,912
Methodology Disbursements
Payroll & Employee Benefits                     $     464,113    $     24,410     $     348,549     $      10,656     $       345,283     $   1,193,011
Insurance                                              70,929               -             9,245            45,816                   -           125,989
IT                                                          -           9,710             2,250           188,658                   -           200,617
Sales Tax                                             143,383           2,176             8,254                 -             146,884           300,697
Ordinary Course Professionals                               -               -             5,000            65,000                   -            70,000
Total Methodology Disbursements                 $     678,425    $     36,296     $     373,297     $     310,130     $       492,167     $   1,890,315
Non-Methodology Disbursements
Facilities & Supplies                           $           -    $      2,241     $      49,463     $       97,294    $         1,467     $    150,466
Marketing                                                   -               -                 -             25,000             40,000           65,000
Shipping & Fulfillment                                      -           8,615            68,098           153,230             645,693          875,635
Licensor                                                    -                -                 -                 -             28,618           28,618
Product                                               (26,728)               -          125,196           436,885             443,928          979,281
Contractor                                              2,040           4,000             4,000                  -                   -          10,040
                                                                                                                                                                         Case 19-11791-BLS




Other G&A                                               3,149             185             6,131              2,500              2,500           14,466
Total Non-Methodology Disbursements             $     (21,538) $       15,041     $     252,888     $     714,909     $     1,162,206     $   2,123,506
Operating Cash Flow                             $    (273,270) $      440,191     $    (307,117) $        160,710     $      (845,029)    $   (824,514)
Cumulative Operating Cash Flow                       (273,270)        166,921          (140,196)            20,514           (824,514)        (824,514)
                                                                                                                                                                         Doc 144




Non-Operating Disbursements
Sales Tax Payment Plans                         $           -    $           -    $            -    $            -    $        87,936     $     87,936
Deferred Revenue Release                                    -         510,792           923,468           465,048             100,000         1,999,307
Total Non-Operating Disbursements               $           -    $    510,792     $     923,468     $     465,048     $       187,936     $   2,087,243
Restructuring Costs
Debtor Counsel                                  $           -    $           -    $           -     $            -    $             -     $          -
Debtor Advisors                                             -                -            4,780             10,000             10,000           24,780
Secured Lender Advisors                                     -                -                -                  -            166,667          166,667
Board Member Fees                                           -                -           17,215             33,333                  -           50,548
                                                                                                                                                                         Filed 09/10/19




UCC                                                         -                -                -                  -                  -                -
US Trustee Fees                                             -                -                -                  -                  -                -
Critical Vendors                                            -                -           80,800                  -                  -           80,800
Accrued Expenses                                            -                -                -                  -                  -                -
Wind Down Costs                                             -                -                -                  -                  -                -
Total Restructuring Costs                       $           -    $           -    $     102,795     $       43,333    $       176,667     $    322,795
Total Disbursements                             $     656,887    $    562,128     $   1,652,448     $   1,533,420     $     2,018,976     $   6,423,859
Net Cash Flow                                   $    (273,270) $      (70,601) $      (1,333,379) $       (347,671) $       (1,209,631)
Cumulative Net Cash Flow                             (273,270)       (343,871)        (1,677,250)       (2,024,921)         (3,234,552)
                                                                                                                                                                         Page 140 of 140




Beginning Cash (Book)                           $      21,718    $   1,096,049    $   1,025,449     $     692,069     $       344,398
Net Cash Flow                                        (273,270)         (70,601)       (1,333,379)         (347,671)         (1,209,631)
DIP Draw (Repayment)                                1,347,601                -        1,000,000                  -          1,000,000
Ending Cash (Book)                              $   1,096,049    $   1,025,449    $     692,069     $     344,398     $       134,767
Debt Rollforward
Beginning DIP Balance                           $           -    $   1,347,601    $   1,347,601     $   2,347,601     $     2,354,448
DIP Draw (Repayment)                                1,347,601                -        1,000,000                 -           1,000,000
Ending DIP Balance                              $   1,347,601    $   1,347,601    $   2,347,601     $   2,354,448     $     3,354,448

           Prepared by Portage Point Partners                                                                             DIP Forecast                         Page 1
